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                        EXHIBIT 1
                                                           Case: 1:21-cv-05353 Document #: 1-1 Filed: 10/08/21 Page 2 of 383 PageID #:6FILED
                                                                                                                                                             9/8/2021 10:58 AM
                                                                                                                                                             IRIS Y. MARTINEZ
                                                                                                                                                             CIRCUIT CLERK
                                                                                                                                                             COOK COUNTY, IL
                                                                                                                                                             2021CH04537

                                                                                                                                                              14732124
FILED DATE: 9/8/2021 10:58 AM 2021CH04537




                                                                                                               CHANCERY



                                                                                                                                          2021 CH 04537


                                             NPM Venture LLC


                                                                                                                                    Hearing Date: 1/6/2022 9:30 AM - 9:30 AM
                                            The City of Chicago, acting through the Chicago Department of Transportation,           Courtroom Number: 2502
                                            and Gia Biagi, in her official capacity as Commissioner of the Chicago                  Location: District 1 Court
                                            Department of Transportation                                                                    Cook County, IL



                                                                                       X

                                                                   City of Chicago Law Department, 30 N. LaSalle Street, Suite 700, Chicago, IL 60602




                                                    X




                                                                                                                                     9/8/2021 10:58 AM IRIS Y. MARTINEZ
                                                           90747

                                                    Michael R. Levinson / Seyarth Shaw LLP

                                                          Plaintiff NPM Venture, LLC

                                                        233 S. Wacker Drive, Suite 8000

                                                               Chicago, IL 60606
                                                          (312) 460-5868
                                                           Case: 1:21-cv-05353 Document #: 1-1 Filed: 10/08/21 Page 3 of 383 PageID #:7FILED
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                                                                                                                                                                CIRCUIT CLERK
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FILED DATE: 9/8/2021 10:58 AM 2021CH04537




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                                                                                                                                          2021 CH 04537


                                             NPM Venture LLC
                                                                                                                                 Hearing Date: 1/6/2022 9:30 AM - 9:30 AM
                                                                                                                                 Courtroom Number: 2502
                                            The City of Chicago, acting through the Chicago Department of Transportation,        Location: District 1 Court
                                            and Gia Biagi, in her official capacity as Commissioner of the Chicago                       Cook County, IL
                                            Department of Transportation



                                                                                     X

                                                                   Commissioner Gia Biagi, Chicago Department of Transportation, 2 N. LaSalle Street, Suite 1100, Chicago, IL 60602




                                                    X




                                                                                                                                     9/8/2021 10:58 AM IRIS Y. MARTINEZ
                                                          90747

                                                    Michael R. Levinson / Seyfarth Shaw LLP

                                                        Plaintiff NPM Venture, LLC

                                                        233 S. Wacker Drive, Suite 8000
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                                          Case:
                      Hearing Date: 1/6/2022      1:21-cv-05353
                                               9:30 AM - 9:30 AM        Document #: 1-1 Filed: 10/08/21 Page 4 of 383 PageID #:8
                      Courtroom Number: 2502
                      Location: District 1 Court
                              Cook County, IL                                                                                  FILED
                                                                                                                               9/8/2021 9:45 AM
                                                                 IN THE CIRCUIT COURT OF COOK COUNTY                           IRIS Y. MARTINEZ
                                                                                                                               CIRCUIT CLERK
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                               COOK COUNTY, IL
FILED DATE: 9/8/2021 9:45 AM 2021CH04537




                                                                                                                               2021CH04537
                                            NPM VENTURE LLC,                                      )
                                                                                                  )                      14728753
                                                                   Plaintiff,                     )
                                                                                                  )
                                                     v.                                           ) Case No. 2021CH04537
                                                                                                  )
                                            THE CITY OF CHICAGO, acting through the               )
                                            Chicago Department of Transportation, and             )
                                            GIA BIAGI, in her official capacity as                )
                                            Commissioner of the Chicago Department of             )
                                            Transportation.                                       )
                                                                                                  )
                                                                   Defendants.                    )

                                                                                VERIFIED COMPLAINT

                                                    This is an action for declaratory judgment, mandamus, promissory estoppel, injunctive

                                           relief and money damages arising from denial of a Harbor Permit for construction of a marina at

                                           Navy Pier by the City of Chicago (“City”), acting through the Chicago Department of

                                           Transportation (“CDOT”) and CDOT’s Commissioner Gia Biagi (“Biagi”), among others.

                                                                                         Parties

                                                    1.     NPM Venture LLC (“NPM”) is an Illinois limited liability company with its

                                           principal place of business in Riverwoods, Illinois.

                                                    2.     The City of Chicago (“The City”) is an Illinois municipal corporation subject to

                                           suit pursuant to 65 ILCS 5/2-2-5.

                                                    3.     Gia Biagi (“Biagi”) is the Commissioner of CDOT. At relevant times as alleged

                                           below, the City acted through CDOT and Biagi, among others.




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                                                                                Jurisdiction and Venue

                                                    4.    This Court has jurisdiction pursuant to 735 ILCS 5/2-209(a)(1) and venue is
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                                           proper in this Court pursuant to 735 ILCS 5/2-103 because the City’s principal office is located

                                           in Cook County and the events giving rise to this action occurred here.

                                                                                      Background

                                                    Navy Pier

                                                    5.    Navy Pier is one of Chicago’s top attractions, offering events, public programs,

                                           culture and dining. Nearly nine million people a year visit Navy Pier. Pursuant to the

                                           Metropolitan Pier and Exposition Authority Act, 70 ILCS 210/4, the Metropolitan Pier &

                                           Exposition Authority (“MPEA”) holds title to Navy Pier. MPEA is authorized to carry out or

                                           otherwise provide for the recreational, cultural, and commercial development of Navy Pier.

                                           MPEA has a nine member Board, four appointed by the Mayor of the City, four appointed by the

                                           Governor of the State of Illinois, and the chairperson selected by a majority of the eight

                                           appointed members.

                                                    6.    MPEA describes the mission of Navy Pier as follows: “to be a world-class public

                                           place that celebrates and showcases the vitality of Chicago, and provides for the enjoyment of

                                           Chicago-area residents and visitors, by creating an eclectic mix of public, cultural, recreational,

                                           retail, dining, entertainment and other compatible uses attracting a broad-range of visitors, and

                                           managed within a business framework that provides for the long-term financial sustainability of

                                           Navy Pier.”

                                                    7.    To achieve its stated mission, MPEA transferred responsibility to operate Navy

                                           Pier to Navy Pier, Inc. (“NPI”), by Lease Agreement dated April 26, 2011. NPI is an Illinois not-

                                           for-profit corporation that was formed for the purpose of operating Navy Pier and “facilitat[ing]

                                           the ongoing recreational, educational, cultural and other development of Navy Pier for the

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                                           benefit of the general public, and all activities incidental or related thereto.” The Lease

                                           Agreement identifies those activities as including, maintaining, repairing, operating, designing,
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                                           financing, subleasing, licensing, developing, re-developing and/or demolishing the grounds,

                                           building, facilities, and/or improvements of, and located on Navy Pier. The Lease Agreement

                                           further provides that Navy Pier “may be used for any lawful purpose in compliance with the City

                                           of Chicago Institutional Planned Development No. 527, as amended, and as same may be

                                           amended from time-to-time.” (A copy of the Lease Agreement is attached as Exhibit 1 and

                                           incorporated herein).

                                                    8.    Institutional Planned Development 527 (“PD 527”) is a City of Chicago

                                           Ordinance passed pursuant to the City’s planned development process that governs development

                                           of Navy Pier. The planned development process is required for certain projects to ensure

                                           adequate public review, encourage unified planning and development, promote economically

                                           beneficial development patterns that are compatible with the character of the existing

                                           neighborhoods, allow design flexibility, and encourage protection and construction of the City’s

                                           natural resources. (Chap. 17-8-0101-0106). The planned development process involves a detailed

                                           review and hearings by various City Departments and the City Council to assure, among other

                                           things, that a proposed development and use “is compatible with the surrounding area in terms of

                                           uses.” (Chap. 17-13-0609-B).

                                                    9.    In June 2016, MPEA announced the Navy Pier Centennial Vision, also known as

                                           the Framework Plan, which was the first phase of a comprehensive redevelopment plan for Navy

                                           Pier in recognition of Navy Pier’s centennial. NPI and MPEA described the Centennial Vision as

                                           “a framework for reimagination” that includes “dramatically reimagined, pier-wide




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                                           enhancements, new dining options, and compelling landscape and design features that continue

                                           to elevate the Pier’s status.”
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                                                    10.    In 2016, MPEA applied to amend PD 527 to construct and operate a marina in an

                                           area called the “North-Slip,” between Navy Pier and the City’s Jardine Water Treatment Plant,

                                           and other improvements to Navy Pier included in the Centennial Vision. After extensive review

                                           and hearings by the Plan Commission, the Department of Planning & Development Review, the

                                           Zoning Administrator, the City Council Committee on Zoning, Landmarks and Building

                                           Standards and others (including myriad departmental reviews), the City Council approved the

                                           proposed marina in the North Slip and the other improvements to Navy Pier on September 25,

                                           2016. The City Council unanimously passed an Ordinance amending PD 527, to provide for a

                                           marina as follows:

                                                    The perimeter of the north and south dock area of the Navy Pier and Headlands
                                                    Subareas may be used to dock boats and ships, and passengers may embark and
                                                    disembark from such boats and ships along the docks of the Navy Pier . . . .

                                           The Amended PD 527 Ordinance depicts the marina and its location at the north edge of Navy

                                           Pier directly across the North Slip from the Jardine Water Treatment Plant:

                                                                                     Jardine Plant

                                                                                          ↓




                                                                                          ↑
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                                                                                        Navy Pier

                                           The Amended PD 527 Ordinance requires that “[a]ll work proposed in the public way” be done
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                                           “in accordance with the Department of Transportation Construction Standards,” but states that

                                           “no further approvals shall be required under this Planned Development of the Zoning Ordinance

                                           for the improvements undertaken in accordance with the plans.” (Select portions of Amended PD

                                           527 are attached as Exhibit 2 and incorporated herein).

                                                    NPI and MPEA Select NPM To Build and Operate the Approved Marina

                                                    11.   On May 25, 2016, NPI issued a “Request for Qualifications and Proposal Part 1

                                           Transient Boat Slip Developer & Operator” to develop and operate a marina in the North Slip, as

                                           approved in PD 527, in the exact location set forth in MPEA’s PD application as later approved

                                           by the City Council in the amended PD 527 Ordinance. The Request specified that this location

                                           “will be the only available area for use in the project” and “[w]hile the project does not require

                                           the full use of the designated area, the project itself is limited to that area.” NPM, among others,

                                           responded to NPI’s Request and NPM expended significant money and other resources

                                           responding. (A copy of NPI’s Request for Qualifications and Proposals Part 1 is attached as

                                           Exhibit 3 and incorporated herein).

                                                    12.   On September 22, 2016, in connection with MPEA’s application to amend PD

                                           527, NPI issued a “Request for Qualification and Proposal Part 2 Transient Boat Slip Developer

                                           & Operator” requesting a further detailed proposal for the marina from NPM. Once again, Part 2

                                           made clear that the marina was to be built and operated “on the north side of Navy Pier,” in

                                           accordance with MPEA’s PD application for a marina in the North Slip. NPM expended

                                           significant additional money and other resources responding to the Request Part 2. (A copy of

                                           NPI’s Request for Qualifications and Proposals Part 2 is attached as Exhibit 4 and incorporated

                                           herein).

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                                                    13.   As a result of this two-part process, NPI and MPEA selected NPM to develop and

                                           build the marina. NPI and NPM signed a Memorandum of Understanding on February 28, 2017
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                                           and signed the Navy Pier License Agreement (the “License Agreement”) on August 17, 2017.

                                           The License Agreement granted NPM a renewable, twenty-five-year license to design, construct,

                                           finance, maintain and operate “a transient watercraft docking facility, boat slips and ancillary

                                           facilities” on the north side of Navy Pier, again in the exact location specified in the Amended

                                           PD 527 Ordinance, depicted in the License Agreement as follows:




                                           The marina specified in the License Agreement is in accordance with all requirements of the

                                           Amended PD 527 Ordinance.

                                                    14.   The License Agreement required NPM to “apply for and diligently pursue all

                                           permits and governmental approvals required to construct and operate” the marina and required

                                           NPI to “reasonably cooperate” with NPM in the governmental approval process, including using

                                           its “best efforts and tak[ing] all steps reasonably necessary” to have MPEA cooperate in

                                           providing whatever approvals, certifications and other acknowledgements as are needed. The

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                                           License Agreement also promised that NPM would “peaceably and quietly hold and enjoy the

                                           Licensed Area.” (A copy of the License Agreement as amended is attached as Exhibit 5 and
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                                           incorporated herein).

                                                     15.   NPM immediately began to perform its obligations under the License Agreement.

                                           Among other things, NPM commenced preliminary engineering efforts including wave studies,

                                           geotechnical review, environmental review, and technical site layout review. Over a period of

                                           approximately 12 months, NPM implemented all technical engineering design modifications.

                                           NPM prepared and submitted all required permit applications and detailed planning documents

                                           and drawings, including final engineering drawings, and responded to all inquiries from State

                                           and Federal regulatory agencies. NPM incurred over $1 million in costs and fees performing

                                           under the License Agreement.

                                                     16.   Following passage of Amended PD 527 and execution of the License Agreement,

                                           Chicago Mayor Rahm Emanuel publicly announced the marina at Navy Pier’s 2017 fundraising

                                           dinner.

                                                     17.   NPM prepared a Joint Application to the United States Army Corps of Engineers

                                           (“USACE”) and the Illinois Department of Natural Resources (“IDNR”) for construction of the

                                           marina in the North Slip. The marina proposed in the Joint Application was in accordance with

                                           all requirements of the Amended PD 527 Ordinance. USACE has the authority under 33 C.F.R.

                                           325.8(b) to evaluate and issue permits for construction projects in connection with navigable

                                           waters. The Rivers, Lakes and Streams Act, 615 ILCS 5/18(c) (“RLS Act”) specifically

                                           authorizes IDNR to issue a permit to “any person, firm or corporation” to construct “harbor or

                                           mooring facilities for watercraft” in the North Slip. NPM requested MPEA as owner of Navy

                                           Pier to sign and submit the Joint Application, as requested by IDNR, and MPEA did so on



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                                           August 24, 2017. Both USACE and IDNR subsequently issued permits preliminarily approving

                                           construction of the marina in the North Slip, subject to the applicant obtaining any other
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                                           necessary permits.

                                                    The City, Through CDOT and Biagi, Denies the Harbor Permit

                                                    18.    Section 10-40-330 of the Municipal Code governs construction and repairs of

                                           harbors. It requires a Harbor Permit from CDOT to “build, construct or repair” any dock, bridge

                                           or other structure in or within 40 feet of the harbor. The Code further provides:

                                                    The Commissioner shall issue the permit desired, upon payment of the permit fees
                                                    hereinafter provided, unless it shall appear that the work to be done will result in
                                                    unduly obstructing the harbor or in endangering the safety of any dock, pier,
                                                    bridge breakwater or other structure located upon and along the harbor or pollute
                                                    the harbor or is inconsistent with the Chicago River Design guidelines.

                                           Section 10-40-330 does not vest the Commissioner or CDOT with any authority or discretion to

                                           deny a Harbor Permit unless the “work to be done” creates one of the enumerated hazards.

                                           Rather, the Commissioner of CDOT is required to issue a Harbor Permit so long as the proposed

                                           construction work is not unduly obstructive or unsafe.

                                                    19.    At NPM’s request and direction pursuant to the License Agreement, MPEA

                                           signed an application, prepared by NPM, to CDOT for a Harbor Permit. In support of that

                                           application, NPM corresponded with CDOT and submitted extensive project construction

                                           drawings and other materials for the proposed marina, many at CDOT’s specific request for such

                                           drawings. By letters dated April 24, 2020 and June 15, 2020, signed by Biagi, CDOT denied the

                                           Harbor Permit. The sole basis for CDOT’s denial was that the “marina development along the

                                           lines you have proposed and at the location you have applied for presents unacceptable security

                                           risks due to its proximity to the Jardine Water Treatment Plant.” (Copies of Biagi’s letters are

                                           attached as Exhibits 6 and 7 and are incorporated herein). CDOT and Biagi did not determine

                                           that the work to be done in constructing the marina created any of the hazards enumerated in

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                                           Section 10-40-330. Nor did CDOT and Biagi deny the Harbor Permit for any reason other than

                                           the purported “security risks” of the proposed marina.
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                                                    The Jardine Water Treatment Plant

                                                    20.   The City completed construction of the Jardine Water Treatment Plant in 1954,

                                           under permit from the Secretary of the Army. The Secretary of the Army Permit stipulated,

                                           among other things, that construction and operation of the Plant would not cause any

                                           “unreasonable interference with navigation” and that “ . . . no attempt shall be made by the

                                           permittee or the owner to forbid the full and free use by the public of all navigable waters at or

                                           adjacent to the work or structure.” (A copy of the Secretary of Army Permit is attached as

                                           Exhibit 8 and incorporated herein).

                                                    21.   In connection with constructing the Jardine Plant and applying to the Secretary of

                                           the Army for a permit, the City Council passed an ordinance on March 2, 1951 (the “Jardine

                                           Ordinance”) that provided, among other things, that “no attempt shall be made by the permittee

                                           or the owner to forbid the full and free use by the public of all navigable waters at or adjacent to

                                           the Plant.” (A certified copy of the Jardine Ordinance is attached as Exhibit 9 and incorporated

                                           herein).

                                                    22.   In Bowes v. City of Chicago, 3 Ill. 2d 175 (1954), the Illinois Supreme Court

                                           rejected a lawsuit seeking to enjoin construction of the Jardine Plant and cited the above

                                           provisions of the Secretary of Army Permit in finding that “construction of the filtration plant

                                           will not . . . materially interfere with navigation.” Id.

                                                    23.   The North Slip is located inside the Chicago Harbor breakwater near a larger area

                                           just north of the Jardine Water Treatment Plant known as the “Playpen.” During boating season,

                                           hundreds if not thousands of recreational boats transit or randomly moor in the Playpen. Large



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                                           scale events such as Boat-A-Palooza and the Chicago Scene Boat Party also draw a large number

                                           of boats to the area. Except for a small Security Zone in the middle of the north side of the
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                                           Jardine Water Treatment Plant, boats are legally free to transit the north and east sides of the

                                           Plant without restriction or monitoring of any kind. Recreational and other boats frequently

                                           transit and dock in the North Slip itself during such events as the America’s Cup race. (Attached

                                           as Exhibit 10 and incorporated herein are pictures which fairly and accurately depict boats in

                                           and around the Jardine Water Treatment Plant at various times).

                                                    24.     The Coast Guard is responsible for security and safety in all navigable waters

                                           within the United States, including the waters surrounding the Jardine Water Treatment Plant.

                                           See, 46 U.S.C. § 70001 et. seq, 14 U.S.C. § 1 et seq. The Coast Guard is authorized to impose

                                           so-called “Security Zones” to restrict transit on navigable waters. On November 14, 2011, the

                                           Coast Guard limited a Security Zone that had been on the entire north side of the Jardine Water

                                           Treatment Plant to a 100-yard arc around the center of the north wall of the Plant. See 35 CFR §

                                           165.190. There is no Security Zone covering the North Slip.1 The Coast Guard does not

                                           preclude, and has not indicated any objection to, construction or operation of a marina on the

                                           north side of Navy Pier. The Coast Guard does not require any permit to construct or operate a

                                           marina in that location.

                                                    25.     By letter dated November 6, 2020, NPM requested CDOT and Biagi to reconsider

                                           its denial of the Harbor Permit and requested a meeting to address their security concerns, but

                                           CDOT and Biagi did not respond to NPM’s letter. (A copy of NPM’s letter is attached as Exhibit




                                           1
                                            On April 21, 2021, the City placed buoys 100 yards out around the entire Plant, contrary to the limited Security
                                           Zone ordered by the Coast Guard, and also improperly placed two “No Boating” buoys at the mouth of the North
                                           Slip. These buoys violate both the Secretary of the Army’s Permit for the Jardine Plant and also the City’s own
                                           Jardine Ordinance.

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                                           11). NPI, MPEA, NPM and the City subsequently discussed other alternatives in an effort to

                                           settle this dispute, but no settlement was reached.
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                                                    26.   NPM has suffered substantial money and other damages from Defendants’ actions

                                           in an amount to be proven. NPM’s damages include fees and expenses it incurred in performing

                                           under the License Agreement, increased raw material and construction costs resulting from the

                                           delay occasioned by Defendants’ denial of the Harbor Permit, and loss of use and value of the

                                           marina. NPM also faces irreparable injury for which it may have no adequate remedy at law if a

                                           Harbor Permit for the Navy Pier marina is not promptly issued. Among other things, the License

                                           Agreement may be rendered worthless, unless construction of the marina begins promptly, it

                                           may not be able to be built at all because of sunset provisions in federal and state permits and/or

                                           grants and escalating costs of construction and NPM, Navy Pier, and the citizens of Chicago will

                                           lose the benefit of the 2022 and future boating seasons, as well as the opportunity to use the

                                           marina in connection with events planned for those boating seasons. These losses may not be

                                           calculable in money damages.

                                                                                      COUNT I
                                                                                Declaratory Judgment


                                                    27.   NPM brings this Count for a declaratory judgment pursuant to 735 ILCS 5/2-701.

                                           There is an actual controversy between NPM and Defendants regarding Defendants’ denial of a

                                           Harbor Permit for construction of a marina on the north side of Navy Pier, NPM re-alleges and

                                           incorporates herein paragraphs 1 through 26.

                                                    28.   Defendants exceeded their authority in denying the Harbor Permit and the denial

                                           is void for each of the following separate and independent reasons:




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                                                           A.     Section 10-40-330 of the Municipal Code does not provide Defendants

                                           any authority or discretion to deny the Harbor Permit based on the proposed location of the
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                                           marina presenting security risks due to its proximity to the Jardine Water Treatment Plant;

                                                           B.     Denial of the Harbor Permit contravenes the City’s legislative enactment

                                           in the Amended PD 527 Ordinance which specifically and expressly approved locating the

                                           marina on the north side of Navy Pier across the North Slip from the Jardine Water Treatment

                                           Plant and specified that no further approvals were required;

                                                           C.     Denial of the Harbor Permit contravenes the State of Illinois’ legislative

                                           enactment in the RLS Act, which specifically and expressly approved locating a marina on the

                                           north side of Navy Pier across the North Slip from the Jardine Water Treatment Plant;

                                                           D.     Denial of the Harbor Permit interferes with the full and free use by the

                                           public of the navigable waters at or adjacent to the Jardine Water Treatment Plant in violation of

                                           the Secretary of Army Permit and the City’s own Jardine Ordinance;

                                                           E.     Denial of the Harbor Permit violates the requirement announced by the

                                           Illinois Supreme Court in Bowes v. City of Chicago, 3 Ill. 2d 175 (1954) that operation of the

                                           Jardine Water Treatment Plant would not cause any “unreasonable obstruction to the free

                                           navigation” of the waters surrounding the Plant.

                                                    29.    As a result of each of the foregoing, Defendants acted without authority, usurped

                                           legislative authority and exceeded their jurisdiction.

                                                    30.    NPM has been injured and faces continuing injury, including irreparable injury,

                                           from Defendants’ actions.

                                                    WHEREFORE, NPM requests that this Court declare, decree and adjudge that: i)

                                           Defendants exceeded their authority in denying the Harbor Permit; ii) their denial of the Harbor



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                                           Permit, as reflected in Biagi’s April 24, 2020 and June 15, 2020 letters or otherwise, is null and

                                           void; iii) the Harbor Permit should promptly issue; iv) NPM is entitled to such further relief as
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                                           becomes necessary or proper based on the Court’s declaration, including temporary, preliminary

                                           and permanent injunctive relief and money damages; and v) NPM is entitled to an award of its

                                           reasonable attorney’s fees and costs.

                                                                                       COUNT II
                                                                                   (Writ of Mandamus)


                                                    31.   NPM brings this Count for a writ of mandamus compelling Biagi to issue the

                                           Harbor Permit for construction of a marina on the north side of Navy Pier pursuant to MPEA’s

                                           application. NPM re-alleges and incorporates herein paragraphs 1 through 30.

                                                    32.   Defendants, acting through Biagi, had a clear duty to issue the Harbor Permit

                                           because it met the requirements of Section 10-40-330 of the Municipal Code. Section 10-40-330

                                           specifies that the Commissioner “shall issue the permit desired” so long as the “work to be done”

                                           does not result in the enumerated hazards. Biagi had no discretion to deny the Harbor Permit for

                                           any reason not specified in Section 10-40-330. Biagi has the ministerial duty to issue Harbor

                                           Permits on applications that comply with Section 10-40-330, including MPEA’s application.

                                                    33.   Biagi also had a clear duty to issue the Harbor Permit because the Amended PD

                                           527 Ordinance specified that “no further approvals shall be required under this Planned

                                           Development or the Zoning Ordinance,” Biagi had no discretion to impose a further approval

                                           requirement based on the proximity of the already approved marina to the Jardine Water

                                           Treatment Plant. Biagi has the ministerial duty to issue Harbor Permits on applications that

                                           comply with Section 10-40-330, including MPEA’s application.

                                                    34.   Biagi also had a clear duty to issue the Harbor Permit because both the Secretary

                                           of the Army Permit and the Jardine Ordinance specified that the City had no authority to forbid

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                                           the full and free use of the navigable waters at or adjacent to the Jardine Water Treatment Plant.

                                           Biagi had no discretion to deny the Harbor Permit based on the marina’s location at or on waters
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                                           in proximity to the Plant. Biagi has the ministerial duty to issue Harbor Permits on applications

                                           that comply with 10-40-330, including MPEA’s application.

                                                    35.   Biagi breached her clear ministerial duties to issue a Harbor Permit on MPEA’s

                                           fully compliant application. She denied the Harbor Permit for a reason that is not enumerated in

                                           Section 10-40-330 of the Municipal Code. She also imposed a further approval requirement,

                                           contrary to the Amended PD 527 Ordinance and she violated both the Secretary of the Army

                                           Permit and the Jardine Ordinance. Section 10-40-330, Amended PD 527, the Secretary of the

                                           Army Permit and/or the Jardine Ordinance required Biagi to issue the Harbor Permit based on

                                           the fully compliant application, but she did not do so.

                                                    36.   NPM has a clear right to an order compelling Biagi to fulfill her ministerial duty

                                           by issuing the Harbor Permit. Through its License Agreement with NPI, NPM has the right and

                                           obligation to “design, construct, finance, maintain, and operate” the Navy Pier marina on behalf

                                           of NPI and MPEA. Included are the right and obligation to “apply for and diligently pursue” all

                                           necessary permits, including a Harbor Permit. NPM also has the right to “peaceably and quietly

                                           hold and enjoy” the marina. Biagi improperly interfered with these rights by denying the Harbor

                                           Permit for a reason not permitted under law, even though NPM presented a fully compliant

                                           application.

                                                    WHEREFORE, NPM requests that this Court: i) issue a writ of mandamus ordering Biagi

                                           to issue a Harbor Permit for construction of a marina on the north side of Navy Pier pursuant to

                                           MPEA’s application; ii) order such other and further relief as is appropriate, including




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                                           temporary, preliminary and permanent injunctive relief and money damages; and iii) award NPM

                                           its reasonable attorney’s fees and costs.
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                                                                                     COUNT III
                                                                                Due Process Violations

                                                    37.   NPM brings this Count for violation of NPM’s due process rights. NPM re-

                                           alleges and incorporates herein paragraphs 1 through 36.

                                                    38.   Defendants’ denial of the Harbor Permit violated NPM’s due process rights under

                                           Article 1, Section 2 of the Illinois Constitution and the Fifth and Fourteenth Amendments to the

                                           United States Constitution. NPM has a property interest in the Harbor Permit, which Biagi and

                                           CDOT had no discretion to deny, and in the License Agreement, pursuant to which NPM has

                                           various fundamental rights, including the right to design, construct, finance, maintain and operate

                                           the marina at Navy Pier, the right to quietly enjoy the premises on which the marina is located,

                                           and riparian rights to use and access and to allow others to use and access the navigable waters of

                                           Lake Michigan from those premises. NPM expended significant time and money preparing to

                                           perform and performing under the License Agreement.

                                                    39.   Defendants took and deprived NPM of its property and fundamental rights

                                           without compensation. Denial of the Harbor Permit was illegal, arbitrary, unreasonable,

                                           capricious and without any rational basis and it bears no substantial relationship to the public

                                           welfare. Except for a small Security Zone on the north side of the Jardine Water Treatment Plant,

                                           the City is specifically and legally precluded from interfering with or forbidding the full and free

                                           use of the waters around the Plant. In addition, the City’s denial of the Harbor Permit does not

                                           specify any security risk. Recreational boats and other watercraft frequently transit the waters

                                           around the Jardine Water Treatment Plant and have done so for nearly 70 years. An actively




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                                           managed marina at Navy Pier, where the boaters are known and registered, will provide greater

                                           security in the North Slip and for the Jardine Water Treatment Plant than exists today.
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                                                    40.   Despite numerous requests over a period of years, Defendants also did not

                                           provide any opportunity for NPM, NPI or MPEA to address the asserted security risks that

                                           caused CDOT and Biagi wrongly to deny the Harbor Permit. They did not ask for any input or

                                           materials regarding security while the Harbor Permit application was pending. Nor did they

                                           respond to NPM’s November 6, 2020 letter, which identified numerous security features NPM

                                           had previously committed to implement and requested a meeting with CDOT and Biagi to

                                           address security concerns. Those security features included:

                                                         establishing and clearly identifying a restricted area along the entire south edge of
                                                          the Jardine Water Treatment Plant property;

                                                         placing buoys in restricted areas, providing signage warning that mooring is not
                                                          allowed;

                                                         providing the Department of Water Management with two security cameras on
                                                          Navy Pier with intrusion detection capabilities that tie into Jardine’s existing
                                                          security;

                                                         contributing money for fencing along the south edge of the Jardine property;

                                                         employing an armed guard from 11 PM to 7 AM;

                                                         coordinating security with Jardine personnel;

                                                         requiring boaters not registered with the marina to radio or telephone marina
                                                          security before entering the North Slip;

                                                         inviting the Chicago Marine Police, the IDNR Police and the Chicago Fire
                                                          Department and/or Coast Guard to moor vessels at the marina for first responders.

                                           Defendants thus failed to consider all relevant and crucial aspects before denying the Harbor

                                           Permit and their decision-making was not rational.

                                                    41.   Defendants’ illegal, arbitrary, capricious, unreasonable, and irrational denial of

                                           the Harbor Permit damaged NPM by rendering or threatening to render the License Agreement

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                                           worthless, preventing NPM from using the premises licensed under the License Agreement,

                                           infringing and denying NPM its aforementioned rights, causing NPM to lose the value of its
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                                           substantial investment in the Navy Pier marina and causing NPM millions of dollars in damages.

                                           Defendants’ actions also made it impossible for NPM to perform under the License Agreement.

                                                    WHEREFORE, NPM requests that the Court enter a judgment: i) finding that

                                           Defendants’ denial of the Harbor Permit was an improper taking and deprivation of property

                                           without compensation in violation of the Illinois and United States Constitutions, was illegal,

                                           arbitrary, unreasonable, capricious and irrational, bears no relationship to the public welfare and

                                           violated NPM’s due process rights; ii) entering a temporary restraining order, preliminary

                                           injunction and permanent injunction ordering Defendants to issue the Harbor Permit and/or

                                           enjoining them from refusing to issue the Harbor Permit; iii) ordering the City to pay NPM’s

                                           damages in an amount to be determined, representing the value of NPM’s costs and investment

                                           in the marina and the value of its License Agreement and fundamental rights which the City

                                           improperly took from NPM; iv) ordering such other and further relief as is appropriate, and; v)

                                           ordering the City to pay NPM’s reasonable attorney’s fees and costs.

                                                                                    COUNT IV
                                                                                 Promissory Estoppel


                                                    42.   NPM brings this Count for promissory estoppel. NPM re-alleges and incorporates

                                           paragraphs 1 through 41.

                                                    43.   As a result of the Amended PD 527 Ordinance, the City unambiguously

                                           represented to MPEA, NPI and the general public, including NPM, that the City approved

                                           locating a marina on the north side of Navy Pier across the North Slip from the Jardine Water

                                           Treatment Plant and that no further approvals for a marina at that location would be necessary,

                                           other than complying with CDOT construction standards. As a result of the Jardine Ordinance,

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                                           the City unambiguously represented to MPEA, NPI and the general public, including NPM, that

                                           the City would not forbid the full and free use of the waters at or adjacent to the Jardine Water
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                                           Treatment Plant.

                                                    44.   The City also knew at least as early as 2016 that MPEA planned to construct and

                                           operate a marina on the north side of Navy Pier. The City knew that NPI had solicited requests to

                                           developers to build and operate the marina and that NPI and MPEA entered into the License

                                           Agreement. The City further knew that NPM as licensee under the License Agreement had or

                                           would expend substantial resources performing under the License Agreement. The City publicly

                                           announced the marina and, until Biagi’s April 24, 2020 letter, the City never indicated that a

                                           marina could not be built or operated on the north side of Navy Pier. Indeed, in late 2019, CDOT

                                           itself requested that NPM make certain changes to and provide substantial additional material in

                                           support of the Harbor Permit application, as if CDOT were actually considering the application

                                           on its merits, without ever indicating that the marina could not be built because of “security

                                           risks.” These actions and omissions constitute further and additional representations by the City

                                           that a marina could be located on the north side of Navy Pier.

                                                    45.    NPM relied on those representations by, among other things, preparing and

                                           submitting responses to NPI’s two Requests for Qualifications/Proposals, entering the License

                                           Agreement with NPI and spending significant time and money preparing to perform and

                                           performing under the License Agreement. NPM’s reliance on the City’s representations was

                                           expected and foreseeable by the City. The City breached its representations by denying the

                                           Harbor Permit for the marina based solely on it being located on the north side of Navy Pier.

                                           NPM relied to its detriment on the City’s representations and suffered damages. The City’s

                                           actions have worked a fraud and injustice on NPM.



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                                                    WHEREFORE, NPM requests that the Court enter a judgment: i) finding that Defendants

                                           are estopped from denying the Harbor Permit and from disapproving locating a marina on the
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                                           north side of Navy Pier; ii) entering a temporary restraining order, preliminary injunction and

                                           permanent injunction ordering Defendants to issue the Harbor Permit and/or enjoining them from

                                           refusing to issue the Harbor Permit; iii) ordering the City to pay NPM’s damages in an amount to

                                           be determined; iv) ordering such other and further relief as is appropriate; and v) ordering the

                                           City to pay NPM’s reasonable attorney’s fees and costs.

                                                                                         NPM VENTURE LLC



                                                                                         By: /s/ Michael R. Levinson
                                                                                             One of its Attorneys

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                                           Dated: September 8, 2021




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                                                                            LEASE AGREEMENT

                                                                                by and between

                                                                The Metropolitan Pier and Exposition Authority,
                                                                   a municipal corporation and body politic
                                                                            of the State of Illinois,

                                                                                      and

                                                                                 Navy Pier, Inc.,
                                                                     an Illinois not-for-profit corporation.




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                                                                                            SUMMARY OF DEFINED TERMS

                                               TERM                                                                                                           SECTION DEFINED IN

                                               Pre-Commencement Improvements ............................................................................................. 4.3
                                               Pre-Existing Environmental Condition/Pre-Existing Environmental Conditions .................... 4.2.2
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                                               Premises ............................................................................................................................. Recital C
                                               Promissory Note ......................................................................................................................... 6.10
                                               Proposed Amendment ............................................................................................................... 2.6.1
                                               Proposed Initial Budget. ............................................................................................................... 6.9
                                               PUD .............................................................................................................................................. 1.2
                                               Redeveloped Improvements ...................................................................................................... 5.2.1
                                           f   Rent .............................................................................................................................................. 3.1
                                               Repair/Repairs ............................................................................................................................ 11.1
                                           I   Second Notice ............................................................................................................................ 22.4
                                               Service Contracts ......................................................................................................................... 6.4
                                               Sublease/Subleases ...................................................................................................................... 9.2
                                               Sublessee/Sublessees ...................................................... ~ ............................................................ 9.3
                                               Taxes ............................................................................................................................................ 3.3
                                               Term ............................................................................................................................................. 1.4
                                               Third Party Consents .................................................................................................................. 22.6
                                               Transition Period .......................................................................................................................... 2.6
                                               Working Capital Loan ................................................................................................................ 6.10
                                               Unavoidable Delay..................................................................................................................... 20.1
                                               yvehicles ........................................................................................................................................ 7.2



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                                                      This LEASE AGREEMENT (the "Agreement") is made this 26th day of April, 2011 (the
                                               "Effective Date"), by and between The Metropolitan Pier and Exposition Authority, a municipal
                                               corporation and body politic of the government of the State of illinois (the "AUTHORITY"),
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                                               having its principal office at 301 E. Cermak, Chicago, Illinois, and Navy Pier, Inc., an illinois
                                               not-for-profit corporation ("LESSEE"), having its principal office at 600 East Grand A venue,
                                               Chicago, IL 60611.

                                                                                       WITNESSETH

                                                      In consideration of the mutual covenants herein contained, the receipt and sufficiency of
                                               which the parties acknowledge, the AUTHORITY and LESSEE hereby agree as follows:

                                                                                         RECITALS

                                                       A.      Pursuant to the Metropolitan Pier and Exposition Authority Act 70 ILCS 210/4
                                               (the "Act"), the AUTHORITY holds title to, and is authorized to carry out or otherwise provide
                                               for the recreational, cultural, commercial or residential development of real property legally
                                               described on Exhibit A-1. depicted on Exhibit A-2, and commonly known as "Navy Pier" and
                                               to construct, equip, and maintain grounds, buildings and facilities for those purposes.

                                                      B.     Pursuant to that certain Intergovernmental Cooperation Agreement Regarding the
                                               NavyPier and The Navy Pier Headlands dated as of August 25, 1992, by and between the City
                                               of Chicago (the "City") and the AUTHORITY and that certain Lease Agreement dated as of
                                               December 11, 2002, as amended, and as same may be 'amended from time-to-time, by and
                                               between the City and the AUTHORITY (collectively, the "Gateway Park Lease"), the
                                               AUTHORITY leases the real property legally described on Exhibit A-3 and commonly known
                                               as "Gateway Park".
                                           I           C.      Navy Pier and Gateway Park are operated together by the AUTHORITY as a
                                               tourist attraction. Navy Pier and Gateway Park along with all parking areas, structures,
                                               landscaping, buildings and other improvements now or hereafter located thereon, including the
                                               Pre-Commencement Improvements (defmed hereafter), and the Redeveloped Improvements
                                               (defmed hereafter) (the Pre-Commencement Improvements, and the Redeveloped Improvements
                                               are collectively, the "Improvements"). Navy Pier, Gateway Park, and the Improvements are
                                               collectively herein the "Premises."

                                                       D.      The AUTHORITY identifies the mission of Navy Pier as follows: to be a world-
                                               class public place that celebrates and showcases the vitality of Chicago, and provides for the
                                               enjoyment of Chicago-area residents and visitors, by creating an eclectic mix of public, cultural,
                                               recreational, retail, dining, entertainment and other compatible uses attracting a broad-range of
                                               visitors, and managed within a business framework that provides for the long-term fmancial
                                               sustainability of Navy Pier. Further, the AUTHORITY recognizes that in order to further such
                                               mission and advance these public purposes, it is desirable to transfer responsibility for the
                                               operation of the Premises to LESSEE.

                                                      E.      LESSEE is an Illinois not-for-profit corporation formed for the purpose of: (a)
                                               supporting, sustaining, and investing its funds and to lessen the burdens of government in and for
                                               the operation of Navy Pier, so as to facilitate the ongoing recreational, educational, cultural and


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                                                  other development of Navy Pier for the benefit of the general public, and all activities incidental
                                                  or related thereto, including, without limitation, implementation of the Framework Plan (defined
                                                  hereafter); (b) maintaining, repairing, operating, designing, fmancing, subleasing, licensing,
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                                                  developing, redeveloping, and/or demolishing the grounds, buildings, facilities, and/or
                                                  Improvements of, and located on, the Premises consistent with the Framework Plan (all such
                                                  permitted activities are collectively, "Approved Operations"); and (c) supporting and benefiting
                                                  the AUTHORITY through the development and operations of Navy Pier for the achievement of
                                                  the AUTHORITY's own governmental purposes.

                                                          F.    In consideration of the foregoing, the AUTHORITY and LESSEE (each a
                                                  "Party," and collectively, "Parties") agree that it would be in the best interests of the public and
                                                  Navy Pier that the AUTHORITY transfer to, and LESSEE accept the transfer of, responsibility
                                           I! .   for the management, operation, and maintenance of the Premises and the implementation of the
                                                  Framework Plan in the manner and to the extent provided in this Agreement;

                                                        NOW, THEREFORE, in consideration of the Joregoing and the mutual covenants and
                                                  agreements herein contained, the AUTHORITY and LESSEE hereby agree as follows:

                                                                     ARTICLE 1. SCOPE AND TERM OF AGREEl\1ENT

                                                            1.1   Premises Covered. Subject to the terms of this Agreement, the AUTHORITY
                                                    hereby leases (and subleases, as applicable), the Premises to LESSEE, and LESSEE hereby
                                                    leases the Premises from the AUTHORITY, for the purpose of implementing the Approved
                                                    Operations with respect to the Premises. LESSEE shall have full and unimpaired access to and
                                           I        use of the Premises at all times during the Term except as otherwise provided for in this
                                                    Agreement.

                                           I               1.2     Use of the Premises. Navy Pier may be used for any lawful purpose in
                                                    compliance with the City of Chicago Institutional Planned Development No. 527, as amended,
                                                    and as same may be amended from time-to-time (the "PUD"). Except to the extent expressly
                                                    permitted by the Gateway Park Lease, the City and/or the PUD, Gateway Park may be used
                                                    only for public parks, gardens and gathering places; walkways, bicycle paths and ramps; boat
                                                    and ship docking, passenger embarking and disembarking; public transportation facilities;
                                                    movable commercial vendors' facilities; kiosks and other similar structures; and related and
                                                    accessory uses and support facilities all in compliance with the PUD. Notwithstanding the
                                                    foregoing, LESSEE may not use any part of the Premises for (a) any business which is noxious
                                                    or unreasonably offensive because of the emission of noise, smoke, dust or odors, (b) adult
                                                    bookstores, pornographic or sexually-oriented shops, (c) massage parlors, (d) any central
                                                    laundry or dry cleaning plant, (e) tattoo parlor, topless or nude performances, or any sexually
                                                    oriented business, (f) any establishment that sells alcoholic beverages for off premises
                                                    consumption, (g) any use that constitutes a public nuisance, (h) flea markets or pawn shops, (i)
                                                    the sale of drug paraphernalia or a "head shop," or (j) any other use that is reasonably
                                                    determined by the AUTHORITY to be unlawful or against the public policy; provided,
                                                    however, no use shall be deemed "against public policy" to the extent same is in compliance
                                                    with the Framework Plan.




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                                           !!           1.3     Ownership of Improvements. Title to the Improvements shall not be
                                                transferred or conveyed to LESSEE but shall throughout the Term, be and remain the property
                                                of the AUTHORITY.
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                                                        1.4    Term of Agreement. The term of this Agreement shall be for twenty five (25)
                                                years, commencing at 12:01 a.m., central time, on July 1, 2011 (the "Lease Commencement
                                                Date") and ending at midnight on June 30, 2036, unless extended pursuant to Section 1.5 or
                                                unless terminated pursuant to the provisions of this Agreement (as it may be extended in
                                                accordance with the terms of this Agreement, the "Term"). The AUTHORITY shall deliver
                                                possession of the Premises to LESSEE on the Lease Commencement Date.

                                                        1.5     Renewal Options. Provided no Event of Default (defmed hereafter) is then in
                                                existence, LESSEE, with the approval of the AUTHORITY, shall have four (4) separate rights
                                                to renew the Term, which shall be deemed automatically exercised by LESSEE unless either
                                                Party notifies the other that the Term will not be extended at least twelve (12) months prior to
                                                the expiration of the original Term of this Agreement or any renewal term as the case may be.
                                                The Term shall automatically renew to extend for an additional term of twenty (20) years each
                                                (for a total renewal period not exceeding an aggregate of eighty (80) years), upon all of the
                                                terms, covenants and conditions contained,in this Agreement. Upon each exercise by LESSEE
                                                (which shall be automatic, as aforesaid) of a renewal option, the Term of the Agreement shall
                                                be extended for a twenty (20) year period, and the number of renewal options then remaining
                                                available to LESSEE shall be reduced accordingly.

                                                         1.6    Marshaling Yards. The AUTHORITY hereby grants to LESSEE the right to
                                                use certain parking areas located south of McCormick Place and shown on Exhibit B (the
                                                "Marshaling Yard Space") for the purpose of parking trailers storing items used in
                                                connection with the Approved Operations generally consistent with the practice in existence on
                                           I    the Lease Commencement Date (approximately 80 to 100 trailers). The AUTHORITY may
                                                revoke the license granted by this Section 1.6 at anytime upon reasonable notice to LESSEE if
                                                the AUTHORITY no longer controls the Marshaling Yard Space. The AUTHORITY shall
                                                endeavor to provide not less than 120 days notice of termination. Throughout the Term the
                                                AUTHORITY shall use commercially reasonable efforts to make the Marshaling Yard Space
                                                or alternative trailer storage space available to LESSEE. During the Term, all property situated
                                                in the Marshaling Yard Space (or at an alternative location made available by the
                                                AUTHORITY) and belonging to LESSEE, its agents, contractors, employees, or invitees, shall
                                                be situated at such location at the risk of LESSEE only, and the AUTHORITY shall not be
                                                liable for damage, theft, misappropriation, or loss of that property.

                                                        1.7    Addresses of Parties. Any notice, consent or other communication given
                                                pursuant to this Agreement shall be in writing and shall be delivered, sent by certified or
                                                registered mail (return receipt requested and postage prepaid), personal delivery, or nationally
                                                recognized overnight courier, addressed as follows:

                                                     To AUTHORITY:

                                                                    Metropolitan Pier and Exposition Authority




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                                                                      Corporate Center
                                                                      301 E. Cermak Road
                                                                      Chicago, Illinois 60616
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                                                                      Attention: Chief Executive Officer


                                                                      With a copy to:

                                                                      Metropolitan Pier and Exposition Authority
                                                                      Corporate Center
                                                                      301 E. Cermak Road
                                                                      Chicago, lllinois 60616
                                                                      Attention: General Counsel


                                                      To LESSEE:

                                                                      Navy Pier, Inc.
                                                                      Attn: General Manager and General Counsel
                                                                      Navy Pier
                                                                      600 East Grand A venue
                                                                      Chicago, IL 60611
                                                                      Telephone: 312-595-5385

                                                                      and:


                                           I                          Navy Pier Inc.
                                                                      Attn: Board Chairman
                                                                      c/o Navy Pier
                                                                      600 East Grand Avenue
                                                                      Chicago, IL 60611

                                               or such other persons or addresses as either the AUTHORITY or LESSEE may from time to time
                                               designate by notice to the other. A notice, other communication or approval shall be deemed to
                                               have been sent and received (i) on the day it is delivered, or if such day is not a business day or if
                                               the notice is received after ordinary office hours (time of place of receipt), the notice, other
                                               communication or approval shall be deemed to have been sent and received on the next business
                                               day, or (ii) on the date such notice is refused or returned as undeliverable, so long as same has
                                               been sent to the address provided in, or provided in accordance with, this Section.

                                                         1.8   Successors and Assigns. The covenants, conditions and agreements contained
                                                 in this Agreement shall bind and inure to the benefit of the Parties hereto and their respective
                                                 permitted successors and their assigns, as provided herein.



                                                                       ARTICLE 2. GENERAL CONSIDERATIONS


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                                                            2.1    Agreement Documents. The following documents taken as a whole, constitute
                                                    this Agreement and are hereby incorporated herein: (1) the executed Agreement; and (2) all
                                                    exhibits and schedules attached hereto.
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                                                                  2.1.1      Order of Precedence. In the event that any provision in any of the
                                                   exhibits or schedules attached hereto were to conflict with any provision in this Agreement, the
                                                   provisions in this Agreement shall govern over the provisions of any such exhibits and
                                                   schedules.

                                                                  2.1.2     Contents of Agreement. This Agreement, with the exhibits and
                                                   schedules attached hereto, constitutes the entire understanding by and between the Parties hereto,
                                                   and, except for those other documents which are expressly referenced and incorporated into this
                                                   Agreement, this Agreement supersedes any prior negotiations, agreements, understandings or
                                                   statements at any time made or had by and between the Parties hereto or any of their agents or
                                                   employees. No amendment or modification hereof shall be deemed valid unless first reduced to
                                                   writing and dated and signed by the Parties hereto. No waiver of any of the provisions of this
                                                   Agreement or any rights granted by the terms hereof shall be valid unless such waiver is in
                                                   writing, duly executed and dated by the Party sought to be charged therewith.

                                                             2.2     Severability. If any term, covenant, condition or provision of this Agreement
                                                     or the application thereof to any circumstance or to any person, firm or corporation shall be
                                                     invalid or unenforceable as a matter of law, and the LESSEE has not terminated the Agreement
                                                     pursuant to Section 22.7 below, the remaining terms, covenants, conditions and provisions of
                                                     this Agreement or the application thereof to any circumstances or to any person, firm or entity
                                                     other than those to which any term, covenant, condition or provision is held invalid or
                                                     unenforceable as a matter of law, shall not be affected thereby and each remaining term,

                                           I         covenant, condition and provision of this Agreement shall be valid and shall be enforceable to
                                                     the fullest extent permitted by law.

                                                             2.3    Compliance with Laws. Subject to the terms of this Agreement, LESSEE, its
                                                     officers, agents and employees shall comply with all laws, ordinances, rules, regulations,
                                                     covenants, conditions, and restrictions (collectively "Laws"), enacted by any governmental

                                           ~.  .     authority, quasi-governmental authority, or association body which has the authority to
                                                     regulate the Premises, including Title III of the Americans with Disabilities Act (the "ADA")
                                                     and the provision of such auxiliary aids or alternate services as may be required by the ADA.
                                           r   ~

                                           '                 2.4     Governing Law. LESSEE and the AUTHORITY agree that the terms and
                                                     provisions of this Agreement shall be construed in accordance with the laws of the State of
                                                     Illinois and all questions of interpretation and construction of the language herein shall be
                                                     governed by the laws of the State of Illinois. If LESSEE is presented with a request for
                                                     documents by any administrative agency or with a subpoena duces tecum regarding any
                                                     documents which may be in its possession by reason of this Agreement, LESSEE shall use
                                                     reasonable efforts to give prompt notice of same to AUTHORITY. AUTHORITY, at its sole
                                                     cost and expense, may contest such process by any means available to it before such records or
                                                     documents are submitted to a court or other third party; provided, however, that LESSEE's
                                                     subpoena or request to extend the time to produce such documents is otherwise extended. If
                                                     AUTHORITY is presented with a request for documents by any administrative agency or with


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                                                a subpoena duces tecum regarding any documents which may be in its possession by reason of
                                                this Agreement, AUTHORITY shall use reasonable efforts to give prompt notice of same to
                                                LESSEE. LESSEE, at its sole cost and expense, may contest such process by any means
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                                                available to it before such records or documents are submitted to a court or other third party;
                                                provided, however, that AUTHORITY's subpoena or request to extend the time to produce
                                                such documents is otherwise extended.

                                                        2.5    Contract Administrator. Upon execution of this Agreement, the Chief
                                                Executive Officer of the AUTHORITY shall name a representative who shall have the
                                                authority to give all approvals and consents and take all necessary action on behalf of the
                                                AUTHORITY while administering this Agreement, with the exception of items which, in the
                                                judgment of the Chief Executive Officer of AUTHORITY, require approval by
                                                AUTHORITY's Chief Executive Officer or the Chief Financial Officer or the Board. This
                                                representative shall be known as the "Contract Administrator." The initial Contract
                                                Administrator shall be: the Chief Executive Officer of the AUTHORITY. Throughout the
                                                Term the AUTHORITY may from tiffie to time replace the Contract Administrator by notice
                                                delivered and shall notify LESSEE in accordance with the provisions of Section 1.7.

                                                        2.6    Framework Plan. During the period beginning on the date of this Agreement
                                                and ending on the Lease Commencement Date (the "Transition Period") the Parties shall
                                                develop a comprehensive long term plan to maintain Navy Pier as a high-profile public
                                                attraction and to guide the redevelopment of Navy Pier. The plan shall set forth business
                                                objectives (including the intent to maintain the public nature of Navy Pier), a master land use
                                                plan, investment priorities, development costs and potential sources of private and public
                                                funding along with the conditions to be satisfied by the LESSEE in order to maintain existing
                                                public funding and to secure any future public funding. The plan developed during th~

                                           I    Transition Period and amended by the Parties throughout the Term in accordance with
                                                Section 2.6.1 or Section 22.5 is the "Framework Plan".

                                                              2.6.1     Amendments to Framework Plan. Throughout the Term, the
                                               LESSEE shall have the right to propose an amendment or modification to the Framework Plan
                                               (the "Proposed Amendment") by submitting to the AUTHORITY an initial draft of the
                                               Proposed Amendment for review and approval by AUTHORITY. The AUTHORITY shall
                                               within sixty (60) days after receipt of such initial draft of the Proposed Amendment either
                                               provide comments to such Proposed Amendment or approve the same, and the AUTHORITY's
                                           f
                                               failure to respond within sixty (60) days after receipt of such initial draft shall be deemed
                                           I   approval by the AUTHORITY. If the AUTHORITY provides the LESSEE with comments to
                                               the initial draft of the Proposed Amendment, which shall, in any event, be commercially
                                               reasonable, the LESSEE shall provide a revised Proposed Amendment to the AUTHORITY
                                               incorporating the AUTHORITY's comments within forty-five (45) days after receipt of the
                                               AUTHORITY's comments. This process shall be repeated, if necessary, until the Proposed
                                               Amendment has been fmally approved (or deemed approved) by both Parties.

                                                       2.7   Quiet Enjoyment. Except as otherwise provided for in this Agreement, and so
                                                long as no Event of Default is then in existence, the AUTHORITY hereby covenants and
                                                agrees that LESSEE shall have the peaceful and quiet possession and enjoyment of the



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                                               Premises against all parties claiming adversely thereto by, through, or under the AUTHORITY
                                               subject, however, to matters defined on Schedule 2.7 (the "Permitted Encumbrances").
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                                                                       ARTICLE 3. RENT/NET LEASEffAXES

                                                       3.1     Rent. Beginning on the Lease Commencement Date and on each anniversary
                                               thereof during the Term, LESSEE shall pay annual rent in the amount of one dollar ($1.00)
                                               ("Rent"). Payment of Rent due under this Agreement shall be made to the AUTHORITY no
                                               later than the tenth (lOth) day of the year for which it is due. Rent and all other sums due to the
                                               AUTHORITY hereunder shall be paid by check, bank cashier's check or other acceptable
                                               method payable to the AUTHORITY and shall be mailed or delivered to the AUTHORITY at
                                               the address set forth in Section 1.7. LESSEE shall have the right to pre-pay, without penalty or
                                               charge, some or all of the Rent due under this Agreement at any time; however, in the event of
                                               a termination of this Lease, any pre,-paid Rentshall be non-refundable to LESSEE.

                                                       3.2      Modified Net Agreement.          Except as otherwise provided for in this
                                               Agreement: (i) LESSEE is to bear all expenses and make all payments for the maintenance,
                                               operation and development of; (ii) LESSEE hereby takes subject thereto and shall perform all
                                               duties and obligations with relation to the Premises, including the development and operation
                                               thereof; (iii) no matter from whatever source arising, if LESSEE shall be ordered or required to
                                               be done by lawful authority or by the terms of this Agreement in, upon or with respect to the
                                               Premises, the same shall be done and fulfilled at the sole expense and risk and responsibility of
                                               LESSEE during the Term of this Agreement without any expense, risk, liability or obligation
                                               whatsoever to or upon the AUTHORITY or the AUTHORITY's successors, grantees or
                                               assigns of the Premises. The AUTHORITY shall not be liable for, and LESSEE shall pay, all
                                               federal, state, or local taxes owed in connection with this Agreement.

                                           I           3.3      Real Estate Taxes. LESSEE acknowledges that the AUTHORITY's interest in
                                               the Premises is exempt from leasehold, real estate, and other property taxes ("Taxes").
                                               LESSEE shall pay when due any Taxes assessed or levied on the subject Premises where
                                           L   attributable to LESSEE's use of the Premises. LESSEE shall notify the appropriate taxing
                                               body that LESSEE is occupying the Premises pursuant to the terms of this Agreement. To the
                                               extent the appropriate taxing body determines that Taxes, if any, are to be assessed on the
                                               Premises as a result of LESSEE's occupancy, LESSEE shall thereafter contact the appropriate
                                               taxing body to ascertain the tax amount, if any, assessed on the subject Premises. LESSEE
                                               shall pay such amounts and LESSEE shall provide the AUTHORITY with proof of such
                                               payment within ten (10) days of such payment. Provided, it is the understanding and
                                               expectation of the Parties that LESSEE has been established and will be operated in a manner
                                               which renders its interests in the Premises exempt from Taxes. It is the intention of the Parties
                                               that the transfer of interests made by this Agreement will not render the Premises taxable to
                                               any degree greater than existed prior to the date of this Agreement. In the event of a change in
                                               Laws, or the issuance of other binding interpretation or administrative ruling concerning the
                                               taxation of the Premises, the Parties agree to amend this Agreement in accordance with
                                               Section 22.5 to keep in effect or otherwise secure tax exempt status for the Premises, which
                                               amendments may include permitting the re-organization of LESSEE to render LESSEE's
                                               interest in the Premises exempt for Taxes to the maximum extent permitted by law.



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                                                      3.4    Inspection of Records. LESSEE agrees, upon the written request of the
                                               AUTHORITY, to make available to the AUTHORITY for its inspection at LESSEE's principal
                                               place of business in lllinois, receipts or records of the appropriate taxing authority or other
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                                               proof evidencing the payment of Taxes reasonably satisfactory to the AUTHORITY.

                                                       3.5     Right to Contest. Upon giving prior written notice to the AUTHORITY of
                                               LESSEE's intention to contest, LESSEE shall have the right to contest by appropriate
                                               proceedings diligently conducted in good faith, in the name of LESSEE or the AUTHORITY
                                               or both, without material cost or expense to the AUTHORITY, the validity or application of
                                               any Taxes, of any mechanics' lien, or of any governmental law or regulation. If payment of
                                               any Taxes or rp.echanics' lien or if compliance with any governmental law or regulation may
                                               legally be delayed pending the prosecution of any such proceeding without subjecting LESSEE
                                               or the AUTHORITY to any liability, civil or criminal, for failure to pay such Taxes or
                                               mechanics' lien or to comply with such governmental law or regulation, or subject the
                                               Premises to a forced sale, LESSEE may delay such payment or compliance, as the case may
                                               be, until the fmal determination of such proceeding. Even if such lien, charge, forced sale or
                                               civil liability would be incurred by reason of any such delay, LESSEE may, with the prior
                                               written consent of the AUTHORITY, contest as aforesaid and delay as aforesaid, provided that
                                               such contest or delay does not subject the AUTHORITY to criminal liability, damages or
                                               expense and provided that LESSEE (i) furnishes to the AUTHORITY, upon AUTHORITY's
                                               request, security, reasonably satisfactory to the AUTHORITY, but in no event greater than the
                                               contested sums owed plus any penalties, late fees, and/or interest that might be applied thereto
                                               as a result of such contestation and delayed payment, and (ii) prosecutes the contest with due
                                               diligence. The AUTHORITY shall not be required to join in any proceedings referred to in
                                               this Section 3.5 unless the provisions of any applicable law, rule or regulation at the time in
                                               effect shall require that such proceeding be brought by and/or in the name of the

                                           I   AUTHORITY, in which event the AUTHORITY shall join in the proceedings or permit the
                                               same to be brought in its name if LESSEE shall pay all direct, out-of-pocket, and reasonable
                                               expenses in connection therewith and also shall indemnify and hold the AUTHORITY
                                               harmless against all direct, out-of-pocket, and reasonable liabilities, damages, cost and
                                               expenses in connection therewith.

                                                       3.6    Assignment to Tax Exempt Entity. Throughout the Term the AUTHORITY
                                               shall cooperate with LESSEE in connection with LESSEE's efforts to maintain or secure tax
                                               exempt status for the Premises. The AUTHORITY's cooperation may include permitting an
                                               assignment or sublease to an affiliate of LESSEE's for the purpose of qualifying for real estate
                                               tax exempt status.

                                                        3.7     Final Determination. On fmal determination of any Taxes, of any mechanics'
                                               lien, or of any governmental law or regulation, LESSEE shall promptly pay any judgment
                                               rendered with all proper costs and charges and shall have any lien, charge or liability imposed,
                                               released or satisfied, as the case may be, at LESSEE's own expense, and if LESSEE shall fail
                                               to do so, the AUTHORITY may, at its option and notwithstanding the notice provisions of this
                                               Agreement, immediately pay any such fmal judgment, lien, charge, or liability. If LESSEE
                                               shall fail to pay when due, or contest with due diligence the validity or amount of any Taxes, of
                                               any mechanics' lien, or of any governmental law or regulation, or to give the AUTHORITY
                                               security as hereinabove provided, the AUTHORITY may, but shall not be required to, contest


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                                                 the validity or amount of any such Taxes, any mechanics' lien, or of any governmental law or
                                                 regulation or compromise the same without inquiring into the validity of the claim or the
                                                 reasonableness of the amount thereof. In the event the AUTHORITY takes any of the actions
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                                                 described in this Section 3.7, LESSEE shall reimburse the AUTHORITY for all direct,
                                                 reasonable, and out-of-pocket sums expended by the AUTHORITY in connection therewith.

                                                                         ARTICLE 4. CONDITION OF PRE:MISES

                                                         4.1    Property Accepted "As-Is". Except as expressly set forth in this Agreement,
                                                 LESSEE agrees to accept the possession of the Premises in its "as-is" condition as of the
                                                 Effective Date, subject only to normal wear and tear between the Effective Date and the Lease
                                                 Commencement Date. The Parties acknowledge and agree that Lessee has not conducted an
                                                 inspection with respect to the Pre-Existing Environmental Conditions, if any, and, therefore,
                                                 LESSEE is not familiar with Pre-Existing Environmental Conditions, if any. Except as set
                                                 forth in this Agreement, the AUTHORITY makes no representation or warranty as to the
                                                 condition of the Premises.

                                                         4.2     Environmental Matters.

                                                                4.2.1      Definitions. The following terms shall have the following defmitions:
                                                (a) "Environmental Laws" means all federal, state, local or municipal laws, rules, orders,
                                                regulations, statutes, ordinances, codes, decrees or requirements of any government authority
                                                regulating, relating to, or imposing liability or standards of conduct concerning any Hazardous .
                                                Substances (as defined below), or pertaining to occupational health or industrial hygiene,
                                                protection of the environment, management or use of natural resources, waste management or
                                                pollution (including, without limitation, releases and disposal to air, land, surface water and
                                                groundwater), as now or may at any later time be in effect; and (b) "Hazardous Substances"
                                           I    means any substance, chemical, compound, contaminant, waste, condition, object or material
                                                which is or may be hazardous to human health or safety or the environment due to its ignitability,
                                                corrosivity, reactivity, explosiveness, toxicity, carcinogenicity, infectiousness, radioactivity or
                                                other harmful or potentially harmful properties or effects, including, without limitation, those
                                                substances included within the defmitions of "hazardous substance," "hazardous waste,"
                                                "hazardous material," "toxic substance," "solid waste," or "pollutant or contaminant" or
                                                otherwise regulated under any Environmental Laws; and other substances, materials, and wastes
                                                that are or become regulated or classified as hazardous or toxic under federal, state or local laws
                                           I-
                                                or regulations and includes, without limitation, asbestos and petroleum (including crude oil and
                                           I    any fraction thereof), petroleum byproducts, MTBE, volatile organic compounds, semi-volatile
                                                organic compounds, metals, herbicides, insecticides, fungicides or PCBs.

                                                               4.2.2     Limit of LESSEE's Liability. Except as provided for in Section 4.2.3,
                                                LESSEE shall not be liable or responsible for any liability, claim, cause of action, cost, expense,
                                                fee or damage, including, without limitation, whether to person or property, arising out of or
                                                relating to the presence of any Hazardous Substance on, under, around, within, adjacent to,
                                                released from, or generated upon, the Premises on or before the Lease Commencement Date
                                                (each a "Pre-Existing Environmental Condition," collectively, the "Pre-Existing
                                                Environmental Conditions"). The AUTHORITY shall protect, indemnify, defend and hold
                                                LESSEE and its officers, directors, shareholders, partners, members, agents, employees,


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                                               Sublessees, contractors, representatives, tenants, licensees, invitees, and permitted successors
                                               and/or assigns (collectively, the "LESSEE Indemnified Parties") harmless from and against
                                               any and all liabilities, obligations, claims, damages, penalties, causes of actions, fees, judgments,
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                                               costs and expenses (including, without limitation, investigative costs, reasonable attorneys' fees
                                               and expenses, expert witness fees and court costs) imposed upon, incurred by or asserted against
                                               the LESSEE Indemnified Parties which concern, arise in connection with or result from in any
                                               manner, directly or indirectly, from the Pre-Existing Environmental Conditions.                 This
                                               indemnification shall survive the expiration or termination of this Agreement.

                                                                4.2.3     Limit of AUTHORITY's Liability. Except as provided for in
                                               Section 4.2.2, and except to the extent same is due in whole or in part to the negligence or willful
                                               misconduct of the AUTHORITY or any AUTHORITY Party (defined hereinafter), the
                                               AUTHORITY shall not be liable or responsible for any liability, claim, cause of action, cost,
                                               expense, fee or damage including, without limitation, whether to person or property, arising out
                                               of or relating to the presence of any Hazardous Substance on, under or adjacent to the Premises
                                               during the Term. Except to the extent caused by the AUTHORITY's actions, LESSEE shall
                                               protect, indemnify, defend and hold the AUTHORITY harmless from and against any and all
                                               liabilities, obligations, claims, damages, penalties, causes of actions, judgments, costs and
                                               expenses (including, without limitation, reasonable attorneys' fees and expenses, expert witness
                                               fees and court costs) imposed upon, incurred by or asserted against the AUTHORITY which
                                               concern, arise in connection with or result from in any manner, directly or indirectly, from the
                                               introduction of Hazardous Substances onto the Premises during the Term. This indemnification
                                               shall survive the expiration or termination of this Agreement only to the extent third parties have
                                               undertaken LESSEE's obligations hereunder.

                                                         4.3     Pre-Commencement Improvements. The AUTHORITY, at its sole cost and

                                           I     expense, is currently performing and during the Transition Period and for a reasonable period
                                                 following the Lease Commencement Date, will continue to cause to be performed, certain
                                                 improvements to the Premises described on Schedule 4.3 (the "Pre-Commencement
                                                 Improvements").        LESSEE hereby grants AUTHORITY, its employees, agents and
                                                 contractors the right to enter onto the Premises after the Lease Commencement Date for the
                                                 purpose of performing and completing the Pre-Commencement Improvements.                   The
                                                 AUTHORITY shall proceed diligently to cause the Pre-Commencement Improvements to be
                                                 substantially completed within a commercially reasonable period of time, and AUTHORITY
                                                 shall further use all commercially reasonable efforts to avoid interfering with LESSEE's or its
                                                 Sublessees' or patrons' access to, and use of, the Premises in connection with the Pre-
                                                 Commencement Improvements.

                                                                          ARTICLE 5. FUTURE DEVELOPl\1ENT

                                                         5.1     General. LESSEE shall use commercially reasonable efforts to implement the
                                                 Approved Operations during the Term to the extent LESSEE deems necessary or desirable in
                                                 its reasonable business judgment.




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                                           l                  5.2    LESSEE's Development.

                                                                     5.2.1    Construction and Redevelopment. Throughout the Term and in
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                                                     compliance with the Framework Plan, LESSEE shall cause the remodeling, demolition, and/or
                                                     redevelopment of existing improvements and construction of additional improvements at the
                                                     Premises to the extent LESSEE deems necessary or desirable in its reasonable business judgment
                                                     (collectively, the "Redeveloped Improvements"). All construction contracts and contracts for
                                                     architecture and design of the Redeveloped Improvements shall provide that, if this Agreement is
                                                     terminated for any reason, then, at the election of the AUTHORITY, the contractor shall
                                                     continue to perform its obligations under the contract for the benefit of the AUTHORITY. Upon
                                                     completion of any Redevelopment Improvements, and to the extent same are actually prepared in
                                                     connection therewith, LESSEE shall deliver to the AUTHORITY fmal plans and specifications
                                                     for the Redeveloped Improvements which shall include full civil, architectural, site, structural,
                                                     mechanical, electrical and plumbing plans, and the originals of such documents shall be
                                                     transferred to AUTHORITY upon the expiration or early termination of this Agreement.

                                                                    5.2.2       Duty to Provide Copies of Warranties and Manuals. Upon
                                                     completion of construction of the Redeveloped Improvements, LESSEE shall provide to the
                                                     AUTHORITY copies of any warranties concerning the design, materials and work in LESSEE's
                                                     possession. At such time, LESSEE shall also provide the AUTHORITY with copies of any
                                                     operations and maintenance manuals, including all manufacturers' warranties, operations and
                                                     maintenance requirements, and equipment data for each component of the Redeveloped
                                                     Improvements which are in LESSEE's possession. The originals of all documents referenced in
                                                     this Section shall be transferred to AUTHORITY upon the expiration or early termination of this
                                                     Agreement.

                                                                     5.2.3      Liens. Except as otherwise provided for in this Agreement, the cost of
                                           I         any Redeveloped Improvements and alterations made to the Premises shall be paid in cash or its
                                                     equivalent so that the Premises shall at all times be free of liens for labor and materials supplied
                                                     or claimed to have been supplied to the Premises. The existence of any mechanics, laborers',
                                                     materialmen's, suppliers' or vendors' liens or rights thereto (collectively, "Mechanics' Lien(s)")
                                                     shall not constitute a violation of this Section 5.2.3 if payment is not yet due under the contract
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                                                     which is the foundation thereof. LESSEE shall, however, have the right to contest with due
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                                               ;J    diligence the validity or amount of any Mechanics' Lien pursuant to Section 3.5 above. Neither
                                                     LESSEE, nor any Sublessee, nor any agent, employee, representative, contractor or
                                                     subcontractor of either LESSEE or any Sublessee shall have any power or authority to do any act
                                                     or thing or to make any contract or agreement which will bind the AUTHORITY without the
                                                     written approval of the AUTHORITY. Nothing contained herein shall preclude LESSEE or any
                                                     Sublessee from acquiring any moveable fixture, trade fixture or personal property by lease or
                                                     from granting a purchase money security interest to the vendor of such moveable fixture, trade
                                                     fixture or personal property. Notice is hereby given that the AUTHORITY shall not be liable for
                                                     any labor or materials furnished or to be furnished to LESSEE upon credit, and that pursuant to
                                                     Section 3 of the Act, no mechanic's, materialmen's or other lien for any such labor or materials
                                                     shall issue against any real property of the AUTHORITY.

                                                               5.3    AUTHORITY Not Liable. The AUTHORITY shall have no responsibility or
                                                       obligation to LESSEE or to any Sublessee, contractor, subcontractor, supplier, materialman,


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                                               workman or other person who shall engage in or participate in any construction of any
                                               Improvements or in any additions, alterations, changes or replacements thereto, unless the
                                               AUTHORITY shall expressly undertake such responsibility or obligation hereunder or
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                                               pursuant to an agreement executed by the AUTHORITY.

                                                      5.4    Miscellaneous Permits. LESSEE shall comply with all Laws, governing the
                                               work to be performed in carrying out the construction of the Redeveloped Improvements. The
                                               AUTHORITY shall assist and cooperate with LESSEE, at no cost to the AUTHORITY, in
                                               connection with requests by LESSEE for permits, licenses, variances or other approvals from
                                               any governmental authority which may be necessary for or which will facilitate the
                                               implementation of the Approved Operations pursuant to the Framework Plan and this
                                               Agreement, including executing applications and agreements and amendments.

                                                       5.5    Easements. The AUTHORITY agrees to join in granting or dedicating such
                                               public or private utility company easements as may be required for the implementation of the
                                               Approved Operations within thirty (30) days of written request therefor; provided, however,
                                               that any such dedications or easements shall be subject to the prior reasonable approval of the
                                               AUTHORITY. LESSEE agrees to permit the AUTHORITY to grant or dedicate such public
                                               or private utility company easements at the Premises as may · be requested of the
                                               AUTHORITY; provided, however, that any such dedications or easements shall be subject to
                                               the prior reasonable approval of LESSEE. Any such easements or dedications, and any
                                               improvements located therein, shall be installed, operated, maintained and replaced at the sole
                                               cost and expense of the applicable utility provider or the AUTHORITY. Notwithstanding
                                               anything herein to the contrary, the AUTHORITY shall not consent to an encumbrance of, or
                                               voluntarily encumber, its interest in this Agreement, the Premises and/or the Improvements, or
                                               any part thereof, with any easement, covenant, condition or restriction which would materially

                                           I   diminish LESSEE's rights under this Agreement, materially increase LESSEE's obligations
                                               under this Agreement, or otherwise materially interfere with LESSEE's ability to implement
                                               the Approved Operations, or access to, the Premises, without the prior written consent of

                                           L   LESSEE. Failure of LESSEE to deliver to the AUTHORITY written notice of disapproval or
                                               approval within thirty (30) days of written request therefor will constitute and be deemed
                                               disapproval of the applicable easement.

                                                       5.6    Capital Improvements Account. On or before the Lease Commencement
                                               Date, the AUTHORITY shall deposit a mutually agreed upon amount into an account
                                               established by LESSEE for the sole and exclusive benefit, and under the sole and exclusive
                                               controt, of LESSEE, to be used for the implementation of the Approved Operations, including
                                               deferred maintenance and capital improvements, and for other rights of LESSEE set forth
                                               herein (the "Capital Improvements Account").

                                                                      ARTICLE 6. OPERATION OF PREMISES

                                                       6.1     Operation of the Premises. LESSEE shall have exclusive authority to operate
                                               and manage, and shall be responsible for managing and operating the Premises in accordance
                                               with this Agreement and the Framework Plan. The Framework Plan will require that LESSEE
                                               offer to the general public free admission to the public portions of the Premises, which portions




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                                                    LESSEE may designate from time-to-time in its reasonable business discretion in compliance
                                                    with the Framework Plan.
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                                                                   6.1.1     LESSEE's Duties. In connection with discharging its responsibilities
                                                   tmder this Agreement, and except as set forth herein to the contrary, the LESSEE shall, among
                                                   other things: (i) be responsible for all operating expenses and capital expenditures; (ii) hire and
                                                   employ such personnel as shall, in its judgment, be required to operate, manage and maintain the
                                                   Premises in accordance with the provisions of this Agreement and the Framework Plan, and, in
                                                   connection therewith, shall have sole authority and responsibility to determine the personnel
                                                   policies and practices of the Premises; (iii) maintain the Premises as provided in this Agreement;
                                                   (iv) establish and maintain a disaster recovery plan and manage all provisions of such plan; and
                                                   (v) establish and maintain risk management, safety programs and controls as necessary to
                                                   maintain the insurance coverage required under this Agreement.

                                                             6.2      Revenues. Revenues from leases, licenses, sponsorship agreements, Subleases,
                                                     concessions, parking agreements, and other agreements that permit any person or entity to
                                                     occupy or possess in any manner any part of the Premises or to affiliate itself with the Premises
                                                     (collectively, the "Pier Agreements") and all other revenue of any kind generated by the
                                                     Premises shall be paid to and belong to LESSEE during the Term. LESSEE shall apply such
                                                     revenue exclusively to the implementation of the Approved Operations, and all expenditures
                                                     related thereto.

                                                            6.3      Assignment of Existing Pier Agreements. The AUTHORITY hereby
                                                     conveys, transfers and assigns to LESSEE all right, title and interest in to the Pier Agreements,
                                                     such assignment to be effective as of the Lease Commencement Date. LESSEE hereby
                                                     assumes and agrees to keep, perform and fulfill (or otherwise terminate, to the extent permitted
                                                     thereby) all of the AUTHORITY's obligations under the Pier Agreements relating solely to the
                                           I         Approved Operations, which accrue during the Term.

                                                            6.4     Service Contracts. LESSEE shall have the right without the approval of the
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                                                     AUTHORITY to modify or enter into, or otherwise terminate (to the extent permitted thereby)
                                                     contracts of any term in connection with the operation, repair and maintenance of the Premises,
                                                     as well as any other contracts relating to LESSEE's implementation of the Approved
                                                     Operations ("Service Contracts"). The AUTHORITY hereby conveys, transfers and assigns
                                                     to LESSEE all right, title and interest in and to the Service Contracts presently in effect at the
                                                     Premises and listed on Schedule 6.4 attached hereto, effective as of the Lease Commencement
                                                     Date and such other Service Contracts which may have been omitted from Schedule 6.4 but
                                                     which the Parties subsequently agree were in effect at the Premises effective as of the Lease
                                                     Commencement Date. LESSEE hereby assumes and agrees to keep, perform and fulfill all of
                                                     the AUTHORITY's obligations relating to the Approved Operations under the Service
                                                     Contracts which are required to be performed by the AUTHORITY under the Service
                                                     Contracts during the Term.

                                                            6.5    Administrative Services. To the extent permitted by Law, and to the extent the
                                                     AUTHORITY has resources available, the AUTHORITY shall at LESSEE's request make
                                                     available to LESSEE, at the actual costs incurred by the AUTHORITY, fmance, legal,




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                                                purchasing and human resource, information technology, risk management, and other
                                                administrative functions.
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                                                        6.6     License of Intangibles. The AUTHORITY hereby grants to LESSEE the
                                                exclusive right to use (including the right to make derivative works) during the Term any and
                                                all intellectual property or other intangible personal property owned by the AUTHORITY
                                                related to or used in connection with the operation of the Premises, including without
                                                limitation, the rights of the AUTHORITY in and to any surveys, plats, plans and specifications,
                                                architectural and engineering drawings for the Premises, soil tests, contract rights (including
                                                causes of actions, warranties and indemnities under contracts for the design and construction of
                                                the improvements to the Premises), copyrights and copyrightable works, claims, development
                                                approvals and permits, but specifically EXCLUDING (except as set forth in Section 6.6.1) any
                                                right to the Navy Pier Marks (defmed hereafter). At the expiration or earlier termination of this
                                                Agreement, LESSEE shall assign to the AUTHORITY, or its designee, all right, title and
                                                interest in and any and all intellectual property or other intangible personal property owned by
                                                the LESSEE related to or used in connection with the operation of the Premises during the
                                                Term.

                                                               6.6.1     Intellectual Property. AUTHORITY owns all right, title and interest
                                               to the trademarks and service marks listed on Schedule 6.6.1, whether registered or unregistered,
                                               all in the form and visual identity generally used in connection with the operation of Navy Pier
                                               (collectively, the "Navy Pier Marks," each a "Navy Pier Mark"). During the Term of and
                                               subject to the terms of this Agreement, the AUTHORITY grants to LESSEE an exclusive,

                                           l   worldwide, royalty-free, and fully paid-up right and license to use the Navy Pier Marks for
                                               purposes of LESSEE's performance under this Agreement, and for the promotion of the
                                               Premises, the Approved Operations, and/or to generate income for LESSEE in accordance with

                                           I   the Framework Plan. LESSEE shall not use the Navy Pier Marks for any other purpose without
                                               the AUTHORITY's prior written permission, which may be withheld at the AUTHORITY's sole
                                               discretion. LESSEE agrees that each Navy Pier Mark will always be reproduced as shown on
                                               Schedule 6.6.1 in its entirety with no alterations, obstructions or modifications. LESSEE agrees
                                               to use the appropriate trademark symbol (either TM or®) and, as space allows, to reference the
                                               AUTHORITY as the owner of the Navy Pier Marks by inclusion of the following language on
                                               materials developed pursuant to this Agreement:


                                               - - - - - - - - - are registered trademarks/service marks of the Metropolitan Pier
                                               and Exposition Authority and are used with permission. All rights reserved.

                                                                     6.6.1.1        LESSEE acknowledges that Navy Pier Marks have
                                               secondary meaning in the eyes of purchasers and the public, that the Navy Pier Marks enjoy an
                                               excellent reputation and that the provision of goods or services of poor quality under the Navy
                                               Pier Marks could adversely affect such reputation. LESSEE agrees that it will comply with any
                                               additional reasonable trademark usage guidelines that the AUTHORITY may communicate to
                                               LESSEE from time to time which AUTHORITY reasonably believes are necessary to prevent
                                               the loss of AUTHORITY's and/or LESSEE's rights in and to the Navy Pier Marks. Upon
                                               request, LESSEE will make available to the AUTHORITY copies or originals of any materials
                                               bearing any of the Navy Pier Marks as requested by the AUTHORITY from time to time.


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                                                   LESSEE agrees that it shall use its best efforts to maintain the reputation of Navy Pier, and
                                                   further agrees that its use of the Navy Pier Marks pursuant to this Agreement shall be of a quality
                                                   at least as high as the quality of goods and services offered at Navy Pier prior to this Agreement.
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                                                                          6.6.1.2      Other than the express rights and licenses granted herein
                                                   with respect to the Navy Pier Marks, nothing herein will grant LESSEE any other right, title or
                                                   interest in the Navy Pier Marks. All goodwill resulting from LESSEE's use of the Navy Pier
                                                   Marks shall inure solely to the AUTHORITY. Notwithstanding anything contained herein to
                                                   the contrary, any consideration and/or income earned during the Term relating to the license,
                                                   sub-license. or use of the Navy Pier Marks which is permitted herein shall inure to LESSEE's
                                                   benefit to be used for LESSEE's implementation of the Approved Operations. During the Term,
                                                   LESSEE may develop additional trade or service marks relating to the Premises or to services or
                                                   events held on the Premises. Any marks developed by LESSEE during the Term shall be owned
                                                   by the AUTHORITY and shall be considered licensed Navy Pier Marks under this Agreement.

                                                                          6.6.1.3         LESSEE will not, at any time during or after this
                                                   Agreement:
                                            .".!
                                            ;_;

                                           f'tj                                   (a) register, attempt to register, or claim any interest (other than the
                                                   license granted herein) in the Navy Pier Marks;

                                                                                  (b) challenge, oppose, contest the use of, or otherwise knowingly
                                                   adversely affect the ownership or validity of the Navy Pier Marks (including any act or
                                                   assistance to an act that may infringe or lead to the infringement of any such marks); or

                                                                                 (c) use any of the Navy Pier Marks for or in connection with any
                                                   business, goods or services other than as contemplated under this Agreement.
                                           I                             6.6.1.4       Subject to the prior written approval of the AUTHORITY,
                                                   LESSEE is hereby entitled to sub-license any of the rights granted under Section 6.6.1. Sub-
                                                   licenses must contractually bind any sub-licensee both to LESSEE and AUTHORITY, and
                                                   include all of the obligations and restrictions of Section 6.6.1.1, Section 6.6.1.2 and
                                                   Section 6.6.1.3 in favor of both LESSEE and AUTHORITY. If LESSEE has submitted a
                                                   proposed sub-license to the AUTHORITY pursuant to this Section 6.6.1.4, the AUTHORITY
                                                   shall have been deemed to approve such sub-license unless the AUTHORITY has disapproved
                                                   the proposed sub-license within ten (10) business days of its submission to the AUTHORITY.
                                                   The AUTHORITY hereby grants its approval to LESSEE to enter into sponsorship or other
                                                   similar promotional agreements with third parties provided such agreements are consistent with
                                                   the Framework Plan and the mission for Navy Pier set forth in Recital D.

                                                                         6.6.1.5        Each party will promptly notify the other party in writing
                                                   should it become aware of any actual or suspected infringement or unapproved use(s) by any
                                                   third party of the Navy Pier Marks. Institution and management of any action or proceeding to
                                                   terminate, prevent or seek appropriate remedies for any infringement of the Navy Pier Marks
                                                   will be entirely and solely within the discretion of the AUTHORITY; provided, however, that
                                                   LESSEE be permitted to institute such proceedings upon the written authorization of the
                                                   AUTHORITY which will not be unreasonably withheld.



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                                                                      6.6.1.6        At a date to be mutually agreed between the Parties, but in
                                               no event earlier than eighteen (18) months after the Effective date or later than twenty-four (24)
                                               months after the Effective Date, the Parties agree to meet to (i) evaluate LESSEE's conduct
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                                               under the licenses granted in this Section 6.6.1, (ii) discuss the status of any enforcement actions
                                               under Section 6.6.1.5, and (iii) consider whether ownership of the Navy Pier Marks should be
                                               assigned to LESSEE. LESSEE acknowledges and agrees that this Section 6.6.1.6 does not
                                               constitute an option to purchase the Navy Pier Marks, and that any assignment of the Navy Pier
                                               Marks shall be subject to further negotiations between the Parties.

                                                          6.7     Employees.. On or before the Lease Commencement Date, the AUTHORITY,
                                                 at its sole cost and expense, shall be responsible for notifying, terminating, compensating, and
                                                 otherwise attending to the termination of all of the AUTHORITY's employees employed at the
                                                 Premises. The AUTHORITY shall protect, indemnify and hold harmless the LESSEE
                                                 Indemnified Parties from and against any and all liabilities, obligations, claims, damages,
                                                 penalties, causes of actions, fees, judgments, costs and expenses (including, without limitation,
                                                 investigative costs, reasonable attorneys' fees and expenses, expert witness fees and court
                                                 costs) imposed upon, incurred by or asserted against the LESSEE Indemnified Parties which
                                                 concern, arise in connection with or result from in any manner, directly or indirectly, from the
                                                 AUTHORITY's disengagement and/or termination of AUTHORITY's employees.

                                                              6.7.1 Senior Staff. During the Transition Period the AUTHORITY and the
                                                 LESSEE shall identify, and LESSEE shall hire, certain senior staff currently working at Navy
                                                 Pier to be engaged in their current positions for a period of two (2) years beginning on the
                                                 Lease Commencement Date unless terminated for cause.

                                                              6.7.2 Security Personnet        For the period commencing on the Lease
                                                 Commencement Date through and including December 31, 2011, the AUTHORITY shall
                                           I     provide and the LESSEE shall engage the services of personnel to perform security services at
                                                 the Premises substantially consistent with security services delivered on the Effective Date;
                                                 provided, however, AUTHORITY shall direct such security personnel to take direction from
                                                 LESSEE. LESSEE shall reimburse the AUTHORITY for the actual out of pocket costs of
                                                 security services on a monthly basis within five (5) business days of receipt of the
                                                 AUTHORITY's invoice for the security services. From and after December 31, 2011, the
                                                 AUTHORITY shall have no responsibility to provide any form of security at the Premises.

                                                               6.7.3      Anti-Discrimination. During the performance of this Agreement,
                                               LESSEE shall not discriminate on the basis of race, color, religion, sex, national origin, ancestry,
                                               age, marital status, physical or mental handicap, unfavorable discharge from military service,
                                               parental status, or sexual orientation with respect to employment practices, providing access to
                                               the Premises and services under LESSEE's management, the solicitation for or purchase of
                                               goods or services, or the subcontracting of work in the performance of this Agreement.

                                                             6.7.4     :MBEIWBE Plan. LESSEE shall demonstrate a good faith effort to
                                               develop a plan to increase the participation of minorities and women in the operation of the
                                               Premises (the ":MBEIWBE Plan"). Specifically the MBFJWBE Plan will provide for the
                                               achievement of a certain level of participation of women and minorities employed at the
                                               Premises and in connection with the procurement of resources used in connection with the


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                                                   Approved Operations and the construction and development of Improvements. LESSEE shall
                                                   review, revise and update its MBE/WBE Plan throughout the Term. LESSEE agrees that it will
                                                   include MBEIWBE participation requirements consistent with the MBEIWBE Plan in every
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                                                   contract or subcontract it awards to vendors seeking to provide goods and/or services to LESSEE
                                                   in the course of LESSEE's performance of its obligations under the Agreement. LESSEE will be
                                                   responsible for monitoring compliance with the foregoing provisions. In the event that a
                                                   contractor or subcontractor fails to accept these provisions in its contract, LESSEE will select
                                                   another vendor, unless no other vendor is available to provide the same or substantially similar
                                                   service at comparable cost. In addition, LESSEE will not utilize any contractor or subcontractor
                                                   declared by the Illinois Human Rights Commission or Department of Human Rights to be
                                                   ineligible for contracts or subcontracts with "the State of Illinois or any of its political
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                                                   subdivisions or municipal corporations. LESSEE may rely on any written confirmation from the
                                                   Illinois Department of Human Rights, at the time that LESSEE enters into a particular contract,
                                                   that the particular contractor has not been declared ineligible.

                                                             6.8     Payment of Utilities. LESSEE shall, at all times during the Term of this
                                                     Agreement, promptly pay all charges for water, sewer, electric current, telephone, gas, trash or
                                                     refuse hauling, cable and/or other communication and any other public or private utility service
                                                     used or consumed at the Premises during the Term not payable by Sublessees. At the
                                                     LESSEE's request and to the extent feasible, the Parties shall jointly purchase utilities and/or
                                                     use their joint purchasing power for the purchase of goods and services.

                                                             6.9     Budget. No later than one hundred twenty (120) days after the Effective Date,
                                                     LESSEE shall prepare and deliver to AUTHORITY a balanced operating budget for the
                                                     remainder of such calendar year setting forth the proposed revenue and expenses to be
                                                     generated and incurred by LESSEE for such period of time (the "Proposed Initial Budget").

                                           I         On or before each December 1 thereafter during the Term, LESSEE shall prepare and deliver
                                                     to the AUTHORITY a balanced operating budget for the Premises for the following calendar
                                                     year setting forth the proposed revenue and expenses to be generated and incurred by LESSEE
                                                     for such following year (each the "Annual Budget"). For purposes of this Agreement, an
                                                     operating budget shall be deemed to be balanced if the budget reflects break even or positive
                                                     cash flow which shall be defmed as earnings before depreciation, amortization and other non-
                                                     cash expenses. The Proposed Initial Budget and each Annual Budget shall be consistent with
                                                     the Framework Plan, shall be substantially in a form reasonably acceptable to the
                                                     AUTHORITY and shall include, among other items, the costs associated with and estimates of
                                                     all other amounts (in categories as opposed to itemized expenditures) which LESSEE estimates
                                                     it will spend during the following calendar year in performing the Approved Operations. To
                                                     the extent the Proposed Initial Budget and/or any Annual Budget is not balanced, whether due
                                                     to unforeseen costs and expenses or otherwise, LESSEE shall detail the reasons for same, and
                                                     shall provide the AUTHORITY with LESSEE's plans to cause future budgets, over time, to be
                                                     balanced. In addition to the Annual Budget, LESSEE shall deliver to the AUTHORITY a
                                                     schedule of all Subleases, concession and sponsorship agreements, contracts for construction of
                                                     Redeveloped Improvements executed by the LESSEE during the preceding year. LESSEE
                                                     shall also make available for review such other documents in LESSEE's possession which are
                                                     reasonably requested by the AUTHORITY which may include summaries or abstracts of
                                                     material agreements included on the schedule and shall provide any other detail on the budget



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                                                as is reasonably requested by the AUTHORITY. LESSEE agrees to use all reasonable efforts
                                                to operate the Premises within the parameters of each Annual Budget.
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                                                              6.9.1      Budget Year. Except as provided in this Section 6.9, a budget year
                                               shall be a calendar year, commencing January 1 and ending December 31, with the first budget
                                               year being the remainder of the calendar year in which this Agreement is made and the last
                                               budget year ending on the date this Agreement terminates or expires.

                                                              6.9.2     Other Financial Reporting. On or before March 31 of each year of
                                               the Term, LESSEE shall also provide the AUTHORITY with operating statements (including,
                                               without limitation, a balance sheet and a profit and loss statement) for the Premises for the
                                               previous calendar year which shall be in a form reasonably acceptable to AUTHORITY.

                                                         6.10 Working Capital Loan. Prior to the Lease Commencement Date, the
                                                AUTHORITY shall provide to LESSEE a Five Million and No/100 Dollars ($5,000,000.00)
                                                loan for initial working capital ("Working Capital Loan"). No interest will accrue on the
                                                Working Capital Loan, and same shall be due and payable in full on the third anniversary of
                                                the Lease Commencement Date. The Working Capital Loan shall be evidenced by a
                                                promissory note in the form attached hereto as Exhibit C (the "Promissory Note").
                                                Notwithstanding anything contained herein to the contrary, in the event that any Taxes not
                                                applicable as of the Effective Date are. or will be assessed against this Agreement, the
                                                Premises, or which would otherwise constitute an obligation of LESSEE hereunder during the
                                                first three (3) years of the Term, LESSEE may, by notice to AUTHORITY, extend the term of
                                                the Promissory Note for a period of time reasonably necessary for LESSEE to achieve a
                                                balanced operating budget. In addition, in the event an unforeseen· "Material Expenditure"
                                                (defmed hereafter) occurs during the first three (3) y~ars of the Term, LESSEE may, by notice
                                                to AUTHORITY, request that the AUTHORITY consent to the extension of the term of the
                                           I    Promissory Note for a period of time reasonably necessary for LESSEE to pay, or procure
                                                financing for, such Material Expenditure. As used herein, the term "Material Expenditure"
                                                shall mean a cost or expenditure which is not foreseen and is significant enough to materially
                                                negatively affect or prevent LESSEE's ability to comply with the terms of this Agreement,
                                                which may include: (i) a capital expenditure that was unknown by AUTHORITY and
                                                LESSEE as of the Effective Date; (ii) the obligation to comply with any Laws (to the extent
                                                such compliance is LESSEE's obligations hereunder), the non-compliance of which was not
                                                known to AUTHORITY OR LESSEE as of the Effective Date, and of which LESSEE or
                                                AUTHORITY receives a notice of violation on or after the Effective Date; and (iii) any
                                                liability related to the Premises which was not reasonably anticipated or foreseen by the
                                                LESSEE or the AUTHORITY.

                                                                         ARTICLE 7. PERSONAL PROPERTY

                                                        7.1    Transfer of Personal Property. The AUTHORITY agrees to transfer by a quit
                                                 claim Bill of Sale to LESSEE for the Term of this Agreement the title to all machinery,
                                                 equipment, trade fixtures, furniture, or any other personal property (the "Personal Property")
                                                 of whatever kind and nature presently used in connection with the operation of the Premises.




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                                                       7.2     Title to Vehicles. The AUTHORITY shall cause title to the vehicles described
                                                on Schedule 7.2 ("Vehicles") to be transferred to LESSEE effective on the Lease
                                                Commencement Date. Title to any vehicles owned by LESSEE at the expiration or earlier
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                                                termination of this Agreement shall be transferred to the AUTHORITY.

                                                        7.3    Personal Property on the Premises. All Personal Property not referenced in
                                                Section 7.1 or Section 7.2 which LESSEE may desire to use in the operation of the Premises
                                                shall be purchased, furnished, installed, maintained and operated at LESSEE's sole cost and
                                                expense. At the expiration or earlier termination of this Agreement, LESSEE shall convey to
                                                the AUTHORITY or its designee all Personal Property used in connection with the operation
                                                of the Premises not described in Section 7 .1.

                                                              ARTICLE 8. ASSIGNMENT OF AUTHORITY'S RIGHTS

                                                                              AS TENANT UNDER LEASES

                                                        8.1    Assignment of Gateway Park Lease. The AUTHORITY hereby conveys,
                                                transfers and assigns to LESSEE all of AUTHORITY's right, title and interest in and to the
                                                Gateway Park Lease effective as of the Lease Commencement Date. LESSEE hereby assumes
                                                and agrees to keep, perform and fulfill all of the AUTHORITY's obligations under the Lease
                                                which are required to be performed by the AUTHORITY under the Gateway Park Lease and
                                                which accrue during the Term.


                                                              8.1.1      Consents. During the Transition Period the AUTHORITY shall use
                                               commercially reasonable efforts to obtain the consent of the City and any other necessary party
                                               to the assignment of the Gateway Park Lease as described in Section 8.1.
                                           I            8.2     Assignment of Other Leases. The AUTHORITY is the tenant under the leases
                                                described on Schedule 8.2 attached hereto (the "Other Leases"). The AUTHORITY hereby
                                                conveys, transfers and assigns to LESSEE all right, title and interest in and to the Other Leases
                                                effective as of the Lease Commencement Date. LESSEE hereby assumes and agrees to keep,
                                                perform and fulfill all of the AUTHORITY's obligations under the Lease which are required to
                                                be performed by the AUTHORITY under the Other Leases and which accrue during the Term.

                                                                               ARTICLE9. SUBLETTING

                                                       9.1      Transfer of Existing Subleases. The AUTHORITY hereby conveys, transfers
                                                and assigns to LESSEE all right, title and interest in and to the leases described on
                                                Schedule 9.1 attached hereto (the "Existing Subleases") effective as of the Lease
                                                Commencement Date.         LESSEE hereby agrees, using LESSEE's reasonable business
                                                judgment, to enforce the obligations of the Sublessees under the Existing Subleases as
                                                LESSEE deems necessary or appropriate, and LESSEE assumes and agrees to keep, perform
                                                and fulfill all of the AUTHORITY's obligations under the E~isting Subleases which are
                                                required to be performed by the AUTHORITY under the Existing Subleases, and which accrue
                                                during the Term. To the extent the subordination of any Sublease (defined hereafter) is
                                                required in order to cause this Lease to be senior to such Existing Subleases, AUTHORITY



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                                               shall, at its sole cost, use all reasonable efforts to procure such subordination as necessary or as
                                               otherwise reasonably required by LESSEE.
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                                                      9.2    Subletting by LESSEE. LESSEE may sublet and/or license all or a part of
                                               Navy Pier for any lawful purpose pursuant to the terms of this Agreement and the Framework
                                               Plan. LESSEE may not sublet Gateway Park without the prior written consent of the
                                               AUTHORITY and the City; provided, however to the extent permitted by the Gateway Park
                                               Lease LESSEE shall have the right to license the use of Gateway Park to third parties in
                                               accordance with the Framework Plan. The Existing Subleases and all subleases entered into by
                                               the LESSEE during the Term are herein individually, a "Sublease" and collectively, the
                                               "Subleases".

                                                       9.3     Attornment and Non-disturbance. The. AUTHORITY hereby agrees that all
                                               sublessees of Subleases (individually, a "Sublessee" and collectively, the "Sublessees") shall
                                               have the right of quiet enjoyment notwithstanding the expiration of this Agreement or the
                                               termination or cancellation of this Agreement due to a breach of this Agreement by LESSEE or
                                               other early termination. In the event of the expiration or earlier termination of this Agreement
                                               prior to the expiration of any Sublease, AUTHORITY agrees that so long as the Sublessee
                                               thereunder is not in default under its Sublease (beyond any applicable notice or cure period) the
                                               AUTHORITY shall recognize such Sublease and not disturb such Sublessee's rights
                                               thereunder. In consideration of such agreement by the AUTHORITY, all Subleases entered
                                               into on or after the Lease Commencement Date shall include an attornment provision whereby
                                               the Sublessee agrees that if this Agreement is terminated for any reason, the Sublessee shall
                                               attorn to the AUTHORITY and shall consider the AUTHORITY as the sublandlord for all
                                               purposes under the Sublease. In no event shall the AUTHORITY, as sublandlord, be liable for
                                               any act or omission of LESSEE, under any Sublease prior to the date of the AUTHORITY's

                                           I   succession, nor shall the AUTHORITY, as sublandlord, be subject to any offsets or defenses
                                               which the Sublessee may have against the LESSEE, nor bound by any rent or additional rent
                                               that the Sublessee may have paid for more than the then-current installment, except as provided
                                               in its Sublease.

                                                                ARTICLE 10. ASSIGNMENT OF TIDS AGREEMENT

                                                       10.1 Transfer of AUTHORITY's Interest. To the extent permitted by Laws, the
                                               AUTHORITY may assign or transfer its interest in the Premises and this Agreement to a third
                                               party governmental entity without the prior written approval of LESSEE and, upon such
                                               transfer or assignment, the AUTHORITY shall thereupon be released and discharged from all
                                               covenants and obligations of the AUTHORITY thereafter accruing, but such covenants and
                                               obligations shall be binding upon the successor of the AUTHORITY.

                                                       10.2 Assignment. Except in connection with a collateral assignment or other
                                               assignment for fmancing purposes in accordance with Article 19, LESSEE shall have no right
                                               to assign this AGREEMENT without the prior written consent of the AUTHORITY, which
                                               consent may be withheld in the AUTHORITY's sole discretion.




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                                                         ARTICLE 11. MAINTENANCE, REPAIR AND REPLACEMENT
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                                                       11.1 Duty to Perform Structural Maintenance, Repairs and Replacement.
                                               LESSEE shall, at its expense and as often as reasonably necessary or appropriate, in LESSEE's
                                               reasonable business judgment, to comply with the Framework Plan, and except as otherwise
                                               required by Laws, make all structural Repairs to the Improvements, and Repair, replace and
                                               maintain (including preventive maintenance) all components thereof, including, without
                                               limitation, conducting any applicable testing and upgrading required by federal or state
                                               agencies for all: exterior windows; structural walls; roof assembly; electric wiring; risers;
                                               plumbing, heating, ventilating and air conditioning facilities in the Improvements. In addition,
                                               LESSEE or. the applicable utility provider shall, at their expense, make all Repairs and
                                               replacements to the sanitary sewer and storm water systems serving the Premises and Repair,
                                               maintain and replace all components thereof. Further, LESSEE assumes the full and sole
                                               responsibility for the condition, operation, repair, maintenance (including preventive
                                               maintenance) and operation of the Premises and the AUTHORITY, shall not under any
                                               circumstance be responsible for any maintenance, repairs, changes or alterations whatsoever.
                                               Any costs, expenses, damages, fees, or liabilities incurred by LESSEE in performing its
                                               obligations under this Section 11.1 which are attributable or directly or indirectly related to
                                               Pre-Existing Environmental Conditions shall be subject to the indemnity provisions of Section
                                               4.2.2. When used in this Article 11, the term "Repairs" or "Repair" shall include
                                               replacements or renewals, when necessary in LESSEE's reasonable business judgment, and in
                                               compliance with the Framework Plan. All Repairs made by LESSE.E shall be in quality at least
                                               equal to the original construction of the Improvements. LESSEE shall not commit or
                                               knowingly allow any waste or damage to be committed on any portion of the Premises.

                                           I           11.2 Housekeeping, Buildings, Grounds and Paved Areas. LESSEE, at its own
                                               expense, shall clean, and keep continuously clean, the Premises. LESSEE shall perform such
                                               housekeeping functions as are necessary, in LESSEE's reasonable business judgment, to
                                               comply with the Framework Plan, to keep the aforesaid areas, including the equipment therein,
                                               in working order and in a safe, orderly and presentable condition at all times, and will make
                                               adequate arrangements for painting, cleaning, collecting of paper and trash, sweeping,
                                               degreasing and other arrangements for general good housekeeping, and keeping the Premises
                                               free of insects, rodents, vermin and other pests.

                                                       11.3 Landscaping. LESSEE shall maintain and replace as necessary and desirable,
                                               in LESSEE's reasonable business judgment, to comply with the Framework Plan, existing and
                                               future trees, shrubbery, prairie plantings, trees, shrubbery and plantings within the Premises.
                                               LESSEE shall have the right to modify, remove, replace, and/or relocate landscaping on the
                                               Premises as LESSEE so desires, so long as same is consistent with the Framework Plan.

                                                       11.4 Capital Replacement. When capital replacement of any item is required due to
                                               equipment failure or obsolescence, and capital replacement is desirable, in LESSEE's
                                               reasonable business judgment, to comply with the Framework Plan, then LESSEE shall cause
                                               the replacement of such item.



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                                                             ARTICLE 12. E:MERGENCY CLOSING AND DAMAGE TO PREMISES

                                                               12.1 Emergency Closing. In the event of any emergency, including partial or total
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                                                       destruction of all or a portion of the Premises, the AUTHORITY, using its good faith
                                                       discretion, reserves the right to close all or a portion of the Premises when such action, in the
                                                       discretion of the AUTHORITY, is in the best interest of the health and safety of the public.
                                                       LESSEE agrees that it shall not hold the AUTHORITY liable for any damages or loss of
                                                       business resulting from such action.

                                                               12.2 Limitation of AUTHORITY's Liability. Except as otherwise provided for in
                                                       this Agreement, the AUTHORITY shall not be liable or responsible to LESSEE for any loss or
                                                       damage to any property or person arising from its actions pursuant to Section 12.1 or
                                                       occasioned by theft, flre, act of God, public enemy, injunction, riot, strike, insurrection, war,
                                                       court order, or requisition or order of governmental body or authority.

                                                               12.3 Damage or Destruction. In case of damage to or destruction to a portion of the
                                                       Premises (including the Improvements) by flre or any other cause, LESSEE, but only to the
                                                       extent of insurance proceeds actually received by LESSEE, shall, to the extent LESSEE
                                                       chooses in its reasonable business discretion, either restore the same as nearly as possible to
                                                       their value, condition and character immediately prior to such damage or destruction, or
                                                       redevelop, demolish, re-use, and/or re-purpose such portion of the Premises as LESSEE deems
                                                       necessary and appropriate, all in accordance with the Framework Plan. If, during the Term, the
                                                       whole or substantially all of the Premises and/or the Improvements shall be damaged or
                                                       destroyed, this Agreement shall terminate as of ~12:01 a.m., central time, on the date that such
                                                       damage or destruction occurs, and after that, both the AUTHORITY and LESSEE shall be
                                                       released from all obligations under this Agreement, except as otherwise set forth herein. Upon
                                                       any such termination of this Agreement, LESSEE shall assign to the AUTHORITY all of
                                           I           LESSEE's rights to all insurance proceeds related to such damage or destruction.

                                                              12.4 Fixtures and Equipment. In the event of damage or destruction of the
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                                                       Personal Property or any part thereof by flre or any other cause, LESSEE, but only to the
                                                       extent of insurance proceeds actually received by LESSEE, shall, to the extent LESSEE
                                                       chooses in its reasonable business discretion, replace and repair any and all of its Personal
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                                                       Property necessary to properly and adequately continue its operations at the Premises, or
                                                       redevelop, demolish, re-use, and/or re-purpose such Personal Property as LESSEE deems
                                                       necessary and appropriate, all in accordance with the Framework Plan. LESSEE agrees that
                                                       such work will be promptly commenced and prosecuted to completion with due diligence.

                                                                                       ARTICLE 13. INSURANCE

                                                               13.1 LESSEE Insurance. Except as otherwise set forth in this Article 13, LESSEE
                                                       shall procure and maintain, at its own expense, for the Term of this Agreement, all required
                                                       insurance as set forth in this Article 13 and on Exhibit D (the "LESSEE Insurance
                                                       Requirements") to this Agreement. Policy limits, coverages and deductibles shall be reviewed
                                                       annually and may be reasonably adjusted by the AUTHORITY if prudent and customary for
                                                       similar properties, considering the use of the Premises, levels of inflation, risk of loss, premium
                                                       expenses, and other relevant factors; provided, however, that the amount of property damage


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                                                    insurance which LESSEE shall maintain with respect to the Premises shall never be less than
                                                    the amounts required pursuant to Section 13.2.
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                                                            13.2    Property Insurance.

                                                                 13.2.1     Real Property. All risk (including special perils) commercial property
                                                   insurance, insuring LESSEE for the amount of one hundred percent (100%) of the full
                                                   replacement cost of the Improvements. Provided, in the event market or other conditions renders
                                                   the cost or industry practice for such insurance impractical, the Parties may modify this
                                                   requirement as provided in Section 22.5 of this Agreement.

                                                                   13.2.2   Personal Property. LESSEE shall maintain sufficient insurance in
                                                   favor of LESSEE to cover the Personal Property for the amount of one hundred percent (100%)
                                                   of the full replacement cost of the Personal Property. Provided, in the event market or other
                                                   conditions renders the cost or industry practice for such insurance impractical, the Parties may
                                                   modify this requirement as provided in Section 22.5 of this Agreement.

                                                                  13.2.3     Additional Insured. The insurance policies provided under this
                                                   Section 13.2 shall identify the AUTHORITY and, if required by the Gateway Lease, the City, as
                                                   additional insureds, and LESSEE as its interest may appear.

                                                                          13.2.3.1       AUTHORITY shall deliver to LESSEE an original or a
                                                   certified copy of each policy or policies, referred to in this Section 13.2 (with all required policy
                                                   endorsements), plus certificates evidencing the existence thereof, all in such form or forms as the
                                                   LESSEE may reasonably require, at least thirty (30) days prior to the Lease Commencement
                                                   Date. Notwithstanding the provisions of this Section 13.2.3.1, the Parties hereto acknowledge
                                                   that the above policies may contain exclusions from coverage which are reasonable and
                                           I       customary for policies of such type. Each such policy or certificate shall, to the extent available
                                                   for such insurance, contain a valid provision or endorsement stating, ''This policy will not be
                                                   cancelled or materially changed or altered without first giving 30 days' notice thereof to NPI
                                                   General Manager and NPI General Counsel, sent by certified mail, return receipt requested."

                                                                          13.2.3.2     During the Term, a renewal binder of coverage (or
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                                               '   evidence of such renewal) shall be delivered to AUTHORITY at least thirty (30) days prior to a
                                                   policy's expiration date.

                                                            13.3 Certain Other Insurance. LESSEE shall require (i) that all Sublessees and
                                                     users of the Premises provide certificates of insurance evidencing appropriate insurance, as
                                                     required by the agreement with such user and (ii) that all parties providing services or goods
                                                     pursuant to Service Contracts, or other agreements provide certificates of insurance evidencing
                                                     appropriate insurance as required by their respective contracts.

                                                          In accordance with industry standards LESSEE shall require that any contractor or
                                                   subcontractor performing services for LESSEE acquire and maintain insurance including as
                                                   applicable, the following with limits as consistent with such industry standards:

                                                          • General Liability



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                                                      • Auto Liability

                                                      • Umbrella Liability
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                                                      • Workers Compensation with Statutory limits and Employers Liability limits no less
                                                        than $500/$500/$500

                                                      • A blanket waiver of subrogation in favor of the AUTHORITY and LESSEE

                                                      • Kotecki Waiver Endorsement in favor of the AUTHORITY

                                                      • Pollution Liability for construction projects

                                                      • Hostile fire coverage is required for the Premises

                                                      • TRIA!ferrorism coverage is required

                                                       LESSEE on behalf of the AUTHORITY may cause such contractors and subcontractors
                                               to name LESSEE and the AUTHORITY as an additional insured under any insurance maintained
                                               by such contractors and subcontractors pursuant to the terms of such third party agreements and
                                               in such event to deliver to LESSEE promptly after request therefor a certified copy of such
                                               policy and/or a certificate evidencing the existence thereof.

                                                        13.4 Insurance Not a Limitation on Liability. LESSEE expressly understands and
                                                agrees that the insurance requirements, coverages and limits described in this Article 13 and
                                                Exhibit D of this Agreement shall, in no way limit LESSEE's liabilities ~d responsibilities
                                                specified in this Agreement or required by Laws.

                                           I            13.5 Sublessees. The proof of insurance policies and insurance coverage required to
                                                be furnished by LESSEE to the AUTHORITY under this Agreement may, at the election of
                                                LESSEE, be furnished and/or paid for by any Sublessee or other person having an insurable
                                                interest in the Premises, and the AUTHORITY shall accept such policies as though they had
                                                been supplied and paid for by LESSEE, provided such policies shall otherwise comply with the
                                                requirements of this Agreement.

                                                        13.6 Insurance for First Year of Term. For the period commencing on the Lease
                                                Commencement Date through and including June 30, 2012, the AUTHORITY shall provide
                                                the insurance required to be carried by LESSEE pursuant to Section 13.2 and paragraphs 1, 2,
                                                and 3 of Exhibit D attached hereto substantially consistent with insurance maintained by
                                                AUTHORITY for the Premises on the Effective Date. LESSEE shall reimburse the
                                                AUTHORITY for the actual out of pocket costs of insurance coverage on a monthly basis
                                                within thirty (30) business days of receipt of the AUTHORITY's invoice for the insurance
                                                coverage. From and after June 30, 2012, the AUTHORITY shall have no responsibility to
                                                provide any form of insurance required by this Agreement.

                                                       13.7 Pollution Legal Liability. Lessor shall maintain pollution legal liability
                                                insurance during the Term similar to its current coverage which covers the Premises and in
                                                accordance with industry standards ("Pollution Insurance") . LESSEE shall reimburse the


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                                                AUTHORITY for the actual annual out of pocket costs of such Pollution Insurance allocable to
                                                the Premises within thirty (30) business days of receipt of the AUTHORITY's invoice for the
                                                insurance coverage.
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                                                                                ARTICLE14.       ~E~TY

                                                        14.1 Indemnity by LESSEE. Subject to the terms of this Agreement, and except to
                                                the extent that any such liability is caused by the negligence or willful misconduct of the
                                                AUTHORITY, its employees, agents and contractors, LESSEE hereby agrees to indemnify,
                                                defend and hold the AUTHORITY and its employees, agents and contractors harmless from
                                                and against any and all claims, demands, actions, liabilities, damages, cost and expenses
                                                (including reasonable attorneys' fees) arising from or related to (a) any use or occupancy of the
                                                Premises during the Term, (b) any Event of Default, or (c) any damage to any property
                                                (including property of employees and invitees of LESSEE) or any bodily or personal injury,
                                                illness or death of any person (including employees and invitees of LESSEE) occurring in or
                                                on the Premises or any part thereof during the Term and from any cause whatsoever, and/or
                                                any such damage, bodily or personal injury, illness, or death which occurs during the Term and
                                                which is caused by the negligence or willful misconduct of the LESSEE, its employees, agents
                                                or contractors.

                                                         14.2 Indemnity by the AUTHORITY. Except to the extent that any such liability
                                                is caused by the negligence or willful misconduct of LESSEE, its employees, authorized agents
                                                and contractors, the AUTHORITY hereby agrees to indemnify, defend and hold LESSEE
                                                Indemnified Parties, harmless from and against all third party claims, demands, actions,
                                           r    liabilities, damages, cost and expenses (including reasonable attorneys' fees) arising from or
                                                related to: (a) any costs, expenses, fees, salaries, or benefits, arising out of or relating to, the
                                                AUTHORITY's use, license, lease, development, repair, replacement, and operation of all or
                                           I    any portion of the Premises prior to the Lease Commencement Date, (b) any occurrence on or
                                                about the Premises which occurred prior to the Lease Commencement Date or after the
                                                expiration or earlier termination of this Agreement, (c) any default in the performance of
                                                AUTHORITY's obligations under this Agreement, or (d) any damage or alleged damage to
                                                any property or any bodily or personal injury, illness or death of any person occurring in, on or
                                                about the Premises or any part thereof which occurred prior to the Lease Commencement Date
                                                and/or any such damage, bodily or personal injury, illness, or death which occurs during the
                                                Term and which is caused by the negligence or willful misconduct of the AUTHORITY, its
                                                employees, agents or contractors. AUTHORITY's obligations pursuant to this Section 14.2
                                                shall survive the expiration or early termination of this Agreement.

                                                       14.3 Representations of the LESSEE. The LESSEE hereby makes the following
                                                representations and warranties:

                                                               14.3.1     Due Organization. That the LESSEE is duly organized, validly
                                               existing and in good standing as a not-for-profit corporation under the laws of the State of
                                               Illinois and has full authority to enter into and perform this Agreement, and the person or persons
                                               signing this Agreement and any documents executed pursuant hereto on the LESSEE's behalf
                                               have full power and authority to bind the LESSEE.




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                                                               14.3.2     No Conflicts. That the execution, delivery and performance of this
                                               Agreement does not, and the consummation of the transactions contemplated hereby will not,
                                               violate the charter of or other agreements made by or binding upon the LESSEE.
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                                                               14.3.3    Bylaws. LESSEE covenants and warrants to the AUTHORITY that
                                               throughout the Term the Bylaws of LESSEE shall (i) provide that meetings of the board of
                                               directors shall be open to the public; provided, however, the board can conduct private executive
                                               sessions, so long as any actions taken by the board of directors shall be made during meetings
                                               which are open to the public; (ii) include conflict of interest and ethics provisions; and (iii)
                                               require that the Chairperson of the Board, the Secretary-Treasurer and the Chief Executive
                                               Officer of the AUTHORITY be members of LESSEE's voting board.

                                                        14.4 Representations of the AUTHORITY. The AUTHORITY hereby makes the
                                                following representations and warranties to its actual knowledge, being limited to the
                                                knowledge of the Chief Executive Officer of the AUTHORITY, without independent inquiry
                                                or investigation:

                                                             14.4.1     Authority. That the AUTHORITY has full authority to enter into and
                                               perform this Agreement, and the person or persons signing this Agreement and any documents
                                               executed pursuant hereto on the AUTHORITY's behalf have full power and authority to bind the
                                               AUTHORITY.

                                                            14.4.2    No Conflicts. That the execution, delivery and performance of this
                                               Agreement does not, and the consummation of the transactions contemplated hereby will not,
                                           I   violate the ACT or charter of or other agreements relating to forming or governing the
                                               AUTHORITY.

                                           I                  14.4.3  Violations. Except as set forth in Schedule 14.4.3 ("Notices of
                                               Violations"), the AUTHORITY has not received notice from any governmental authority or any
                                               third party, and AUTHORITY is not, aware of any condition of the Premises or the
                                               Improvements which violates any Laws.

                                                             14.4.4      Pending Disputes. Except as set forth in Schedule 14.4.4 ("List of
                                               Pending Disputes"), the AUTHORITY has received no notice, and AUTHORITY is not aware
                                               of any pending or threatened actions, suits, or proceedings, including without limitation,
                                               condemnation proceedings, before any court or governmental department, commission, board,
                                               bureau, agency or instrumentality which would materially and adversely affect the current or
                                               future ownership, use, or expenses of the Premises.

                                                               14.4.5    Hazardous Substances. Except as set forth in Schedule 14.4.5
                                               ("Existing Hazardous Substances"), the AUTHORITY has received no notice, and has no
                                               actual knowledge of the location or existence of any Hazardous Substances located on, in, under
                                               or adjacent to the Premises.

                                                               14.4.6     Prior Rights. That, as of the Lease Commencement Date, there are no
                                               (i) mortgages or indenture bonds which constitute a lien on the AUTHORITY's title to the
                                               Premises, (ii) leases or other agreements that permit any person or entity to occupy or possess the
                                               Premises, except for Subleases and Pier Agreements, Service Contracts, or Permitted


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                                                Encumbrances, (iii) parties, who, other than AUTHORITY, have any senior or preferred rights
                                               to the rights granted to LESSEE under this Agreement and (iv) agreements, encumbrances,
                                               claims, controversies, or other matters affecting or relating to the Premises other than as
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                                               expressly described in this Agreement or in the Permitted Encumbrances.

                                                               14.4.7     Default. AUTHORITY has not received notice of default with respect
                                               of any of its obligations or liabilities pertaining to the Premises.

                                                             14.4.8   Disclosure. If, from and after the Effective Date until the Lease
                                               Commencement Date, AUTHORITY discovers or becomes aware of any information which
                                               would cause any of the representations or warranties of AUTHORITY contained in this
                                               Agreement to become materially inaccurate, false, or misleading, AUTHORITY shall
                                               immediately notify LESSEE of same in writing.

                                                     ARTICLE 15. TERMINATION AND EXPIRATION OF THE AGREEMENT

                                                       15.1 Transition of Services. Upon the termination or expiration of this Agreement,
                                                LESSEE shall, reasonably cooperate, at no material cost to LESSEE, with the AUTHORITY
                                                or any succeeding lessee to achieve an orderly transition of services without interruption of
                                                such service to the patrons of the Premises.

                                                               15.1.1    As part of transition of services, all funds held in the Capital
                                               Improvement Account and any accounts owned by LESSEE and income from all sources,
                                               including from revenue described in. Section 6.2 above, shall be turned over to the AUTHORITY
                                               or its designee; provided, however, any funds donated to LESSEE and not able to be expended
                                               prior to termination or expiration shall be delivered to the AUTHORITY and applied to expenses
                                               related as closely as possible to the original intention of the donor. In the event it is determined
                                           I   that any such funds are not legally capable of being transferred to the AUTHORITY, the Parties
                                               shall mutually agree to disposition of any such funds in a manner consistent with the doctrine of
                                               cy-pres.

                                                              15.1.2     If and to the extent permitted by Laws, LESSEE shall voluntarily
                                               dissolve upon the expiration or earlier termination of this Agreement.

                                                         15.2 Peaceful Surrender after Termination. LESSEE shall, upon termination or
                                                 expiration of this Agreement peacefully quit, surrender and deliver unto the AUTHORITY, its
                                                 successors or assigns, the Premises. All alterations, Improvements and other additions made to
                                                 the Premises during the Term shall be and remain the property of the AUTHORITY and shall
                                                 not be removed by LESSEE upon termination or expiration hereof; provided, however, that all
                                                 trade fixtures, furniture, machinery, equipment and other personal property of whatever kind
                                                 and nature kept or installed on the Premises by a Sublessee shall remain the respective
                                                 Sublessee's property, and same shall be promptly removed by the respective Sublessee upon
                                                 termination of the applicable Sublease, to the extent required thereby.

                                                        15.3    Condemnation.

                                                             15.3.1   Total Taking. If, during the Term, the whole or substantially all of the
                                               Premises shall be taken pursuant to any condemnation or eminent domain proceeding, this


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                                                    Agreement shall terminate as of 12:01 a.m., central time, on the date that the condemnor has the
                                                    right to possession of the Premises, and after that, both the AUTHORITY and LESSEE shall be
                                                    released from all obligations under this Agreement, except as otherwise expressly set forth herein
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                                                    and the entire award shall be paid to the AUTHORITY. Notwithstanding anything contained
                                                    herein to the contrary, AUTHORITY agrees not to institute, effectuate, or request condemnation
                                                    of, or any eminent domain proceeding for, all, or any portion, of the Premises in order to be
                                                    entitled to terminate, amend, or otherwise effect LESSEE's rights under this Agreement, nor
                                                    LESSEE's use of the Premises as permitted hereby. AUTHORITY's obligations under the
                                                    foregoing sentence shall survive the early termination of this Agreement.

                                                                   15.3.2     Partial Taking. If, during the Term, less than all of the Premises is
                                                    taken, but such portion taken is so that the remaining Premises can no longer be operated for the
                                                    purposes set forth herein and in accordance with the Framework Plan, in LESSEE's reasonable
                                                    business judgment, or if by reason of any Laws the use of the Premises for the purposes specified
                                                    in this Agreement shall become unlawful, then and after the taking, the LESSEE may terminate
                                                    this Agreement and any condemnation award shall be payable to the AUTHORITY. If only a
                                                    part of the Premises is taken pursuant to any condemnation or eminent domain proceeding and
                                           !r'I_;   this Agreement is not terminated, then, to the extent LESSEE deems necessary or desirable in its
                                                    reasonable business judgment, LESSEE shall restore the Improvements to either restore the
                                                    remaining portion of the Premises as nearly as possible to their value, condition~ and character
                                                    immediately prior to such damage or destruction, or redevelop, demolish, re-use, or re-purpose
                                                    such portion of the Premises as LESSEE deems necessary and appropriate in accordance with the
                                                    Framework Plan. The aforementioned work shall begin within a reasonable time after the taking
                                                    and shall be prosecuted diligently.

                                                                  15.3.3    Award. If a condemnation or eminent domain proceeding is instituted
                                                    by any entity having such powers, and this Agreement is not terminated, any award shall be
                                           I        payable to LESSEE. If this Agreement is terminated as a result of condemnation or eminent
                                                    domain proceedings, any award shall be paid to the AUTHORITY.

                                                                    15.3.4    Purchase in Lieu of Taking. For the purposes of this Section 15.3,
                                                    any purchase by a governmental entity by competent authority of all or part of the Premises, in
                                                    lieu of a taking or condemnation thereof under powers of eminent domain, shall be deemed to be
                                                    an actual taking or condemnation thereof; provided, however no such sale or purchase shall be
                                                    permitted without the prior written approval of LESSEE. Any payment made during the Term in
                                                    lieu of an award shall be paid to LESSEE.

                                                                            ARTICLE 16. INTENTIONALLY OMITTED

                                                                             ARTICLE 17. ESTOPPEL CERTIFICATE

                                                               17.1 Estoppel Certificates. Within thirty (30) days after request by either Party the
                                                      Party to whom request is made shall execute and deliver to the requesting party a written
                                                      certificate as to the status of this Agreement, to such Party's knowledge, without duty of
                                                      inquiry or investigation, of any existing defaults, the status of the payments and performance of
                                                      the parties required hereunder and such other information that may be reasonably requested.




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                                                                        ARTICLE 18. DEFAULT AND REMEDIES

                                                        18.1 Events of Default. The following events shall be deemed to be events of
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                                                default (each, an "Event of Default") by LESSEE under this Agreement:

                                                              18.1.1      Failure by LESSEE to make any payment or comply in any material
                                               respect with the Framework Plan, or with any term, provision or covenant of this Agreement for
                                               a period of ninety (90) days after written notice thereof to LESSEE specifying such failure and
                                               requesting that it be remedied. If the default cannot reasonably be cured within ninety (90) days,
                                               LESSEE shall not be in default of this Agreement if LESSEE gives written notice and
                                               commences to cure the default within the ninety (90) day period and diligently continues to cure
                                               the default pursuant to a schedule mutually approved by LESSEE and the AUTHORITY.

                                                             18.1.2    LESSEE fails to pay any money due under the Promissory Note when
                                               due, and such failure continues for more than sixty (60) days, except as otherwise permitted
                                               herein.

                                                               18.1.3    LESSEE abandons the Premises or any portion thereof; provided,
                                               however, LESSEE's abandonment of the Premises or any portion thereof due to condemnation
                                               shall not be deemed as an Event of Default for purposes of this Section 18.1. Nothing contained
                                               in this Section 18.1.3 shall be deemed abandonment or shall preclude LESSEE from closing all
                                               or a portion of the Premises for emergency, safety, health, or redevelopment reasons, nor for any
                                               other reason which LESSEE determines necessary or desirable in its reasonable business
                                               purpose, so long as LESSEE is otherwise in compliance with the terms of this Agreement and
                                               the Framework Plan.

                                                                18.1.4     If LESSEE voluntarily files a petition in bankruptcy or for insolvency
                                           I   or for reorganization under any bankruptcy or insolvency statute or makes any arrangement or
                                               assignment for the benefit of creditors; or if a petition in bankruptcy or insolvency is filed against
                                               the LESSEE that is not dismissed, withdrawn or otherwise stayed within ninety (90) days after
                                               filing; or LESSEE is adjudicated as bankrupt or as insolvent; or a receiver or trustee is appointed
                                               for all, or substantially all, of the property of the LESSEE upon an insolvency, and said receiver
                                               or trustee is not discharged or ordered removed or his appointment otherwise stayed within
                                               ninety (90) days after his appointment.

                                               No such notice given under this Section 18.1 shall be deemed a forfeiture or a termination of this
                                               Agreement unless the AUTHORITY so elects in the notice.

                                                     18.2 Remedies. Upon the occurrence of any of the aforesaid Events of Default, the
                                                 AUTHORITY may pursue any one or more of the following remedies:

                                                               18.2.1  Termination of Agreement. Terminate this Agreement, in which
                                               event LESSEE shall surrender the Premises to the AUTHORITY immediately, and if LESSEE
                                               fails to do so the AUTHORITY may, without prejudice to any other remedy which it may have
                                               for possession, and to the extent permitted by law, enter upon and take possession of the
                                               Premises and expel or remove LESSEE and any other person who may be occupying the
                                               Premises or any part thereof, without being liable for prosecution or any claim of damages
                                               therefor; and LESSEE agrees to pay to the AUTHORITY upon demand the amount of all direct,


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                                               reasonable, and out-of-pocket loss and damage which the AUTHORITY may suffer by reason of
                                               such termination, including, but not limited to, the cost of recovering the Premises and the
                                               unpaid balance of all rental or other sums of money hereby reserved to the date of termination.
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                                                              18.2.2     Take Over of LESSEE's Responsibilities. Enter upon the Premises
                                               without being liable for prosecution or any claim for damages therefor, and do whatever
                                               LESSEE is obligated to do under the terms of this Agreement; and LESSEE agrees to reimburse
                                               the AUTHORITY upon demand for any reasonable expenses which the AUTHORITY may incur
                                               in thus effecting compliance with LESSEE's obligations under this Agreement, and LESSEE
                                               further agrees that the AUTHORITY shall not be liable for any damages resulting to LESSEE
                                               from such action, unless caused by the negligence or willful misconduct of AUTHORITY, its
                                               agents, contractors, servants, employees or otherwise.

                                                         18.3 Waiver of Breach. The failure by the AUTHORITY or LESSEE to seek
                                                 redress for violation of, or to insist upon the strict performance of, any condition or covenant of
                                                 this Agreement, or to exercise any right or remedy consequent upon a violation of this
                                                 Agreement, shall not constitute a waiver of any such breach or subsequent breach, or of such
                                                 covenants, terms, conditions, rights and remedies. No provision of this Agreement shall be
                                                 deemed to have been waived by the AUTHORITY or LESSEE unless such provision is waived
                                                 in writing.

                                                         18.4 Waiver of Remedies. Pursuant to any of the foregoing, the exercise of one
                                                 remedy by either Party hereto shall not preclude the exercise of any other remedy by that Party
                                                 provided by the terms of this Agreement or provided by law or in equity, nor shall pursuit of
                                                 any remedy herein provided constitute a forfeiture or waiver of rental or other fmancial
                                                 obligations due the AUTHORITY hereunder or of any damages occurring to the AUTHORITY
                                                 by reason of the Event of Default. Failure or delay by the AUTHORITY to enforce one or
                                           I     more of the remedies provided herein or provided by law upon the occurrence of an Event of
                                                 Default, shall not be deemed or construed to constitute a waiver thereof or preclude the
                                                 exercise thereof during the continuance of any other Event of Default, hereunder, nor be
                                                 deemed or construed to be a waiver of any other or subsequent Event of Default.
                                                 Notwithstanding the foregoing, the AUTHORITY is obligated to use all commercial efforts to
                                                 mitigate any damages occurring by reason of an Event of Default. Further notwithstanding
                                                 anything contained herein to the contrary, in no event shall either Party be liable to the other
                                                 Party for consequential, special, or punitive damages under any circumstances whatsoever.

                                                         18.5 Dispute Resolution Procedures. The Parties desire to cooperate with each
                                                 other in the management and operation of the Premises pursuant to the terms hereof. In
                                                 keeping with this cooperative spirit and intent, the Parties shall attempt in good faith to resolve
                                                 any dispute, claim, or controversy arising out of, or related to or under this Agreement (each a
                                                 "Dispute") within thirty (30) days following receipt by the other Party of notice of such
                                                 Dispute. If the Parties are unable to resolve the Dispute within such 30-day period, then, upon
                                                 notice by a Party to the other Party, the Dispute shall be referred to the Designated Persons of
                                                 each Party prior to either Party initiating arbitration, and the Designated Persons shall negotiate
                                                 in good faith to resolve any such Dispute, conferring as often as they deem reasonably
                                                 necessary. If the Designated Persons cannot resolve such Dispute within the lesser of: three
                                                 (3) meetings; or an additional sixty (60) days, then the further remedy of either party shall be


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                                                   limited to initiating binding arbitration of such Dispute, including, but not limited to, any
                                                   Dispute arising out of or relating to the validity, enforceability, and scope of the provisions of
                                                   this Agreement. The parties agree that such arbitration shall be settled by a three-arbitrator
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                                                   panel ("Arbitration Panel") administered by the American Arbitration Association in
                                                   accordance with its Commercial Arbitration Rules. Judgment on, and enforcement of, the
                                                   award rendered by that panel may be entered in the Circuit Court of Cook County. The place
                                                   of arbitration shall be Chicago, Illinois. Without waiving any other remedy under this
                                                   Agreement, upon a showing of immediate irreparable injury and the inadequacy of any remedy
                                                   at law, either party may seek from the Circuit Court of Cook County any emergency interim
                                                   injunctive relief that is necessary to protect the rights or property of that party pending the
                                                   establishment of the Arbitration Panel. Once the Arbitration Panel is established, either party
                                                   seeking injunctive relief pending the rendering of the arbitration award shall apply to the
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                                           I ..    Arbitration Panel for that relief. Venue in any permissible judicial action under this Section
                                                   arising out of this Agreement and/or between the LESSEE and AUTHORITY shall be in the
                                                   Circuit Court of Cook County, State of lllinois. Service of process on AUTHORITY may be
                                                   made either by registered or certified mail, personal delivery, or nationally recognized
                                                   overnight courier addressed as provided for in Section 1.7 or by personal delivery on the
                                                   Contract Administrator (defmed hereafter). Service of process on LESSEE may be made
                                                   either by registered or certified mail, personal delivery, or nationally recognized overnight
                                                   courier addressed as provided for in Section 1.7 or by delivery to the LESSEE's registered
                                                   agent for service of process in the State of lllinois.

                                                                 18.5.1     Designated Persons.

                                                                (a)       AUTHORITY hereby designates the Chief Executive Officer as its
                                                                          Designated Person who shall have the authority set forth in this

                                           I                    (b)
                                                                          Section 18.5.

                                                                          LESSEE hereby designates NPI General Manager, or such person's
                                                                          designee, as its Designated Person who shall have express authority to
                                                                          bind LESSEE with respect to matters of this Agreement.

                                                                A Party may, by written notice to the other Party, designate a substitute
                                                  Designated Person for itself.
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                                                                  18.5.2    Tolling. If a Party receiving a notice of default under this Agreement
                                           !      contests, disputes or challenges the propriety of such notice by making application to the dispute
                                                  resolution procedure in this Section 18.5, any cure period that applies to such default shall be
                                                  tolled for the time period between such application and the issuance of a fmal award or
                                                  determination.

                                                                                    ARTICLE 19. FINANCING

                                                           19.1 LESSEE Financing. The Parties will cooperate in LESSEE's efforts to secure
                                                   financing for the Approved Operations, which may include the AUTHORITY making its
                                                   bonding capacity available to LESSEE and/or consenting to fmancing with debt obligations
                                                   that extend beyond the term of the Lease.



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                                                               ARTICLE 20. FORCE MAJEURE (UNA VOIDABLE DELAY)

                                                           20.1 Force Majeure. A delay by either LESSEE or the AUTHORITY shall not
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                                                   constitute a default, nor shall LESSEE or the AUTHORITY be held liable for loss or damage,
                                                   if and to the extent that such delay, failure, loss or damage is caused by occurrences beyond the
                                                   reasonable control of such Party, and its agents, employees, contractors, subcontractors and
                                                   consultants, including, but not limited to, acts of God or the public enemy, expropriation or
                                                   confiscation of facilities, compliance with any order or any request of any governmental
                                                   authority, court, or person purporting to act therefor, if any penalty or material adverse
                                                   consequence would be likely to result from non-compliance therewith (and if such order or
                                                   request was not reasonably foreseeable as of the Effective Date), acts of declared or undeclared
                                                   war, weapons of war employing atomic fission or radioactive force, whether in time of peace
                                           [       or war, public disorders, rebellion, sabotage, revolution, earthquake, floods, riots, area-wide
                                                   strikes, labor or employment difficulties affecting the trades generally, delays in transportation,
                                                   inability or delays of a party to obtain necessary materials, equipment, manpower or
                                                   governmental entitlements, approvals or permits due to existing or future laws, rules or
                                                   regulations or requirements of governmental authorities, or any other causes, whether direct or

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                                                   indirect; and whether or not of the same class or kind as those specifically above named, not
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                                                   within the reasonable control of such party, or its agents, employees, contractors,
                                                   subcontractors or consultants, and that by the exercise of reasonable diligence such party is
                                                   unable to prevent. Any such occurrence is referred to in this Agreement as an "Unavoidable
                                                   Delay." The Party delayed by an Unavoidable Delay shall give the other Party written notice
                                                   of the occurrence of the Unavoidable Delay within ten (10) business days of such occurrence.

                                                                         ARTICLE 21. THE AUTHORITY'S RIGHTS

                                                           21.1 Inspection. The AUTHORITY shall have the right to reasonably inspect and
                                           I       review the operations at the Premises, to insure compliance with the standards set forth in this
                                                   Agreement and in the Framework Plan. Except in the case of an emergency, the AUTHORITY
                                                   shall either comply with any notice requirement of a Sublessee in its Sublease of which the
                                                   AUTHORITY has notice or has the consent of the Sublessee to enter the subleased premises.
                                                   The AUTHORITY's inspection of the Premises shall not unreasonably interfere with the use
                                                   thereof by LESSEE or its Sub lessees and/or patrons.

                                                                               ARTICLE22. MISCELLANEOUS

                                                          22.1 Heading. The captions used throughout this Agreement are for convenience
                                                   and reference only and the words contained therein shall in no way be held or used to explain,
                                                   modify, amplify or aid in the interpretation, construction or meaning of the provisions of this
                                                   Agreement.

                                                           22.2 Time. In the event the provisions of this Agreement require any act to be done
                                                   or action to be taken hereunder on a date which is a Saturday, Sunday, or legal holiday, such
                                                   act or action shall be deemed to have been validly performed or taken if performed or taken on
                                                   the next succeeding day which is not a Saturday, Sunday, or legal holiday. All time periods in
                                                   this Agreement shall be based on calendar days, unless otherwise specifically stated to be
                                                   based on business days.



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                                                     22.3 Memorandum of Lease. The AUTHORITY and LESSEE agree to execute a
                                               memorandum of lease ("Memorandum of Lease") in the form attached hereto as Exhibit E.
                                               Within thirty (30) days of the date of this Agreement, the AUTHORITY shall cause the
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                                               Memorandum of Lease to be recorded with the Cook County Recorder of Deeds.

                                                       22.4 Consent of the Parties. Except to the extent expressly stated herein to the
                                               contrary, in the event either Party's consent or approval is required under this Agreement, such
                                               Party shall not unreasonably withhold, condition, or delay such consent or approval.
                                               Furthermore, in the event either Party does not respond to a request for its consent or approval
                                               within the time frame(s) specifically permitted herein (or within thirty (30) days if no time
                                               frame is so specified), then the requesting Party may resubmit such request in writing to the
                                               Party for which consent or approval is being requested with a notice set forth at the top of its
                                               request for approval, containing a legend in 14 point bold type which states in bold and all-
                                               capital letters: "URGENT NOTICE OF WAIVER OF RIGHTS BY [INSERT APPliCABLE
                                               PARTY]," and the content of such notice further states in bold and all capital letters: "IF
                                               [INSERT APPliCABLE PARTY] FAILS TO RESPOND TO THIS NOTICE WITHIN SEVEN
                                               (7) BUSINESS DAYS AFTER [INSERT APPliCABLE PARTY]'S RECEIPT OF SAME,
                                               THEN [INSERT APPliCABLE PAR111'S CONSENT TO [ENTER MATTER FOR WHICH
                                               CONSENT OR APPROVAL IS BEING REQUESTED] SHALL BE DEEMED TO HAVE
                                               BEEN GIVEN" ("Second Notice"). In the event the requesting Party submits ·a Second
                                               Notice, and if the Party for which consent or approval is being requested fails to respond
                                               thereto within such seven (7) business day period, then such Party's consent solely to the
                                               matter for which consent or approval is being requested as set forth in the Second Notice shall
                                               automatically deemed to have been given.

                                                       22.5 Cooperation. To the extent reasonably requested by LESSEE, AUTHORITY
                                               shall use all good faith, commercially reasonable efforts to assist LESSEE with its compliance
                                           I   with the terms of this Agreement, its implementation of the Approved Operations, and its
                                               efforts to implement, the Framework Plan. The Parties acknowledge and agree that the Term,
                                               if and as extended, is likely to extend for a significant period of time. Therefore, the Parties
                                               agree to cooperate and work in good faith to further the objectives of this Agreement and the
                                               Framework Plan (as same may be amended from time to time), which cooperation may include
                                               amending this Agreement as necessary to effectuate such goals and to respond to tax,
                                               procurement, employment and labor practices, and other matters which may arise during the
                                               Term. The Parties also agree to amend the Framework Plan as mutually agreed, to reflect
                                               changes in the Premises, society, economic factors, and other factors which are unknown and
                                               or which have not been, or cannot be, reasonably foreseen as of the Effective Date; provided,
                                               however, the Parties' first and foremost goal shall be to attempt to cause this Agreement and
                                               the Premises to comply with the Framework Plan to the extent both Parties believe same to be
                                               desirable and/or necessary.

                                                       22.6 Third Party Consents. During the Transition Period, the Parties shall identify
                                               all third party consents necessary for the Parties to effect this Agreement ("Third Party
                                               Consents"). The AUTHORITY shall use commercially reasonable efforts to obtain the Third
                                               Party Consents prior to the Lease Commencement Date. Thereafter the Parties will cooperate
                                               and work together in good faith to secure the Third Party Consents.



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                                                       22.7 Inability to Perform. If LESSEE reasonably determines that it is no longer
                                               able to implement the Approved Operations or otherwise comply with the terms of this
                                               Agreement, including the Framework Plan, LESSEE may terminate this Agreement upon not
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                                               less than one hundred eighty (180) days notice to AUTHORITY; provided, however, in the
                                               event LESSEE's reason for termination is due to: (a) AUTHORITY's failure to procure the
                                               City's consent pursuant to Section 8.1.1; (b) AUTHORITY's failure to make the payments
                                               required of it pursuant to Section 5.6 and/or Section 6.10; and/or (c) AUTHORITY's failure to
                                               procure the Third Party Consents pursuant to Section 22.6, LESSEE may terminate this
                                               Agreement by notice to the AUTHORITY within ninety (90) days after the expiration of the
                                               Transition Period, such termination to be effective no sooner than thirty (30) days, and no
                                               longer than ninety (90) days, after giving such notice of termination.

                                                       22.8 Counterparts. This Agreement may be executed in counterparts, and via
                                               electronic means, including facsimile, e-mail, and PDF, and each counterpart, whether an
                                               original signature or an electronic copy, shall be deemed an original for the purposes of this
                                               Agreement, and shall bind the Party so providing its signature by such means.

                                                       22.9 Third Parties. No third party to this Agreement shall be deemed a beneficiary
                                               or intended beneficiary hereof.

                                                                          [SIGNATURE PAGE FOLLOWS]




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                                                        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
                                               date first written above.
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                                               THE METRO PO LITAN PIER AND                   NAVY PIER, INC.,
                                               EXPOSITION AUTHORITY                          an Illinois not-for-profit corporation




                                                                                             By:  ~{/4/j
                                                                                             Sarah arvey
                                                                                             Chairperson


                                               Attest                                        Attest




                                           I




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                                                                                   EXHIBIT A-1
                                                                                   EXHIBIT A-1
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                                                                      LEGAL DESCRIPTION OF NAVY PIER



                                               BEGINNING AT THE NORTHEAST CORNER OF LOT 7 IN THE CHICAGO DOCK AND CANAL CO'S
                                               PESTIGO DOCK ADDITION IN SAID SECTION 10; THENCE "DUE EAST" ON THE EXTENSION EAST OF
                                               THE NORTH LINE OF SAID LOT, 460.40 FEET TO THE PLACE OF BEGINNING; THENCE SOUTH 0
                                               DEGREES 08 MINUTES 20 SECONDS WEST ON A LINE PARALLEL WITH THE EAST LINE OF SAID
                                               LOT, 289.23 FEEf; THENCE DUE WEST 2.60 FEET; THENCE SOUTH 0 DEGREES 08 MINUTES 20
                                               SECONDS WEST, 37.00 FEET; THENCE DUE EAST, 44.00 FEET; THENCE SOUTH 0 DEGREES 08
                                           I   MINUTES 20 SECONDS WEST, 63.00 FEET TO THE SOUTH FACE OF A CONCRETE BULKHEAD;
                                           L
                                               THENCE SOUTH 89 DEGREES 57 MINUTES 35 SECONDS EAST ON SAID SOUTH FACE, 2,332.66 FEET
                                               TO A POINT ON THE EXTENSION SOUTH OF THE WEST FACE OF THE BRICK TERMINAL BUILDING
                                               IN NAVY PIER; THENCE NORTH 0 DEGREES 06 MINUTES EAST ON SAID LINE EXTENDED SOUTH
                                               AND ALSO ALONG SAID WEST FACE AND ALSO ON THE EXTENSION NORTH THEREOF, 390.12 FEET
                                               TO THE NORTH FACE OF A CONCRETE BULKHEAD; THENCE NORTH 89 DEGREES 58 MINUTES 55
                                               SECONDS WEST ALONG SAID NORTH FACE, 2,373.80 FEET TO THE PLACE OF BEGINNING;

                                               AND ALSO AS TO THAT PART OF THE LAND FALLING WITHIN A TRACT OF LAND DESCRIBED AS
                                               FOLLOWS:

                                               BEGINNING AT THE NORTHEAST CORNER OF LOT 7 IN THE CHICAGO DOCK AND CANAL CO'S
                                               PESHTIGO DOCK ADDITION IN SAID SECTION 10; THENCE "DUE EAST" ON THE EXTENSION EAST
                                               OF THE NORTH LINE OF SAID LOT, 2,834.20 FEET; THENCE "DUE SOUTH" 0:95 FEET TO THE POINT
                                               OF INTERSECTION OF THE NORTH FACE OF A CONCRETE BULKHEAD AND THE EXTENSION
                                               NORTH OF THE WEST FACE OF THE BRICK TERMINAL BUILDING IN NAVY PIER SAID POINT BEING
                                               THE PLACE OF BEGINNING OF THIS TRACT OF LAND; THENCE S 89 DEGREES 52 MINUTES 30

                                           I   SECONDS EAST ON SAID NORTH FACE OF THE CONCRETE BULKHEAD, 666.70 FEET TO THE
                                               NORTHEAST CORNER THEREOF, SAID CORNER BEING 2.40 FEET SOUTH OF SAID EXTENSION EAST
                                               OF THE NORTH LINE OF SAID LOT 7; THENCE SOUTH 0 DEGREES 06 MINUTES WEST ON THE EAST
                                               FACE OF SAID BULKHEAD, 294.0 FEET TO THE SOUTHEAST CORNER THEREOF; THENCE NORTH 89
                                               DEGREES 56 MINUTES WEST ON THE SOUTH FACE OF SAID BULKHEAD, 666.70 FEET TO A POINT IN
                                               THE AFORESAID WEST FACE OF THE BRICK TERMINAL BUILDING EXTENDED SOUTH; THENCE
                                               NORTH 0 DEGREES 06 MINUTES EAST ON SAID LINE EXTENDED SOUTH AND ALONG SAID WEST
                                               FACE OF BUILDING AND ALONG ITS EXTENSION NORTH, 294.68 FEET TO THE POINT OF
                                               BEGINNING.




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                                                                           EXHIBIT A-2

                                                                        SITE PLAN OF NAVY PIER
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                                                                                   EXHIBIT A-3
                                                                      LEGAL DESCRIPTION OF GATEWAY PARK
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                                                     PARCEL 1: (STREETER DRIVE AND ENTRANCE LANES FOR PIER AND PIER PARK AREA)

                                               A PARCEL OF LAND IN THE FRACTIONAL NORTHEAST 1/4 OF SECTION 10, TOWNSHIP 39 NORTH,
                                               RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN, AND ACCRETIONS THERETO, DESCRIBED AS
                                               FOLLOWS:

                                               BEGINNING AT THE NORTHEAST CORNER OF LOT 7 IN THE CHICAGO DOCK AND CANAL
                                               COMPANY'S PESHTIGO DOCK ADDITION IN SAID SECTION 10; THENCE SOUTH ALONG SAID EAST
                                               LINE OF LOT 7 A DISTANCE OF 514 FEET TO THE SOUTH LINE OF SAID LOT 7; THENCE WEST
                                               ALONG THE SOUfH LINE OF SAID LOT 7 TO THE WEST FACE OF THE DOCK ON THE EAST SIDE OF
                                               OGDEN SLIP; THENCE SOUTHERLY ALONG THE FACE OF SAID DOCK TO THE NORTH LINE OF THE
                                               PROPERTY CONVEYED TO THE UNITED STATES OF AMERICA BY QUIT CLAIM DEED FROM THE
                                               CITY OF CHICAGO; THENCE EAST ALONG SAID NORTH LINE A DISTANCE OF 100 FEET, MORE OR
                                               LESS, TO THE EAST LINE OF AFORESAID PROPERTY; THENCE SOUTH ALONG SAID EAST LINE A
                                               DISTANCE OF 217 FEET TO THE NORTH LINE OF A PROPERTY CONVEYED TO THE UNITED STATES
                                               OF AMERICA BY DEED FROM THE CITY OF CHICAGO, DECEMBER 8, 1921, RECORDED AS
                                               DOCUMENT NUMBER 7347325; THENCE EAST ALONG SAID LINE A DISTANCE OF 426 FEET, MORE
                                           M
                                           .
                                           '   OR LESS, TO THE EAST FACE OF DOCK EXTENDING SOUTH FROM NAVY PIER; THENCE NORTH
                                               ALONG SAID DOCK LINE TO THE POINT OF INTERSECTION WITH THE SOUTH LINE OF NAVY PIER;
                                               THENCE NORTH 00 DEGREES 08 MINUTES 20 SECONDS EAST 63.00 FEET; THENCE DUE WEST 44.00
                                               FEET; THENCE NORTH 00 DEGREES 08 MINUTES 20 SECONDS EAST 37.00 FEET; THENCE DUE EAST
                                               2.60 FEET; THENCE NORTH 00 DEGREES 08 MINUTES 20 SECONDS EAST ON A LINE PARALLEL WITH
                                               THE EAST LINE OF SAID LOT 7, 289.23 FEET; THENCE DUE WEST ON THE EXTENSION WEST OF THE
                                               NORTH LINE OF SAID LOT 7, 460.40 FEET TO THE PLACE OF BEGINNING, IN COOK COUNTY,
                                               ILLINOIS.

                                               PARCEL 2: (PARTLY IN STREETER DRIVE AND INCLUDES INTERSECTIONS OF STREETER AND

                                           I   ILLINOIS, STREETER AND RAMP FROM LAKE SHORE DRIVE AND STREETER AND GRAND)

                                               THE EAST 100 FEET OF LOT 7 IN CHICAGO DOCK AND CANAL COMPANY'S PESHTIGO DOCK
                                               ADDIDON IN SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL
                                               MERIDIAN, IN COOK COUNTY, ILLINOIS.

                                               PARCEL3:

                                               THAT PART OF THE NORTH l/2 OF SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE
                                               THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS, AND ACCRETIONS THERETO,
                                               DESCRIBED AS FOLLOWS:

                                               BEGINNING AT THE POINT OF INTERSECTION OF THE WEST SIDE OF THE DOCK ON THE EAST SIDE
                                               OF THE OGDEN SLIP WITH THE NORTH LINE OF THE TRACT OF LAND CONVEYED BY THE CITY OF
                                               CHICAGO TO THE UNITED STATES OF AMERICA BY DEED DATED AUGUST 10, 1920 AND
                                               RECORDED DECEMBER 8, 1921 AS DOCUMENT NO. 7347325 IN BOOK 16850, PAGE 532; RUNNING
                                               THENCE EAST ON THE NORTH LINE OF SAID TRACT, A DISTANCE OF 80 FEET; THENCE NORTH AT
                                               RIGHT ANGLES TO THE NORTH LINE OF SAID TRACT, 217 FEET; THENCE WEST ON A LINE
                                               PARALLEL TO AND 217 FEET NORTH OF THE NORTH LINE OF SAID TRACT, 100 FEET, MORE OR
                                               LESS, TO THE WEST SIDE OF SAID DOCK ON THE EAST SIDE OF THE OGDEN SLIP; THENCE SOUTH
                                               AND SOUTHEASTERLY ON THE WEST SIDE OF SAID DOCK TO THE POINT OF BEGINNING.




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                                               PARCEL4:

                                               THAT PART OF LOT 7 IN CHICAGO DOCK AND CANAL COMPANY'S PESHTIGO DOCK ADDITION IN
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                                               SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN,
                                               ACCORDING TO THE PLAT THEREOF RECORDED IN THE RECORDER'S OFFICE OF COOK COUNTY,
                                               ILLINOIS ON SEPTEMBER 17, 1889 IN BOOK 39 OF PLATS AT PAGE 18, AS DOCUMENT NUMBER
                                               1157023, WHICHLIES WEST OF THE WEST LINE OF THE EAST 100 FEET OF SAID LOT 7; SOUTH OF
                                               THE SOUTH LINE OF THE NORTH 366 FEET OF SAID LOT 7; AND EAST OF THE EAST BOUNDARY
                                               LINE OF PARCEL "D" OF LANDS CONVEYED TO THE COMMISSIONERS OF LINCOLN PARK BY DEED
                                               DATED JULY 25, 1929 AND RECORDED IN THE RECORDER'S OFFICE OF COOK COUNTY, ILLINOIS
                                               ON JULY 27, 1929 AS DOCUMENT NUMBER 10439522 IN COOK COUNTY, ILLINOIS.

                                                                    PARCEL SA: (GRAND AVENUE WEST OF PARCEL 2)

                                               THE NORTH 74 FEET OF LOT 7 (EXCEPT THAT PART LYING WEST OF THE EAST LINE OF NORTH
                                               LAKE SHORE DRIVE, AS RELOCATED IN 1982-1983, AND EXCEPT THE EAST 100 FEET OF SAID LOT 7)
                                               IN CHICAGO DOCK AND CANAL COMPANY'S PESHTIGO DOCK ADDITION IN SECTION 10,
                                               TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE
                                               PLAT THEREOF RECORDED IN THE RECORDER'S OFFICE OF COOK COUNTY, ILLINOIS ON
                                               SEPTEMBER 17, 1889 IN BOOK 39 OF PLATS AT PAGE 18 AS DOCUMENT NUMBER 1157023, IN COOK
                                               COUNTY, ILLINOIS.

                                                                    PARCEL 5B: (ILLINOIS STREET WEST OF PARCEL 2)

                                               THE SOUTH 74 FEET OF THE NORTH 366 FEET OF LOT 7 (EXCEPT THAT PART LYING WEST OF THE
                                               EAST LINE OF NORTH LAKE SHORE DRIVE, AS RELOCATED IN 1982-1983, AND EXCEPT THE EAST
                                               100 FEET OF LOT 7) IN CHICAGO DOCK AND CANAL COMPANY'S PESHTIGO DOCK ADDITION IN
                                               SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN,
                                               ACCORDING TO THE PLAT THEREOF RECORDED IN THE RECORDER'S OFFICE OF COOK COUNTY,
                                               ILLINOIS ON SEPTEMBER 17, 1889 IN BOOK 39 OF PLATS AT PAGE 18 AS DOCUMENT NUMBER
                                               1157023, IN COOK COUNTY, ILLINOIS.

                                           I        PARCEL 6: (NORTH PART OF PIER ENTRANCE AREA AND PARK WEST AND ADJOINING)

                                               THAT PART OF THE FRACTIONAL NORTHEAST l/4 OF SECTION 10, TOWNSHIP 39 NORTH, RANGE 14
                                               EAST OF THE THIRD PRINCIPAL .rvtERIDIAN, AND ACCRETIONS THERETO, DESCRIBED AS
                                               FOLLOWS:

                                               LYING SOUTH OF A LINE 400 FEET NORTH OF THE NORTH LINE OF EAST GRAND AVENUE, AND
                                               LYING NORTH OF SAID NORTH LINE OF EAST GRAND AVENUE, AND SAID NORTH LINE EXTENDED
                                               EAST (SAID NORTH LINE ALSO BEING THE NORTH LINE OF LOT 7 IN CHICAGO DOCK AND CANAL
                                               COMPANY'S PESHTIGO DOCK ADDITION RECORDED SEPTEMBER 17, 1889 AS DOCUMENT NUMBER
                                               1157023, BEING A SUBDIVISION OF SECTION 10 AFORESAID), AND LYING EAST OF THE EAST LINE
                                               OF NORTH LAKE SHORE DRIVE, AS RELOCATED IN 1982-1983, AND LYING WEST OF THE EAST
                                               FACE OF THE CONCRETE DOCK WALL, LOCATED NORTH OF THE NAVY PIER STRUCTURE,(EXCEPT
                                               A STRIP OF LAND 63 FEET WIDE LOCATED ON THE EAST SIDE OF NORTH LAKE SHORE DRIVE AS
                                               LOCATED IN 1929 BETWEEN EAST OHIO STREET APPROACH AND EAST GRAND AVENUE) IN COOK
                                               COUNTY, ILLINOIS.

                                                          PARCEL 7: (STRIP OF LAND BETWEEN PARCEL 4 AND OGDEN SLIP PILINGS)

                                               A PARCEL OF LAND IN THE FRACTIONAL NORTHEAST 114, AND ACCRETIONS HERETO, OF
                                               SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN,
                                               BETWEEN THE SOUTH LINE OF PARCEL "A" HEREINAFTER DESCRIBED AND THE WATER'S EDGE
                                               OF OGDEN SLIP (MICHIGAN CANAL), ALL AS SHOWN ON PLAT OF SURVEY BY El\1MET KENNEDY



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                                               AND COMPANY, AND REFLECTED IN PLAT BY ClllCAGO GUARANTEE SURVEY COMPANY, ORDER
                                               MO. 7009003, IN COOK COUNTY, ILLINOIS.
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                                               PARCEL "A" (SHOWN FOR REFERENCE ONLY):

                                               THAT PART OF LOT 7 IN ClllCAGO DOCK AND CANAL COMPANY'S PESHTIGO DOCK ADDIDON IN
                                               SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN,
                                               ACCORDING TO THE PLAT THEREOF RECORDED IN THE RECORDER'S OFFICE OF COOK COUNTY,
                                               ILLINOIS ON SEPTEMBER 17, 1889 INBOOK390FPLATS AT PAGE 18,ASDOCUMENTNUMBER
                                               1157023, WHICH LIES WEST OF THE WEST LINE OF THE EAST 100 FEET OF SAID LOT 7; SOUTH OF
                                               THE SOUTH LINE OF THE NORTH 366 FEET OF SAID LOT 7; AND EAST OF THE EAST BOUNDARY
                                               LINE OF PARCEL "D" OF LANDS CONVEYED TO THE COMMISSIONERS OF LINCOLN PARK BY DEED
                                               DATED JULY 25, 1929 AND RECORDED IN THE RECORDER'S OFFICE OF COOK COUNTY, ILLINOIS
                                               ON JULY 27, 1929 AS DOCUMENT NUMBER 10439522, IN COOK COUNTY, ILLINOIS.

                                                         PARCEL 8: (STRIP OF LAND BETWEEN PARCEL 2 AND OGDEN SLIP PILINGS)

                                               A PARCEL OF LAND IN THE FRACTIONAL NORTHEAST l/4, AND ACCRETIONS THERETO, OF
                                               SECTION 10, TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN,
                                               DESCRIBED AS FOLLOWS:

                                           ~
                                           u   BEGINNING AT THE POINT OF INTERSECTION OF THE SOUTH LINE OF LOT 7 WITH THE WEST LINE
                                               OF THE EAST 100.00 FEET OF LOT 7 IN ClllCAGO DOCK AND CANAL COMPANY'S PESHTIGO DOCK
                                               ADDITION, ACCORDING TO THE PLAT THEREOF RECORDED IN THE RECORDER'S OFFICE OF COOK
                                               COUNTY, ILLINOIS ON SEPTEMBER 17, 1889, IN BOOK 39 OF PLATS AT PAGE 18, AS DOCUMENT
                                           t   NUMBER 1157023; THENCE NORTH 89 DEGREES 10 MINUTES 06 SECONDS EAST ALONG THE SOUTH
                                               LINE OF LOT 7, A DISTANCE OF 100.00 FEET TO THE SOUTH EAST CORNER OF SAID LOT 7; THENCE
                                               SOUTH 0 DEGREES 08 MINUTES 58 SECONDS EAST ALONG THE SOUTHERLY EXTENSION OF THE
                                           !   EAST LINE OF SAID LOT 7 FOR A DISTANCE OF 5.00 FEET MORE OR LESS TO THE SOUTH FACE OF
                                               THE STEEL SHEET PILINGS ALONG THE NORTH SIDE OF THE OGDEN SLIP; THENCE WESTERLY
                                               ALONG THE AFORESAID SOUTH FACE OF THE PILINGS 100.00 FEET TO THE WEST LINE OF THE

                                           I   EAST 100.00 FEET OF SAID LOT 7 EXTENDED SOUTHERLY; THENCE NORTH 0 DEGREES 08 MINUTES
                                               58 SECONDS WEST ALONG SAID WEST LINE AS EXTENDED SOUTHERLY FOR A DISTANCE OF 5.00
                                               FEET MORE OR LESS TO THE HEREINABOVE DESIGNATED POINT OF BEGINNING (EXCEPTING
                                               THEREFROM THAT PART THEREOF FALLING IN PARCEL 1 AFORESAID) IN, COOK COUNTY,
                                               ILLINOIS.




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                                                                                      EXHIBITB

                                                                                MARSHALING YARD SPACE
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                                                D   MeCem-ielt Place Parking


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                                                                                               SCHEDULE 2.7
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                                                                                     PERMITTED ENCUMBRANCES

                                                         1.    That certain Metropolitan Pier and Exposition Authority Right of Entry Agreement in
                                                               favor of the Chicago Transit Authority, dated September 2, 2009; and

                                                         2.    Exceptions described on the current title commitment to be attached.




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                                                                                    SCHEDULE 4.3

                                                                    PRE-COMMENCEMENT IMPROVEMENTS
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                                               1.    Project 2010-41: Navy Pier- Repair to precast concrete at Entrance One.

                                               2.    Project 2010-42: Navy Pier- Restoration of Lakeview Terrace.




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                                                                                    SCHEDULE 6.4
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                                                                               SERVICE CONTRACTS



                                                  DOCUMENT NAI\1E                    DATE                     PARTIES
                                               Agreement                      January 9, 1996      The City of Chicago, through its
                                               (to provide security)                               Police Department, and the
                                           I                                                       Metropolitan Pier and Exposition
                                           l                                                       Authority

                                               Expressway Partnership         March 15, 2000       The Chicago Gateway Green
                                               Agreement                                           Committee and the Metropolitan
                                                                                                   Pier and Exposition Authority

                                               Agreement between the City     January 1, 2006      City of Chicago, by and through
                                               of Chicago, by and through                          its Department of fleet
                                               its Department of fleet                             Management, and the
                                               Management, and the                                 Metropolitan Pier and Exposition
                                               Metropolitan Pier and                               Authority
                                               Exposition Authority for the
                                               Purchase of Fuel


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                                                                                       SCHEDULE 6.6.1

                                                                                     NAVY PIER MARKS
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                                                                                                              -;:--:---··-
                                                rHAME OF TRADEMARK      Classes      Next          Serial      Date of         Registration    Date of
                                                                                     Action        No.         Registration    No.             1st Use
                                                                                     Date
                                                -
                                                DEMONS OF THE DEEP              41    5/22/2013    77018843        5/22/2007         3243433     Sep-05
                                                GHOSTLY GARDENS                 41    5/22/2013    77018829        5/22/2007         3243432     Sep-05
                                                GOA UTILE                            Not Yet                                                       2008
                                                OVERBOARD                            Filed
                                                NAVY FEAR                       41    5/22/2013    78928630        5/22/2007         3244698     Sep-03
                                                NAVY FEAR & FUN                 41    8/16/2011    78358292       8/16/2005          2985173      Jul-03
                                                NAVY PIER               18, 21,      10/31/2020    75672858      10/31/2000          2399323   18, 21,
                                                                        25, 28,                                                                25,28
                                                                        35, 36,                                                                (1995);
                                                                        39, 41,                                                                36 (May-
                                                                        42                                                                     1995);
                                                                                                                                               35,42
                                                                                                                                               (May-
                                                                                                                                               1931);
                                                                                                                                               39,41
                                                                                                                                               (Dec-
                                                                                                                                               1927)
                                                NAVY PIER & DESIGN              41   11/13/2013    78928828      11/13/2007          3335071       Jul-05
                                                (PATCH)
                                                NAVY PIER CHCAGO &      35, 36,      10/23/2012    77073180      10/23/2007          3315999     Nov-06
                                                DESIGN (NEW)            39, 41,
                                                                        43
                                                NAVY PIER CHICAGO &     18, 21 ,     ALLOWED       77073168    Abandoned                       None
                                                DESIGN (NEW)            25           TO LAPSE

                                           I    (ABANDONED)
                                                NAVY PIER CHCAGO &
                                                DESIGN (OLD)
                                                                        35,41        12/26/2015    74375558      12/26/1995          1943338    1/1/1993



                                           lj   PIER PALS (CANCELED)
                                                SKYLINE STAGE
                                                CHICAGO & DESIGN
                                                                                28
                                                                                41
                                                                                      7/17/2007
                                                                                       7/3/2011
                                                                                                   76098929
                                                                                                   75933563
                                                                                                                  7/17/2001
                                                                                                                   7/3/2001
                                                                                                                                     2469770
                                                                                                                                     2465424
                                                                                                                                               3/15/2000
                                                                                                                                                 May-94

                                                SKYLINE STAGE                   41   7/24/2007     75938111       7/24/2001          2471351     May-94
                                                CHICAGO & DESIGN
                                                (CANCELED)
                                                WINTER WONDERFEST               41   1/2812013     76406672       1/28/2003          2681010   10/8/2001




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                                                                                            EXHIBITC

                                                                                      PROMISSORY NOTE
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                                                  $5,000,000.00                                                              _ _ _ _ ,2011

                                                         On or before June 30, 2014 (the "Maturity Date"), the undersigned, for value received,
                                                  promises to pay to the order of The Metropolitan Pier and Exposition Authority, a municipal
                                                  corporation and body politic of the government of the State of lllinois (the "Lender") FIVE
                                                  MILLION AND No/100 DOLLARS ($5,000,000.00), without interest. The Maturity Date may
                                                  be extended only by the written agreement of the undersigned and the Lender or in accordance
                                                  with that certain lease agreement by and between the Lender, and Navy Pier, Inc., an lllinois not-
                                                  for-profit corporation, dated April_, 2011 (the "Lease").

                                                          All payments hereunder (a) shall be made in immediately available funds in lawful
                                                  money of the United States of America and (b) shall be made at the principal office of the Lender
                                           "'.
                                           f.
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                                           .'.!
                                                  at Metropolitan Pier and Exposition Authority Corporate Center, 301 E. Cermak Road, Chicago,
                                                  Illinois 60616 (or at such other office as the holder hereof may designate in writing from time to
                                                  time).

                                                         The undersigned may prepay all or any portion of this Note at any time without premium
                                                  or penalty.

                                                         A default in the payment when due of any principal of this Note; or default and
                                                  continuance thereof for five days in the payment when due of any other amount payable by the
                                           I      undersigned hereunder shall constitute an "Event of Default" under this Note.

                                                        If any Event of Default occurs, the Lender may declare all amounts payable hereunder to
                                                  be immediately due and payable, without presentment, demand or notice of any kind.

                                                          If any amount payable hereunder is not paid when due (by acceleration or otherwise), the
                                                  undersigned will pay all costs and expenses (including, without limitation, reasonable attorneys'
                                                  fees and court costs) incurred by the Lender in connection with collection of such amount and
                                                  the enforcement of its rights hereunder (whether or not any lawsuit is ever filed).

                                                          The undersigned waives any right to a trial by jury in any action or proceeding to enforce
                                                  or defend any rights (i) under this Note or under any amendment, instrument, document or
                                                  agreement delivered or which may in the future be delivered in connection herewith or (ii)
                                                  arising from any banking relationship existing in connection with this Note, and agrees that any
                                                  such action or proceeding shall be tried before a court and not before a jury. All disputes
                                                  hereunder shall be resolved pursuant to the provisions of Section 18.5 of the Lease.

                                                          The undersigned represents that the loan evidenced by this Note is a business loan,
                                                  transacted solely for the purpose of operating the Premises (as defined in the Lease).




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                                                      The rights and privileges of the Lender hereunder shall inure to the benefit of its .
                                               successors and assigns.
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                                                      All parties hereto, whether as makers, endorsers, or otherwise, severally waive
                                               presentment for payment, demand, protest and notice of dishonor.

                                                    THIS NOTE HAS BEEN DELIVERED IN CHICAGO, ILLINOIS AND SHALL BE
                                               DEEMED TO BE A CONTRACT MADE UNDER AND GOVERNED BY THE INTERNAL
                                               LAWS OF THE STATE OF ILLINOIS.

                                                       IN WITNESS WHEREOF, the undersigned has caused this Note to be duly executed and
                                               delivered as of the day and year first above written.

                                                                                                Navy Pier, Inc.



                                                                                               By: ________________________

                                                                                               Title:-------------




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                                                                                         SCHEDULE 7.2

                                                                                           VEIDCLES
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                                                        Tag                                                                                       Plate
                                                  No    No         Description        Model                   VIN          Year    Title No        No
                                                   1   22383      Vehicle van     TRITON E-350        IFTSE34L9X1fB62978   1999                  M126481
                                                                  Vehicle,
                                                   2   27105      Truck Pickup    F250XL              1FTNF20516~60229     2006    X5228680047   M151984
                                                                  Vehicle,        RANGER
                                                   3   27106      Truck Pickup    REGULAR CAB         1FTZR15E85PA94098    2006    X5228680048   M151955
                                                                  TROLLEY
                                                                  BUSw/rear       NPLOGO
                                                   4   26384      lift            208HOFE             1FCNF53S530A02815    2003    T3094857025   M136274
                                                                  TROLLEY
                                                                  BUSw/rear       NPLOGO
                                                   5   26475      lift            208HOFE             1FCNF535330A02814    2003    T3094857023   M135275
                                                              L
                                                                  TROLLEY
                                                                  BUSw/rear       NPLOGO
                                                   6   26489      lift            208HOFE             1FCNF53S130A02813    2003    T3094857024   M135273
                                                                  TROLLEY
                                                                  BUSw/rear       NPLOGO

                                           I       7   26521      lift
                                                                  TROLLEY
                                                                  BUSw/rear
                                                                                  208HOFE

                                                                                  NPLOGO
                                                                                                      1FCNF53S730A02816    •2003   T3099856027   M136295



                                           I       8   26675      lift
                                                                  TROLLEY
                                                                  BUSw/rear
                                                                                  208HOFE

                                                                                  NPLOGO
                                                                                                      1FCNF535530A06802    2003    T4062051015   M145672


                                                   9    26676     lift            208HOFE             1FCNF53S330A06801    2003    T4062051016   M145673
                                           L,                     TROLLEY
                                           till                   BUSw/rear       NPLOGO
                                                  10    26696     lift            208HOFE             1FCNF53S730A06803    2003    T4062051014   M145675
                                                                  TROLLEY
                                                                  BUSw/rear       NPLOGO
                                                  11    26697     lift            208HOFE             1FCNF53S930A06804    2003    T4062051017   M145674
                                                                  Vehicle,        AREOTECH
                                                  12    12748     Shuttle Bus     220                 1FDXE40F2WHA16072    1988    T8063472008   M105427
                                                                                  Explorer 4x2 (4-
                                                  13    27308     Vehicle truck   Door)               1FMEU62E06UB51116    2006    X6181672108   M158430
                                                                                  Explorer 4x2 (4-
                                                  14    27309     Vehicle truck   Door)               1FMEU62E26UB51117    2006    X618672107    M158429




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                                                                                      SCHEDULE 8.2

                                                                                      OTHER LEASES
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                                                      DOCUMENT NAME                    DATE                      PARTIES


                                                   Lease                         September 11, 2009   The City of Chicago and the
                                                   (to provide parking spaces)                        Metropolitan Pier and Exposition
                                                                                                      Authority
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                                                                                            SCHEDULE 9.1
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                                                        LEASE AGREEMENTS
                                                    I          TENANT TRADE NAME                    TENANT                 Expiration Date     Option

                                                        RESTAURANTS
                                                                                                                                               (2) Five
                                                                                                                                                 Year
                                                        Billy Goat Tavern             Billy Goat North II, Inc.               5/31/2011        Options

                                                                                      Bubba Gump Shrimp Co.
                                               2        Bubba Gump Shrimp Co.         Restaurants, Inc.                       5/31/2013          No

                                                                                                                                               (2) Five
                                                                                      Bubba Gump Schrimp Co.                                    Year
                                               3        Capi's Italian Restaurant     Restaurants, Inc.                      10/31/2018        Options

                                                        Crystal Garden Cafe (Chango                                                          (2) Ten Year
                                               4        Loco)                         Stefani's Pier Front, Inc.              5/31/2016        Options

                                               5        Dock Street Cafe              TKE, Inc.                               1n/2012            No

                                                                                      Third Coast Ice Cream Partners,
                                               6        Haagen Dazs Cafe              LLC                                      9/31/11           No

                                                                                                                                               (3) Five
                                                                                      Harry Caray'sTavern Navy Pier,                            Year
                                               7        Harry Garay's Tavern          L.P.                                   11/30/2019        Options

                                                                                                                                               (3) Five
                                                                                                                                                Year

                                           I   8        Margaritaville                Margaritaville of Chicago, LLC

                                                                                      McDonald's Corporation/BT II, Inc.
                                                                                                                             10/31/2021        Options



                                               9        McDonald's                    (franchisee)                           10/30/2030          No
                                                                                      (Publicly traded on NYSE)

                                                                                                                                             (2) Ten Year
                                               10       Navy Pier Beer Garden         Pier 1996, Inc.                         5/31/2016        Options

                                                                                                                                             (2) Ten Year
                                               11       Riva                          Stefani's Pier Front, Inc.              8/31/2015        Options


                                                        FOOD COURT
                                               12       America's Dog                 Serv-U-Rite                             1/6/2013           No

                                                                                                                                               (1) Five
                                               13       Auntie Anne's Pretzels        MSE Branded Foods                       2128/2015      Year Option

                                                                                      Robinson-Hill Marketing Group,
                                               14       Ben & Jerry's                 Inc.                                    1/5/2014           No

                                               15       Carnelli's Deli               Serv-U-Rite                             9/30/2011          No

                                               16       Connie's Pizza                MADI TY, Inc.                           9/30/2011          No




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                                                                                                                                              (1) Five
                                                     17   Garrett Popcorn Shop               Caramel Crisp LLC                 9/30/2014    Year Option
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                                                     18   Greek Delight                      Greek Delight, Inc.               9/30/2011        No

                                                                                                                                              (1) Five
                                                     19   lcandylicious                      I love Chicago, Inc.              9/30/2015    Year Option

                                                                                                                                              (1) Five
                                                     20   Jamba Juice .                      MSE Branded Foods                 2128/2015    Year Option

                                                     21   King Wah                           King Wah Express                  9/30/2011        No

                                                     22   Starbuck                           Rena's Fudge Shop                 3130/2013        No

                                                     23   Twisted Lizard                     Chicago Pier, Inc.                9/30/2015        No

                                                          RETAIL SHOPS
                                           ~g;';},
                                               ;,    24   Build-a-Bear                       Build-a-Bear Workshop, Inc.       4/30/2013        No

                                                                                                                                              (1) Five

                                           r~r;~     25   East West News (Family Pavilion)   East West News Corp., Inc.        6/3012014    Year Option

                                                                                                                                              (1) Five
                                                     26   Life in the Windy City             Color, Inc.                       9/30/2014    Year Option

                                                     27   Making History                     Color, Inc.                       5/31/2012        No

                                                                                                                                              (1) Five
                                                     28   Navy Pier Ahoy Chicago             Paperweight, Inc.                 12131/2014   Year Option

                                                          Oh Yes Chicago! and DogE                                                            (1) Five
                                                     29   Works                              OYC, Inc.                          1/7/2015    Year Option

                                           I         30   Sports Store                       Chicago Sport & Novelty           9/30/2011        No

                                           !                                                 United Service Organizations of
                                           I: til    31   USO of Illinois                    Illinois, Inc.                    5/31/2012        No


                                                          ATTRACTIONS
                                           ~~~       32   Amazing Chicago                    Amazing Ventures, Inc.            9/30/2011        No


                                                                                                                                              Possible
                                                                                                                                              term can
                                                                                                                                                extend
                                                                                                                                               through
                                                                                                                                             9/2212025
                                                     33   Chicago Children's Museum          Chicago Children's Museum         9/2212013

                                                                                                                                             (5) Fifteen
                                                                                                                                                Year
                                                     34   Chicago Shakespeare Theater        Shakespeare Repertory             10/31/2014     Options

                                                                                                                                              (1) Five
                                                     35   Navy Pier Imax Theatre             IMAX Chicago Theatre, LLC         12131/2012   Year Option


                                                     36   WBEZ                               The WBEZ Alliance, Inc.           5/31/2094        No




                                                                                                             51
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                                                         BOATS
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                                                    37   Anita Dee                        Tee Dee Enterprises, Inc.               9/30/2011              No

                                                                                                                                                     5 year
                                                    38   Kanan                            Kanan Cruises, Inc.                     4/30/2015          option

                                                    39   Mystic Blue                      Entertainment Cruises, Inc.             9/30/2011              No

                                                    40   Odyssey                          Entertainment Cruises, Inc.             9/30/2011              No

                                                                                                                                                     5 year
                                                    41   Seadog                           Entertainment Cruises, Inc.             12/31/2011         option

                                           L        42   Shoreline (South Dock)           Shoreline Marine Company, Inc.          12/31/2011
                                                                                                                                                     5 year
                                                                                                                                                     option


                                           r
                                           ,,t:1
                                           l;;}     43
                                                         Shoreline Marine (Celebration)
                                                         (Ogden Slip)                     Shoreline Marine Company, Inc.          3131/2011              No


                                           fl   "
                                                    44

                                                    45
                                                         Shoreline (Bright Star)

                                                         Shoreline OS02 (Giddy Up)
                                                                                          Shoreline Marine Company, Inc.

                                                                                          Shoreline Marine Company, Inc.
                                                                                                                                  3131/2011

                                                                                                                                  3131/2011
                                                                                                                                                         No

                                                                                                                                                         No

                                                                                                                                                     5 year
                                                    46   Shoreline GSA Property           Shoreline Marine Company, Inc.          12/31/2011         option
                                                                                                                                                     5 year
                                                    47   Shoreline River                  Shoreline Marine Company, Inc.          12/31/2011         option

                                                    48   Windy                            Southern Windjammer Ltd.                10/31/2012             No

                                                    50   Spirit of Chicago                Entertainment Cruises, Inc.             9/30/2011              No

                                           I             STORAGE AGREEMENTS
                                                              TENANT TRADE NAME                         TENANT                EXPIRATION DATE
                                           L\~
                                                         RESTAURANTS
                                                                                          Harry Garay's Tavern Navy Pier,

                                           I"
                                            '
                                                    51   Harry Garay's Tavern

                                                         RETAIL SHOPS
                                                                                          L.P.                                    11/30/2019



                                                    52   Varsity Stop Outfitters          Color, Inc.                             9/30/2011

                                                         OTHER MERCHANTS
                                                    53   Ferris Wheel Photos              Photogenic, Inc.                        1/31/2012

                                                         BOATS


                                                    54   Anita Dee                        Tee Dee Enterprises, Inc.         9/30/2011- Auto Renew

                                                    55   Spirit of Chicago                Entertainment Cruises, Inc.       2/28/2011- Auto Renew

                                                    56   Shoreline (South Dock)           Shoreline Marine Company, Inc.    12/31/2011- Auto Renew




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                                                    ANTENNA AGREEMENT
                                                        TENANT TRADE NAME           TENANT            EXPIRATION DATE
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                                               57   AT&T (site #1)

                                               58   AT&T (site #2)

                                               59   Deanli Spectrum Operations

                                               60   Sprint!Nextel

                                               61   T-Mobile

                                               62   U.S. Cellular

                                               63   Verizon

                                               64   XM Radio




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                                                                                            EXIDBITI}
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                                                                       LESSEE INSURANCE REQUIREMENTS

                                                [SUBJECT TO COMPARISON WITH AUTHORITY'S CURRENT NON-PROPERTY
                                                                          COVERAGE]

                                                       1.    Commercial General Liability. LESSEE shall procure and maintain, at its own
                                               expense, for the Term of this Agreement, commercial general liability insurance in amounts
                                               sufficient to operate the Premises in accordance with this Agreement. On the Lease
                                           !   Commencement Date the LESSEE shall procure the minimum coverage as set forth below:
                                           L
                                                       Coverage                                                       Limit
                                                       General Annual Aggregate                                       $2,000,000
                                                       Products Completed Operations Annual Aggregate                 $2,000,000
                                                       Each Occurrence                                                $1,000,000
                                                       Personal & Advertising Injury                                  $1,000,000
                                                       Employee Benefit Liability - per occurrence limit              $1,000,000
                                                       Employee Benefit Liability- aggregate limit                    $1,000,000
                                                       Fire Damage Legal Liability                                    $1,000,000
                                                       Liquor Liability- each person Bodily Injury                    $1,000,000
                                                       Liquor Liability - each person Property Damage                 $1,000,000

                                                      In addition to the above coverage limits set forth above, such policy shall contain the
                                               following terms:
                                           I          Additional Insured coverage where required by the Agreement

                                                      LESSEE's primary non-contributory

                                                     An amusement attraction amendment to cover all inflatables or rides brought to the
                                               Premises

                                                      A blanket waiver of subrogation in favor of the AUTHORITY

                                                      Deletion of Fellow Employee Exclusion

                                                      Employee Benefit Liability

                                                      If claims made coverage, then the retro date must be prior to the date of this Agreement

                                                      Employees as insureds endorsement

                                                      General liability coverage must be an occurrence coverage with deductible of no greater
                                               than $100,000 per occurrence.

                                                      Kotecki Waiver Endorsement in favor of the AUTHORITY


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                                                           Liquor Law Liability. If LESSEE is servicing liquor, then a $1 million limit is required.
                                                    If such services are contracted out to a third Party, the host is acceptable but a copy of the
                                                    vendor's certificate evidencing a $1 million limit of coverage is required
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                                                           Occurrence Form is required

                                                           Pollution. Hostile fire is required for the Premises.

                                                           TRIA I Terrorism is required.


                                                             2.     Umbrella Liability. LESSEE shall also procure and maintain, at its own
                                           IL       expense, umbrella liability insurance with a minimum per occurrence limit of at least Seventy-
                                                    Five Million Dollars ($75,000,000), an annual aggregate limit of at least Seventy-Five Million
                                                    Dollars ($75,000,000) and a products completed operations aggregate limit of at least Seventy-
                                                    Five Million Dollars ($75,000,000). Such coverage shall be in excess of the commercial general
                                                    liability insurance, the automobile liability insurance, and the employer's liability insurance
                                                    described in this Exhibit D, for the entire Premises. Such coverage shall be no more restrictive
                                                    than the primary coverage listed and shall follow all terms and conditions of the underlying
                                                    coverages.

                                                             3.     Automotive Liability. LESSEE shall procure and maintain, at its own expense,
                                                    for the Term of this Agreement, comprehensive automotive bodily injury and property damage
                                                    liability insurance with an authorized insurance company for business use covering all vehicles
                                                    operated by LESSEE's officers, agents and employees in connection with the Premises, whether
                                                    owned by' LESSEE or otherwise, including liability under symbol 1 for any auto and coverage
                                                    for all owned, non-owned and hired autos, with a combined single limit per accident of at least
                                           I        One Million Dollars ($1,000,000), an uninsured motorist limit of at least One Million Dollars
                                                    ($1,000,000) and an underinsured motorist limit of at least One Million Dollars ($1,000,000).

                                                             4.     Employer's Liability. LESSEE shall procure and maintain, at its own expense,
                                                    for the Term of this Agreement, employer's liability insurance which shall contain a premises
                                                    liability policy for bodily injury and property damage to third parties. Such policy shall contain
                                           ~
                                                '
                                            -
                                                t
                                                    minimum coverage as set forth below:

                                                                              Coverage                             Limit
                                           r-
                                           ,                                  Each Accident                    $ 1,000,000
                                                                              Per Employee - Disease             1,000,000
                                                                              Annual Aggregate - Disease         1,000,000


                                                             5.     Employee Practices Liability. LESSEE shall procure and maintain, at its own
                                                    expense, for the Term of this Agreement, employee practices liability, including third party, with
                                                    a per loss limit of at least Five Million Dollars ($5,000,000) and an aggregate limit of liability of
                                                    at least Five Million Dollars ($5,000,000). Such policy also shall have a retro date prior to or as
                                                    of the date of execution of this Agreement and the coverage must be kept in force for three years
                                                    after the termination of this Agreement.


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                                                       6.     Crime Liability. LESSEE shall procure and maintain, at its own expense, for the
                                               Term of this Agreement, crime liability insurance with minimum coverage in the amounts set
                                               forth both below, which coverage shall be evidenced on a Discovery Form:
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                                                      Coverage                                                                  Limit
                                                      Employee Theft I Dishonesty                                   $ 1,000,000
                                                      On Premise Coverage for Theft, Disappearance, Destruction of    1,000,000
                                                      money and securities
                                                      Off Premise Coverage for Theft, Disappearance, Destruction of   1,000,000
                                                      money and securities
                                                      Forgery & Alterations Coverage                                 1,000,000
                                                      Money Orders/Counterfeit Fraud Coverage                        1,000,000
                                                      Funds Transfer Fraud Coverage                                  1,000,000
                                                      Credit Card Fraud                                              1,000,000
                                                      Computer Fraud with Funds Transfer including wire funds        1,000,000
                                                      transfer

                                                       7.      Contractor's Pollution Liability. LESSEE shall procure and maintain, at its
                                               own expense, for each construction project managed by LESSEE during the Term of this
                                               Agreement, a broad form contractor's pollution liability insurance policy which covers losses
                                               caused by pollution conditions (including sudden and non-sudden pollution conditions) arising
                                               from the services and operations of LESSEE or his contractor and all subcontractors pursuant to
                                               this Agreement. Such policy shall apply, without limitation, to bodily injury, property damage
                                               (including loss of use of damaged property or of property which has not been physically injured
                                           I   or destroyed) and clean-up costs and shall provide coverage for pollution conditions which arise
                                               from encountering preexisting environmental conditions at the project site and for liability
                                               resulting from the transportation of hazardous wastes. Further, such policy shall be written with
                                               a per claim limit of liability of at least Three Million Dollars ($3,000,000) for each occurrence
                                               and a policy aggregate of liability of at least Five Million Dollars ($5,000,000) with a deductible
                                               no greater than One Hundred Thousand Dollars ($100,000), and shall in remain force for three
                                               years after the termination of this Agreement.

                                                        8.     Tenant User General Liability Program. LESSEE shall provide a tenant
                                               liability insurance program that may be offered to third parties who want to use the Premises for
                                               an activities such as hosting a meeting or a wedding, but are unable to provide evidence of
                                               insurance; provided that it is understood that such program may not be used for conventions.
                                               Insurance policies offer through this program shall name LESSEE and the AUTHORITY as
                                               additional insureds and shall offer coverage in the as set forth below:

                                                             Coverage                                              Limit
                                                             General Annual Aggregate                              $2,000,000
                                                             Products Completed Operations Annual Aggregate         2,000,000
                                                             Each Occurrence                                        1,000,000
                                                             Personal & Advertising Injury                          1,000,000


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                                                              Umbrella Coverage                                     As determined
                                                                                                                    necessary per
                                                                                                                    industry
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                                                                                                                    standards

                                                        9.     Workers' Compensation. LESSEE shall at all times maintain worker's
                                                 compensation insurance with an authorized insurance company, insuring its employees at the
                                                 Premises in amounts equal to or greater than required under law. Such policy also shall include
                                                 the following terms: employees as insureds endorsement, other states coverage, USL&H
                                                 Coverage endorsement (if any), Jones Act Coverage (if any), and voluntary compensation
                                                 endorsement.

                                                         10.    Other Types. Such additional or different types of insurance, including a change
                                                 in the character or amount of insurance required hereunder, at any time, and from time to time,
                                                 during the Term as the AUTHORITY shall reasonably deem necessary, upon notice to LESSEE.
                                                 Within 30 days after demand therefor by the AUTHORITY, LESSEE shall furnish the
                                                 AUTHORITY with evidence that LESSEE has complied with such demand.

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                                                       11.    Additional Requirements. Notwithstanding anything to the contrary herein,
                                                 LESSEE's assumption of liability is independent from, and not limited in any manner by,
                                                 LESSEE's insurance coverage obtained pursuant to this terms of this Agreement, or otherwise.
                                                 All amounts owed by LESSEE to the AUTHORITY as a result of the liability provisions of this
                                                 Agreement shall be paid on demand.

                                                         LESSEE shall be the named insured under all of the above policies except policies issued
                                                 under the tenant user general liability program under which LESSEE shall be named as an
                                                 additional insured. The AUTHORITY, its trustees, facilities, agents, officers, board members
                                           I     and employees shall be additional insureds under the foregoing insurance policies (except for
                                                 Worker's Compensation and Contractor's Pollution liability The insurance certificate shall state
                                                 that the AUTHORITY, its trustees, facilities, agents, officers, board members and employees are
                                                 additional insureds.

                                                         Certificates of insurance or certified copies of the policy, or policies, evidencing the
                                                 existence of all of the policies required by this Agreement, all in such form as the AUTHORITY
                                                 may reasonably require, shall be delivered to the AUTHORITY prior to the execution of this
                                                 Agreement. Notwithstanding the provisions of this Exhibit D, the Parties hereto acknowledge
                                                 that the above policies may contain exclusions from coverage which are reasonable and
                                                 customary for policies of such type and acceptable to the AUTHORITY. Each such policy or
                                                 certificate shall contain a valid provision or endorsement stating, "This policy will not be
                                                 canceled or materially changed or altered without first giving 60 days' notice thereof to
                                                 Metropolitan Pier and Exposition Authority Risk Management Department, [_ _ _ _ __,
                                                 Chicago, IL [         ], sent by certified mail, return receipt requested." LESSEE shall provide a
                                                 renewal certificate annually evidencing all coverage required under this Agreement prior to
                                                 expiration of LESSEE's insurance program.

                                                       All insurance procured by LESSEE in accordance with the requirements of this
                                                 Agreement shall be primary over any insurance carried by the AUTHORITY and not require


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                                               contribution by the AUTHORITY. LESSEE shall waive all rights of subrogation in favor of the
                                               AUTHORITY on the general liability insurance policy, the automobile bodily injury and
                                               property damage liability insurance and the umbrella liability policy described and the workers'
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                                               compensation policy described in this Exhibit D. Other than employment practices liability
                                               insurance, employee benefit liability insurance, and contractor's pollution liability, all insurance
                                               procured by LESSEE shall be pursuant to an occurrence basis policy (rather than a claims made
                                               policy). It is acknowledged that employee practices liability insurance and employee benefit
                                               liability insurance, and contractor's pollution liability will be on a claims made basis and
                                               therefore LESSEE agrees to maintain such insurance in accordance with this Agreement for at
                                               least three years following the termination date of this Agreement.

                                                      With the exception of Worker's Compensation, the insurance coverage obtained by
                                               LESSEE shall contain no non-standard, special and/or unusual exclusions or restrictive
                                               endorsements without prior consent of the AUTHORITY. No such insurance coverage shall
                                               contain a deductible or self insurance retention in excess of two hundred fifty thousand dollars
                                               ($250,000) without the prior consent of the AUTHORITY, unless otherwise agreed. All such
                                               insurance policies must be obtained from a carrier licensed or admitted to do business in the
                                               State of lllinois having a rating of A-VIII or better from A.M. Best Company or a rating
                                               otherwise acceptable to the AUTHORITY.




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                                                                          SCHEDULE 14.4.3

                                                                     NOTICES OF VIOLATIONS
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                                                                                None




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                                                                              SCHEDULE 14.4.4
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                                                                        LIST OF PENDING DISPUTES

                                                                                    None




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                                                                                         SCHEDULE 14.4.5
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                                                                            EXISTING HAZARDOUS SUBSTANCES

                                                   There exists at the Premises various solvents and cleaners and other materials kept and used in
                                                   the normal course of business which are classified as Hazardous Substances, but for which no
                                                   known release is present. Also, there is possible Hazardous Materials (asbestos and lead based
                                                   paint) contained with the structure and facilities, but for which no known release is present.


                                                   There are no known Hazardous Substances at the Premises except those used and maintain in the
                                                   normal course of business.




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                                                                                         EXIDBITE

                                                                          FORM OF MEMORANDUM OF LEASE
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                                               This instrument prepared by
                                               and after recording return to:

                                               Lisa 0' Keefe
                                               Mayer Brown LLP
                                               71 South Wacker Drive
                                               Chicago, lllinois 60606

                                                                                MEMORANDUM OF LEASE

                                                       This Memorandum of Lease (this "Memorandum") is made between The
                                               METROPOLITAN PIER AND EXPOSITION AUTHORITY, a municipal corporation and body
                                               politic of the government of the State of lllinois, having its principal office at 301 E. Cermak,
                                               Chicago, lllinois, ("Authority") and NAVY PIER, INC., an Illinois not-for-profit corporation,
                                               having its principal office at                     , Chicago, lllinois ("Lessee").

                                                       1.       The Leased Property. Authority and Lessee have entered into that certain Lease
                                               Agreement having an Effective Date of                   _, 2011 (the "Lease"), whereby Authority
                                               leased to Lessee and Lessee leased from Authority the property located in the County of Cook,
                                               State of lllinois which is legally described on Exhibit A.

                                           I           2.     Defmed Terms/Lease Controls. In the event of any conflict between the terms
                                               and provisions hereof and the terms and provisions of the Lease and those of this Memorandum,
                                               the provisions of the Lease shall control. All provisions of the Lease are incorporated herein by
                                               reference. Terms used herein but not defmed in this Memorandum shall have the meanings
                                               ascribed thereto in the Lease.

                                                      3.     Term. Pursuant to the Lease, Lessee shall have and hold the Premises for a term
                                               ("Term") of fifteen (15) years, commencing at 12:01 a.m., central time, on July 1, 2011 and
                                               ending at midnight on the June 30, 2026 unless extended pursuant to Section 1.5 of the Lease or
                                               sooner terminated as set forth in the Lease.

                                                       4.      Counterpart Execution. This Memorandum may be executed simultaneously or in
                                               two or more counterparts, each of which shall be deemed an original, but all of which together
                                               shall constitute one and the same instrument.

                                                      5.      Liens. Notice is hereby given that the Authority shall not be liable for any labor
                                               or materials furnished or to be furnished to Lessee upon credit, and that pursuant to Section 3 of
                                               the Metropolitan Pier and Exposition Authority Act 70 ILCS 210/4, no mechanic's,
                                               materialmen's or other lien for any such labor or materials shall issue against any real property of
                                               the Authority.


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                                                      IN WITNESS WHEREOF, Authority and Lessee have caused this Memorandum to be
                                               executed by their duly authorized officers as of an effective date of , 2011 for the
                                               purpose of providing an instrument for recording.
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                                               AUTHORITY                                              LESSEE

                                               THE METROPOLITAN PIER AND                              NAVY PIER, INC.,
                                               EXPOSITION AUTHORITY,                                  an lllinois not-for-profit corporation
                                               a municipal corporation and body politic of the
                                               State of lllinois

                                               By: _ _ _ _ _ _ _ _ _ _ _ __                           By:
                                                   James Reilly                                             [Name]
                                                   Trustee                                                  [Title]




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                                                STATE OF ILLINOIS             )
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                                                                              ) SS:
                                                COUNTY OF COOK                )

                                                        Personally came before me this        day of                 , 2011, the above named
                                                James Reilly, Trustee of The Metropolitan Pier and Exposition Authority, a municipal
                                                corporation and body politic of the State of illinois and acknowledged that he executed the
                                                foregoing instrument on behalf of said company and by its authority for the purposes set forth
                                                therein.
                                           I
                                           L    My Commission Expires:

                                                                                                     Notary Public

                                                County of Residence:
                                                                                                     Printed



                                                STATE OF ILLINOIS             )
                                                                              ) SS:
                                                COUNTY OF COOK                )

                                                        Personally came before me this            day of                  , 2011, the above named

                                           I    _ _ _ _ _ as                    of, Navy Pier Inc., an illinois not-for-profit corporation
                                                and acknowledged that he executed the foregoing instrument on behalf of said company and by
                                                its authority for the purposes set forth therein.
                                           L~
                                           lj   My Commission Expires:

                                                                                                     Notary Public

                                                County of Residence:
                                                                                                     Printed




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                                                                                     Exhibit A to Memorandum of Lease
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                                                                                LEGAL DESCRIPTION OF NAVY PIER

                                                                                   [SUBJECT TO CONFIRMATION]
                                                               A parcel of land lying East of Fractional Section 10, Township 39 North, Range 14 East
                                                       of the Third Principal Meridian in Cook County, Illinois, described as follows:
                                                              Beginning at the North East comer of Lot 7 in the Chicago Dock and Canal Company's
                                                       Peshtigo Dock Addition in said Section 10;
                                           I                  thence "due East" on the extension East of the North line of said lot, 460.40 feet to the
                                           L           place of beginning;
                                                               thence South 0 degrees 08 minutes 20 seconds West on a line parallel with the East line
                                                       of said lot, 289.23 feet;
                                                              thence due West, 2.60 feet;
                                                              thence South 0 degrees 08 minutes 20 seconds West, 37.00 feet;
                                                              thence due East, 44.00 feet;
                                                              thence South 0 degrees 08 minutes 20 seconds West, 63.00 feet to the South face of a
                                                       concrete bulkhead;
                                                               thence South 89 degrees 57 minutes 35 seconds East on said South face, 2,332.66 feet to
                                                       a point on the extension South of the West face of the Brick Terminal Building in Navy Pier;
                                                              thence North 0 degrees 06 minutes East on said line extended South and also along said
                                           I           West face and also on the extension North thereof, 390.12 feet to the North face of a concrete
                                                       bulkhead;
                                                                thence North 89 degrees 58 minutes 55 seconds West along said North face, 2,373.80
                                           w
                                           '
                                                   '
                                                       feet to the place of beginning.
                                                       Also
                                           ~
                                               '
                                               '
                                               '
                                                               A parcel of land lying East of fractional Section 10, Township 39 North, Range 14 East
                                                       of the Third Principal Meridian, in Cook County, Illinois, described as follows:
                                                              Beginning at the North East comer of Lot 7 in the Chicago Dock and Canal Company's
                                                       Peshtigo Dock Addition, in said Section 10;
                                                              thence "due East" on the extension East of the North line of said lot 2,834.20 feet;
                                                              thence "due South" 0.95 feet to the point of intersection of the North face of a concrete
                                                       bulkhead and the extension North of the West face of the Brick Terminal Building in Navy Pier,
                                                       said point being the place of beginning of this tract of land;
                                                              thence South 89 degrees 52 minutes 30 seconds East on said North face of the concrete
                                                       bulkhead, 666.70 feet to the North East comer thereof, said comer being 2.40 feet South of said
                                                       extension East of the North line of said Lot 7;




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                                                               thence South 0 degrees 06 minutes West on the East face of said bulkhead, 294.00 feet
                                                       to the South East comer thereof;
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                                                               thence North 89 degrees 56 minutes West on the South face of said bulkhead, 666.70
                                                       feet to a point in the aforesaid West face of the Brick Terminal Building extended South;
                                                               thence North 0 degrees 06 minutes East on said line extended South and along said West
                                                       face of building and along its extension North, 294.68 feet to the place of beginning.
                                                              In addition, that part of the Navy Pier Site and which property is described as follows:
                                                               That part of Lot 7, in Chicago Dock and Canal Company's Peshtigo Dock Addition, in
                                                       Section 10, Township 39 North, Range 14 East of the Third Principal Meridian, according to the
                                                       plat thereof recorded in the Recorder's Office of Cook County, lllinois on September 17, 1889,
                                                       in Book 39 of Plats at Page 18, as Document No. 1157023, which lies West of the West line of
                                                       the East 100.00 feet of said Lot 7; South of the South line of the North 366.00 feet of said Lot 7;
                                                       and East of the East boundary line of Parcel "D" of the lands conveyed to the Commissioners of
                                           [ ·. 1•:'
                                              -s       Lincoln Park by deed dated July 25, 1929, and recorded in the Recorder's Office of Cook
                                                       County, lllinois, on July 27, 1929, as Document No. 10439522; in Cook County, lllinois.
                                                              Subject to all existing leases and tenancies with all payments under such leases and
                                                       tenancies being due and payable hereafter to the Grantee; and
                                                               Subject to a perpetual easement granted to the State of lllinois, Department of
                                                       Transportation, for construction, maintenance, operation, repair and replacement of a roadway
                                                       structure and related appurtenances, as recorded on March 11, 1983 as Document #26533318;
                                                       and
                                                               Subject to perpetual easements, hereby reserved by Grantor and assignable by Grantor,
                                                       for construction, maintenance, operation, repair and replacement of a roadway structure and
                                           I           related appurtenances upon, under and across the following described property:
                                                       (Parcell3-bl)
                                                              That part of the North half of the Ogden Slip lying South of Lot 7 in Chicago Dock and
                                                       Canal Company's Peshtigo Dock Addition in Section 10, Township 39 North, Range 14 East of
                                                       the Third Principal Meridian bounded and described as follows:
                                                                Commencing at a point on the South line of said Lot 7, having a bearing of North 89
                                                       degrees 9 minutes 7 seconds East (assumed), 394.377 feet East of the South West comer of said
                                                       Lot 7; thence South 0 degrees 14 minutes 11 seconds East a distance of 60.629 feet to the point
                                                       of beginning; thence South 89 degrees 45 minutes 49 seconds West a distance of 14.972 feet;
                                                       thence South 8 degrees 13 minutes 42 seconds West a distance of 5.751 feet to the center line of
                                                       aforesaid Slip; thence East along said center line having a bearing North 89 degrees 26 minutes
                                                       23 seconds East a distance of 14.608 feet; thence North along a straight line a distance of 5.735
                                                       feet to the point of beginning.
                                                       (Parcell2-b2)
                                                              That part of the North half of the Ogden Slip lying South of Lot 7 in Chicago Dock and
                                                       Canal Company's Peshtigo Dock Addition in Section 10, Township 39 North, Range 14 East of
                                                       the Third Principal Meridian Bounded and described as follows:




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                                                        Beginning at a point on the South line of Lot 7, having a bearing of North 89 degrees 9
                                                minutes 7 seconds East (assumed), 394.377 feet East of the South West comer of said Lot 7;
                                                thence South 0 degrees 14 minutes 11 seconds East along a straight line a distance of 53.440
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                                                feet; thence Northeasterly along a straight line a distance of 62.744 feet to a point on the South
                                                line of said Lot 7, said point being 32.313 feet East of the point of beginning; thence West along
                                                the South line of Lot 7 a distance of 32.313 feet to the point of beginning.
                                                (Parcel13-cl)
                                                          That part of Lot 7 in Chicago Dock and Canal Company's Peshtigo Dock Addition in
                                                Se.<;;tion 10, Township 39 North, Range 14 East-of the Third Principal Meridian bounded and
                                                described as follows:
                                           I
                                                         Commencing at the point of intersection of the South line of the North 366 feet of said
                                           L     Lot 7, being also the South line of East lllinois Street and the East line of the West 900 feet of
                                                 said Lot 7; thence West along the South Line of East lllinois Street having a bearing of South 89
                                                 degrees 43 minutes 30 seconds West (assumed) a distance of 354.100 feet to the point of
                                                 beginning; thence South along a straight line bearing South 0 degrees 16 minutes 23 seconds
                                                 East a distance of 4.259 feet to a point on a curve; thence Westerly and Southwesterly along a
                                                 curve convex to the North West with a radius of 187.705 feet an arc distance of 257.006 feet,
                                               · with a chord length of 237.396 feet with a bearing of South 50 degrees 30 minutes 7 seconds
                                                 West to a point on the South line of said Lot 7; thence West along the South line of said Lot 7
                                                 having a bearing of South 89 degrees 9 minutes 7 seconds West a distance of 1.905 feet; thence
                                                 North 9 degrees 9 minutes 50 seconds East a distance of 7.79 feet to a point of curve; thence
                                                 Northerly and Northeasterly along a curve convex to the North West with a radius of 170.820
                                           i     feet an arc distance of 242.871 feet and a chord distance of 222.925 feet with a bearing of North
                                                 48 degrees 59 minutes 59 seconds East; thence North 0 degrees 16 minutes 24 seconds West a
                                                 distance of 1.252 feet to the South line of East lllinois Street; thence East along said South line a
                                           I     distance of 15.605 feet to the point of beginning.
                                                (Parcel13-c2)
                                                       That part of Lot 7 in Chicago Dock and Canal Company's Peshtigo Dock Addition in
                                                Section 10, Township 39 North, Range 14 East of the Third Principal Meridian bounded and
                                                described as follows:
                                                       Commencing at the point of intersection of the South line of the North 366 feet of said
                                                Lot 7 and the East line of the West 900 feet of said Lot 7; thence South 0 degrees 05 minutes 08
                                                seconds East (assumed) along the East line of the West 900 feet of said Lot 7 a distance of
                                                35.923 feet to the point of beginning; thence continuing South along said East line of the West
                                                900 feet a distance of 25.925 feet; thence South 89 degrees 43 minutes 36 seconds West a
                                                distance of 289.205 feet to a point of curve; thence Westerly and Southwesterly along a curve
                                                convex to the North West with a radius of 230.855 feet an arc distance of 213.515 feet, with a
                                                chord length of 205.985 feet with a bearing of South 63 degrees 14 minutes 0 seconds West, to
                                                the South line of said Lot 7; thence South 89 degrees 09 minutes 07 seconds West along said
                                                South line a distance of 36.909 feet to a point on a curve; thence Northerly and Northeasterly
                                                along a curve convex to the North West with a radius of 155.180 feet an arc distance of206.408
                                                feet and a chord distance of 191.525 feet with a bearing of North 51 degrees 37 minutes 15
                                                seconds East to a point of tangency; thence East along a straight line having a bearing of North
                                                89 degrees 43 minutes 36 seconds East a distance of 359.822 feet to the point of beginning.


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                                                                        (LEGALDESCRIPTIONOFGATEWAYPARK)
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                                                                                [SUBJECT TO CONFIRMATION]

                                                    Beginning at the point of intersection of the West side of the dock on the East side of
                                                    the Ogden Slip with the North line of the tract of land conveyed by the City of Chicago
                                                    to the United States of America by Deed dated August 10, 1920, and recorded
                                                    December 8, 1921, as Document 7347325 in Book 16850, page 532; running thence
                                                    east on the North line of said tract a distance of eighty (80) feet; thence North at right
                                                    angles to the North line of said tract Two Hundred Seventeen (217) feet; thence West
                                                    on a line parallel to and Two Hundred Seventeen (217) feet North of the North line of
                                                    said tract One Hundred (100) feet, more or less, to the West side of said dock on the
                                                    East side of the Ogden Slip; thence South and Southeasterly on the west side of said
                                                    dock to the place of beginning, together with a right of way over the public street now
                                                    adjoining the premises herein conveyed to the United States by the Grantor or such
                                                    other street or streets as the City of Chicago may hereafter cause to be laid out or
                                                    dedicated, providing suitable access to the property herein conveyed. The tract of land
                                                    referred to in the above as having been conveyed by the City of Chicago to the United
                                                    States of America by deed dated August 10, 1920, being described as follows: A parcel
                                                    of land adjacent to the North Government Pier, and bounded on the East by Lake
                                                    Michigan, approximately Five Hundred (500) long in an Easterly and Westerly
                                                    direction, and One Hundred (100) feet wide, described as commencing at the junction
                                                    of the North side of the United States Government Pier (running east from the Ogden
                                                    Slip) with the East side of the North and South municipal Pier for place of beginning,
                                                    said place of beginning being Seven Hundred (700) feet, more or less, South, measured

                                           I        at right angles from a point in the North line of East illinois Street extended one
                                                    Thousand Five Hundred (1500) feet, more or less, East of the East line of Peshtigo
                                                    Street; thence Northerly along the said North and South Pier One Hundred Eight (108)

                                           6    -
                                                -
                                                    fee; thence Westerly at an angle from the South to West of Ninety-one degrees, a
                                                    distance of Five Hundred Six (506) feet, more or less to the West side of the dock on
                                                     the East side of the Ogden Slip; thence Southerly at an angle from East to South
                                                    Seventy-four Degrees Thirty Minutes along the concrete dock One Hundred Three
                                                    (103) Feet, more or less to the United States Government Pier; thence Easterly at an
                                                    angle from North to East One Hundred Six (106) degrees Forty minutes along the
                                           i·
                                                     United States Government Pier for a distance of Four Hundred Eighty (480) feet, more
                                                    or less to the place of beginning, together with the right of way over the street now
                                                    adjoining such property or such future streets as the City of Chicago may cause to be
                                                    laid out or dedicated giving the United States suitable access to said Property, all in
                                                    that part of the South '12 of the East '12 of the Fractional northeast 1A of Section 10,
                                                    Township 39, Range 14, East of the third principal meridian, all in Cook County,
                                                     Illinois.

                                                    Containing 0.47 acres, more or less.




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                                                                           First Amendment to Lease Agreement

                                                   This First Amendment to Lease Agreement (the "First Amendment") is made this __
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                                           day of May, 2011 (the "Effective Date"), by and between The Metropolitan Pier and Exposition
                                           Authority, a municipal corporation and body politic of the government of the State of Illinois
                                           (the "AUTHORITY"), having its principal office at 301 E. Cermak, Chicago, Illinois, and Navy
                                           Pier, Inc., an Illinois not-for-profit corporation ("LESSEE"), having its principal office at 600
                                           East Grand Avenue, Chicago, IL 60611.

                                                 Whereas, The AUTHORJTY and the LESSEE have previously entered into a Lease
                                           Agreement dated April26, 2011, with a Lease Commencement Date as defined therein of July 1,
                                           2011, related to properties commonly known as Navy Pier and Gateway Park as more
                                           completely described therein (the "2011 NPI Lease Agreement"); and, ·

                                                   Whereas, certain approvals from the City (the "Headlands Subarea Approval") and the
                                           United States Secretary of the Interior (the "GSA Parcel Approval"), as more fully described
                                           herein, are required related to the leasing of Gateway Park which are not likely to be competed
                                           by the Lease Commencement Date; and,

                                                   Whereas, to the greatest extend permitted pending receipt of the Headlands Subarea
                                           Approval and the GSA Parcel Approval, the AUTHORJTY and the LESSEE intend to vest with
                                           the LESSEE management and operational control of Gateway Park consistent with the powers,
                                           rights and obligations of the 2011 Lease Agreement.

                                                  Now, therefore, inconsideration of the mutual promises covenants and conditions, the
                                           AUTHORITY and LESSEE hereby agree that the 2011 NPI Lease Agreement is amended as
                                           follows:

                                           I. Background:

                                                  1.1       Pursuant to the Metropolitan Pier and Exposition Authority Act 70 ILCS 210/4
                                           (the "Act"), the AUTHORITY holds title to, and is authorized to carry out or otherwise provide
                                           for the recreational, cultural, commercial or residential development of real property legally
                                           described on Exhibit A-1. depicted on Exhibit A-2 of the 2011 NPI Lease Agreement, and
                                           commonly known as "Navy Pier" and to construct, equip, and maintain grounds, buildings and
                                           facilities for those purposes.

                                                1.2      Pursuant to the following agreements described below the AUTHORITY is lessee
                                           of and otherwise controls the area commonly known as Gateway Park immediately west of
                                           Navy Pier and legally described on Exhibit A-3 of the 2011 NPI Lease Agreement:

                                                  1.2.1   Pursuant to that certain Intergovernmental Cooperation Agreement Regarding the
                                                          Navy Pier and The Navy Pier Headlands dated as of August 25, 1992, by and
                                                          between the City of Chicago (the "City") and the AUTHORITY (the "1992
                                                          ICA") the City leased certain property to the AUTHORITY, referred to therein as
                                                          the Headlands Subarea, for development and use by the AUTHORITY as
                                                          Gateway Park subject to certain restrictions, including in Section 3 .1.9 that the
                                                          AUTHORITY " ... shall not sublease or assign the lease of the Leased Premises


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                                                          without the City's prior approval." The Headlands Subarea is shown as Tracts B,
                                                          C and F on Exhibit F -Parcel Map, attached hereto and made a part hereof.
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                                                  1.2.2   The 1992 CSA further anticipated leasing additional property to the
                                                          AUTHORITY to be included as part of Gateway Park upon acquisition by the
                                                          City from the then owner, the United States of America, and referred to in the
                                                          1992 CSA as the Corp Parcel and the GSA Parcel. By Quitclaim Deed
                                                          recorded with the Cook County Recorder of Deeds on February 23, 2000 as
                                                          document number 00131894, the United States of America conveyed the GSA
                                                          Parcel to the City subject to certain restrictions, including in Paragraph 3 of the
                                                          Quitclaim Deed that the GSA Parcel " ... shall not be sold, leased, assigned, or
                                                          otherwise disposed of except to another eligible governmental agency that the
                                                          Secretary of the Interior agrees in writing can assure the continued use and
                                                          maintenance of the property for public park or public recreational purposes
                                                          subject to the same terms and conditions in the original instrument of
                                                          conveyance." With the approval of the Secretary of the Interior, the City leased
                                                          the GSA Parcel to the AUTHORITY to be used as part of Gateway Park by a
                                                          lease agreement dated December 11, 2002 (the "2002 GSA Parcel Lease") which
                                                          included the foregoing restriction and further requires that City approval be
                                                          obtained before the GSA Parcel is leased. The GSA Parcel is shown as the "GSA
                                                          Property" on Exhibit F.

                                           H. Management and Operation of Gateway Park Pending Approvals:

                                                2.1        LESSEE's status as lessee under the 2011 NPI Lease Agreement shall not be
                                           effective as regards of Gateway Park, or such part thereof which has not received a required
                                           Headlands Subarea Approval or GSA Parcel Approval, until the required Headlands Subarea
                                           Approval and GSA Parcel Approval have been received. Until such time, the AUTHORITY
                                           hereby engages LESSEE to control, operate and manage Gateway Park consistent with the
                                           obligations of LESSEE as lessee under the 2011 NPI Lease Agreement. LESSEE hereby accepts
                                           and agrees to act as such managing agent and shall control, operate and manage Gateway Park at
                                           all times in the public interest and in accordance with the 2011 Lease Agreement. It is the intent
                                           of the Parties that LESSEE shall have authority over the management, operation and provision of
                                           Gateway Park subject to policies, guidelines or directives established consistent with the 2011
                                           NPI Lease Agreement.

                                                2.2        It is expected that Headlands Subarea Approval in relation to the Headlands
                                           Subarea may be received prior to GSA Parcel Approval in relation to the GSA Parcel. At such
                                           time as Headlands Subarea Approval is obtained in relation to the Headlands Subarea, LESSEE's
                                           status as lessee of the shall commence regardless of the status of GSA Parcel Approval in
                                           relation to the GSA.

                                                 2.3        Pending receipt of required approvals, the relationship between AUTHORITY
                                           and LESSEE as regards Gateway Park shall be that of principal and agent. Notwithstanding the
                                           foregoing, the employees of LESSEE shall not be employees of AUTHORITY and shall not be
                                           entitled to the benefit of, nor bound by, the restrictions upon employment with AUTHORITY.
                                           Nothing in this Agreement shall be deemed or construed to render AUTHORITY and LESSEE


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                                           partners, joint venturers, landlord/tenant or any other relationship. The scope of LESSEE's
                                           authority and duty as AUTHORITY's agent with respect to Gateway Park are as set forth in the
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                                           2011 NPI Lease Agreement, and AUTHORITY and LESSEE both acknowledge and agree that
                                           the terms of the 2011 NPI Lease Agreement and the duties and responsibilities of each Party as
                                           set forth herein are intended to satisfy any fiduciary or other common law duties that may exist
                                           as a result of the relationship between the Parties, including all duties of loyalty, good faith, fair
                                           dealing or full disclosure that may be deemed to exist under common law principles of agency or
                                           otherwise. Accordingly, to the extent there is any inconsistency between the common law duties
                                           and responsibilities of principals and agents and the provisions of the 2011 NPI Lease
                                           Agreement, the provisions of the 2011 NPI Lease Agreement shall prevail, it being the intention
                                           of the Parties that (i) the 2011 NPI Lease Agreement shall be interpreted in accordance with
                                           general principles of contract interpretation without regard to the common l~w principles of
                                           agency (except as expressly provided for in the 2011 NPI Lease Agreement), (ii) any liability
                                           between the Parties shall be based solely on principles of contract law and the express provisions
                                           of the 2011 NPI Lease Agreement and (iii) the 2011 NPI Lease Agreement constitutes a knowing
                                           and intentional waiver by AUTHORITY of any duties or responsibilities (including common law
                                           fiduciary duties) owed by an agent to its principal, and a waiver by LESSEE of any obligations
                                           of a principal to its agent, to the extent the same are inconsistent with, or would have the effect
                                           of modifying, limiting or restricting, the express provisions of the 2011 NPI Lease Agreement.

                                           HI. General Provisions:

                                               3.1         Except as modified herein, the terms of the 2011 NPI Lease Agreement shall
                                           remain in full force and effect.



                                                                          [SIGNATURE PAGE FOLLOWS]




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                                                   IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
                                           date first written above.
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                                           THE METROPOLITAN PIER AND                    NAVY PIER, INC.,
                                           EXPOSITION AUTHORITY                         an Illinois not-for-profit corporation




                                           Attest                                       Attest




                                                                                    4
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                                                                    SECOND AMENDMENT TO LEASE AGREEMENT
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                                                 Tiris Second Amendment to Lease Agreement between The Metropolitan Pier and Exposition
                                                 Authority (the "Authority") and Navy Pier, Inc. (''NPI" or the "Lessee" and, together with the
                                                 Authority, the "Parties") is entered into this 19th day of July, 2011 ("Second Amendment").

                                                 WHEREAS, the Parties entered into that Lease Agreement dated April 26, 2011, as amended on
                                                 May, 2011, leasing certain publicly owned property commonly known as Navy Pier and
                                                 Gateway Park (hereinafter the "Premises") to NPI for management, operation and maintenance
                                                 consistent with the Framework Plan defmed in Section 2.6 of said Lease Agreement ("2011
                                                 Lease Agreement"); and,

                                                 WHEREAS, the parties by resolutions of their respective Boards dated June 30, 2011 approved
                                                 the Centennial Vision- A Framework for Reimagining Navy Pier, June 2011, as the Framework
                                                 Plan defined by the 2011 Lease Agreement ("June 2011 Resolutions"); and,

                                                 WHEREAS, Section 5.6 of the 2011 Lease Agreement provides that the Authority contribute to
                                                 the Capital Improvements Account a mutually agreed amount of :funding to Lessee to undertake
                                                 various capital improvements to the Premises to implement the Approved Operations thereunder
                                                 consistent with the Framework Plan; and,

                                                 WHEREAS, the Premises are and will continue to be publicly owned and were partially
                                                 constructed or improved with proceeds of tax exempt bonds issued by the Authority ("Tax
                                                 Exempt Bonds"); and,

                                                 WHEREAS, some or all of the funds to be provided for the Capital Improvements Account may
                                                 be derived from amounts on deposit in the Authority's Operating Fund; and,

                                                 WHEREAS, Section 2.6 of the 2011 Lease Agreement and the June 2011 Resolutions further
                                                 provide that the 2011 Lease Agreement would be amended as appropriate to provide that, prior
                                                 to expenditure of funds from the Capital Improvements Account consistent with the Framework
                                                 Plan, reasonable and necessary provisions are incorporated into the 2011 Lease Agreement to
                                                 protect the tax exempt status of the Authority's bond funds as well as the Authority's ongoing
                                                 ability to issue tax exempt bonds for its public purposes;

                                                 NOW THEREFORE, in consideration of the foregoing and of the mutual covenants and
                                                 agreements herein, the Parties agree as follows:

                                                    1. Notwithstanding the provisions of Section 5.6 of the 2011 Lease Agreement, amounts
                                                       contributed by the Authority from its Operating Fund and deposited in the Capital
                                                       Improvements Account shall be restricted for expenditure by Lessee to items that are
                                                       properly chargeable to capital account (or would be so chargeable with a proper election)
                                                       under general federal income tax principles.




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                                                                                             '
                                                                                        ',       ..€_____


                                                                                ,\1mlal{inK McCormick Place Complex and :Vmn- Pier
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                                               2. Lessee covenants that it will not take any action, or fail to take any action that would
                                                  cause the interest on the Tax Exempt Bonds to be included in the gross income of
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                                                  bondholders for federal income tax purposes. Lessee shall take all reasonable actions
                                                  with respect to the administration and management ofNavy Pier as are necessary,
                                                  appropriate, and in compliance with applicable Authority bond indentures and other
                                                  applicable rules and regulations, to preserve the tax exempt nature of the Tax Exempt
                                                  Bonds and to protect the Authority's ongoing ability to issue tax exempt bonds. With
                                                  respect to protecting the Authority's ongoing ability to issue tax exempt bonds,
                                                  throughout the term of the 2011 Lease Agreement, including any extension thereof, the
                                                  parties shall cooperate in identi:f:Ying and providing such documentation and certifications
                                                  as may from time to time be required.

                                               3. Without limitation to the foregoing Section 2, with respect to any projects undertaken by
                                                  Lessee pursuant to the Framework Plan which Lessee desires to fmance with funds
                                                  transferred to Lessee from MPEA' s Operating Fund, Lessee shall:

                                                           a. Provide an overall project description with such detail as the Authority may
                                                              reasonably require, including the nature of the project and the intended uses of
                                                              funds for the project, to enable the Authority to determine that the expenditure on
                                                              the project is in conformity with the covenant in Section 2, and

                                                           b. On a calendar quarterly basis, certifY to the Authority that all expenditures of
                                                              Authority funds are currently in compliance with the requirements of this Second
                                                              Amendment, and

                                                           c. Periodically provide other necessary and appropriate information for future
                                                              project certificates as the Authority requests.


                                                   IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first
                                           written above.


                                           TBEMETROPOLITANPIERAND                                          NAVY PIER, INC.,
                                           EXPOSITION AUTHORITY                                            an Illinois not-for-profit corporation
                                                       ~                            /)
                                                   /
                                               /




                                           Attest:                                                          Attest:-----------------------
                                                       ---------------------------




                                                                                \fanagmg ·VfcConnick Place Complex and Nav.)' Pier
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                                                                  THIRD AMENDMENT TO LEASE AGREEMENT

                                               This Third Amendment to the Lease Agreement between The Metropolitan Pier and
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                                               Exposition Authority (the "Authority") and Navy Pier, Inc. ("NPI" or the "Lessee" and,
                                               together with the Authority, the "Parties") is entered into this daylh__ of April, 20I4 ("Third
                                               Amendment").

                                                     WHEREAS, the Parties entered into a Lease Agreement dated April 26, 20 II, as
                                               amended on May 20, 201I and July 19, 20Il, leasing certain publicly owned property
                                               commonly known as Navy Pier and Gateway Park (hereinafter the "Premises") to NPI for
                                               management, operation and maintenance consistent with the Framework Plan defined in
                                               Section 2.6 of said Lease Agreement ("20I1 Lease Agreement"); and,

                                                    WHEREAS, the parties, by Resolutions of their respective Boards dated June 30, 20 II,
                                               approved the Centennial Vision- A Framework for Reimagining Navy Pier, June 20 Il, as the
                                               Framework Plan defined by the 201I Lease Agreement ("June 20 ll Resolutions"); and,

                                                      WHEREAS, Section 5.6 of the 2011 Lease Agreement provides that the Authority
                                               contribute a mutually agreed upon amount to the Capital Improvements Account a to Lessee to
                                               undertake various capital improvements to the Premises to implement the Approved Operations
                                               thereunder consistent with the Framework Plan; and,

                                                     WHEREAS, Resolution No. MPEA 11-10 authorized the deposit of sixty million dollars
                                               ($60,000,000) by MPEA into the Capital Improvement Account; and

                                                    WHEREAS, the Framework Plan includes construction of various improvements to
                                               Navy Pier commonly referred to as the "Pierscape Plan"; and

                                                      WHEREAS, NPI has caused designs and related construction documents to be prepared
                                               for the Pierscape Plan and desires to proceed with construction of portions of such work; and

                                                     WHEREAS, on April 25, 2014 , the MPEA Board adopted Resolution No. 14-XX
                                               authorizing the Authority to deposit no more than fifty five million dollars ($55,000,000) into
                                               the additional Capital Improvement Account for such construction; and

                                                    WHEREAS, some or all of the funds to re provided for the Capital Improvements
                                               Account may be derived from amounts on deposit in the Authority's Operating Fund; and,

                                                      WHEREAS, the Second Amendment to the Lease Agreement requires that, any
                                               expenditures by Lessee from said Capital Improvements Account shall be restricted for
                                               expenditures that are properly chargeable to the capital account under general federal income
                                               tax principles; and

                                                     WHEREAS, under the Second Amendment to the Lease Agreement, Lessee has an
                                               obligation to protect the tax exempt status of the Authority's bond funds as well as the
                                               Authority's ongoing ability to issue tax exempt bonds for its public purpose; and
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                                                WHEREAS, the Premises are and will continue to be publicly owned and were partially
                                           constructed or improved with proceeds of tax exempt bonds issued by the Authority ("Tax
                                           Exempt Bonds"); and,
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                                                NOW THEREFORE, in consideration of the foregoing and of the mutual covenants
                                           and agreements herein, the Parties agree as follows :

                                           1.    The 2011 Lease Agreement is amended to add Section 5.7, "Deposits to Capital
                                           Improvement Account", as follows:

                                                5.7 Deposits to Capital Improvement Account.

                                                5.7.1        Limited to Capital Expenditures. Notwithstanding the provisions of Section 5.6
                                           of the Agreement, LESSEE covenants that (i) it shall only apply the amounts contributed by the
                                           Authority from its Operating Fund and deposited in the Capital Improvements Account to
                                           expenditures by LESSEE for items that are properly chargeable to the capital account (or would
                                           be so chargeable with a proper election) under general federal income tax principles; and (ii) it
                                           will not take any action, or fail to take any action that would cause the interest on the Tax
                                           Exempt Bonds to be included in the gross income of bondholders for federal income tax
                                           purposes. Lessee shall take all reasonable actions with respect to the administration and
                                           management of Navy Pier as are necessary, appropriate, and in compliance with applicable
                                           AUTHORITY bond indentures and other applicable mles and regulations, to preserve the tax
                                           exempt nature of the Tax Exempt Bonds and to protect the AUTHORITY's ongoing ability to
                                           issue tax exempt bonds. With respect to protecting the AUTHORITY's ongoing ability to
                                           issue tax exempt bonds, throughout the term of the Agreement, including any extension
                                           thereof, the parties shall cooperate in identifying and providing such documentation and
                                           certifications as may from time to time be required.


                                                5.7.2        Reporting Requirements. Without limitation to the foregoing Section 5.7.1, with
                                           respect to any projects undertaken by LESSEE pursuant to the Framework Plan which LESSEE
                                           desires to finance with funds transferred to LESSEE from the AUTHORITY's Operating Fund,
                                           LESSEE shall:

                                                        a.    Provide an overall project description with such detail as the
                                                              AUTHORITY may reasonably require, including the nature of the project
                                                              and the intended uses of funds for the project, to enable the AUTHORITY
                                                              to determine that the expenditure on the project is in conformity with
                                                              the covenant in Section 5. 7.1, and

                                                        b. On a calendar quarterly basis, certify to the AUTHORITY that all expenditures
                                                           of AUTHORITY funds are currently in compliance with the requirements of
                                                           this Agreement, as amended; and

                                                        c.    Periodically provide other necessary and appropriate   information for future
                                                              project certificates as the AUTHORITY requests.
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                                                   2.    Except as provided herein, the terms and provisions of the 2011 Lease Agreement, as
                                                   amended, shall remain in full force and effect.
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                                                            IN WITNESS WHEREOF, the Parties have executed this Agreement on this        /~
                                                     of April, 2014




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                                                                                                                                 -
                                               e ·opolitan Pier and Exposition Authority           Navy Pier Inc.
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                                                                  AMENDMENT TO MEMORANDUM OF LEASE
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                                           This instrument prepared by
                                           and after recording return to:

                                           Daniel P. Blondin
                                           Exec. VP/General Counsel
                                           Navy Pier, Inc.
                                           600 East Grand Ave.
                                           Chicago, Illinois 60611



                                                                  AMENDMENT TO MEMORANDUM OF LEASE



                                                  This Amendment to Memorandum of Lease (this "Amendment to Memorandum") is made
                                           between The METROPOLITAN PIER AND EXPOSITION AUTHORITY, a municipal corporation
                                           and body politic of the government of the State of Illinois, having its principal office at 301 E.
                                           Cermak, Chicago, Illinois, ("Authority") and NAVY PIER, INC., an Illinois not-for-profit
                                           corporation, having its principal office at 601 E Grand Avenue, Chicago, Illinois 60611 ("Lessee").

                                              The Authority and Lessee have previously caused to be recorded a certain Memorandum of Lease
                                           on May 28, 2011 in the Office of the Cook County Recorder of Deeds as document number
                                           1114610030 ("2011 Memorandum of Lease") which is hereby amended by amending the legal
                                           description attached thereto as Exhibit A to read, in full, as follows:

                                                                       LEGAL DESCRIPTION OF NAVY PIER


                                           A PARCEL OF LAND LYING EAST OF THE FRACTIONAL SECTION 10, TOWNSHIP 39 NORTH,
                                           RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK COUNTY, ILLINOIS,
                                           DESCRIBED AS FOLLOWS:


                                           BEGINNING AT THE NORTHEAST CORNER OF LOT SEVEN (7) IN THE CHICAGO DOCK AND
                                           CANAL COMPANY'S PESHTIGO DOCK ADDITION IN SAID SECTION 10; THENCE NORTH 88
                                           DEGREES 11 MINUTES 41 SECONDS EAST, 440.88' FEET; THENCE NORTH 01 DEGREES 48
                                           MINUTES 38 SECONDS WEST, 50.69 FEET TO THE NORTH FACE OF THE CONCRETE
                                           BULKHEAD; THENCE 88 DEGREES 15 MINUTES 59 SECONDS EAST ALONG SAID NORTH FACE,
                                           2421.99 FEET; THENCE NORTH 01 DEGREES 45 MINUTES 54 SECONDS WEST, 27.81 FEET;
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                                           THENCE NORTH 88 DEGREES 14 MINUTES 06 SECONDS EAST, 86.98 FEET; THENCE SOUTH 01
                                           DEGREES 45 MINUTES 54 SECONDS EAST, 75.55 FEET TO THE NORTH FACE OF THE CONCRETE
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                                           BULKHEAD; THENCE NORTH 88 DEGREES 14 MINUTES 47 SECONDS EAST ALONG SAID
                                           NORTH FACE, 554.60 FEET TO THE NORTHEAST CORNER OF THE CONCRETE BULKHEAD;
                                           THENCE SOUTH 01 DEGREES 40 MINUTES 55 SECONDS EAST, 300.21 FEET TO THE SOUTHEAST
                                           CORNER OF THE CONCRETE BULKHEAD; THENCE SOUTH 88 DEGREES 19 MINUTES 19
                                           SECONDS WEST ALONG SAID SOUTH FACE, 557.39 FEET; THENCE SOUTH 01 DEGREES 36
                                           MINUTES 30 SECONDS EAST, 121.41 FEET; THENCE SOUTH 88 DEGREES 07 MINUTES 31
                                           SECONDS WEST, 86.39 FEET; THENCE NORTH 01 DEGREES 52 MINUTES 29 SECONDS WEST,
                                           28.47 FEET TO THE SOUTH FACE OF THE CONCRETE BULKHEAD; THENCE SOUTH 88 DEGREES
                                           16 MINUTES 01 SECONDS WEST ALONG SAID SOUTH FACE, 2358.68 FEET; THENCE NORTH 01
                                           DEGREES 39 MINUTES 59 SECONDS WEST, 63.47 FEET; THENCE SOUTH 88 DEGREES 11
                                           MINUTES 41 SECONDS WEST, 44.00 FEET; THENCE NORTH OI DEGREES 39 MINUTES 59
                                           SECONDS WEST, 37.00 FEET; THENCE NORTH 88 DEGREES II MINUTES 41 SECONDS EAST,
                                           2.60 FEET; THENCE NORTH 01 DEGREES 39 MINUTES 59 SECONDS WEST, 289.23 FEET; THENCE
                                           SOUTH 88 DEGREES 11 MINUTES      4I SECONDS WEST, I9.52 FEET TO THE PLACE OF
                                           BEGINNING.




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                                                 IN WITNESS WHEREOF, Authority and Lessee have caused this Amendment to
                                           Memorandum of Lease to be executed by their duly authorized officers as of an effective date of
                                           Aprr
                                              J 20 , 2017 for the purpose of providing an instrument for recording.
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                                            AUTHORITY                                            LESSEE



                                            THE METROPOLITAN PIER AND                            NAVY PIER, INC.,

                                            EXPOSITION AUTHORITY,                                an Illinois not-for-profit corporation

                                            a municipal corporation and body politic of the
                                            State of Illinois



                                            By~,J~                                               By:~···
                                                  [Name]    LD{J ·T, tfdh;~
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                                                                             RESOLUTION NO. 2017-_Q__Q_l_
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                                                                    A Resolution Authorizing 4th Amendment to Master Lease


                                                      BE IT RESOLVED BY THE CHAIRPERSON and BOARD OF DIRECTORS OF
                                               THE NAVY PIER INC. that the Board hereby approves the Fourth Amendment to the Lease
                                               Agreement between The Metropolitan Pier and Exposition Authority and Navy Pier, Inc. in the
                                               fonn presented to this meeting.   The Chairperson and Navy Pier Inc. staff are authorized,
                                               empowered and directed to execute any required documents and are further authorized to take
                                               such steps and actions as may be necessary to implement and cany out the terms of the approved
                                               Funding Agreement.
                                                      PASSED AND APPROVED BY THE CHAIRPERSON AND BOARD OF
                                               DIRECTORS OF THE NAVY PIER INC., on this 61h day of April, 2017.




                                           l   ATTEST:

                                               ~.)fiCAt;___
                                                              l/
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                                                                 FOURTH AMENDMENT TO LEASE AGREEMENT

                                             This Fourth Amendment to the Lease Agreement between The Metropolitan Pier and Exposition
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                                             Authority (the "Authority") and Navy Pier, Inc. ("NPI" or the "Lessee" and, together with the
                                             Authority, the "Parties") is entered into this aa.._day of April, 2017 ("Fourth Amendment").

                                                   WHEREAS, the Parties entered into a Lease Agreement dated Apri126, 2011, as amended
                                             on May 20, 2011, July 19, 2011 and April 16, 2014, leasing certain publicly owned property
                                             commonly known as Navy Pier and Gateway Park (hereinafter the "Premises") to NPI for
                                             management, operation and maintenance consistent with the Framework Plan defined in Section
                                             2.6 of said Lease Agreement ("20 11 Lease Agreement"); and

                                                  WHEREAS, the parties, by Resolutions of their respective Boards dated June 30, 2011,
                                             approved the Centennial Vision - A Framework for Reimagining Navy Pier, June 2011, as the
                                             Framework Plan defined by the 2011 Lease Agreement; and

                                                   WHEREAS, the Framework Plan includes construction of various improvements to Navy
                                             Pier commonly referred to as the "Pierscape Plan"; and

                                                    WHEREAS, NPI has caused designs and related construction documents to be prepared
                                             for the Pierscape Plan and desires to proceed with construction of portions of such work; and

                                                   WHEREAS, the Premises are and will continue to be publicly owned and were partially
                                             constructed or improved with proceeds of tax exempt bonds issued by the Authority; and

                                                    WHEREAS, NPI desires to enter into a sublease with First Hospitality Group (FHG), or
                                             its designee ("Hotel Sublessee"), for the purposes of designing, financing, constructing and
                                             operating two sites within Navy Pier: the first site for a food and beverage venue, and the second
                                             site being a hotel and ancillary facilities including one or more restaurants, subject to the terms
                                             of conditions of a sublease between NPI and the Hotel Sublessee (the "Hotel Sublease"); and

                                                WHEREAS, NPI has requested that the Authority execute and deliver a Master Lease Non-
                                           Disturbance, Recognition and Attornment Agreement in connection with the Hotel Sublease; and

                                                NOW THEREFORE, in consideration of the foregoing and of the mutual covenants and
                                           agreements herein, the Parties agree as follows:

                                            1.    The 2011 Lease Agreement is hereby amended by revising Section 1.3, "Ownership of
                                            Improvements" in its entirety to read as follows:

                                                       1.3   Ownership oflmprovements. Title to the Improvements shall not be transferred
                                              or conveyed to LESSEE but shall throughout the Term, be and remain the property of the
                                              AUTHORITY, provided, however, that LESSEE may grant any Sublessee (as defined herein)
                                              title to any Improvements that are financed, constructed and maintained by such Sublessee
                                              pursuant to a Sublease (as defined herein), provided, fitrther, that upon termination, expiration
                                              or cancellation of such Sublease, title to such Improvements shall automatically revert to the



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                                             AUTHORITY, at no cost or expense to AUTHORITY, and LESSEE shall provide such further
                                             assurances of such reversion as AUTHORITY may reasonably request.
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                                           2.      The 20 II Lease Agreement is hereby amended by revising Section 1.6, "Marshaling
                                           Yards" in its entirety to read as follows:

                                                   1.6     Marshaling Yards. The AUTHORITY hereby grants to LESSEE the right to use
                                           certain parking areas located south of McCormick Place and shown on Exhibit B (the "Marshaling
                                           Yard Space") for the purpose of parking trailers storing items used in connection with the
                                           Approved Operations generally consistent with the practice in existence on the Lease
                                           Commencement Date (approximately 80 to 100 trailers). The AUTHORITY may revoke the
                                           license granted by this Section 1.6 at any time upon reasonable notice to LESSEE. The
                                           AUTHORITY shall endeavor to provide not less than 90 days' notice oftennination. Throughout
                                           the Tetm, unless the license is revoked pursuant to this Section 1.6, the AUTHORITY shall use
                                           commercially reasonable efforts to make the Marshaling Yard Space or alternative trailer storage
                                           space available to LESSEE. During the Term, all property situated in the Marshaling Yard Space
                                           (or at an alternative location made available by the AUTHORITY) and belonging to LESSEE, its
                                           agents, contractors, employees, or invitees, shall be situated at such location at the risk of LESSEE
                                           only, and the AUTHORITY shall not be liable for damage, theft, misappropriation, or loss of that
                                           property.

                                           3.    The 2011 Lease Agreement is hereby amended by revising Section 9.3, "Attornment and
                                           Non-disturbance" in its entirety to read as follows:

                                                   9.3     Attornment and Non-disturbance. The AUTHORITY hereby agrees that all
                                             sublessees of Subleases (individually, a "Sublessee" and collectively, the "Sublessees") shall
                                             have the right of quiet enjoyment notwithstanding the expiration of this Agreement or the
                                             termination or cancellation of this Agreement due to a breach of this Agreement by LESSEE or
                                             other early termination. In the event of the expiration or earlier termination of this Agreement
                                             prior to the expiration of any Sublease, AUTHORITY agrees that so long as the Sublessee
                                             thereunder is not in default under its Sublease (beyond any applicable notice or cure period) the
                                             AUTHORITY shall recognize such Sublease and not disturb such Sublessee's rights thereunder.
                                             In consideration of such agreement by the AUTHORITY, all Subleases entered into on or after
                                             the Lease Commencement Date shall include an attornment provision whereby the Sublessee
                                             agrees that if this Agreement is tenninated for any reason, the Sublessee shall attorn to the
                                             AUTHORITY and shall consider the AUTHORITY as the sublandlord for all purposes under
                                             the Sublease. In no event shall the AUTHORITY, as sublandlord, be liable for any act or
                                             omission of LESSEE, under any Sublease prior to the date of the AUTHORITY's succession,
                                             nor shall the AUTHORITY, as sublandlord, be subject to any offsets or defenses which the
                                             Sublessee may have against the LESSEE, nor bound by any rent or additional rent that the
                                             Sublessee may have paid for more than the then-current installment, except as provided in its
                                             Sublease. In connection with any Sublease, LESSEE may request that the AUTHORITY execute
                                             and deliver a non-disturbance agreement, recognition agreement and/or attornment agreement
                                             for the benefit of the Sublessee, provided, that LESSEE shall reimburse the AUTHORITY for
                                             all expenses, including legal fees, incurred by the AUTHORITY in connection with such


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                                              agreement and such agreement is in a fonn reasonably approved by the AUTHORITY.

                                                    The 2011 Lease Agreement is hereby amended by revising Exhibit A-1 (Legal Description
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                                            4.
                                            of Navy Pier) in its entirety as set forth on Exhibit A-1 to this Fourth Amendment. The Parties
                                            agree to execute an amendment to a certain memorandum of lease previously recorded on May 28,
                                            2011 in the Office of the Cook County Recorder of Deeds as document number 111461 0030
                                            ("Amendment to Memorandum of Lease") in the form attached hereto as Exhibit A-2. Within
                                            thirty (30) days of the date of this Agreement, the Lessee shall cause the Amendment to
                                            Memorandum of Lease to be recorded with the Cook County Recorder of Deeds.

                                            5.     Any reference to "Gateway Park" in the 2011 Lease Agreement shall be deemed to mean
                                            and be the same as Polk Bros Park.

                                            6.     The Lessee shall provide to the Authority a copy of any Transfer Notice (as defined in the
                                            Hotel Sublease) it receives pursuant to Section 17.1 of the Hotel Lease within two (2) business
                                            days of receipt of such Transfer Notice by LESSEE.

                                            7.      Except as provided herein, the terms and provisions of the 2011 Lease Agreement, as
                                            amended, shall remain in full force and effect. This Fourth Amendment may be executed in any
                                            number of counterparts, each of which shall be deemed an original, and all of such counterparts
                                            shall constitute one agreement. To facilitate execution of this Fourth Amendment, the parties may
                                            execute and exchange facsimile counterparts of the signature pages and facsimile counterparts
                                            shall serve as originals.



                                                                          [SIGNATURE PAGE FOLLOWS]




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                                                    IN WITNESS WHEREOF, the Parties have executed this Agreement on this ;fJ_ day
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                                            of April, 2017




                                            Lori T. Healey
                                            ChiefExecutive Officer
                                                                                         ~
                                                                                         President & Chief Executive Officer
                                            Metropolitan Pier and Exposition Authority   Navy Pier, Inc.




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                                                                             EXHIBIT A-1

                                                                 LEGAL DESCRIPTION OF NAVY PIER
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                                           A PARCEL OF LAND LYING EAST OF THE FRACTIONAL SECTION 10, TOWNSHIP 39 NORTH,
                                           RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK COUNTY, ILLINOIS,
                                           DESCRIBED AS FOLLOWS:


                                           BEGINNING AT THE NORTHEAST CORNER OF LOT SEVEN (7) IN THE CHICAGO DOCK AND
                                           CANAL COMPANY'S PESHTIGO DOCK ADDITION IN SAID SECTION 10; THENCE NORTH 88
                                           DEGREES 11 MINUTES 41 SECONDS EAST, 440.88' FEET; THENCE NORTH 01 DEGREES 48
                                           MINUTES 38 SECONDS WEST, 50.69 FEET TO THE NORTH FACE OF THE CONCRETE
                                           BULKHEAD; THENCE 88 DEGREES 15 MINUTES 59 SECONDS EAST ALONG SAID NORTH FACE,
                                           2421.99 FEET; THENCE NORTH 01 DEGREES 45 MINUTES 54 SECONDS WEST, 27.81 FEET;
                                           THENCE NORTH 88 DEGREES 14 MINUTES 06 SECONDS EAST, 86.98 FEET; THENCE SOUTH 01
                                           DEGREES 45 MINUTES 54 SECONDS EAST, 75.55 FEET TO THE NORTH FACE OF THE CONCRETE
                                           BULKHEAD; THENCE NORTH 88 DEGREES 14 MINUTES 47 SECONDS EAST ALONG SAID
                                           NORTH FACE, 554.60 FEET TO THE NORTHEAST CORNER OF THE CONCRETE BULKHEAD;
                                           THENCE SOUTH 01 DEGREES 40 MINUTES 55 SECONDS EAST, 300.21 FEET TO THE SOUTHEAST
                                           CORNER OF THE CONCRETE BULKHEAD; THENCE SOUTH 88 DEGREES 19 MINUTES 19
                                           SECONDS WEST ALONG SAID SOUTH FACE, 557.39 FEET; THENCE SOUTH 01 DEGREES 36
                                           MINUTES 30 SECONDS EAST, 121.41 FEET; THENCE SOUTH 88 DEGREES 07 MINUTES 31
                                           SECONDS WEST, 86.39 FEET; THENCE NORTH 01 DEGREES 52 MINUTES 29 SECONDS WEST,
                                           28.47 FEET TO THE SOUTH FACE OF THE CONCRETE BULKHEAD; THENCE SOUTH 88 DEGREES
                                           16 MINUTES 01 SECONDS WEST ALONG SAID SOUTH FACE, 2358.68 FEET; THENCE NORTH 01
                                           DEGREES 39 MINUTES 59 SECONDS WEST, 63.47 FEET; THENCE SOUTH 88 DEGREES 11
                                           MINUTES 41 SECONDS WEST, 44.00 FEET; THENCE NORTH 01 DEGREES 39 MINUTES 59
                                           SECONDS WEST, 37.00 FEET; THENCE NORTH 88 DEGREES 11 MINUTES 41 SECONDS EAST,
                                           2.60 FEET; THENCE NORTH 01 DEGREES 39 MINUTES 59 SECONDS WEST, 289.23 FEET; THENCE
                                           SOUTH 88 DEGREES 11 MINUTES      41 SECONDS WEST, 19.52 FEET TO THE PLACE OF
                                           BEGINNING.




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                                                                                    EXHIBIT A-2

                                                            FORM OF AMENDMENT TO MEMORANDUM OF LEASE
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                                           This instrument prepared by
                                           and after recording return to:

                                           Daniel P. Blondin
                                           Exec. VP/General Counsel
                                           Navy Pier, Inc.
                                           600 East Grand Ave.
                                           Chicago, Illinois 60611



                                                                  AMENDMENT TO MEMORANDUM OF LEASE



                                                  This Amendment to Memorandum of Lease (this "Amendment to Memorandum") is made
                                           between The METROPOLITAN PIER AND EXPOSITION AUTHORITY, a municipal corporation
                                           and body politic of the government of the State of Illinois, having its principal office at 301 E.
                                           Cermak, Chicago, Illinois, ("Authority") and NAVY PIER, INC., an Illinois not-for-profit
                                           corporation, having its principal office at _ _ _ _ _ _ _ , Chicago, Illinois ("Lessee").

                                              The Authority and Lessee have previously caused to be recorded a certain Memorandum of Lease
                                           on May 28, 2011 in the Office of the Cook County Recorder of Deeds as document number
                                           1114610030 ("2011 Memorandum of Lease") which is hereby amended by amending the legal
                                           description attached thereto as Exhibit A to read, in full, as follows:

                                                                       LEGAL DESCRIPTION OF NAVY PIER


                                           A PARCEL OF LAND LYING EAST OF THE FRACTIONAL SECTION 10, TOWNSHIP 39 NORTH,
                                           RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK COUNTY, ILLINOIS,
                                           DESCRIBED AS FOLLOWS:


                                           BEGINNING AT THE NORTHEAST CORNER OF LOT SEVEN (7) IN THE CHICAGO DOCK AND
                                           CANAL COMPANY'S PESHTIGO DOCK ADDITION IN SAID SECTION 10; THENCE NORTH 88
                                           DEGREES 11 MINUTES 41 SECONDS EAST, 440.88' FEET; THENCE NORTH 01 DEGREES 48
                                           MINUTES 38 SECONDS WEST, 50.69 FEET TO THE NORTH FACE OF THE CONCRETE
                                           BULKHEAD; THENCE 88 DEGREES 15 MINUTES 59 SECONDS EAST ALONG SAID NORTH FACE,
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                                           2421.99 FEET; THENCE NORTH 01 DEGREES 45 MINUTES 54 SECONDS WEST, 27.81 FEET;
                                           THENCE NORTH 88 DEGREES 14 MINUTES 06 SECONDS EAST, 86.98 FEET; THENCE SOUTH 01
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                                           DEGREES 45 MINUTES 54 SECONDS EAST, 75.55 FEET TO THE NORTH FACE OF THE CONCRETE
                                           BULKHEAD; THENCE NORTH 88 DEGREES 14 MINUTES 47 SECONDS EAST ALONG SAID
                                           NORTH FACE, 554.60 FEET TO THE NORTHEAST CORNER OF THE CONCRETE BULKHEAD;
                                           THENCE SOUTH 01 DEGREES 40 MINUTES 55 SECONDS EAST, 300.21 FEET TO THE SOUTHEAST
                                           CORNER OF THE CONCRETE BULKHEAD; THENCE SOUTH 88 DEGREES 19 MINUTES 19
                                           SECONDS WEST ALONG SAID SOUTH FACE, 557.39 FEET; THENCE SOUTH 01 DEGREES 36
                                           MINUTES 30 SECONDS EAST, 121.41 FEET; THENCE SOUTH 88 DEGREES 07 MINUTES 31
                                           SECONDS WEST, 86.39 FEET; THENCE NORTH 01 DEGREES 52 MINUTES 29 SECONDS WEST,
                                           28.47 FEET TO THE SOUTH FACE OF THE CONCRETE BULKHEAD; THENCE SOUTH 88 DEGREES
                                            16 MINUTES 01 SECONDS WEST ALONG SAID SOUTH FACE, 2358.68 FEET; THENCE NORTH 01
                                           DEGREES 39 MINUTES 59 SECONDS WEST, 63.47 FEET; THENCE SOUTH 88 DEGREES 11
                                           MINUTES 41 SECONDS WEST, 44.00 FEET; THENCE NORTH 01 DEGREES 39 MINUTES 59
                                           SECONDS WEST, 37.00 FEET; THENCE NORTH 88 DEGREES 11 MINUTES 41 SECONDS EAST,
                                           2.60 FEET; THENCE NORTH 01 DEGREES 39 MINUTES 59 SECONDS WEST, 289.23 FEET; THENCE
                                           SOUTH 88 DEGREES 11 MINUTES      41 SECONDS WEST, 19.52 FEET TO THE PLACE OF
                                           BEGINNING.




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                      Courtroom Number: 2502
                      Location: District 1 Court
                              Cook County, IL                                                                      FILED
                                                                                                                   9/8/2021 9:45 AM
                                                                                                                   IRIS Y. MARTINEZ
                                                                                                                   CIRCUIT CLERK
                                                                                                                   COOK COUNTY, IL
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                                                                                                                   2021CH04537

                                                                                                                   14728753




                                              EXHIBIT 2
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                                                 The following are said ordinances as passed (the italic heading in each case not being a
                                               part of the ordinance);


                                                                  Reclassification Of Area Shown On Map No. 1-E.
                                                                                   (As Amended)                               IPO 5Z
                                                                               (Application No, 18106)
                                                                         (Common Address; 600 E. Grand Ave.)
                                                                                                                             ISO2014-5793]

                                                Be It Ordained by the City Council of the City of Chicago:

                                                  SECTION 1. That the Chicago Zoning Ordinance be amended by changing all of the
                                                Institutional Planned Development Number 527, as amended, symbols and indications as
                                                shown on Map Number 1-E in the area bounded by:

                                                    ail of the property including Navy Pier, lying south of a line 400 feet north of the north
                                                    line of East Grand Avenue, lying north of the north line of the Ogden Slip, lying east of
                                                    the concrete retainer wall at the east end of said slip lying north of property owned by
                                                    the United States Government located at Streeter Drive and the north bank of the
                                                    Chicago River, lying east of the east line of North Lake Shore Drive and lying west of
                                                    the east boundary of Navy Pier and west of the existing dock located north and south
                                                    of Navy Pier (except all of the block bounded by the north line of East Grand Avenue,
                                                    the south line of East Illinois Street, the east iine of North Streeter Drive and North
                                                    Lake Shore Drive, commonly known as Lake Point Tower), and except a strip of land
                                                    63 feet wide located on the east side of North Lake Shore Drive, between East Ohio
                                                    Street approach and East Grand Avenue and except the existing right-of-way for East
                                                    Ohio Street approach, East Grand Avenue, East Illinois Street, North Streeter Drive
                                                    and the entrance roadway to the Water Filtration Plant, and including the area known
                                                    as Dime Pier, as more fully delineated on the Property Line Map,

                                                 to those of Institutional Planned Development Number 527, as amended.

                                                  SECTION 2. This ordinance shall be in force and effect from and after its passage.


                                                 Plan of Development Statements referred to in this ordinance read as follows:


                                                                         Institutional Planned Development No. 527,
                                                                                          As Amended.

                                                                              Plan Of Development Statements.


                                                   1. The area delineated herein as Planned Development Number 527, as amended (the
                                                      "Planned Development") and subject to the use and bulk restrictions contained
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                                                       herein consists of the following areas: (i) six (6) tracts of land, identified as Tracts A,
                                                       B, C, D, E.2 and F; (ii) those portions of Grand Avenue and Illinois Street east of
                                                       Lake Shore Drive located within the Planned Development boundary; and (iii) the
                                                       property commonly known as Dime Pier located in Lake Michigan running parallel to
                                                       and south of Navy Pier in the City of Chicago's Harbor District 1, all as further
                                                       described on the Subarea Map, Exhibit 7, which is described in Statement 5 and
                                                       attached hereto (the “Property”). The Navy Pier Subarea consists of Tract A. The
                                                       Headlands Subarea consists of Tracts B, C, E.2 and F and those portions of Grand
                                                       Avenue and Illinois Street east of Lake Shore Drive. The Jane Addams Park
                                                       Subarea consists of Tract D. The Dime Pier Subar ea consists of Dime Pier and the
                                                       marina located south of and parallel to Navy Pier. The boundaries of each subarea
                                                       are depicted on the Subarea Map, Exhibit 7 herein. The Metropolitan Pier and
                                                       Exposition Authority (“MPEA"), a political subdivision, body politic and municipal
                                                       corporation created by an Act of the Illinois legislature, 70 ILCS 210/1, et seq., is the
                                                       owner of Tract A. The City of Chicago (the "City”) is the owner of Tracts B, C, E.2
                                                       and F. The Chicago Park District is the owner of Tract D and Dime Pier. Navy
                                                       Pier, Inc., an Illinois not-for-profit corporation ("NPI”) is the authorized applicant for
                                                       this amendment which relates solely to Tracts A, B, C, E.2 and F. For purposes of
                                                       this amendment to the Planned Development, the rights conferred on, obligations
                                                       imposed on, and acknowledgements made on behalf of MPEA shall be deemed to
                                                       extend to and include the applicant for so long as the applicant is the authorized
                                                       lessee and operator of Tracts A, B, C, E.2 and F.

                                                       Tract D of this Planned Development, known as the Jane Addams Park Subarea, is
                                                       included in this Planned Development for the purpose of assuring a coordinated
                                                       approach to the development of the Headlands Subarea. The Site/Landscape Plan
                                                       for Tract D is referenced in Statement 5 as Exhibit 43, and made a part hereof. The
                                                       uses permitted in Tract D are public beach and bathing uses and those uses
                                                       permitted in the Headlands Subarea, except for public transportation facilities; and
                                                       boat and ship docking, passenger embarking and disembarking.

                                                       The obligations and requirements imposed upon MPEA by this Planned
                                                       Development shall not apply to the Jane Addams Park Subarea, and MPEA shall
                                                       have no obligation with respect to any Jane Addams Park Subarea development.
                                                       Where applicable, any such obligations and requirements shall be imposed on the
                                                       Chicago Park District.

                                                       Notwithstanding the provisions of Statement 3 hereof, applications for amendments,
                                                       modifications or changes to the Jane Addams Park Subarea do not require the
                                                       consent or the authorization of the owners of the Navy Pier Subarea, the Headlands
                                                       Subarea or, if different from the Chicago Park District, the Dime Pier Subarea.
                                                       Notwithstanding the provisions of Statement 3 hereof, applications for amendments,
                                                       modifications or changes to the Navy Pier Subarea, the Headlands Subarea or, if
                                                       different from the Chicago Park District, the Dime Pier Subarea do not require the
                                                       consent or authorization of the owner of the Jane Addams Park Subarea.
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                                                 2. This Planned Development as originally adopted on September 16, 1992, was
                                                    conditioned on the execution of an Intergovernmental Cooperation Agreement
                                                    (“ICA”). This agreement was entered into on August 25, 1992, thereby satisfying this
                                                    condition.

                                                 3. The requirements, obligations and conditions contained within this Planned
                                                    Development as they relate to Tracts A, B, C, E.2 and F shall be binding upon the
                                                    applicant, its successors and assigns and, if different than the applicant, the legal
                                                    titleholders and any ground lessors. All rights granted hereunder to the applicant
                                                    shall inure to the benefit of the applicant’s successors and assigns and, if different
                                                    than the applicant, the legal titleholder and any ground lessors. Furthermore,
                                                    pursuant to the requirements of Section 17-8-0400 of the Chicago Zoning Ordinance,
                                                    the Property, at the time of application for amendments, modifications or changes
                                                    (administrative, legislative or otherwise) to this Planned Development are made,
                                                    shall be under single ownership or designated control. Single designated control is
                                                    defined in Section 17-8-0400,

                                                 4. All applicable official reviews, approvals or permits are required to be obtained by the
                                                    MPEA or the Chicago Park District, with respect to their respective subareas, or their
                                                    respective successors, assignees, lessees, or grantees. Any dedication or vacation
                                                    of streets or alleys or grants of easements or any adjustment of the right-of-way shall
                                                    require a separate submittal to the Department of Transportation on behalf of the
                                                    MPEA or the Chicago Park District, with respect to their respective subareas, or their
                                                    respective successors, assignees, lessees, or grantees.

                                                      Any requests for grants of privilege, or any items encroaching on the public way,
                                                      shall be in compliance with the plans.

                                                      Ingress or egress shall be pursuant to the plana and may be subject to the review
                                                      and approval of the Departments of Planning and Development and Transportation.
                                                      Closure of all or any public street or alley during demolition or construction shall be
                                                      subject to the review and approval of the Department of Transportation.

                                                      All work proposed in the public way must be designed and constructed in
                                                      accordance with the Department of Transportation Constr uction Standards for Work
                                                      in the Public Way and in compliance with the Municipal Code of the City of Chicago
                                                      Prior to the issuance of any Part II Approval, the submitted plans must be approved
                                                      by ths Department of Transportation.

                                                 5. This Plan of Development consists of these 26 statements, the Administrative
                                                    Approvals (defined below) and the following exhibits and plans attached hereto or
                                                    referenced below, all of which are incorporated herein and made a part hereof by this
                                                    reference:

                                                        1.   Bulk Regulations and Data Table

                                                        2.   Planned Development Boundary Map
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                                                         3.    Zoning and Street System Map

                                                        4.     Existing Land-Use Map

                                                        5.     Roadway Network Map

                                                        6.     Generalized Land-Use Plan

                                                        7.     Subarea Map

                                                        8.     Site/Landscape Plan -- Headlands Subarea (Polk Bros Park)

                                                        9.     Conceptual Site/Landscape Plan - On-Pler Park and Chicago Shakespeare
                                                               Theater Expansion

                                                         10.   Site Plan -- Navy Pier - Zone 1

                                                         11.   Site Plan - Navy Pier--Zone 2

                                                         12.   Site Plan -- Navy Pier - Zone 3

                                                         13.   Site Plan -- Navy Pier - Zone 4

                                                         14.   Site Plan -- Navy Pier -- Zone 5

                                                         15.   Conceptual Site Plan - Navy Pier - Zone 6

                                                         16.   South Elevation - Wave Wall

                                                         17.   South Elevation -- Hotel and Terminal Building

                                                         18.   West Elevation - Headhouse

                                                         19.   Section -- Polk Bros Park Vehicle Drop-Off

                                                         20.   Section - South Dock at Family Pavilion

                                                         21.   Section - South Dock at Wave Wall 1

                                                         22.   Section -- South Dock at Wave Wall 2

                                                        ■23.   Section - South Dock at Hotel and Festival Hall

                                                         24.   Pedestrian Circulation Plan

                                                         25.   Auto/Taxi Circulation Plan
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                                                      26.   Bus/Transit Circulation Plan

                                                      27.   Bicycle Circulation Plan

                                                      28.   North Dock Transient Boat Slips

                                                      29.   Traffic Management Plan

                                                      30.   Existing Land-Use Area Map (Dime Pier)

                                                      31.. Property Line and Right-of-Way Adjustment Map (Dime Pier)

                                                      32.   Generalized Site Plan (Dime Pier)
                                                                                                I

                                                      33.   West Building Plan (Dime Pier)

                                                      34.   East Building Plan (Dime Pier)

                                                      35.   Landscape Plan (Dime Pier)

                                                      36.   West Building Elevation (Dime Pier)

                                                      37.   East Building Elevation (Dime Pier)

                                                      38.   North Elevation - Navy Pier -- Zones 1 and 2 (revised December 11, 1997)

                                                      39.   North Elevation - Navy Pier - Zones 3 and 4 (revised December 11, 1997)

                                                      40.   North Elevation - Navy Pier - Zones 5 and 6

                                                      41.   Section - North Dock at Family Pavilion

                                                      42.   Section - North Dock at Festival Hall                                      I
                                                                                                                                       I

                                                      43.   Future Headland Subarea Landscape Plan (Federal Parcels)

                                                      44.   Site/Landscape Plan - Jane Addams Park Subarea (revised December 11,
                                                            1997)

                                                      45.   Hotel Site Plan

                                                      46.   Rooftop Venue Site Plan

                                                      47.   Rooftop Venue Roof Plan

                                                      48    Hotel Section
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                                                         49.    Skating Rink Plan -- Headlands Subarea (Polk Bros Park)

                                                         50.    Sloped-Roof Accessory Structure Elevations and Floor Plan (Polk Bros Park
                                                                Welcome Pavilion)

                                                         51.    East End Elevated Walkway Elevation

                                                         52.    East End Elevated Walkway Section


                                                       With the exception of the Traffic Management Plan (Exhibit 29), Exhibits 30 - 37,
                                                       Exhibits 38 -- 40 and Exhibits 42 ™ 44, all other exhibits were prepared by
                                                       Gensler Architects and are dated July 30, 2014, revised August 18, 2018.
                                                       Exhibits 30 — 37 relate to the Dime Pier Subarea, were prepared by BTAA/OA and
                                                       are dated November 20, 2009. Exhibits 38 -- 40 and Exhibits 42 -- 44 relate to
                                                       existing improvements, were approved pursuant to Planned Development 527, as
                                                       amended, on January 14,1998, were prepared by BTAA/OA, and are dated June 23,
                                                       1992, with the exception of Exhibit 38 (North Elevation - Navy Pier -- Zones 1
                                                       and 2), Exhibit 39 (North Elevation -■ Navy Pier - Zones 3 and 4), and Exhibit 44
                                                       (Site/Landscape Plan - Jane Addams Park Subarea), which were revised
                                                       December 11, 1997. Exhibits 45 -- 52 were prepared by Gensler Architects and are
                                                       dated July 30, 2014, revised August 18, 2016. Exhibits 30 -- 37 and Exhibits 38 - 40
                                                       and 42 - 44 are not attached hereto, but are on file with the Department.

                                                       The following minor change and site plan approval letters are hereby incorporated by
                                                       reference and made part of this Planned Development (collectively, the
                                                       “Administrative Approvals"):

                                                         a. Minor Change and Lakefront Protection Waiver to Theodore Novak dated
                                                            November 12. 2015

                                                         b.    Revised Minor Change and Lakefront Protection Waiver to Theodore Novak
                                                               dated October 15, 2015

                                                         c.    Minor Change and Lakefront Protection Waiver to Theodore Novak dated
                                                               September 24, 2015

                                                         d.    Revised Minor Change and Lakefront Protection Waiver to Theodore Novak
                                                               dated January 20, 2015

                                                         e. Approval letter to Theodore Novak dated April 1, 2014

                                                         f.    Approval letter to Theodore Novak dated December 23, 2013

                                                         g. Administrative Relief Request to Theodore Novak dated August 12, 2013
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                                                       h. Revised Lake Michigan and Chicago Lakefront Protection Ordinance Waiver to
                                                          Theodore Novak dated June 19,2013

                                                       i.   Lake Michigan and Chicago Lakefront Protection Ordinance Waiver to
                                                            Theodore Novak dated May 14, 2013

                                                       j.   Request for Minor Change to Jack Guthman dated December 29, 2004

                                                       k.   Request for Minor Change to David Narefsky dated September 27, 2004

                                                       l.   Request for Minor Change to Jon Clay dated May 4, 1998

                                                       m. Request for Minor Change to Jon Clay dated October 14, 1997

                                                       n. Request for Minor Change to Jon Clay dated February 26,1997

                                                       o.   Request for Minor Change to Jon Clay dated January 23, 1997

                                                       p.   Request for Minor Change to Steven Haemmerle dated August 11, 1993.


                                                      Full-sized copies of Exhibits 2 - 28 and 30 - 52 are on file with the Department of
                                                      Planning and Development. In any instance where a provision of this Planned
                                                      Development conflicts with the Chicago Building Code, the Building Code shall
                                                      control. This Planned Development conforms to the intent and purpose of the
                                                      Chicago Zoning Ordinance, and all requirements thereto, and satisfies the
                                                      established criteria for approval as a Planned Development, In case of a conflict
                                                      between the terms of this Planned Development Ordinance and the Chicago Zoning
                                                      Ordinance, this Planned Development Ordinance shall control.

                                                 6. The following uses shall be permitted in the Navy Pier Subarea: pedestrian
                                                    promenades; public open spaces; public, cultural, and recreational uses; cultural
                                                    exhibits; participant sports and recreation uses; enclosed public spaces; hotel/motel;
                                                    multi-purpose exhibition, meeting and reception facilities; shops and restaurants,
                                                    including without limitation general and limited restaurants, taverns, outdoor patios
                                                    located at grade and outdoor patios located on a rooftop; boat and ship docking,
                                                    passenger embarking and disembarking; movable commercial vendors’ facilities;
                                                    kiosks and other similar structures; on-pier accessary and non-accessory parking;
                                                    roadway ingress and egress; walkways, bicycle paths and ramps; and related and
                                                    accessory uses and support facilities; and all business and commercial uses allowed
                                                    in the DX Zoning Districts, except as set forth below.

                                                      The following uses shall be prohibited within the Navy Pier Subarea: residential;
                                                      adult uses; hookah bar; shooting range facilities; funeral and internment service;
                                                      pawn shop; inter-track wagering facility; battery, tire and auto service station; motor
                                                      vehicle repair; warehouse establishments; railroad related uses; stadiums, forums or
                                                      arenas with capacity of over two thousand (2,000) seats; hospital and convalescence
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                                                         related uses; penal and correctional facilities; electric substations; water filtration and
                                                         pumping stations; recycling facilities; drive-through facilities; business and
                                                         professional offices (except as ancillary uses); and transitional shelters.

                                                         The following uses shall be permitted in the Headlands Subarea: public parks, which
                                                         include gardens and gathering places, outdoor recreational activities, fountains,
                                                         skating rinks, accessory park pavilions, accessory retail sales, walkways, bicycle
                                                         paths and bicycling, ramps and other similar individual vehicular activities. The
                                                         following uses shall also be permitted in the Headlands Subarea: boat and ship
                                                         docking, passenger embarking and disembarking; public transportation facilities;
                                                         movable commercial vendor's facilities; kiosks and other similar structures; and
                                                         related and accessory uses and support facilities.

                                                         The following uses shall be permitted in the Dime Pier Subarea: marina, harbor
                                                         facilities, restaurants; kiosks; and other related and accessory uses pursuant to
                                                         Section 17-6-0203-D of the Chicago Zoning Ordinance.

                                                         All of the Property shall remain public places for the use and enjoyment of the public.
                                                         Any limitations on the public use and any private uses shall be subordinate and
                                                         ancillary as well as complementary to the predominantly public character of the
                                                         Property. Consistent, with the foregoing, hotels, restaurants and commercial vendors
                                                         may exclusively occupy areas at the Property, provided that the goods and services
                                                         offered shall be available to the public as a place of public accommodation. For
                                                         purposes of this Planned Development, the term “operating hours” shall have the
                                                         following meanings:

                                                             (i)    during the period from May through September, it shall mean, for the interior
                                                                    public spaces of the structures, from at least 9:00 A.M. to 9:00 P.M.;

                                                             (ii)   during the period from October through April, it shall mean, for the interior
                                                                    public spaces of the structures, from at least 10:00 A.M. to 5:00 P.M.; and

                                                             (iii) during all periods, it shall mean, for the exterior spaces in the Headlands
                                                                   Subarea, from at least 6:00 A.M. to 11:00 P.M., and for the exterior spaces in
                                                                   the Navy Pier Subarea, from at least 6:00 A.M. to one (1) hour later than the
                                                                   operating hours of the interior public spaces of the structures, as set forth in
                                                                   subsections (i) and (ii) above.


                                                         All uses of the Property shall be located, designed, constructed, maintained and
                                                         operated in accordance with the provisions of this Planned Development.

                                                     7   Off-street parking and off-street loading • shall be provided upon • the Navy Pier
                                                         Subarea in accordance with the Bulk Regulations and Data Table described in
                                                         Statement 5 and attached hereto.
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                                                 8. On-premises and off-premises signs are permitted within the enclosed facilities on
                                                    the Navy Pier Subarea; provided, however, these signs shall be of a limited size, and
                                                    be appropriate and consistent with the character of the Navy Pier and Headlands
                                                    Subarea development. On-premises and off-premises signs of no more than one
                                                    hundred (100) square feet in dimension are permitted outside of the facilities on the
                                                    Navy Pier Subarea, provided that they are appropriate and consistent with the
                                                    character of the Navy Pier Subarea and relate to the Navy Pier Subarea uses.
                                                    All exterior signs, including flashing, animated or moving signs, and all signs inside
                                                    or out facing and visible from the Headlands Subarea are subject to the prior
                                                    approval of the Department of Planning and Development (the "Department'').
                                                    All exterior signs located within the Dime Pier Subarea, including signs on the kiosks,
                                                    are subject to the prior approval of the Commissioner of the Department
                                                    (the "Commissioner’'), and are limited to on-premises messages. Illuminated,
                                                    flashing, changing image signs and video display signs are expressly prohibited
                                                    within the Dime Pier Subarea.

                                                 9. The maximum allowable height of any structure within the Planned Development
                                                    shall conform to the attached Bulk Regulations Table. For purposes of height
                                                    measurement, the definitions in the Zoning Ordinance shall apply. The height of any
                                                    building shall also be subject to height limitations, if any, established by the Federal
                                                    Aviation Administration.

                                                10. The following additional principles shall govern development of the Property:

                                                       (i)     The improvements on the Property shall be designed, constructed and
                                                               maintained in general conformance with all of the exhibits described in
                                                               Statement 5 of this Planned Development. Landscaping shall be installed
                                                               and maintained in general conformance with all of the Site/Landscape
                                                               Plan exhibits described in Statement 5 of this Planned Development. All
                                                               landscaping shall be properly maintained, at all times, by MPEA.

                                                       (ii)    Vehicular movement on the Navy Pier Subarea shall be limited to those
                                                               areas designated on all of the Site Plans, Exhibits 8 through 15, described
                                                               in Statement 5 and shall be in general conformance with the provisions of
                                                               the Traffic Management Plan, Exhibit 29 (which may be adjusted
                                                               administratively from time to time in conformance with Section 17-13-0611),
                                                               described in Statement 5 of this Planned Development.

                                                       (iii)   Public pedestrian and bicycle passage during operating hours over all
                                                               exterior areas depicted on the exhibits as pedestrian walks or pathways,
                                                               including the south dock and the north dock, shall not be unreasonably
                                                               restricted; provided, however, that bicycle passage shall be secondary to
                                                               pedestrian passage, -and the applicant may restrict bicycle passage to
                                                               prevent unreasonably interference with pedestrian passage and to protect
                                                               pedestrian safety. Public pedestrian passage during operating hours over
                                                               all interior areas depicted on the Pedestrian Circulation Plan, Exhibit 24,
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                                                                   described in Statement 5 of this Planned Development shall not be
                                                                   unreasonably restricted.

                                                         (iv)      The south dock shall be divided into east/west zones that are in general
                                                                   conformance with all of the section exhibits, Exhibits 20 through 23,
                                                                   described in Statement 5 of this Planned Development and attached
                                                                   hereto. These zones shall be reasonably sized to accommodate the
                                                                   predominantly public pedestrian character of the south dock. The edge of
                                                                   the south dock shall consist of an approximate 26-foot zone in which
                                                                   various boat and ship docking accessories, pavilions, kiosks, planters and
                                                                   furniture are permitted. To the north and adjacent to this 26 foot zone, there
                                                                   shall be an approximately 20-foot clear zone, free and clear of all
                                                                   obstructions for easy pedestrian passage.

                                                         (v)       The edge of the north dock shall consist of an approximately 10-foot zone
                                                                   in which various boat and ship dock accessories, kiosks, planters and
                                                                   furniture are permitted provided that public pedestrian passage is feasible.

                                                          (vi)     The boat and ship docking accessories described above include, but are
                                                                   not limited to, gangplanks, stairs and accessory structures, pavilions and
                                                                   kiosks. These accessories shall be appropriate and consistent with the
                                                                   character of the Navy Pier and Headlands Subareas development. They
                                                                   shall be sized and located to avoid unreasonable interference with public
                                                                   pedestrian passage or with public access to the water or lake front vistas.
                                                                   The location of the accessories of each boat or ship shall be limited to the
                                                                   boat dock areas set forth in Statement 11 hereof. They shall be limited to
                                                                   movable or semi-permanent structures.

                                                          (vii)    Movable or semi permanent kiosks are also permitted in the Headlands
                                                                   Subarea and elsewhere along the south dock of the Navy Pier
                                                                   Subarea, except in the clear zones. The kiosks shall be sized and located
                                                                   appropriately and consistently with the character of this Planned
                                                                   Development. Moreover, they shall not unreasonably interfere with public
                                                                   pedestrian passage or with public access to the water or the lake front
                                                                   vista.

                                                          (viii)   Permanent kiosks or other permanent buildings or structures located
                                                                   anywhere on the Property are subject to the approval of the Commissioner.
                                                                   The approximately 4,000 square foot “Welcome Pavilion" proposed to be
                                                                   developed in the Headlands Subarea, as depicted on the plans, is hereby
                                                                   approved.

                                                          (ix)     The areas depicted on the Conceptual Site/Landsoape Plan -- On-Pier
                                                                   Park, Exhibit 9, described by Statement 5 of this Planned Development,
                                                                   west of the area depicted as Chicago Shakespeare Theater Expansion,
                                                                   commonly known as the Crystal Garden and On-Pier Park, shall be
                                                                   designed, constructed and maintained as public spaces to provide areas for
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                                                               passive activities and public gathering and, except as provided herein, at no
                                                               charge or cost to public users; provided, however, that the restaurant/cafe
                                                               and catered dining areas depicted in the Conceptual Site/Landscape Plan -
                                                               On-Pier Park, Exhibit 9, described in Statement 5 of this Planned
                                                               Development, may charge customers for their use of said restaurant/cafe
                                                               and catered dining areas. Within the Crystal Garden, the public space
                                                               consists of approximately 22,000 square feet of area, centrally located.
                                                               Each of these public areas shall be (a) handicapped accessible, (b)
                                                               designed to function as a public space, (c) improved with seating and tables
                                                               appropriately located and arranged and in reasonable and sufficient
                                                               quantities to encourage public use, (d) provided with appropriate interior
                                                               and exterior landscaping, (e) reasonably accessible to restroom facilities
                                                               and to food and beverage facilities, and (f) except as provided herein, shall
                                                               be open to the public during all operating hours. Regular musical
                                                               entertainment, live performances and cultural programs and exhibits within
                                                               these areas are encouraged. The areas shall be maintained in a clean and
                                                               litter free condition. The Crystal Garden shall have largely unobstructed
                                                               views from within the space out to the lake and City.

                                                      (x)      Limited private uses of the Crystal Garden during operating hours are
                                                               permitted; provided, however, these uses, except for the restaurant/cafe
                                                               and catered dining areas, may occur only very occasionally (from time to
                                                               time), must be more limited in the summer months than otherwise.

                                                      (xi)     It may be necessary in connection with live music, live performances or
                                                               other events in the Crystal Garden and On-Pier Park to charge a fee to
                                                               cover the cost of the entertainment. Also, the applicant may charge a
                                                               reasonable fee to ride the carousel. Ferris wheel, or swing ride, or other
                                                               rides or attractions, or for special entertainment in the On-Pier Park.

                                                      (xii)    Appropriate and decorative lighting of all exterior public pedestrian areas
                                                               and budget permitting, of appropriate Navy Pier Subarea building features,
                                                               shall be provided and maintained. In no circumstances should lighting on
                                                               the Property be directed at Lake Point Tower.

                                                      (xiii)   The Navy Pier Subarea, Headlands Subarea and Dime Pier Subarea
                                                               development contemplated herein are intended to be a single, integrated
                                                               project; provided, however, that the work described in Exhibits 8 through
                                                               27, 38 through 43, and 45 through 52 and the Dime Pier Subarea
                                                               development may be conducted in stages and phases, as designated by
                                                               the applicant or, with respect to the Dime Pier Subarea, the Chicago Park
                                                               District.

                                                       (xiv)   The MPEA, with respect to the Headlands and Navy Pier Subareas, and
                                                               the Chicago Park District, with respect to the Jane Addams Park Subarea
                                                               and Dime Pier Subarea, shall make appropriate, arrangements to ensure
                                                               public safety and public access to such subareas, to the extent feasible,
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                                                                  during construction. If requested by any appropriate department of the City,
                                                                  the MPEA or the Chicago Park District, as applicable, shall provide and
                                                                  follow a reasonably acceptable plan and schedule of such arrangements;
                                                                  which plan shall be coordinated with the Department.


                                                   11. The perimeter of the north and south dock areas of the Navy Pier and Headlands
                                                       Subareas may be used to dock boats and ships, and passengers may embark and
                                                       disembark from such boats and ships along the docks of the Navy Pier and
                                                       Headlands Subareas, provided that the following principles are followed:

                                                          (I)     Pedestrian circulation along, and public access to, the dock’s edge and
                                                                  views from the pedestrian areas of the Navy Pier and Headlands Subareas
                                                                  shall not be unreasonably impaired. In the Headlands Subarea (except in
                                                                  areas adjacent to Ogden Slip) and the south dock of the Navy Pier Subarea
                                                                  no more than fifty percent (50%) of each of the dock's length may be
                                                                  occupied by docked boats or ships at any one time, and each docked boat
                                                                  or ship shall be separated from every other docked boat or ship by fifty (50)
                                                                  feet, or if separated by a lesser distance, the total length of any portion of
                                                                  the dock which is occupied by boats or ship at any one time shall not
                                                                  exceed two hundred (200) feet (unless occupied by a single boat longer
                                                                  than two hundred (200) feet in which case said boat shall be separated
                                                                  from every other boat by fifty (50) feet).

                                                          (ii)    The operation of docked boats and ships shall be regulated by the MPEA to
                                                                  avoid unreasonable adverse impacts of such uses on the surrounding
                                                                  neighborhood. These impacts include, but are not limited to, noise created
                                                                  by passengers and litter,

                                                          (ill)   No boats or ships shall be permanently docked on the north, south or east
                                                                  side of the Navy Pier Subarea adjacent to the Auditorium. Embarking and
                                                                  disembarking of boat passengers along any portion of ths Headlands
                                                                  (except the easternmost docks) of the Headlands Subarea shall not be
                                                                  permitted after 11:00 P.M. on weekdays and 12:00 A.M. on weekends.


                                                   12. The maximum permitted Floor Area Ratio ("FAR") for the site shall be in accordance
                                                       with the attached Bulk Regulations Table. For the purposes of FAR calculations and
                                                       measurements, the definitions in the Zoning Ordinance shall apply. For purposes of
                                                       grade, the definition in the Zoning Ordinance shall apply. The permitted FAR
                                                       identified in the Bulk Regulations Table has been determined using a Net Site Area
                                                       of 4,718,841 square feet.

                                                   13. The MPEA, with respect to the Navy Pier and Headlands Subareas, acknowledges
                                                       that the development of such subareas will have unique traffic-generation and
                                                       parking characteristics which will require diligent and ongoing operational control to
                                                       assure that the impact of the development on the surrounding traffic network, park
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                                                       uses, pedestrian flow and parking supply will not be unreasonably adverse.
                                                      The MPEA further acknowledges that, although the streets on the Headlands
                                                      Subarea will be City-owned streets over which the City shall maintain legal
                                                      jurisdiction, the generation of traffic activity and the traffic activity itself on these
                                                      streets will largely be within the control of the MPEA.

                                                      Accordingly, the MPEA shall be responsible for implementing certain operational
                                                      controls over parking and traffic activity expected to occur on the Navy Pier
                                                      and Headlands Subareas. These operational controls are set forth in the “Traffic
                                                      Management Plan" C'TMP”) Exhibit 29 described in Statement 5 in this Planned
                                                      Development. The TMP, as it may be amended or otherwise modified from time to
                                                      time, shall be effective upon passage and approval of this Planned Development, or
                                                      in accordance with such amendment or modification from time to time, and shall be
                                                      deemed an integral part of this Planned Development. The MPEA’s compliance with
                                                      the TMP shall be a requirement of this Planned Development.

                                                      In order to assure the TMP's effectiveness, the Commissioner may request, not more
                                                      than once every two years after the effective date of this Planned Development,
                                                      MPEA to submit, and MPEA shall so submit, reports describing traffic and parking
                                                      activity and assessing the effectiveness of the various provisions of the TMP as
                                                      they relate to the Navy Pier and Headlands Subareas, and any recommended
                                                      modifications-thereto. Additionally, the MPEA, or its designated representative, shall
                                                      cooperate with the City and with applicable transit agencies in the on-going review
                                                      and updating of the TMP, as it relates to the Navy-Pier and Headlands Subareas.

                                                      Modifications may be made to the TMP at any time with the approval of the
                                                      Commissioner. Such modifications and approvals shall be kept on file with the
                                                      Department.

                                                      In order to assure that the provisions of the TMP are properly carried out and that
                                                      proper and prompt coordination exists among the MPEA and the various
                                                      departments of the City and the applicable transit departments of the City and the
                                                      applicable transit agencies and the public, the MPEA shall designate and maintain
                                                      a Transportation Coordinator ("TC”). The TC may consist of one (1) or more
                                                      individuals, but in any event, a single person, entity or division of the MPEA shall be
                                                      readily available and apparent for inquiry by any parties concerned. The TC shall
                                                      be charged with the responsibility, on behalf of the MPEA, to (a) oversee and
                                                      coordinate the day-to-day implementation of the TMP, (b) act as a formal point of
                                                      communication between the MPEA and any other agencies or individuals inquiring or
                                                      concerned about traffic, or parking-related issues, and (c) coordinate traffic loading
                                                      and parking management activity with representatives of the City and the appropriate
                                                      transit agencies.

                                                14. The MPEA acknowledges that with the development of the “River East Corridor",
                                                    there is a need for a comprehensive traffic management plan for a larger area than
                                                    that contemplated by the TMP, Exhibit 29. in order to serve this need the creation
                                                    of a Traffic Management Authority (“TMA") covering that broader area may be
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                                                       necessary. In the event a TMA is created, the MPEA agrees to join the TMA; to be
                                                       an active and participating member of its board; and to cooperate and participate in
                                                       the creation of such a comprehensive plan, and in the preparation of a funding
                                                       structure which implements the plan and which at a minimum advances the goal of
                                                       providing regular, frequent shuttle service to remote parking. The MPEA further
                                                       agrees to continue to run its remote parking shuttle service at its current level of
                                                       service as described in the TMP, Exhibit 29. The MPEA shall pay its pro rata share
                                                       of the funding plan, which shall include its agreement to run its remote parking
                                                       shuttle service at its current level of service. The Commissioner may approve
                                                       modifications to the level of shuttle service at the request of MPEA based on updated
                                                       analyses regarding need and demand for shuttle service.

                                                   15. The design of the roadway network located on the Headlands Subarea as depicted
                                                       on the Roadway Network Map, Exhibit 5, described in Statement 5 of this Planned
                                                       Development has been determined by the City to be necessary and appropriate to
                                                       handle the expected uses of the Navy Pier and Headlands Subareas in a safe and
                                                       efficient manner, while maximizing the availability of open space and park land on
                                                       the Headlands Subarea The City acknowledges, however, that the actual uses of
                                                       the Navy Pier and Headlands Subareas may vary from that expected. Accordingly,
                                                       the Commissioner may request, and MPEA shall submit, not more than once prior to
                                                       the expiration of the fifth anniversary following the effective date of this amendment
                                                       to the Planned Development, a traffic study prepared by a traffic engineer assessing
                                                       the adequacy and sufficiency of the Headlands Subarea's roadway network to
                                                       handle the actual traffic demand experienced during said period, Following receipt of
                                                       said study or studies, the Commissioner shall consult with the Commissioner of the
                                                        Department of Transportation. If the Commissioner of the Department of Planning
                                                        and Development and the Commissioner of the Department of Transportation
                                                       determine that changes to said roadway network are necessary or appropriate to
                                                        accommodate the actual uses of the Navy Pier and Headlands Subareas, while
                                                        maximizing the availability of open space and park land, said Commissioners shall
                                                        so notify the MPEA. Such changes shall be limited to modifications or changes to
                                                        the roadway network. Said Commissioners shall make such determination and send
                                                        such notice within ninety (90) days following receipt of said study. The City shall, at
                                                        its own expense and within one (1) year thereafter, make such changes to the
                                                        roadway network as are required. The MPEA shall, at its own expense and within
                                                        one (1) year thereafter, make such changes to the landscaping on the Headlands
                                                        Subarea as are reasonably required as a result of the changes to the roadway
                                                        network undertaken by the City

                                                    16. The parcel depicted on the Subarea Map, Exhibit 7, as Tract E.1, Existing Federal
                                                         Parcels, is outside the boundaries of this Planned Development. The MPEA
                                                         acknowledges, however, that such parcel shall be served by access ways over and
                                                       ■ across the Headlands Subareas. In the event that the MPEA or the City acquire
                                                         control of this parcel sufficient to allow redevelopment as park land, then the
                                                         Headlands Subarea shall be reconfigured and landscaped to create a park area
                                                         which is coordinated with the parcel.       Such reconfiguration and landscaping
                                                         shall be designed, constructed and maintained in general conformance with the
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                                                     Site/Landscape Plan - Headlands Subarea (Polk Bros Park), Exhibit 8, described in
                                                     Statement Number 5 and attached hereto. Such reconfiguration and landscaping
                                                     shall be completed by the MPEA within a reasonable time following the aforesaid
                                                     acquisition of the necessary rights to the parcel or following substantial completion of
                                                     the redevelopment of the parcel as park land, whichever is earlier.

                                                     Any development of the Headlands Subarea, and particularly of Tract E.2, shall be
                                                     coordinated with and shall be designed and constructed to accommodate the then
                                                     existing or known plans for the Turning Basin Park. When and if the Turning Basin
                                                     Park is developed, the MPEA will permit third parties reasonable access to
                                                     Tract E.2 in order to coordinate said development with Tract E.2.

                                               17. The MPEA shall manage the uses of the Headlands and Navy Pier Subareas
                                                   to avoid unreasonably adverse impacts on the surrounding residents. On the
                                                   Headlands Subarea, no neighborhood festivals shall be permitted.

                                               18    Upon review and determination. "Part II Review’', pursuant to Section 17-13-0610 of
                                                     the Zoning Ordinance, a Part II Review fee shall be assessed by the Department of
                                                     Planning and Development. The fee. as determined by staff at the time, is final and
                                                     binding on the applicant and must be paid to the Department of Revenue prior to the
                                                     issuance of any Part II Approval.

                                               19. The Site and Landscape Plans shall be in substantial conformance with the
                                                   Landscape Ordinance and any other corresponding regulations and guidelines.
                                                   Final landscape plan review and approval will be by the Department. Any interim
                                                   reviews associated with site plan review or Part II Reviews, are conditional until final
                                                   Part II Approval.

                                               20. The MPEA, with respect to the Headlands and Navy Pier Subareas, and the Chicago
                                                   Park District, with respect to the Jane Addams Park Subarea and Dime Pier
                                                   Subarea, shall comply with Rules and Regulations for the Maintenance of Stockpiles
                                                   promulgated by the Commissioners of the Departments of Streets and Sanitation,
                                                   Environment and Buildings, under Section 13-32-085 of the Chicago Municipal Code,
                                                   or any other provision of that Code.

                                               21. The terms and conditions of development under this Planned Development
                                                   ordinance may be modified administratively, pursuant to Section 17-13-0611-A of the
                                                   Chicago Zoning Ordinance by the Zoning Administrator upon the application for such
                                                   a modification by the MPEA, its successors and assigns and, if different than the
                                                   MPEA, the legal titleholders and any ground lessors.

                                               22. The MPEA and the Chicago Park District acknowledge that it is in the public interest
                                                   to design, construct and maintain the project in a manner which promotes, enables
                                                   and maximizes universal access throughout the Property. Plans for all buildings and
                                                   improvements on the Property shall be reviewed and approved by the Mayor's Office
                                                   for People with Disabilities to ensure compliance with all applicable laws and
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                                                        regulations related to access for persons with disabilities and to promote the highest
                                                        standard of accessibility.

                                                   23. The MPEA and Chicago Park District acknowledge that it is in the public interest to
                                                       design, construct, renovate and maintain all buildings in a manner that provides
                                                       healthier indoor environments, reduces operating costs and conserves energy and
                                                       natural resources. The proposed structures on the Dime Pier Subarea shall be
                                                       designed and constructed in an energy efficient manner generally consistent with the
                                                       Leadership in Energy and Environmental Design (“LEED”) Green Building Rating
                                                       System; the roof of the proposed structures will consist of twenty-five percent (25%)
                                                       of the net roof area covered with photovoltaic panels and the remaining seventy-five
                                                       percent (75%) covered with high albedo roof materials; in addition, the project will
                                                       incorporate ESC certified wood products, native plantings, and the heating and
                                                       cooling system will incorporate natural ventilation that will reduce energy demand
                                                       through a geothermal system located beneath the floating docks in the harbor.
                                                       The South Dock and the initial work in Poik Bros Park, which includes the fountain,
                                                       plaza and surrounding landscaping, has been submitted for certification under the
                                                       SITES program, a comprehensive rating system for the development of sustainable
                                                       landscapes administered by Green Business Certification, Inc. The hotel will achieve
                                                       a LEED certification and 50 percent of its net roof area will be vegetated, meeting
                                                       the guidelines of the Sustainable Policy of the Department of Planning and
                                                       Development

                                                   24. The MPEA acknowledges that, although the City's Percent for Public Art ordinance is
                                                       not applicable to the proposed development, the Navy Pier and Headlands Subareas
                                                       development project is a public project and that the location and placement of art
                                                       work in appropriate places on the Headlands and Navy Pier Subareas is a worthy
                                                       public goal. Accordingly the MPEA shall, in its planning for (he design and
                                                       construction of the proposed development, take into consideration the installation of
                                                       art work as an integral part of interior and exterior spaces. In connection with this
                                                       requirement, the MPEA shall work with the appropriate representatives of the Public
                                                       Art Program of the City’s Department of Cultural Affairs and Special Events.

                                                    25. The plans are hereby approved in their entirety and no further approvals shall be
                                                        required under this Planned Development or the Zoning Ordinance for the
                                                        improvements undertaken in accordance with the plans, other than Part II Approval
                                                        (per Section 17-13-0610 of the Zoning Ordinance). Applicant and DPD, at either
                                                        party’s request, may continue to evolve the design of the elevations or materials, and
                                                        changes to such elevations or materials, if any, shall, if mutually agreed upon, be
                                                        reviewed by DPD pursuant to Section 17-13-0800.

                                                    26. The improvements contemplated by this Planned Development are anticipated to be
                                                        conducted in phases. Unless substantial construction of any of the improvements
                                                        contemplated by this amendment to the Planned Development and depicted in the
                                                        plans, Including without limitation the hotel to be constructed in the Navy Pier
                                                        Subarea, the Welcome Pavilion to be constructed in the Headlands Subarea, or any
                                                        of the improvements depicted the Conceptual Site Plan - Navy Pier - Zone 6
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                                                      (Exhibit 15) have commenced within six (6) years following adoption of this
                                                      amendment to the Planned Development (subject to extension for one additional
                                                      year as set forth in Section 17-13-0612 of the Chicago Zoning Ordinance), then this
                                                      amendment to the Planned Development shall expire by separately introduced
                                                      ordinance, if any, in which event the zoning of the Property shall revert to Planned
                                                      Development 527, as amended, on January 13, 2010.


                                                            [Exhibits 30, 31, 32. 33, 34, 35, 36, 37, 38, 39, 40, 42, 43 and 44
                                                                  referred to in these Plan of Development Statements
                                                                              unavailable at time of printing.]


                                                         [Exhibits 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,14, 15, 16, 17, 18, 19, 20,
                                                           21, 22, 23, 24, 25, 26, 27, 28, 41, 45, 46, 47, 48, 49, 50, 51 and 52
                                                              referred to in these Plan of Development Statements printed
                                                                      on pages 31844 through 31879 of this Journal.]


                                                Exhibits 1 and 29 referred to in these Plan of Development Statements read as follows:


                                                                                           Exhibit 1.

                                                                 Institutional Planned Development No. 527, As Amended.

                                                                                    Plan Of Development.

                                                                              Bulk Regulations And Data Table.



                                               Net Site Area:

                                                 Aggregate Area:                                        4,718,841 square feet (108,33 acres)

                                                 Navy Pier Subarea:                                     29.1 acres

                                                 Headlands Subarea:                                     20.4 acres

                                                 Jane Addams Park Subarea:                              5.3 acres

                                                 Dime Pier Subarea:                                     53.5 acres
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                                                                                                                SECURITY ZONE

                                                                     TRANSIENT BOAT SLIPS                                       TRANSIENT BOATSUPS

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                                                                                                                                           NORTH DOCK TRANSIENT BOAT SLIPS
AftpticArn                 NAVY Fin MC.                                PLANNED DEVELOPMENT NUMBER 527, AS AMENDED                                                      EXE-ABIT
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                      Hearing Date: 1/6/2022   9:30 AM - 9:30 AMDocument   #: 1-1 Filed: 10/08/21 Page 140 of 383 PageID #:144
                      Courtroom Number: 2502
                      Location: District 1 Court
                              Cook County, IL                                                                      FILED
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                                                                                                                   IRIS Y. MARTINEZ
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                                                                                                                   COOK COUNTY, IL
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                                              EXHIBIT 3
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                                                                               P ART I

                                                       TRANSIENT BOAT SLIP DEVELOPER & OPERATOR

                                                                             N AVY P IER




                                                                           N avy Pier, Inc.

                                                                            May 25, 2016
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                                                  SECTION 1 : INVITATION AND OVER VIEW
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                                                  1.1 Invitation

                                                  Navy Pier, Inc. (NPI) is issuing Part 1 of its Request for Qualifications and Proposal for a Transient Boat
                                                  Slip Developer and Operator as detailed more specifically in this RFQ/P. NPI invites firms experienced in
                                                  the development and operations of transient boat slip to submit a proposal outlining their qualifications in
                                                  response to this RFQ for Navy Pier’s transient boat slip development.

                                                  NPI’s selection of a Developer for the project will proceed as further described below.

                                                  P a r t I – Submission of Qualifications. Proposers are requested to submit written responses that outline
                                                  their knowledge and experience in providing transient boat slip development services. Based on the Part I
                                                  responses, NPI will then identify a short list of Proposers that are best qualified to participate in Part II of the
                                                  selection process.

                                                  P a r t I I – Submission of Proposals. NPI will then request the shortlisted Proposers to submit proposals in
                                                  response to Part II of the RFQ/P for a transient boat slip developer.



                                                  1.2 Overview

                                                  Navy Pier, Inc. is a 501(c)(3) not-for-profit corporation responsible for the operation and redevelopment of
                                                  Navy Pier. Under a long-term lease with the Metropolitan Pier and Exposition Authority (the “MPEA”), NPI is
                                                  undertaking the renovation of Navy Pier and is now proceeding with the selection of a Transient Boat Slip
                                                  Developer who may be responsible for developing, operating, and maintaining boat slips described later in this
                                                  RFQ/P.

                                                  Navy Pier has been an icon and popular destination throughout much of Chicago’s history. It offers a diverse
                                                  and eclectic Chicago experience and is positioned in one of the most unique settings in the world. The Pier
                                                  brings together city, lakefront, and water in an extraordinary context seen nowhere else.

                                                  Navy Pier is in the process of implementing its Centennial Vision. The Centennial Vision is a framework for
                                                  reimagining Navy Pier as it enters its centennial year in 2016. Navy Pier is Illinois’ most popular and distinctive
                                                  attraction with annual attendance of 8.6 million. The Centennial Vision will build on this foundation of success to
                                                  create a truly great public place, world-class attraction, and memorable experience for visitors.




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                                                  Consistent with the principles outlined in the Centennial Vision, the development of transient boat slips on the north
                                                  side of Navy Pier offers a unique opportunity to connect Navy Pier to the lake and the Great Lakes boating community.
                                                  The transient boat slips will provide an alternative means of access to Navy Pier and serve as a catalyst to generate
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                                                  activity on the north side of Navy Pier and significantly enhance the guest experience there. The dining, entertainment
                                                  and other attractions at Navy Pier, both existing and planned, will serve as a significant anchor to drive boating traffic to
                                                  the Pier.

                                                  Navy Pier is celebrating its centennial in 2016 and has been in its current form for nearly 20 years. As with
                                                  any destination or attraction, improvements and revisions are required t o maintain the current base of business,
                                                  but also attract new untapped markets. In June of 2011, NPI issued its Centennial Vision, a framework plan that
                                                  outlines NPI’s long-term vision that would guide the redevelopment of the Pier.

                                                  NPI has s e l e c te d th e u rb a n design and landscape architectural firm of James Corner Field Operations
                                                  (“JCFO”) to lead the redesign of Navy Pier’s Pierscape, its outdoor public spaces. Led by its founder James
                                                  Corner, JCFO is an award-winning landscape architecture and urban design firm that has gained international
                                                  recognition for projects, including New York City’s Highline, a project where JCFO turned a 1.45-mile stretch
                                                  of an abandoned railway viaduct into a thriving public park – economically boosting a once all-but-disregarded
                                                  area of New York City.

                                                  NPI worked with Gensler to develop The Centennial Vision and the Pierscape competition that resulted in the
                                                  selection of JCFO and their t e a m to design and implement Pierscape. Gensler continues to serve in the role of
                                                  Executive Architect NP I assisting in the coordination of the various components of the Centennial Vision.

                                                  NPI has created a plan, with Gensler and James Corner Field Operations, that improves the existing
                                                  product and adds new revenue producing features that expand not only the demographics served, but
                                                  extends the commerce on Navy Pier later into the night (and overnight via a new hotel) and beyond the warm
                                                  months to more of a year-round destination. Annual attendance at Navy Pier is approximately 8.6 million
                                                  people and it remains the top attraction in Illinois.

                                                  The Centennial Vision breaks the Pier into a number of discrete components that include the interior and exterior
                                                  portions of the Pier. The exterior portions of Navy Pier are referred to as its “Pierscape.” The further
                                                  development of the framework plan presented in the Centennial Vision is outlined as follows:
                                                             *     Pierscape
                                                                   •    Polk Bros Park
                                                                   •    Crystal Garden
                                                                   •    Pier Park
                                                                   •    East End
                                                                   •    South Dock
                                                             *     Family and Leisure
                                                                   •    Family Pavilion Remodeling
                                                                   •    South Arcade Expansion and Food Court

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                                                                   •    Chicago Children’s Museum Expansion
                                                             *     Chicago Culture
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                                                                   •    Chicago Shakespeare Theater Expansion
                                                                   •    Additional Dining
                                                             *     Events and Entertainment
                                                                   •    Hotel
                                                                   •    Dining and Entertainment
                                                                   •    Terminal Building Restaurant

                                                  The following image shows the four sections of the Project.




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                                                  The following provides a general description of the scope of the redevelopment projects.


                                                  Headhouse Plaza + Polk Br os Pa rk Pr om e na de


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                                                  This completed project includes the creation of a plaza in front of the Headhouse with the
                                                  elimination of two through lanes of traffic and modifications to the signage and traffic signals to
                                                  allow for the reconfiguration of traffic serving the Pier. This will lessen pedestrian interaction
                                                  with traffic and increase the park-like feel of Polk Bros Park. This work included expanding t h e
                                                  outdoor dining space for the Headhouse restaurants along with new paving, landscaping,
                                                  kiosks and lighting.




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                                                Polk Bros. Park Fountain and Plaza


                                                  This project includes the creation of a new, highly interactive fountain that will be better
                                                  connected to the Headhouse and all of Navy Pier.


                                                  South Dock

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                                                  This project includes the replacement of existing paved surfaces and landscaping; replacement of
                                                  vender kiosks and covered pavilions; boat kiosks, ramps, and infrastructure; and replacement of
                                                  lighting and sound systems along the South Dock from the Headhouse to the historic buildings
                                                  at the east end of Navy Pier, along with the addition of new landscaping and utilities.




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                                                  South Arcade Renovation
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                                                  This work includes the reconstruction of the existing South Arcade and a 5,000-square f o o t
                                                  expansion of the space; a new exterior storefront system with glass doors and windows;
                                                  construction of a new Grand Staircase to Pier Park; interior renovations including new finishes;
                                                  and the addition of approximately 12,500 square feet of new restaurant and food court
                                                  tenants within the approximately 35,000-square foot South Arcade.


                                                  Family Pavilion Renovation




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                                                  This planned improvement includes interior renovations, including new floor and ceiling finishes;
                                                  new interior storefront systems for retail tenant spaces; new kiosk construction for retail and
                                                  food vendors; new stairs from the first floor to second floor, and construction of new
                                                  restrooms. In addition, with a new long-term lease executed with Navy Pier, Inc. the
                                                  Chicago Children’s Museum will be undertaking an expansion and renovation of the
                                                  museum.




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                                                  East End Dining + Entertainment
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                                                  NPI is planning to develop and construct approximately 54,000 square feet of dining and
                                                  entertainment space within existing structure on the south side of the Festival Hall and within the
                                                  Terminal Building structure on the east end of the Pier. Portions of this work may be undertaken
                                                  by NPI, a third party, or the Hotel Developer.

                                                  Hotel
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                                                  NPI is working with a developer to add an approximately 220 room hotel along the south edge of
                                                  Festival Hall. The hotel concept is expected to cater both to families as well as visitors coming
                                                  to the Pier for a to-be- developed nightlife experience.

                                                  In addition to the work described above, NPI is planning to improve other components of the Pier
                                                  as outlined in the Centennial Vision, including the renovation of the Crystal Garden, Pier Park,
                                                  East End Park as well as the completion o f Polk Bros. Park. NPI is also working closely with its
                                                  cultural partner, the Chicago Shakespeare Theater, on its expansion at the Pier.

                                                The following provides a general description of the scope of some of those redevelopment projects.

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                                                  Polk Bros Park Landscaping and Roadway

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                                                  The reconstruction of the southern half of Polk Bros. Park scheduled for completion in 2017,
                                                  includes an east-facing sloped lawn for viewing the lake along with live performances and other
                                                  entertainment and west-facing steps looking back to the City. Future work includes the north end of
                                                  Polk Bros Park which consist of a new space for visitors called Wildflower Hill and in the center of
                                                  the park, a welcome pavilion.




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                                                  Crystal Garden
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                                                  Future work in the Crystal Garden would include new landscaping to better accommodate cultural events
                                                  and activities along with landscaping that will better connect this interior park with the planned
                                                  improvements to the adjacent on-Pier park.


                                                  Pier Park




                                                                                                                                                                       4'




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                                                  Near term improvements to Pier Park include the addition of a new observation wheel. The new wheel is
                                                  larger than its predecessor and includes climate controlled cars for a comfortable year-round guest
                                                  experience. The long term renovations to the park would include the installation of an undulating
                                                  walking surface that will eliminate the need for stairs and ramps within the park.




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                                                  East End Park




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                                                  The East End Park reconstruction will include an elevated arc-shaped overlook and pedestrian
                                                  walkway above the dock providing uninterrupted views to the horizon. The addition o f
                                                  landscaping will create a more comfortable and welcoming s p a c e along the lower level terrace
                                                  and fountain.




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                                                  SECTION 2 : OBJECTIVES, SCOPE O F S ER VICES AND T IMELINE
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                                                  2.1 Objective

                                                  For Part I of this RFQ/P, NPI seeks to establish a shortlist of qualified transient boat slip
                                                  developers that will be invited to submit proposals as part of Part II of this RFQ/P process. The
                                                  RFP will outline the scope of services requested by NPI, including financing, developing and
                                                  operating boat slips at Navy Pier.




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                                                  2.2 Scope of Services
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                                                  NPI seeks the development of transient boat slips on the north side of Navy Pier.

                                                  The Developer will manage its own development process, including financing and construction,
                                                  but in coordination with NPI in order to minimize the interruption of commercial activities on the
                                                  Pier and to ensure that the development is integrated with existing Navy Pier facilities and the
                                                  planned dining and entertainment development.

                                                  The Developer will be expected t o conceive a co n ce p t for the boat slips t h a t is creative a n d
                                                  consistent with the goals set forth in the Centennial Vision. This project must be developed and
                                                  completed utilizing the highest standards and quality materials throughout.

                                                  In addition to planning and managing the normal and required construction activity on the Boat
                                                  Slip Project, the selected Developer will be expected to:

                                                             a. Manage the construction activity in a manner that minimizes any and all disruption t o
                                                             the daily operation of Navy Pier and the activities of the Pier’s workforce and visitors.

                                                             b. Manage and provide for the successful completion of LEED sustainability certification
                                                             programs.

                                                             c. Maintain an MBE/WBE program and Equal Employment Opportunity program that meets
                                                             or exceeds the established goals.

                                                             d. Manage the Boat Slip construction activities to ensure opening th e boat slips at the
                                                             earliest feasible date.

                                                             e. Provide all necessary utilities to operate the Boat Slip, including modifications to the
                                                             existing utility system that may be required to make the necessary connections.

                                                             f. The Transient Boat Slip facility must provide restroom facilities and accommodations for
                                                             their clients.

                                                             g. Operate a first class Transient Boat Slip Facility and maintained to the highest standards.

                                                             h. Operator must provide adequate staffing and security measures for the boat slips.

                                                An economic proposal will be submitted by the prospective developers in Part II of the RFQ/P
                                                process.


                                                  2.3 Construction Timeline

                                                  Navy Pier will remain open to the public throughout its reconstruction. NPI intends for the
                                                  construction activity for all projects, including the boat slips, to be completed with minimal
                                                  disruption to its existing activities and the businesses that operate on Navy Pier.




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                                                  SECTION 3 : R FQ /P PROCESS AND SUBMISSION REQ UIRE M ENTS

                                                  3.1 RFQ/P Process

                                                  The Request for Qualifications and Proposal submission and review process will consist of two
                                                  parts.

                                                  Part I is an open invitation to all Proposers to provide a written response outlining their
                                                  qualifications, knowledge, and experience in developing and operating transient boat slips. Part I
                                                  Submittals are due no later than twelve o’clock noon (12:00 PM) central time on Friday, July 8,
                                                  2016. Based on the responses submitted in Part I, NPI will select a short list of Proposers for
                                                  further consideration in Part II of the RFQ/P process.

                                                  In Part II, NPI will request additional information, including a proposed boat slip concept,
                                                  proposed operator, project budget, conceptual design, project schedule, financing plan and
                                                  economic proposal, and other relevant information. This information is not to be submitted as
                                                  part of the Proposer’s Part I submittal.

                                                  Proposers are advised to carefully read the requirements for providing submittals in response to
                                                  this RFQ/P as described herein. Additional information regarding this RFQ/P may b e m a d e
                                                  available from time to time on the website www.navypier.com/doingbusiness. The link to any
                                                  documents will be available on this website. NPI requests that all Proposers that intend to respond
                                                  to this RFQ/P register Proposer’s company name, contact person, title, phone number, and email with
                                                  Valerie L. Hawthorne-Berry, Director of Procurement, at vhawthorne-berry@navypier.com in order to
                                                  be included in future communications, including any addenda.

                                                  If the RFQ/P is amended, NPI will issue a revision by written addendum on the website noted
                                                  above and notify all prospective Proposers who have provided valid contact information as stated
                                                  above. Proposers are solely responsible for obtaining all such addenda and acknowledging
                                                  receipt of any addenda that have been issued.

                                                  Proposers a r e to contact Valerie L. Hawthorne-Berry by email with questions concerning this
                                                  RFQ/P and should not rely on representations, statements, o r explanations other than those made
                                                  in this RFQ/P or in any written addendum to this RFQ/P. No contact regarding this process,
                                                  formal or informal, shall be made with staff or board of NPI or any major stakeholder entity,
                                                  such as MPEA, the City of Chicago or any entity with operations on Navy Pier. Any such
                                                  communication will be grounds for elimination from the process.

                                                  Written questions will be accepted via e-mail, until five (5:00) PM central time, Wednesday, June
                                                  15, 2016. Questions should be submitted in writing to vhawthorne-berry@navypier.com A
                                                  summary of questions with any related responses will be issued as an addendum on the website
                                                  and all Proposers who have provided Navy Pier with valid contact information will be notified via
                                                  email.




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                                                  RFQ/P submittals for Part I are due no later than 12:00 PM noon central time on Friday, July 8,
                                                  2016 at Navy Pier, 600 East Grand Avenue, Chicago, IL 60611, ATTN: Navy Pier Transient Boat
                                                  Slips RFQ/P Director of Procurement in the Pier’s Administrative Offices on the mezzanine level
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                                                  of the Headhouse. Proposers must submit one (1) original unbound hard copy and six (6)
                                                  bound hard copies of the RFQ/P submittal that include all information in the format outlined
                                                  in this RFQ/P. In addition, an electronic copy or link to such copy of the submittal saved in PDF
                                                  format should also be sent to Valerie L. Hawthorne-Berry via email or emailed link. The subject line
                                                  should read “Transient Boat Slip Developer and Operator RFQ.” ELECTRONIC RESPONSE”

                                                  All proposals must be submitted with a table of contents identifying page numbers in a plastic
                                                  binder with section dividers for each item under Proposal Submission. Hard copy submittals and
                                                  supporting documentation must be submitted in a sealed package/envelope labeled “Request for
                                                  Qualifications and Proposals for Transient Boat Slip Developer – PART I.” Facsimile copies will not
                                                  be accepted.

                                                  A timeline showing the important dates for the RFQ/P process is attached hereto as Exhibit 2.

                                                  Proposers are solely responsible for submitting a timely and complete response to this RFQ/P on
                                                  or before the stated time and date. NPI will in no way be responsible for delays caused by the
                                                  U.S. Post Office or any other entity or by any occurrence. Proposals received after twelve o’clock
                                                  noon (12:00) PM central time, on Friday, July 8, 2016, may be deemed non-responsive and
                                                  ineligible for consideration, at NPI’s discretion.

                                                  By submitting a response, Proposer agrees to accept and abide by the terms of this RFQ/P. NPI
                                                  reserves the right to reject any or all submittals, to waive any informality or irregularity, and to
                                                  accept any responsive submittals, which it may deem to be in the best interest of NPI. Only
                                                  submittals from responsible Proposers complying with the provisions of this RFQ/P will be
                                                  considered.

                                                  Submittals will be considered incomplete if they do not bear the signature of an agent of the
                                                  Proposer who is authorized to contractually bind the Proposer. The submittals can be withdrawn
                                                  at any time, if requested in writing, until the deadline date at which time it will be considered
                                                  final.

                                                  NPI shall not be responsible for expenses incurred in obtaining the RFQ/P or preparing any
                                                  submittal related to this process. Such costs shall not be included in the Proposal.

                                                  Proposals will be evaluated by NPI. NPI reserves the right, in its sole and absolute discretion, to
                                                  determine which Proposers, if any, are qualified to perform the services set requested by way of
                                                  this RFQ/P and to reject any or all Proposals.


                                                  3.2 RFQ/P SUBMISSION REQUIREMENTS

                                                  This document provides the necessary information for Proposers to prepare their Part I submittal.
                                                  Proposers should carefully read the submission requirements to ensure that submittals fully and




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                                                  accurately meet the requirements of Part I. Emphasis should be on conforming to the
                                                  instructions, responding to the requirements, and ensuring the completeness and clarity of
                                                  content as succinctly as possible. The following outlines the information to be included in the
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                                                  submittal for Part I.

                                                  1. Transmittal Letter

                                                  Shall serve as a Certificate of Authority and must be signed by an officer, member or partner of
                                                  the Developer with authority to contractually bind the Developer. The letter shall identify the
                                                  Developer and provide the name, title, address, telephone number and email address of the
                                                  contact person(s) for the Developer.

                                                  2. Executive Summary

                                                  Provide highlights of the submittal materials and reasons your firm or team should be selected.

                                                  3. Developer Overview

                                                       a)     Provide an overview of the Developer’s qualifications and experience. If the Developer
                                                             consists of more than one firm or business entity, provide information on each.

                                                       b) Provide a concise overview of the Developer’s organizational structure, composition legal
                                                          form, role of key personnel in each area of expertise proposed for the project. If a joint
                                                          venture, provide all requested information for the joint venture as well as each member
                                                          entity or individual.

                                                       c) Provide a list of current Developer projects completed or underway.

                                                       d)     The Proposer should provide resumes of the key individuals that comprise the
                                                             development entity and outline their role. Resumes should outline the professional
                                                             experience, education, professional recognition a n d description of role on key relevant
                                                             projects.

                                                  4. Qualifications

                                                  The Proposer should provide evidence of its experience and past performance on:

                                                       a) Projects of similar scope and complexity (urban in nature) and prominence, where
                                                          Proposer was the developer.

                                                       b) Experience with transient boat slip concepts that serve a comparable demographic profile to
                                                          that which would be expected at Navy Pier.




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                                                       c) Proposer’s performance record with similar projects with emphasis on timely completion.
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                                                       d) Proposer’s experience and performance financing projects of a similar nature in a timely
                                                          fashion.

                                                       e) Proposer’s experience and performance operating projects of a similar nature in a mixed
                                                          use urban environment.

                                                       f) Experience with LEED certified projects.

                                                  The Proposer shall include examples of projects that the Proposer believes best meet the criteria
                                                  above. The information must include:

                                                       a) Project name and location.

                                                       b) Name, address, telephone number and email address for the project owner, owner’s
                                                          project manager and/or owner’s contact person on the project.

                                                       c) Description of the project, including type of facility, project budget and schedule.

                                                       d) Role and listing of services provided by the Developer.

                                                       e) Name, title and role of key personnel used to perform services.

                                                       f)    Description of the business arrangement under which the boat slips were
                                                             developed.

                                                       g) Project start and completion dates and adherence to project schedule.

                                                       h) Listing of claims from the last five years, which impacted Developer and the
                                                          status/resolution of those claims.

                                                  5. Financial Qualifications

                                                  The following financial documents must be included.

                                                       a) Financial Statements for the last three years, such as balance sheets and profit and loss
                                                          statements.

                                                       b) Evidence of current financial capabilities of the Proposer including, without limitation,
                                                          references from banking institutions and accounting firms.

                                                       c) Evidence of Proposer’s experience and ability to finance the project with an identification
                                                          of the range or anticipated capital necessary to develop the project.




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                                                       d) Statement describing any litigation, arbitration or similar proceeding currently pending, or
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                                                          pending at any time during the past five years against the Proposer w i t h claims
                                                          exceeding $50,000.

                                                  6. Transient Boat Slip Concept

                                                  Provide a brief description of the transient boat slip concept suggested for this area along with
                                                  expectations about the market segments targeted for such a development and an overview of the
                                                  amenities and services that would be planned for such a project.


                                                  .




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                                                  SECTION 4: EVA LU A TION CRITERIA
                                                  In evaluating the Proposals, NPI will consider the quality and strength of the following:
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                                                  1. Experience and Qualifications: Experience, qualifications and performance on past projects of
                                                     similar quality, complexity and size.

                                                  2. Financial Stability and Capability: Demonstrated financial stability and capability of the
                                                     developer.

                                                  3. Ability to Meet NPI’s objectives as stated in this document.




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                                                  SECTION 5: CONDITI ONS AND DISCLOSURE S
                                                  The following conditions apply to the foregoing Request for Qualifications and Proposal
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                                                  (“RFQ/P”) issued by Navy Pier, Inc. (“NPI”):

                                                  1. Participation in this RFQ/P is open to all interested firms. Where qualifications are submitted by a
                                                  joint venture, consortium or teams, the team must designate one firm or individual to serve as
                                                  the team lead and primary point of contact for the project. The team will need to include firms
                                                  that are licensed to do business in the City of Chicago.

                                                  2. All requests for interpretation must be made in writing and submitted electronically as set forth
                                                  in this document. NPI’s representatives will respond to written questions. The deadline for
                                                  questions and answers is set forth within Exhibit 2 in this document.

                                                  Contact with NPI staff or board is not allowed during the RFQ/P submittal process period,
                                                  beginning with the issue date of this document and concluding with the selection of a Developer,
                                                  except as may be initiated and authorized by NPI as part of the RFQ/P selection process. No
                                                  contact with relevant stakeholder entities, such as MPEA or the City of Chicago, is allowed
                                                  regarding t h i s process during the R F Q /P process period. All communications regarding this
                                                  process should be made through the email and website provided in this document.

                                                  3. By submitting its qualifications, the Proposer agrees to accept and abide by the terms and
                                                  conditions of this document.

                                                  4. This document does not represent a commitment or offer by NPI to enter into an agreement
                                                  with the Proposer or to pay any costs incurred in the preparation of a response to this RFQ/P.

                                                  5. Final award of any contract is contingent upon the execution of an agreement between Navy
                                                  Pier, Inc. and the selected Proposer.

                                                  6. NPI reserves the right to request additional information or clarification of information provided
                                                  by the Proposers when it believes such information is necessary to properly evaluate a submittal.

                                                  7. Proposers acknowledge that submittals will not be returned to the sender. NPI reserves the
                                                  right to retain any ideas in a submittal regardless of whether a Proposer is selected.

                                                  8. NPI maintains a minority and female owned business enterprise procurement program for work
                                                  it undertakes. With respect to this RFQ/P, NPI’s goals for MBE and WBE participation in the
                                                  performance of the services contemplated herein are 25% and 5%, respectively. Proposers
                                                  should include a specific statement acknowledging these goals in its cover letter provided in Part
                                                  I. Specific details of the Proposer’s plan to incorporate MBE/WBE firms need only be provided by
                                                  qualified Proposers in Part II of the selection process.




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                                                  9. NPI will require an Equal Employment Opportunity program for this project. With respect to
                                                  this program, NPI will provide more detailed information with Part II of this RFQ/P process.
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                                                  10. The selected Proposer is responsible for all existing and future applicable federal, state, and
                                                  local taxes, whether direct or indirect, incurred in connection with this contract. NPI is exempt by
                                                  law from Retailers’ Occupation Tax, the Service Occupation Tax (both state and local), the Use
                                                  Tax, and the Service Use Tax in Illinois on materials or services purchased in connection with this
                                                  project.

                                                  11. The Proposers shall not offer any gratuities, favors or anything of monetary value to any
                                                  official or employee of NPI for the purposes of influencing the outcome of the RFQ/P response
                                                  selection process.

                                                  12. The Proposers shall not collude in any manner or engage in any practices with any other
                                                  Proposer that may restrict or eliminate competition or otherwise restrain trade. Violation of this
                                                  instruction will cause the Proposer’s submittal to be rejected by NPI. This prohibition is not
                                                  intended to preclude joint ventures or subcontracts.

                                                  13. Proposals that do not comply with the submittal requirements of the RFQ/P, or that contain
                                                  omissions, erasures, alterations or additions not called for, or that are irregular in any way, may
                                                  be rejected as nonresponsive and insufficient. Notwithstanding the foregoing, NPI reserves the
                                                  right, in its sole and absolute discretion, to waive any or all failures, irregularities or informalities
                                                  in a Proposal, or failures to comply with this RFQ/P, when such a waiver is considered to be a
                                                  waiver in NPI’s best interest. In addition to any other basis for rejection, any Proposer found to
                                                  have falsified any information to NPI in relation to this or any other RFQ/P, or which has been
                                                  barred from doing business with NPI, the City of Chicago or State of Illinois, or which has been
                                                  convicted of a felony related to procurement contracting with any unit of government, may be
                                                  rejected.

                                                  14. NPI shall have the right to reject any or all Proposals for any reason whatsoever, in its sole
                                                  and absolute discretion. In addition, NPI reserves the right to: (a) reject or cancel any or all
                                                  Proposals; (b) reject any portion(s) of a Proposal; (c) reissue the RFP with or without
                                                  modification; (d) negotiate all Proposal elements; and (e) reject all proposals and to undertake the
                                                  work contemplated herein in a different manner.

                                                  15. NPI owns all Proposals. Proposals will not be returned to Proposers. All costs and expenses
                                                  incurred by each Proposer in preparing, developing and/or submitting its Proposal(s), including
                                                  preparing any designs, drawings or specifications in response to this RFQ/P, shall be borne by
                                                  the Proposer alone, regardless of whether or not such Proposer is awarded the work. In
                                                  confirmation and furtherance thereof, NPI shall not be responsible for, nor pay or reimburse any
                                                  such cost to Proposer(s) for any such costs or expenses.

                                                  16. NPI shall retain full title to and ownership of all Proposals. Unsuccessful Proposers shall
                                                  retain the copyright and other intellectual property rights, if any, to the unique design elements of
                                                  their Proposals; provided, however, NPI may use and reproduce any design or other elements of
                                                  a Proposal that are not subject to a copyright or other intellectual property right of the Proposer,
                                                  and do so in connection with the design, construction and operation of the Project.




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                                                  EXHIBIT 1. DEAL PARAMETERS
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                                                  NPI anticipates that Developer will be solely responsible for debt and equity to finance and
                                                  complete the Transient Boat Slip Project.

                                                  NPI anticipates entering into a participating lease or license agreement with fixed annual payments
                                                  and a variable lease or license payment tied to gross revenue from the operation of the transient boat
                                                  slips.

                                                  Developer shall finance the Transient Boat Slip Project and begin construction by a specified date
                                                  and complete the project at the earliest feasible date.

                                                  NPI anticipates that the agreement will include obligations for the length of the operating
                                                  season and the level of services provided as part of the operation. Commercial boat
                                                  operations will be prohibited.

                                                  Navy Pier is subject to a project labor agreement with certain trade unions. In performing any
                                                  construction work at navy Pier, including developing boat slips, the Developer and all of its
                                                  contractors (including subcontractors of any tier), will be required to comply with the project
                                                  labor agreement.




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                                                  Exhibit 2. RFQ/P Process Timeline
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                                                  The dates listed below are targeted dates and subject to change.


                                                  Submittal of Qualifica tions


                                                  May 25, 2016                               Request for Qualifications Issued


                                                  June 15, 2016                              Last Day for Written Questions


                                                  June 22, 2016                              Response to Written Questions


                                                  July 8, 2016                               Part I Proposals Due




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                                                  EXHIBIT 3. NAVY PIER BACKGROUND & PERFO RM ANCE DATA
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                                                 Ba ckgrou nd and History

                                                  Designed in 1909, Navy Pier was the only one of five proposed public piers planned by architect
                                                  and city planner Daniel Burnham, which opened in 1916 under the original name Municipal Pier
                                                  No. 2. Burnham desired that the lakefront remain accessible to the general public and believed
                                                  strongly that the lakefront was the property of the people. While the Pier has had many roles
                                                  during its history, it has actualized Burnham’s visions perhaps most vividly since its renovation in
                                                  1995 to a tourist, recreational, amusement and cultural hub for the city. It is Chicago’s most
                                                  popular tourist attraction and yet remains a vital site for regional culture as well.

                                                  The Pier originally served two major functions, both an indoor and outdoor civic leisure
                                                  destination and as a dock for freight and passenger transport. Intended as an area to embrace
                                                  nature, visitors would seek out the scenic location and take in the atmosphere during various
                                                  events. For a period during World War I, the Pier’s purpose was expanded to accommodate
                                                  several Navy and certain Army personnel, along with the Red Cross. During World War II the Pier
                                                  closed to the public to function as a Naval training facility. Over the course of World War II
                                                  thousands of servicemen were trained within the Pier’s refashioned facilities.

                                                  The following p ic tur e depicts Navy Pier as Municipal Pier No. 2 in its early years.

                                                                                                                  Fig u re 1
                                                                  3611.                                                                PROMENADE DECK. MUNICIPAL PIER. CHICAGO.




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                                                  At the conclusion of the war and up until 1965, Navy Pier again was altered to house the
                                                  University of Illinois at Chicago, until UIC relocated to the Chicago Circle campus in 1965 and the
                                                  Pier fell into neglect. In an attempt to revitalize the Pier in 1976, the East End buildings were
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                                                  renovated and used as exhibition halls for summer events and festivals but over time fell back
                                                  into disrepair. In 1989, the City of Chicago evaluated the Pier for potential use by the public as it
                                                  once functioned. This led to the formation of the Metropolitan Pier and Exposition Authority
                                                  (MPEA), which also owns McCormick Place, the purpose of which was to take control of Pier
                                                  revitalization and ongoing operations. The remodeled Pier was unveiled to the public in 1995 and
                                                  developed into the icon that it is today, combining dining, family entertainment, and diverse retail
                                                  shops into a unique experience.

                                                  The following table shows the historical attendance of Navy Pier in its current form.

                                                                                                           Ta ble 1
                                                                                             Navy Pier Attendance History
                                                                                                  Year           Annual Total
                                                                                                  1995            3,000,000
                                                                                                  1996            4,500,000
                                                                                                  1997            6,100,000
                                                                                                  1998            8,248,000
                                                                                                  1999            7,915,000
                                                                                                  2000            9,060,000
                                                                                                  2001            8,150,000
                                                                                                  2002            8,395,000
                                                                                                  2003            8,935,000
                                                                                                  2004            8,750,000
                                                                                                  2005            8,620,000
                                                                                                  2006            8,775,000
                                                                                                  2007            8,420,000
                                                                                                  2008            8,305,000
                                                                                                  2009            8,050,000
                                                                                                  2010            8,690,000
                                                                                                  2011            8,600,000
                                                                                                  2012            9,175,000
                                                                                                  2013            8,900,000
                                                                                                  2014            8,500,000
                                                                                                  2015            8,585,000

                                                                                             Source: NPI




                                                The peak attendance was 9.175 million in 2012 and has remained above eight million since 1999.
                                                Navy Pier’s staying power suggests that expansions and improvements to the mixed-use destination
                                                will have similar staying power for an increased user base.

                                                Navy Pier’s commercial tenants generate approximately $110 million in annual sales from
                                                approximately 8.6 million visitors. This includes retail, restaurants, attractions and tour and dinner
                                                cruise boats.




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                                                 NPI has rental agreements with commercial boat operators running distinct operations that
                                                 include sightseeing tour boats, dinner cruises, private charters and water taxis. In 2015, the tour
                                                 boats at Navy Pier attracted 1.3 million passengers and generated more than $44.7 million in
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                                                 gross sales.

                                                Navy Pier has attractions, restaurants, food stalls and retailers integrated throughout the Pier. The
                                                majority of commercial tenants are located in the Family Pavilion, South Arcade and along South
                                                Dock. Tenants are comprised of both local establishments and national brands. Navy Pier
                                                operates its restaurant and food kiosk spaces with a negligible vacancy rate.

                                                 In 2013, Navy Pier’s sit down restaurants and food court generated $38 million in gross sales.
                                                 The sit-down restaurants generated the most sales with $28.5 million or nearly $850 per square
                                                 foot. The food court generated approximately $1, 250 per square foot. The renovation of the
                                                 Family Pavilion and the expansion of the South Arcade provide an opportunity to remerchandise
                                                 portions of the Pier.

                                                 The restaurant and dining programming throughout Navy Pier is planned to undergo some of the
                                                 most significant changes during the renovations and expansion. Planned changes to the eastern
                                                 half of the Pier include 54,000 square feet of new dining and entertainment paces primarily along
                                                 Festival Hall. These spaces will be a complimentary and synergistic development with the proposed
                                                 hotel development. The convenience of restaurants and entertainment on the Pier will not only
                                                 help to serve hotel visitors but encourage longer visitation on the Pier into the evenings as well
                                                 as off season.

                                                 Festival Hall is the main exhibition space on Navy Pier that can be used for public shows, trade
                                                 shows and large events. Festival Hall offers 170,000 square feet of flexible and functional space.
                                                 In addition, there are 36 meeting rooms totaling 44,000 square feet that can be used for a variety
                                                 of uses. Festival Hall is a destination for special events such as SOFA, Winter WonderFest, and
                                                 the Chicago Flower and Garden Show that all continue to draw year-round visitors. One of the
                                                 largest special events held every December is Winter WonderFest, providing an influx of visitors
                                                 and revenue during the winter off-season, attracting more than 635,000 visitors. Adjacent to
                                                 Festival Hall there is The AON Grand Ballroom which will continue to serve as one Chicago’s
                                                 premier banquet facilities.




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                                                 EXHIBIT 4.         SIT E PLAN /VISUAL ELEMENT S
                                                 The Boat Slip area is conceptual in nature and is intended to demonstrate how the boat slips fit
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                                                 within the existing structures at Navy Pier. The area designated below will be the only available
                                                 area for use in the project. While the project does not require the full use of the designated
                                                 area, the project itself is limited to this area




                                                                            Security Zone
                                                                            0




                                               Available Boat Slip Area                          Available Boat Slip Area




                                                                                                                                          0




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                                                 EXHIBIT 5.Insurance Requirements
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                                                1.     The Developer must procure and maintain, at its own expense, for as long as the
                                                       contract is in effect, the insurance coverages set forth below, in amounts specified by
                                                       Navy Pier’s Director of Risk Management and must provide NPI with certificates
                                                       evidencing such coverage prior to performing any of the licensed services:



                                                       a.      Commercial General Liability



                                                       Coverage                                                                                   Limit



                                                       General Aggregate                                                                  $2,000,000

                                                       Products Liability/Completed

                                                       Oper. Aggregate                                                                    $1,000,000

                                                       Each Occurrence                                                                    $1,000,000

                                                       Personal & Advertising Injury                                                      $1,000,000



                                                       Commercial General Liability Insurance written on an ISO CG 00 01 occurrence form or
                                                       the equivalent. Coverage for completed operations/product liability for at least twenty-
                                                       four (24) months after completion of Contractor’s Work shall be maintained.
                                                       Commercial General Liability aggregate limits must be on a per project basis. The
                                                       Commercial General Liability policy shall specifically include ISO forms CG 20 10 and
                                                       CG 20 37 ED 07 04 or the equivalent as approved by Owner.



                                                       Endorsement specifically covering the liability assumed by the Developer under this
                                                       Contract or evidence of blanket contractual liability that specifically addresses the
                                                       exposures of this Contract, Products & Completed Operations Liability including claims
                                                       brought by divers and their tenders, sudden & accidental seepage & pollution
                                                       coverage, watercraft exclusion deleted or modified to address the exposures of this
                                                       Contract, and “in rem” endorsement with minimum limits of $1,000,000 per occurrence.




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                                                       b.        Workers' Compensation and Employer's Liability

                                                       Coverage                                                                                 Limit
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                                                       Workers' Compensation                                                                 Statutory

                                                       Employer's Liability

                                                                         Each Accident                                                  $1,000,000

                                                                         Per Employee - Disease                                         $1,000,000

                                                                         Annual Aggregate - Disease                                     $1,000,000



                                                       Workers’ Compensation policy should include In REM endorsement, U.S. Longshore
                                                       and Harbor (USL&H) endorsement, and a Maritime Employer’s Liability (MEL)
                                                       endorsement (i.e., Jones Act, Death on the High Seas Act and transportation, wages,
                                                       maintenance and cure). Workers’ Compensation/ Employer’s Liability policies shall be
                                                       endorsed to waive the insurer’s right of subrogation against NPI and MPEA.



                                                       c.        Automobile Liability

                                                       Coverage                                                                                 Limit

                                                       Bodily Injury and Property Damage

                                                            Combined - Combined Single Limits                                           $1,000,000

                                                       Uninsured/Underinsured Motorist -

                                                            Occurrence                                                                  $1,000,000



                                                       Commercial Automobile Liability Insurance for bodily injury and property damage
                                                       arising from the ownership, operation, maintenance or use of owned, non-owned, or
                                                       hired vehicles, including coverage for contractual liability.



                                                       d.        Umbrella Coverage

                                                       Coverage                                                                      Limit

                                                       Per Occurrence                                                         $10,000,000

                                                       General Aggregate                                                      $10,000,000



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                                                       Coverage must be in excess of Commercial General Liability, Auto Liability and

                                                       Employers Liability. It must be no more restrictive than the primary coverage.
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                                                       e.      Professional Liability Coverage



                                                       Coverage                                                                               Limit



                                                       Per Wrongful Act                                                                   $1,000,000

                                                       Annual Policy Aggregate                                                            $1,000,000



                                                       Definition of Professional Services must encompass all professional services
                                                       associated with this agreement and the policy definition of professional service should
                                                       require Navy Pier Inc. written approval and authorization.



                                                       f.      Hull & Machinery, Protection & Indemnity (P&I) and Pollution



                                                       Coverage                                                                                   Limit

                                                       Hull and Machinery

                                                       Occurrence                                                                       Vessel Value

                                                       P&I

                                                       Occurrence                                                                         $1,000,000

                                                       Pollution                                                                          $5,000,000



                                                       Hull & Machinery per American Institute Hull Clauses (amended for the vessel
                                                       operations at the shipyard) or equivalent to the fair market value of the vessel. Any
                                                       references to “other than Company” or other Company limitations will be deleted by
                                                       endorsement to the policy as respects the naming of Navy Pier as an additional
                                                       assured. Coverage to include wreck removal; P&I per P&I form SP 23 or equivalent
                                                       (amended for the vessel operations at the shipyard) with a minimum limit of $1,000,000
                                                       per occurrence. Any references to “other than Company” or other Company limitations
                                                       will be deleted by endorsement to the policy as respects the naming of Navy Pier as an

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                                                       additional assured; Pollution per Water Quality Insurance Syndicate (WQIS) or
                                                       equivalent with a minimum limit of $5,000,000.
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                                                       g.      Builder’s Risk

                                                       Coverage                                                                       Limit

                                                       “All Risk”                                                     Full Insurable Value

                                                2.     All insurance companies must be rated A-VIII or better by the A. M. Best Company.



                                                3.     Developer’s assumption of liability is independent from, and not limited in any manner
                                                       by, the Developer’s insurance coverage obtained pursuant to this contract, or
                                                       otherwise. All amounts owed by Developer to NPI and MPEA as a result of the liability
                                                       provisions of the Developer shall be paid on demand.



                                                4.     None of the requirements contained herein as to types and limits or NPI and MPEA
                                                       approval of insurance, coverage to be maintained by the Developer are intended to and
                                                       shall not in any manner limit, qualify or quantify the liabilities and obligations assumed
                                                       by Developer under the Agreement, for the term of this Agreement and any other
                                                       agreement with NPI and MPEA or otherwise provided by law.



                                                5.     Developer expressly understands and agrees that any insurance or self-insurance
                                                       programs maintained by NPI and MPEA shall apply in excess of and not contribute with
                                                       insurance provided by them under the Agreement.



                                                6.     All policies should be written on an occurrence basis with the exception of professional
                                                       liability coverage.



                                                7.     All policies must amend the other insurance clause to be Primary and Non Contributory
                                                       for any liability arising directly or indirectly from the Services.



                                                8.     NPI and MPEA, their facilities, agents, officers, board members and employees must
                                                       be named as additional insureds on the general liability, auto liability and umbrella
                                                       liability policies.



                                                9.     Developer agrees to require its subcontractors to comply with the insurance provisions
                                                       required of Developer pursuant to this Agreement unless Developer, NPI and MPEA
                                                       mutually agree to modify these requirements for subcontractors whose work is of
                                                       relatively small scope. Developer agrees that it will contractually obligate its
                                                       subcontractors to promptly advise Developer of any changes or lapses of the requisite
                                                       insurance coverage and Developer agrees to promptly advise NPI and MPEA of any
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                                                       such notices Developer receives from its subcontractors. Developer agrees that it will
                                                       contractually obligate its subcontractors to indemnify and hold harmless NPI and MPEA
                                                       to the same extent that Developer is required to do so as provided in this Agreement.
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                                                       Developer assumes all responsibility for monitoring subcontractor’s contracts and
                                                       insurance certificates for compliance with the insurance and other provisions of this
                                                       Agreement until final completion of services.



                                                10.    Each of the insurance policies required of Contractor shall be endorsed to waive and
                                                       shall require all Subcontractors of every tier to waive all subrogation rights on behalf of
                                                       itself and its insurers against NPI and MPEA.



                                                11.    If policies are canceled for any reason, thirty (30) day notice is required to be given to
                                                       the Risk Management Department.



                                                12.    Failure to obtain and maintain required insurance shall constitute a breach of the
                                                       Agreement and the Developer will be liable for any and all costs, liabilities, damages
                                                       and penalties resulting to NPI and MPEA from such breach, unless a written waiver of
                                                       the specific insurance requirement is provided to the Developer by NPI and MPEA.




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                      Location: District 1 Court
                              Cook County, IL                                                                      FILED
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                                                                                                                   IRIS Y. MARTINEZ
                                                                                                                   CIRCUIT CLERK
                                                                                                                   COOK COUNTY, IL
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                                                        REQUEST FOR QUALIFICATION AND PROPOSAL

                                                                               PART II

                                                      TRANSIENT BOAT SLIP DEVELOPER & OPERATOR

                                                                            NAVY PIER




                                                                              Navy Pier, Inc.
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                                           SECTION 1: INVITATION AND OVERVIEW
                                           1.1 Invitation
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                                           Navy Pier, Inc. (NPI) is issuing Part II of its Request for Qualifications and Proposal for a Transient Boat Slip
                                           Developer and Operator as detailed more specifically in this RFQ/P. NPI is inviting the short-listed firms or teams
                                           (Developers) from Part I to participate in the proposal submission.

                                           NPI’s selection of a Developer for the project will proceed as described in this RFQ/P Part II.


                                           1.2 Overview

                                           Navy Pier, Inc. is a 501(c)(3) not-for-profit corporation responsible for the operation and redevelopment of Navy Pier.
                                           Under a long-term lease with the Metropolitan Pier and Exposition Authority (the “MPEA”), NPI is undertaking the
                                           renovation of Navy Pier and is now proceeding with the selection of a Transient Boat Slip Developer & Operator who
                                           would be responsible for developing, operating, and maintaining boat slips described later in this RFQ/P.

                                           Navy Pier has been an icon and popular destination throughout much of Chicago’s history. It offers a diverse and
                                           eclectic Chicago experience and is positioned in one of the most unique settings in the world. The Pier brings
                                           together city, lakefront, and water in an extraordinary context seen nowhere else.

                                           Navy Pier is in the process of implementing its Centennial Vision. The Centennial Vision is a framework for
                                           reimagining Navy Pier as it enters its centennial year in 2016. Navy Pier is Illinois’ most popular and distinctive
                                           attraction with annual attendance of 8.6 million. The Centennial Vision will build on this foundation of success to
                                           create a truly great public place, world-class attraction, and memorable experience for visitors.

                                           Consistent with the principles outlined in the Centennial Vision, the development of transient boat slips on the north
                                           side of Navy Pier offers a unique opportunity to connect Navy Pier to the lake and the Great Lakes boating
                                           community. The transient boat slips will provide an alternative means of access to Navy Pier and serve as a catalyst
                                           to generate activity on the north side of Navy Pier and significantly enhance the guest experience there. The dining,
                                           entertainment and other attractions at Navy Pier, both existing and planned, will serve as a significant anchor to drive
                                           boating traffic to the Pier.

                                           Navy Pier is celebrating its Centennial and has been in its current form for nearly 20 years. As with any destination
                                           or attraction, improvements and revisions are required to maintain the current base of business, but also attract new
                                           untapped markets. In June of 2011, NPI issued its Centennial Vision, a framework plan that outlines NPI’s long-term
                                           vision that would guide the redevelopment of the Pier.

                                           NPI has selected the urban design and landscape architecture firm of James Corner Field Operations (“JCFO”) to
                                           lead the redesign of Navy Pier’s Pierscape, its outdoor public spaces. Led by its founder James Corner, JCFO is an
                                           award-winning landscape architecture and urban design firm that has gained international recognition for projects,
                                           including New York City’s Highline, a project where JCFO turned a 1.45-mile stretch of an abandoned railway
                                           viaduct into a thriving public park – economically boosting a once all-but-disregarded area of New York City.



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                                           NPI worked with Gensler to develop The Centennial Vision and the Pierscape design competition that resulted in the
                                           selection of JCFO and their team to design and implement Pierscape. Gensler continues to serve in the role of
                                           Executive Architect assisting NPI in the coordination of the various components of the Centennial Vision.
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                                           NPI has created a plan with Gensler and James Corner Field Operations that improves the existing product
                                           and adds new revenue producing features that expand not only the demographics served, but extends the
                                           commerce on Navy Pier later into the night (and overnight with a new hotel) and beyond the warm months to more of
                                           a year-round destination. Annual attendance at Navy Pier is approximately 8.6 million people and it remains the top
                                           attraction in Illinois.




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                                           SECTION 2: OBJECTIVE AND SCOPE OF SERVICES
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                                           2.1 Objective

                                           The objective of this RFQ/P is outlined in the scope of services requested by NPI and includes financing, developing
                                           and operating transient boat slips at Navy Pier.


                                           2.2 Scope of Services

                                           NPI seeks the development of transient boat slips on the north side of Navy Pier.

                                           The Developer will manage its own development process, including financing and construction, but in coordination
                                           with NPI in order to minimize the interruption of commercial activities on the Pier and to ensure that the development
                                           is integrated with existing Navy Pier facilities and the planned dining and entertainment development.

                                           The Developer will be expected to conceive a concept for the boat slips that is creative and consistent with the goals
                                           set forth in the Centennial Vision. This project must be developed and completed utilizing the highest standards and
                                           quality materials throughout.

                                           In addition to planning and managing the normal and required construction activity on the Transient Boat Slip Project,
                                           the selected Developer will be expected to:

                                           a. Manage the construction activity in a manner that minimizes any and all disruption to the daily operation of Navy
                                              Pier and the activities of the Pier’s workforce and visitors.

                                           b. Manage and provide for the successful completion of LEED sustainability certification programs.

                                           c. Maintain an MBE/WBE program and Equal Employment Opportunity program that meets or exceeds the
                                              established goals.

                                           d. Manage the Boat Slip construction activities to ensure opening the boat slips at the earliest feasible date.

                                           e. Provide all necessary utilities to operate the Boat Slip, including modifications to the existing utility system that
                                              may be required to make the necessary connections.

                                           f.    The Transient Boat Slip facility must provide restroom facilities and accommodations for their clients.

                                           g. Operate a first class Transient Boat Slip Facility and maintained to the highest standards.

                                           h. Operator must provide adequate staffing and security measures for the boat slips.




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                                           SECTION 3: PROPOSED TRANSIENT BOAT SLIPS
                                           NPI anticipates entering into a License Agreement with a Developer based upon the business terms outlined in a
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                                           Term Sheet that is proposed and negotiated as part of this RFP process. Under the License Agreement, the
                                           Developer would commit to the financing, development and operation of transient boat docking facilities in a manner
                                           that meets the goals of NPI and within a time frame acceptable to NPI.

                                           The Project shall be designed in a first class manner and shall be consistent from a design standpoint with the
                                           recently completed improvements. The facilities shall include a publicly accessible floating walkway immediately
                                           adjacent to the North Dock of Navy Pier and running the length of the North Dock. The Project may limit public
                                           access to docks perpendicular to the length of Navy Pier and connected to the floating public walkway. The Project
                                           shall include any necessary physical improvements to Navy Pier to provide a connection between the existing Pier
                                           and the newly installed boat docking facilities. The publicly accessible walkway shall be accessed at multiple
                                           locations along the length of Navy Pier and such locations should provide connections to locations where access
                                           from the south side of the Pier currently exists.

                                           All necessary amenities and functions such as restrooms shall be provided within the boat docking facilities and not
                                           on Navy Pier itself. The Developer shall be responsible for all costs to provide needed utility services to the boat
                                           docking facilities, including any necessary infrastructure changes on Navy Pier itself.

                                           NPI has been working with the Chicago Navy Memorial Foundation, Inc. to locate a memorial honoring veterans of
                                           the United States maritime services. The location of the memorial would be in the water at the west end of the north
                                           side of Navy Pier in the approximate location designated on Figure 1. The Developer may locate boat docking
                                           facilities in this location but such facilities would need to be removed when the Navy Memorial Foundation
                                           commences its improvements. Final plans for the memorial and the necessary fundraising activities have not been
                                           completed so the date of the commencement of the Foundation’s improvements is not known at this time and is
                                           subject to a variety of contingencies.

                                           NPI anticipates entering into a participating lease or license agreement with fixed annual payments and a variable
                                           lease or license payment tied to gross revenue from the operation of the transient boat slips. The Developer will be
                                           solely responsible for all debt and equity to finance and complete the Transient Boat Slip Project and would be
                                           responsible for securing all approvals necessary to construct and operate the transient boat docks.

                                           The Developer shall finance the Transient Boat Slip Project and begin construction by a specified date and complete
                                           the project at the earliest feasible date. The construction of the boat slips shall be completed with minimal disruption
                                           to Navy Pier’s ongoing operations and that of the businesses that operate on Navy Pier.

                                           The Developer will be expected to comply with the insurance provisions provided in Part I of this RFQ/P.

                                           NPI anticipates that the agreement will include obligations for the length of the operating season and the level of
                                           services provided as part of the operation. Commercial boat operations will be prohibited.

                                           Navy Pier is subject to a project labor agreement with certain trade unions. In performing any construction work at
                                           Navy Pier, including developing boat slips, the Developer and all of its contractors (including subcontractors of any
                                           tier), will be required to comply with the Project Labor Agreement.

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                                           Figure 1.




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                                           SECTION 4: RFQ/P PROCESS
                                           4.1 RFQ/P Process
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                                           Proposers are advised to carefully read the requirements for providing submittals in response to this RFQ/P as
                                           described herein. Additional information regarding this RFQ/P may be made available from time to time and will
                                           be emailed directly to the Proposers.

                                           If this document is amended, NPI will issue a revision by written addendum on the website noted above and notify
                                           the shortlisted Proposers. Proposers are solely responsible for obtaining all such addenda and acknowledging receipt
                                           of any addenda that have been issued.

                                           Proposers are to contact Valerie L. Hawthorne-Berry by email with questions concerning this RFQ/P and should not
                                           rely on representations, statements, or explanations other than those made in this RFQ/P or in any written addendum
                                           to this RFQ/P. No contact regarding this process, formal or informal, shall be made with staff or the Board of NPI or
                                           any major stakeholder entity, such as MPEA, the City of Chicago or any entity with operations on Navy Pier. Any
                                           such communication will be grounds for elimination from the process.

                                           Written questions will be accepted via e-mail, until five (5:00) PM central time, Thursday, October 13, 2016.
                                           Questions should be submitted in writing to vhawthorne-berry@navypier.com. A summary of questions with any
                                           related responses will be issued as an addendum on the website and all Proposers who have provided Navy Pier
                                           with valid contact information will be notified via email.

                                           RFQ/P submittals for Part II are due no later than 12:00 PM noon central time on Thursday, November 3, 2016 at
                                           Navy Pier’s Administrative Offices on the second level of the Headhouse whose address follows:

                                           Navy Pier
                                           600 East Grand Avenue
                                           Chicago, IL 60611
                                           ATTN: Director of Procurement
                                                   Part II RFQ/P Submittal
                                                   Navy Pier Transient Boat Slip Developer & Operator

                                                    Proposers must submit one (1) original unbound hard copy and six (6) bound hard copies of the RFQ/P
                                           submittal that include all information in the format outlined in this RFQ/P. In addition, an electronic copy or link to
                                           such copy of the submittal saved in PDF format should also be sent to Valerie L. Hawthorne-Berry via email or
                                           emailed link. The subject line should read “Part II RFQ/P Electronic Submittal Navy Pier Transient Boat Slip
                                           Developer & Operator”

                                           All proposals must be submitted with a table of contents identifying page numbers in a plastic binder with section
                                           dividers for each item under Proposal Submission. Hard copy submittals and supporting documentation must be
                                           submitted in a sealed package/envelope labeled “Part II RFQ/P Submittal Navy Pier Transient Boat Slip Developer &
                                           Operator” Facsimile copies will not be accepted.

                                           A timeline showing the important dates for the RFQ/P process is attached hereto as Exhibit 1.

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                                           Proposers are solely responsible for submitting a timely and complete response to this RFQ/P on or before the stated
                                           time and date. NPI will in no way be responsible for delays caused by the U.S. Post Office or any other entity or by
                                           any occurrence.
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                                           Proposals received after twelve o’clock noon (12:00) PM central time, on Thursday November 3, 2016, may be
                                           deemed non-responsive and ineligible for consideration, at NPI’s discretion.

                                           By submitting a response, Proposer agrees to accept and abide by the terms of this RFQ/P. NPI reserves the right
                                           to reject any or all submittals, to waive any informality or irregularity, and to accept any responsive submittals,
                                           which it may deem to be in the best interest of NPI. Only submittals from responsible Proposers complying with
                                           the provisions of this RFQ/P will be considered.

                                           Submittals will be considered incomplete if they do not bear the signature of an agent of the Proposer who is
                                           authorized to contractually bind the Proposer. The submittals can be withdrawn at any time, if requested in writing,
                                           until the deadline date at which time it will be considered final.

                                           NPI shall not be responsible for expenses incurred in obtaining the RFQ/P or preparing any submittal related to this
                                           process. Such costs shall not be included in the Proposal.

                                           Proposals will be evaluated by NPI. NPI reserves the right, in its sole and absolute discretion, to determine which
                                           Proposers, if any, are qualified to perform the services set requested by way of this RFQ/P and to reject any or all
                                           Proposals.

                                           NPI may elect to conduct interviews and/or request additional information from one or more Proposers at its
                                           discretion and may also negotiate any elements of the Developer’s proposal.




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                                           SECTION 5: SUBMISSION REQUIREMENTS
                                           This document provides the necessary information for Proposers to prepare their Part II submittal. Proposers should
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                                           carefully read the submission requirements to ensure that submittals fully and accurately meet the requirements of
                                           Part II. Emphasis should be on conforming to the instructions, responding to the requirements, and ensuring
                                           the completeness and clarity of content as succinctly as possible. The following outlines the information to be
                                           included in the submittal for Part II.

                                           1. Transmittal Letter

                                           Shall serve as a Certificate of Authority and must be signed by an officer, member or partner of the Developer with
                                           authority to contractually bind the Developer. The letter shall identify the Developer and provide the name, title,
                                           address, telephone number and email address of the contact person(s) for the Developer.

                                           2. Executive Summary

                                           Provide highlights of the submittal materials and reasons your firm or team should be selected.

                                           3. Developer Team Overview

                                           To the extent not already provided as part of the Proposer’s Part I submittal, provide information on each member of
                                           the Developer’s team, including at a minimum, the architect/engineer, construction manager or general contractor,
                                           and to the extent that they are different entities, the Developer/owner and manager. Such supplemental information
                                           should include the legal name, principal officers, background and tasks to be performed by each member of the
                                           Development Team along with the team members experience and qualifications, and comparable projects that are
                                           completed or underway.

                                           A description of the type of entity that will develop and operate the transient boat docking facilities (e.g. corporation,
                                           LLC, joint venture, etc.) and a list of other owners of interest that may provide equity to the ownership entity and the
                                           estimated percentage of ownership of each.

                                           4. Qualifications

                                           To the extent not already provided as part of the Proposer’s Part I submittal, provide information on qualifications of
                                           each member of the Developer’s team as provided for in this RFQ/P Part I.

                                           5. Financial Qualifications

                                           To the extent not already provided as part of the Proposer’s Part I submittal, provide the following financial
                                           documents:

                                           a) Financial Statements for the last three years, such as balance sheets and profit and loss statements.

                                           b) Evidence of current financial capabilities of the Proposer including, without limitation, references from banking
                                           institutions and accounting firms.

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                                           c) Evidence of Proposer’s experience and ability to finance the project with an identification of the range or
                                           anticipated capital necessary to develop the project.

                                           d) Statement describing any litigation, arbitration or similar proceeding currently pending, or pending at any time
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                                           during the past five years against the Proposer with claims exceeding $50,000.

                                           e) Evidence of Proposer’s ability to secure the insurance as set forth in Part I of the RFQ/P.

                                           6. Transient Boat Slip Concept

                                           Provide a detailed description of the transient boat slip concept proposed for the north side of Navy Pier and an
                                           overview of the amenities and services that would be planned for such a project along with a description of how a
                                           boater would access such facilities and services. Include an overview of the number of slips and size boats to be
                                           accommodated along with plans and renderings illustrating the proposed concept.

                                           7. Equal Employment Opportunity Plan and MBE/WBE Plan

                                           Provide a description of Proposer’s Equal Employment Opportunity Plan and the plan to meet or exceed NPI’s MBE
                                           and WBE goals.

                                           8. Proposed Business Terms (Exhibit 2)

                                           The Proposer shall complete Exhibit 2 indicating the business terms that it proposes for the development and
                                           operation of the transient boat slips at Navy Pier. The Proposer shall provide terms where indicated and shall
                                           provide any comments or additional terms that it believes will be necessary for it to enter into an agreement.




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                                           SECTION 6: EVALUATION CRITERIA
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                                           In evaluating the Proposals, NPI will consider the quality and strength of the following:

                                           1. Developer Team

                                           2. Physical Development Proposal

                                           3. Proposed Concept

                                           4. Operation and Management Plan

                                           5. Project Schedule and Timeline

                                           6. Project Budget, Financing Plan, and Developer Financial Capability

                                           7. Commitment to LEED and certification level

                                           8. Equal Opportunity Employment Plan and MBE/WBE Plan

                                           9. Proposed Deal Terms (Exhibit 2: Term Sheet)




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                                           SECTION 7: CONDITIONS AND DISCLOSURES
                                           The following conditions apply to the foregoing Request for Qualifications and Proposal (“RFQ/P”) issued by Navy
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                                           Pier, Inc. (“NPI”):

                                            1. Participation in Part II of this RFQ/P is open to the short-listed firms or teams from Part I. The team will need to
                                               include firms that are licensed to do business in the City of Chicago.

                                            2. All requests for interpretation must be made in writing and submitted electronically as set forth in this document.
                                               NPI’s representatives will respond to written questions. The deadline for questions and answers is set forth
                                               within Exhibit 1 in this document.

                                                Contact with NPI staff or the Board is not allowed during the RFQ/P submittal process period, beginning
                                                with the issue date of this document and concluding with the selection of a Developer, except as may be
                                                initiated and authorized by NPI as part of the RFQ/P selection process. No contact with relevant
                                                stakeholder entities, such as MPEA or the City of Chicago, is allowed regarding this process during the RFQ/P
                                                process period. All communications regarding this process should be made through the email and website
                                                provided in this document.

                                            3. By submitting its qualifications, the Proposer agrees to accept and abide by the terms and conditions of this
                                               document.

                                            4. This document does not represent a commitment or offer by NPI to enter into an agreement with the Proposer
                                               or to pay any costs incurred in the preparation of a response to this RFQ/P.

                                            5. Final award of any contract is contingent upon the execution of an agreement between Navy Pier, Inc. and the
                                               selected Proposer.

                                            6. NPI reserves the right to request additional information or clarification of information provided by the Proposers
                                               when it believes such information is necessary to properly evaluate a submittal.

                                            7. Proposers acknowledge that submittals will not be returned to the sender. NPI reserves the right to retain any
                                               ideas in a submittal regardless of whether a Proposer is selected.

                                            8. NPI maintains a minority and female owned business enterprise procurement program for work it undertakes.
                                               With respect to this RFQ/P, NPI’s goals for MBE and WBE participation in the performance of the services
                                               contemplated herein are 25% and 5%, respectively. Proposers should include a specific statement
                                               acknowledging these goals in its cover letter provided in Part II.

                                            9. NPI will require an Equal Employment Opportunity program for this project.

                                            10. The selected Proposer is responsible for all existing and future applicable federal, state, and local taxes,
                                                whether direct or indirect, incurred in connection with this contract. NPI is exempt by law from Retailers’
                                                Occupation Tax, the Service Occupation Tax (both state and local), the Use Tax, and the Service Use Tax in
                                                Illinois on materials or services purchased in connection with this project.

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                                            11. The Proposers shall not offer any gratuities, favors or anything of monetary value to any official or employee of
                                                NPI for the purposes of influencing the outcome of the RFQ/P response selection process.
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                                            12. The Proposers shall not collude in any manner or engage in any practices with any other Proposer that may
                                                restrict or eliminate competition or otherwise restrain trade. Violation of this instruction will cause the Proposer’s
                                                submittal to be rejected by NPI. This prohibition is not intended to preclude joint ventures or subcontracts.


                                            13. Proposals that do not comply with the submittal requirements of the RFQ/P, or that contain omissions,
                                                erasures, alterations or additions not called for, or that are irregular in any way, may be rejected as
                                                nonresponsive and insufficient. Notwithstanding the foregoing, NPI reserves the right, in its sole and absolute
                                                discretion, to waive any or all failures, irregularities or informalities in a Proposal, or failures to comply with this
                                                RFQ/P, when such a waiver is considered to be a waiver in NPI’s best interest. In addition to any other basis for
                                                rejection, any Proposer found to have falsified any information to NPI in relation to this or any other RFQ/P, or
                                                which has been barred from doing business with NPI, the City of Chicago or State of Illinois, or which has been
                                                convicted of a felony related to procurement contracting with any unit of government, may be rejected.


                                            14. NPI shall have the right to reject any or all Proposals for any reason whatsoever, in its sole and absolute
                                                discretion. In addition, NPI reserves the right to: (a) reject or cancel any or all Proposals; (b) reject any
                                                portion(s) of a Proposal; (c) reissue the RFP with or without modification; (d) negotiate all Proposal
                                                elements; and (e) reject all proposals and to undertake the work contemplated herein in a different manner.


                                            15. NPI owns all Proposals. Proposals will not be returned to Proposers. All costs and expenses incurred by each
                                                Proposer in preparing, developing and/or submitting its Proposal(s), including preparing any designs, drawings
                                                or specifications in response to this RFQ/P, shall be borne by the Proposer alone, regardless of whether or not
                                                such Proposer is awarded the work. In confirmation and furtherance thereof, NPI shall not be responsible for,
                                                nor pay or reimburse any such cost to Proposer(s) for any such costs or expenses.


                                            16. NPI shall retain full title to and ownership of all Proposals. Unsuccessful Proposers shall retain the copyright
                                                and other intellectual property rights, if any, to the unique design elements of their Proposals; provided,
                                                however, NPI may use and reproduce any design or other elements of a Proposal that are not subject to a
                                                copyright or other intellectual property right of the Proposer, and do so in connection with the design,
                                                construction and operation of the Project.

                                            17. NPI may request presentations and interviews after the submittals are received and factor such discussions into
                                                its evaluation of the proposals.




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                                           EXHIBIT 1. RFQ/P TIMELINE
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                                           The dates listed below are targeted dates and subject to change. All times are Central time.

                                           Thursday September 22, 2016                                    Request for Proposals Issued

                                           Thursday October 13, 2016           By 5:00 PM                 Last Day for Written Questions

                                           Thursday October 20, 2016           By 5:00 PM                 Response to Written Questions

                                           Thursday November 3, 2016           By 12:00 PM                Part II Proposals Due




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                                           EXHIBIT 2. TERM SHEET

                                           Proposed form of term of sheet follows.
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                                                                                              DRAFT
                                                                                     PROPOSED BUSINESS TERMS
                                                                                       TRANSIENT BOAT SLIPS

                                           Set forth below is an outline of the proposed business terms that would form the basis of a License Agreement between
                                           the Developer and Navy Pier Inc. (NPI) for the development and operation of transient boat slips at Navy Pier. The
                                           Proposer shall provide terms where indicated and shall provide any comments or additional terms that it believes will
                                           be necessary for it to enter into an agreement.



                                           LICENSEE:                           ____________________ [Legal entity that will execute License Agreement]

                                           LICENSOR:                           Navy Pier, Inc.

                                           LICENSED AREA:                      That portion of Navy Pier to which the boat docking facilities are attached. The
                                                                               location and configuration of the boat docking facilities are more fully described
                                                                               and shown in Attachment A. [The boat docking facilities will be limited to the area
                                                                               north of Navy Pier designated in Figure 1 of this RFQ/P.] The license agreement
                                                                               will include provisions related to the potential use of a portion of the location of the
                                                                               boat docking facilities by the Navy Memorial Foundation, Inc.

                                           PROJECT:                            The design and program of the transient boat slip Project are shown in Attachment
                                                                               A.

                                           TERM:                               The term of the License Agreement will be _______ years.

                                           BUDGET:                             The total development budget for the Project is estimated to be
                                                                               $_________________, details of which are provided in Attachment B. This
                                                                               includes all hard and soft costs for the Project.

                                           PERMITTED USE:                      Licensee’s use of the Licensed Area shall be for the operation of transient boat
                                                                               slips. The Project will consist of approximately _______ boat slips. The concept
                                                                               of the transient boat slips is further described in Attachment C. Licensee will be
                                                                               prohibited from operating a bar, restaurant, or retail store (other than the ancillary
                                                                               sale of sundries to meet the boating needs of the Licensee’s patrons) from the
                                                                               transient docking facilities. Licensee will be responsible for complying with all
                                                                               laws, ordinances applicable for its operation of the transient docking facilities.
                                                                               Only the short-term mooring of boats shall be permitted and no boats that dock
                                                                               in the Licensed Area shall be permitted to conduct commercial activities.
                                                                               [Developer to propose limits on what constitutes short-term mooring.]

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                                           ZONING APPROVALS:                   Landlord has secured the necessary zoning approvals to operate the transient
                                                                               boat docking facilities. All subsequent regulatory approvals, including any Part II
                                                                               Zoning Approvals, will be the responsibility of the Licensee.
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                                           DELIVERY
                                           CONDITION:                          The Licensed Area shall be licensed on an as-is basis.

                                           DESIGN AND
                                           CONSTRUCTION:                       The Licensee shall be responsible for the complete design, engineering,
                                                                               construction, and installation of the transient boat docking facilities and is
                                                                               responsible for completing and paying for all required permits related to the
                                                                               Project. Licensee shall restore any portions of Navy Pier disrupted by its
                                                                               construction so that it can be used by Landlord for its intended purpose.

                                                                               The Project shall be designed by an architect/engineer acceptable to NPI and the
                                                                               Project design shall be subject to the approval of NPI.

                                                                               Navy Pier is subject to a Project Labor Agreement with certain trade unions. In
                                                                               performing any construction work at Navy Pier, Licensee and all of its contractors
                                                                               (including subcontractors of any tier) will be required to comply with the Project
                                                                               Labor Agreement.

                                                                               Landlord has established MBE and WBE participation goals and policies for work
                                                                               that takes place at Navy Pier and construction by Licensee will need to be
                                                                               consistent with those goals and policies.

                                                                               Licensee will construct its improvements in a manner that will achieve a LEED
                                                                               certification level of _______ for the Project and the Project will be operated in a
                                                                               sustainable manner (subject to further definition in the License Agreement).

                                           COMMENCEMENT
                                           DATE:                               The term of the License Agreement and the payment of Rent will commence on
                                                                               the earlier of the date the Licensee opens for business, or ____ months after
                                                                               Licensor delivers the Licensed Area to the Licensee for the construction of its
                                                                               improvements. The Licensee shall secure funding for the Project at a date mutually
                                                                               agreed to by the Parties.

                                           RENT:                               The Licensee will pay to NPI annual base rent of $________ plus ____% of gross
                                                                               revenue in excess of $________, which shall include all pre-tax revenues derived
                                                                               from slip rentals and other rentals and income derived from goods and services
                                                                               sold within the Licensed Area.




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                                           TAXES
                                           AND UTILITIES:                      To the extent applicable, Licensee shall be responsible for paying any taxes for its
                                                                               separately assessed parcel to the applicable taxing authority.
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                                                                               Licensee shall be responsible for the cost of all utilities serving its facilities.

                                           MAINTENANCE
                                           & REPAIR:                           Licensee, at the expense of Licensee shall be responsible for the maintenance
                                                                               and repair of all of its improvements. Licensee shall maintain and operate the
                                                                               Licensed Area in first-class condition and manner and in accordance with all
                                                                               current laws, codes, and ordinances.

                                           SIGNAGE:                            Placement of Licensee’s signage is subject to Licensor’s approval.

                                           LANDLORD’S
                                           SPONSORSHIP
                                           AGREEMENTS:                         Landlord reserves the right to enter into agreements to grant exclusive sales or
                                                                               advertising rights ("Sponsorship Agreements") to certain products, brands or
                                                                               services ("Official Brands") on Navy Pier. To the extent permitted by law, Licensee
                                                                               agrees to, sell, advertise, feature, promote and display the Official Brand or Brands
                                                                               and no others within the same sponsorship category. Licensee shall not sell,
                                                                               serve, advertise, promote or display at Navy Pier any competing products, brands,
                                                                               or services within, from or outside of the transient boat docking facilities nor in
                                                                               advertisements, promotional material or displays referring to Navy Pier or utilizing
                                                                               Landlord's logos or service marks.

                                           OPERATING
                                           REQUIREMENT:                        Licensee shall be open for business from _______. [Developer to propose
                                                                               operating hours and times of year during which the transient boat docking facilities
                                                                               will be open for business.]

                                           FINANCING:                          Licensee shall be responsible for financing the design, construction, and
                                                                               development of the Project. Licensee’s financing plan is included in its Proposal.

                                                                               Prior to the commencement of construction by Licensee, it shall furnish evidence
                                                                               that it has funds on hand in an amount in excess of 110% of the Licensee’s costs
                                                                               to construct and furnish the Project and shall, in addition to a performance and
                                                                               payment bond to be provided by Licensee’s contractor, furnish a bond or letter of
                                                                               credit guaranteeing the Licensee’s completion of such improvements.

                                                                               The License Agreement shall contain additional provisions related to financing the
                                                                               project. Proposer shall provide any financing requirements related to its proposal.




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                                                                                                ATTACHMENT A
                                                 OUTLINE OF BOAT DOCKING AREA AND CONCEPTUAL DESIGN DRAWINGS AND RENDERINGS
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                                                                                  [To be provided by Proposer/Licensee]




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                                                                                                ATTACHMENT B
                                                                           PROPOSED DETAILED DEVELOPMENT BUDGET
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                                                                                  [To be provided by Proposer/Licensee]




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                                                                                                ATTACHMENT C
                                                                           TRANSIENT BOAT SLIP CONCEPT DESCRIPTION
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                                                                                  [To be provided by Proposer/Licensee]




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                                                                                         ADDENDUM NO.1
                                                                          REQUEST FOR QUALIFICATION AND PROPOSAL PART II
                                                                            TRANSIENT BOAT SLIP DEVELOPER & OPERATOR
                                                                                          19 October 2016
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                                           The due date for Responses to Part II to this Request for Qualification and Proposal for a Transient Boat Slip Developer
                                           & Operator shall be extended until Thursday November 17, 2016 at 12:00 PM.

                                                SUPPLEMENTAL INFORMATION

                                                The following supplemental information is attached and is being provided in response to questions that have been
                                                received.

                                           1.   Project Labor Agreement.
                                           2.   Modifications to the Planned Development.
                                           3.   Survey of Navy Pier.
                                           4.   Plan showing approximate dimensions of space available for transient boat docking facilities. The dimension shown
                                                on the plan and the area available for the movement of boats are approximate and will be subject to subsequent
                                                confirmation with regulatory authorities and the City of Chicago Department of Water Management. This plan is
                                                being included to provide a consistent basis upon which the proposals shall be based.


                                                RESPONSE TO QUESTIONS

                                           1. Must the Developer provide a public walkway along the entire length of the Pier?

                                                Yes, a public walkway along the entire length of the Pier must be provided. However, the Developer may include an
                                                alternate proposal if it so chooses, modifying the amount of public access being provided. Such alternate proposal
                                                may be considered by Navy Pier at its discretion.


                                           2. Are there limits on the number of days that a vessel can be docked at Navy Pier?

                                                The Transient Boat Docking Facilities at Navy Pier are intended for use by boaters that dock their boats on a
                                                permanent or seasonal basis at a location other than Navy Pier. As such, it is assumed that there would be no
                                                demands on vehicular parking at Navy Pier because the visitors to the Pier will have arrived and departed by boat.
                                                The intention for this facility is that it bring as many unique visitors as possible to the Pier by boat over the course of
                                                a season. The Developer shall include with its proposal a set of restrictions for the length of stay to be included in a
                                                license agreement, should it be selected as the Developer. Such restrictions should be consistent with the
                                                objectives described above.


                                           3. Can commercial operations that do not compete with the boats that dock on the south side of Navy Pier be included
                                              as a part of the operation of the Transient Boat Docking Facilities?

                                                As stated above, the intention for this facility is that it bring as many unique visitors to the Pier by boat as possible
                                                over the course of a season. The proposal should not be based upon securing any rights to commercial activities,
                                                regardless of whether they do not compete with any other boat that presently docks at Navy Pier or any other use
                                                that exists on Navy Pier itself. The Developer may submit an alternate to its proposal that includes commercial
                                                activities that do not compete with any current use on or docked at Navy Pier or in Ogden Slip. The alternate
                                                proposal should include a very clear definition of what types of commercial activities the Developer proposes to be
                                                permitted.
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                              Cook County, IL                                                                      FILED
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                                                                                                                   CIRCUIT CLERK
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                                                                              NAVY PIER

                                                                          LICENSE AGREEMENT

                                                                              BETWEEN

                                                                            NAVY PIER, INC.
                                                                             ("LICENSOR")

                                                                                  and

                                                                           NPM VENTURE LLC
                                                                             ("LICENSEE")




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                                                                               LICENSE AGREEMENT

                                                   THIS LICENSE AGREEMENT ("License") made as of the 71h day of August, 2017,
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                                            ("Effective Date") by and between NAVY PIER, INC., an Illinois not-for-profit corporation
                                            ("Licensor") and NPM VENTURE LLC, a Delaware limited liability company ("Licensee").



                                                   THAT FOR AND IN CONSIDERATION of the mutual covenants and agreements in this
                                            License contained, the parties covenant and agree as follows:

                                                                                      RECITALS

                                                  A.      Pursuant to the Metropolitan Pier and Exposition Authority Act, 70 ILCS 210,
                                           Metropolitan Pier and Exposition Authority, a municipal corporation and body politic of the
                                           government of the State of Illinois (the "Authority" or "Prime Lessor") holds title to, and is
                                           authorized to carry out or otherwise provide for the recreational, cultural, commercial or
                                           residential development of the real property depicted on Exhibit A and commonly known as
                                           Navy Pier, and to construct, equip, and maintain grounds, buildings and facilities for those
                                           purposes.

                                                  B.      Navy Pier, together with other property commonly known as "Polk Bros. Park", is
                                           operated as a tourist attraction.

                                                   C.     The Authority and Licensor have entered into that ce1iain License Agreement
                                           dated April 26, 2011 (as the same has been and may be amended, the "Prime Lease") pursuant
                                           to which the Authority transferred to, and Licensor accepted the transfer of, responsibility for the
                                           redevelopment, management, operation and maintenance of Navy Pier, Polk Bros. Park and the
                                           parking areas, structures, landscaping, buildings and other improvements then or thereafter
                                           located thereon.

                                                   D.      Licensor is an Illinois not-for-profit corporation formed for the purposes of (a)
                                           supporting, sustaining, and investing its funds and to lessen the burdens of government in and for
                                           the redevelopment and operation of Navy Pier, so as to facilitate the ongoing recreational,
                                           educational, cultural and other development of Navy Pier for the benefit of the general public,
                                           and all activities incidental or related thereto, including, without limitation, implementation of
                                           the Framework Plan (as defined in the Prime Lease); (b) performing such other Approved
                                           Operations (as defined in the Prime Lease); and (c) supporting and benefiting the Authority
                                           through the development and operations of Navy Pier for the achievement of the Authority's
                                           own governmental purposes.

                                                   E.     Licensee is a for profit limited liability company, and desires to enter into this
                                           License for the purposes of designing, financing, constructing and operating a transient
                                           watercraft docking facility, boat slips and ancillary facilities (the "Docking Facilities"), subject
                                           to the terms and conditions set forth in this License.




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                                                               ARTICLE 1 -DEFINITIONS AND ATTACHMENTS

                                           Section 1.1    Certain Defined Terms.
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                                           As used in this License, the tetm:

                                                  "ADA" has the meaning set forth in Section 4.5.

                                                  "Additional Fees" has the meaning set forth in Section 5.2(iii).

                                                   "Adjoining Lake Area" means the area of water immediately adjoining Navy Pier North
                                           Dock as generally shown on the Exhibit A and within which a portion of the Docking Facilities
                                           is to be located.

                                                  "Assessor" has the meaning set forth in Section 6.1.

                                                  "Authority" has the meaning set forth in Recital A.

                                                  "Bankruptcy Code" has the meaning set forth in Section 16.1.1.9.

                                                  "Base Fee" has the meaning set forth in Section 5.3 .I.

                                                  "Base Fee Adjustment Date" has the meaning set forth in Section 5.3.2.

                                                  "Base Fee Adjustment Notice" has the meaning set forth in Section 5.3.2.

                                                  "Base Fee Commencement Date" has the meaning set forth in Section 5.3 .I.

                                                  "Boating Season" means that period of time from and including June 1st and ending on
                                           August 31st each calendar year.

                                                  "Casualty" has the meaning set forth in Section 14.1.1.

                                                   "Common Areas" means all areas, space, and equipment provided by Licensor or others
                                           for the common or joint use and benefit of the licensees and other occupants of Navy Pier and
                                           their employees, agents, servants, customers, patrons and other invitees, including, but not
                                           limited to, automobile parking areas, driveways, lobbies, elevators and entrances and exits
                                           thereto, employee parking areas, if any, truckways, loading docks and areas, delivery
                                           passageways, package pick-up stations, pedestrian sidewalks and ramps, landscaped areas,
                                           interior pedestrian walkway areas, exterior stairways, plazas, courts, ramps, common seating
                                           areas, first aid stations, restroom areas, comfort stations and other areas and improvements as
                                           they may be altered, reduced, expanded and replaced from time to time and shall at all times be
                                           subject to the exclusive control and management of Licensor. The presence of carts or kiosks
                                           within certain areas and facilities does not alter the character of an area as Common Areas if it
                                           otherwise would qualify as Common Areas.

                                                  "Completion Security" has the meaning set forth in Section 7.3.4.2.



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                                                   "Default Rate" means an annual rate of interest equal to the lesser of (i) the maximum
                                           rate of interest for which corporate entities may lawfully contract in the State of Illinois or (ii)
                                           five percent (5%) plus the prime rate (however referred to) then in effect at Chase Bank or its
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                                           successor ("Chase"), changing automatically and simultaneously with any announced change by
                                           Chase in the prime rate.

                                                  "Development Agreement" has the meaning set forth in Section 7.2.3.

                                                  "Docking Facilities" has the meaning set forth in Recital E, as more fully defined in
                                           Section 2.2.

                                                  "Docking Facilities Extensions" has the meaning set f01th in Section 2.4.2.

                                                   "Docking Facility Manager" has the meaning set forth in Section 4.2.2.

                                                    "Docking Facilities Trade Name" shall be the name that Licensee shall use with respect
                                           to the Docking Facilities, and such name shall be subject to Licensor reasonable approval.
                                           Licensor agrees that such name may, but is not required to, include the name "Navy Pier". The
                                           parties agree that the initial Docking Facilities Trade Name may be "Navy Pier Marina", or "The
                                           Marina at Navy Pier" or "The Docks at Navy Pier", which name Licensee can amend, change or
                                           alter at any time, subject to Licensor reasonable approval as stated in the immediately preceding
                                           sentence.

                                                  "Docking Facility Walkway" has the meaning set forth in Section 2.4.2.

                                                  "Effective Date" has the meaning set forth in the introductory paragraph.

                                                  "Extension Option" has the meaning set forth in Section 3.2.

                                                  "Extension Term" has the meaning set forth in Section 3.2.

                                                  "Fees" has the meaning set forth in Section 5.2.

                                                  "Gross Operating Revenues" has the meaning set forth in Section 5.5.1.

                                                  "Governmental Approvals" has the meaning set forth in Section 5.1.2.

                                                  "Hazardous Materials" has the meaning set forth in Section 8.9.1.

                                                  "Initial Term" has the meaning set forth in Section 3.1.

                                                  "Laws" has the meaning set forth in Section 4.5.1.

                                                  "Letter of Credit" has the meaning set f01th in Section 7.7.1

                                                  "License" has the meaning set forth in the introductory paragraph.




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                                                  "Licensed Area" means that portion of Navy Pier and the Adjoining Lake Area shown as
                                           such on Exhibit A.
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                                                  "Licensee" has the meaning set forth in the introductory paragraph.

                                                  "Licensee Concept Plans" has the meaning set forth in Section 2.2.1 and as described on
                                           Exhibit B.

                                                  "Licensee Improvements" has the meaning set forth in Section 7.2.1.

                                                  "Licensee's Development Budget" has the meaning set fmih in Section 7.3.1 and as
                                           described on Exhibit E.

                                                 "Licensee's Financing Plan" has the meaning set forth in Section 7.3.1 and as described
                                           on Exhibit E-1.

                                                  "Licensee's Organizational Documents" has the meaning set forth in Section 4.2.1.

                                                  "Licensor" has the meaning set forth in the introductory paragraph.

                                                  "License Year" means the consecutive twelve (12) month period beginning with the
                                           Term Commencement Date, except that if the Term Commencement Date is other than the first
                                           day of a calendar year, then the first License Year is the period from the Term Commencement
                                           Date through the date twelve (12) months after the last day of the calendar month in which the
                                           Term Commencement Date occurs, and each subsequent License Year is the period of twelve
                                           (12) months following the last day of the prior License Year.

                                                    "Navy Pier", means the mixed-use project at Navy Pier at Lake Shore Drive and Grand
                                           Avenue in Chicago, Illinois, as the same may be altered, reduced, expanded or replaced from
                                           time to time.

                                                 "Navy Pier Facility Security Plan" has the meaning set forth in Section 17.13.

                                                  "Navy Pier Marks" has the meaning set forth in Section 11.1.

                                                   "Navy Pier Planned Development" means that certain Planned Development No. 527,
                                           established pursuant to ordinance originally adopted September 16, 1992 as amended on
                                           September 14, 2016.

                                                  "North Dock" means the area designated as such on Exhibit A.

                                                 "Official Brand" or "Official Brands" have the meaning set forth in Section 11.2.

                                                 "Open for Business" has the meaning set forth in Section 5.1.3.

                                                 "Operating Hours" has the meaning set forth in Section 4.4.

                                                 "Percentage Fee" has the meaning set forth in Section 5.4.1.


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                                                  “Permit Approval Deadline” has the meaning set forth in Section 5.1.2.

                                                  “Permitted Use” has the meaning set forth in Section 2.2.1.
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                                                  “Person” or “Persons” means individual(s), corporation(s), partnership(s), firm(s), other
                                           business association(s), or governmental entity or entities, whichever is required by the context.

                                                  “Prime Lease” has the meaning set forth in Recital C.

                                                  “Prohibited Successor” has the meaning set forth in Section 15.1.2.

                                                  “Real Estate Taxes” has the meaning set forth in Section 6.1.

                                                  “Season” means the period from and including April 1 through October 31 in each
                                           calendar year following the Effective Date.

                                                  “Security Deposit” has the meaning set forth in Section 7.7.1.

                                                   “Winter Season” means the period from and including November 1 through March 31
                                           in each calendar year.

                                                  “Term” means the Initial Term if and as extended during the Extension Term, or earlier
                                           terminated in accordance with the terms of this License.

                                                  “Term Commencement Date” has the meaning set forth in Section 5.1.1.

                                           Section 1.2    Attachments.

                                           The following documents are attached to this License, and the documents, as well as all drawings
                                           and documents prepared pursuant to it, are considered to be a part of this License:

                                                                 Exhibit A     Site Plan
                                                                 Exhibit B     Licensee Concept Plans
                                                                 Exhibit C     Reserved
                                                                 Exhibit D     Development Agreement
                                                                 Exhibit E     Licensee’s Development Budget
                                                                 Exhibit E-1   Licensee’s Financing Plan
                                                                 Exhibit F     Reserved
                                                                 Exhibit G     Form of Letter of Credit
                                                                 Exhibit H     Insurance
                                                                 Exhibit I     Project Labor Agreement




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                                                                               ARTICLE 2 -LICENSE

                                           Section 2.1   License Granted.
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                                                   Section 2.1.1            Licensor licenses to Licensee, and Licensee licenses from
                                              Licensor, the Licensed Area for the Pem1itted Use upon and subject to the tenns and
                                              conditions herein set forth. Licensor and Licensee acknowledge and agree that this License
                                              is subject and subordinate to all of the terms and conditions of the Prime Lease as amended
                                              and/or assigned from time to time and to all restrictions and encumbrances now or hereafter
                                              encumbering Navy Pier to the extent any further or additional restrictions or encumbrances
                                              do not materially and adversely affect the rights of the Licensee hereunder. Licensee shall at
                                              all times comply with all Laws binding on the Authority, Licensor, Licensee, Navy Pier, and
                                              the Licensed Area. In the event any Laws or the Prime Lease are modified and prohibit or
                                              materially and substantially restrict the Permitted Use, Licensee may elect to terminate the
                                              License. In the event this termination is the result of a change to the Prime Lease, Licensor
                                              shall be liable to Licensee for actual damages, if any, Licensee incurs by reason of such
                                              termination, subject to the limitations set forth in Section 16.1.4.

                                                  Section 2.1.2             The location and configuration of the Docking Facilities are
                                              shown on Exhibit B. It is understood that Licensor neither owns nor controls the open water
                                              of Lake Michigan (the "Adjoining Lake Area") upon which portions of the Docking
                                              Facilities are to be located. As regards this Adjoining Lake Area, the license granted herein is
                                              limited to the extent of Licensor's jurisdiction and authority, if any, over the Adjoining Lake
                                              Area. Licensee shall be responsible for obtaining any rights to the Adjoining Lake Area as
                                              may be required. If Licensor controls any portion of bottom land of such Adjoining Lake
                                              Area, such portion shall be deemed pmt of the Licensed Area for the Permitted Use, but in no
                                              event shall Licensee have any responsibility for the maintenance, repair or restoration of such
                                              areas, except as Licensee may find necessary for its operation.

                                           Section 2.2   Permitted Use.

                                                  Section 2.2.1             Licensee shall design, construct, finance, maintain and operate
                                              the Docking Facilities in accordance with the terms of this License. Licensee's use of the
                                              Licensed Area shall be for the operation of transient boat slips. The Docking Facilities will
                                              consist of approximately 132 boat slips ranging from 40' to over 100' in length, containing
                                              approximately 6,460 lineal feet of flexibly designed dock space. Licensee, in its reasonable
                                              discretion, may reconfigure the Docking Facilities to accommodate more or less slips,
                                              different boat slip sizes and lineal feet of dock space as may be desirable to meet the needs of
                                              the Permitted Use, provided, however, such reconfiguration substantially conforms to the
                                              Docking Facilities' plan approved by Licensor. The concept of the transient boat slips is
                                              further described in Exhibit B ("Licensee Concept Plan"). Licensee will be prohibited from
                                              operating a bar, restaurant, or retail store (other than the ancillary sale of sundries as from
                                              time to time approved by Licensor, to meet the boating needs of the Licensee's patrons) from
                                              the Docking Facilities without Licensor's prior written approval given, withheld or
                                              conditioned in Licensor's reasonable discretion (the "Permitted Use").               Subject to
                                              Licensor's reasonable approval, the Permitted Use shall include the right to sell sundry items



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                                               including Licensee branded merchandise, bags of ice, boating equipment and snacks.
                                               Licensee shall not be permitted to serve or sell items or provide services not within the
                                               Permitted Use.
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                                                   Section 2.2.2            Licensee will be responsible for complying with all laws and
                                               ordinances applicable for its operation of the Docking Facilities.

                                                   Section 2.2.3           Only the short-term mooring of boats for no more than 2 weeks
                                               on average and no more than 30 days for any individual boat shall be permitted unless
                                               previously approved by Licensor, in its reasonable decision. Furthermore, no boats that dock
                                               in the Licensed Area shall be permitted to conduct commercial activities which compete with
                                               other uses at Navy Pier or Ogden Slip unless approved by Licensor in advance in its sole
                                               discretion. No vending (except for the sale of permitted sundry items), game, and/or other
                                               amusement devises shall be permitted without the written approval of the Licensor, who shall
                                               have complete discretion in relation to such matter.

                                            Section 2.3   Licensor Approval Required.

                                           The concepts and themes of the Docking Facilities shall be subject to Licensor's prior written
                                           approval, and any material change thereto shall require Licensor's prior written approval, such
                                           approval not to be unreasonably withheld, conditioned or delayed. Licensee's Concept Plan
                                           attached as Exhibit "B" is deemed approved.

                                            Section 2.4   Access Rights.

                                                   Section 2.4.1           Licensor grants to Licensee the right to the non-exclusive use of
                                               the Common Areas which Licensor shall, at its sole cost and expense, (a) cause to be open at
                                               all times for public access to and from the Licensed Area to and from the public streets
                                               serving Navy Pier during all days and hours, subject to closures for emergencies and other
                                               Force Majeure events; and (b) keep, repair, maintain, restore and replace, as and when
                                               needed to cause each to be in good, clean and safe condition and in compliance with all Laws
                                               and the Prime Lease. In the event the Common Areas necessary for the Permitted Use are
                                               not substantially open for public access for any reason not caused by Licensee, and such
                                               condition results in cessation of the Permitted Use for a period of five (5) days or more
                                               during the Boating Season, the Fees shall abate on a per diem basis during the period of such
                                               non-availability.

                                                   Section 2.4.2           The Docking Facilities are expected to include (i) a floating
                                               walkway affixed to and immediately north of the North Dock (the "Docking Facility
                                               Walkway") and (ii) boat docking facilities extending from the Docking Facilities Walkway
                                               (the "Docking Facilities Extensions"), where water craft will be moored. The Docking
                                               Facilities Walkway will be designed and operated to pennit public access along and upon
                                               such Navy Pier Walkway, provided Licensee may limit the number of people at any one time
                                               and the hours of such access as may be reasonably necessary for the safety of its customers
                                               and their boats as well as Licensee's improvements, including setting "quiet-hours" for such
                                               purposes. Licensee shall be permitted to install gates limiting access to the Docking Facility



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                                              Walkway that may be locked during agreed upon hours, it being understood that it is the goal
                                              of Licensor that public access to the Docking Facilities Walkway will be permitted during
                                              Navy Pier's operating hours. In addition, Licensee shall be permitted to install gates limiting
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                                              access to the Docking Facility Extensions that may be locked at all times.

                                                                                  ARTICLE 3 -TERM

                                           Section 3.1    Term:

                                           The initial term (the "Initial Term") of the License will be 25 years commencing on the Term
                                           Commencement Date, as herein defined, and ending on December 31st of the year in which the
                                           241h anniversary of the Term Commencement Date occurs (the "Initial Expiration Date").

                                           Section 3.2    Option to Extend:

                                           Licensee shall have the option to extend (the "Extension Option") for an additional ten (1 0)
                                           year period (the "Extension Term") following the Initial Expiration Date provided that Licensee
                                           meets the following requirements (the "Extension Requirements"):

                                                  Section 3.2.1           Licensee shall deliver to Licensor written notice of its desire to
                                              extend the License for the Extension Term no later than nine (9) months prior to the Initial
                                              Expiration Date (the "Extension Request"). Receipt by Licensor of Licensee's Extension
                                              Request shall not automatically trigger the Extension Term. The Extension Request shall
                                              merely serve as notice to Licensor of Licensee's desire to extend; and

                                                  Section 3.2.2           Licensee shall not be in uncured material default under the
                                              License and no event or condition exists, which with the giving of notice or the passage of
                                              time, or both, would constitute an Event of Default during the last nine (9) month period of
                                              the Initial Term; and

                                                  Section 3.2.3           Licensee delivers, at the same time as the Extension Request,
                                              Licensee's plans to refurbish and upgrade the Docking Facilities, including Licensee
                                              Improvements, furniture, fixtures, and equipment, if any are deemed necessary to Licensee or
                                              are required to meet or exceed the then current industry standards in Licensor's reasonable
                                              judgment. On or before six (6) months prior to the expiration of the Initial Term, Licensee
                                              shall post a bond or other security reasonably acceptable to Licensor to ensure timely
                                              completion of such improvements within the first year of the Extension Term.

                                           Section 3.3    Termination.

                                           Unless terminated prior to the end of the Term pursuant to the terms of this License, or extended
                                           pursuant to the Extension Option, this License terminates at the end of the Term without the
                                           necessity of any notice from either Licensor or Licensee to terminate it, and Licensee waives
                                           notice to vacate or quit the Licensed Area and agrees that Licensor is entitled to the benefit of all
                                           provisions of applicable law respecting the recovery of possession of the Licensed Area from a
                                           licensee holding over to the same extent as if statutory notice had been given. For the period of
                                           nine (9) months before the expiration of the Term (as the same may have been extended pursuant


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                                           to Licensee's Extension Option), Licensor has the right, upon twenty-four (24) hours advance
                                           written notice, to show the Licensed Area and all parts thereof to prospective licensees during the
                                           hours of 8:00 a.m. to 7:00 p.m., and all showings shall be conducted by Licensor in such a
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                                           manner as to minimize interference with Licensee's operations in the Licensed Area. Subject to
                                           the terms and provisions hereof, Licensor shall be permitted to remove its personal property and
                                           other improvements during the period of October 1 to December 31 following the final Season of
                                           the License.

                                           Section 3.4    Holding Over.

                                           If Licensee is in possession of the Licensed Area or any p011ion thereof at the end of the Term
                                           (as the same may be extended) with the written consent of Licensor, the Term under this License
                                           becomes one of month to month upon all the terms and conditions contained in this License and
                                           such Term shall be terminable by either party on not less than thirty (30) days' prior written
                                           notice to the other party specifying the termination date of this License. If Licensee fails to
                                           surrender the Licensed Area at the end of the Term (as the same may be extended) to Licensor,
                                           Licensee shall pay a fee during any such holdover equal to one and one-half (1 Yz) times the Base
                                           Fee payable by Licensee to Licensor during the last License Year of the Term, prorated on a per
                                           diem basis during the period of any holdover; provided, however, if Licensee holds over for
                                           greater than ninety (90) days, in addition to other remedies available to Licensor provided in this
                                           Agreement, Licensee shall be liable for any actual damages that Licensor suffers by reason of
                                           Licensee's failure to surrender possession of the Licensed Area. Upon request, Licensor will
                                           confirm whether or not a replacement licensee has executed an agreement and the
                                           commencement date thereof.

                                                                                  ARTICLE 4 -USE

                                           Section 4.1    Prompt Occupancy and Use.

                                                  Section 4.1.1           Licensee shall Open for Business in the Docking Facilities on or
                                              before the Term Commencement Date and thereafter, Licensee shall continuously use and,
                                              except as otherwise provided for herein, operate the Licensed Area for the Permitted Use
                                              during the Boating Season throughout the entire Term; and may be Open for Business during
                                              the Off-Season, conditions permitting as determined by Licensee. Licensee shall at all times
                                              during the Term of this License, at Licensee's sole cost and expense, perform and comply
                                              with Laws now or hereafter enacted or promulgated which are applicable to the Licensed
                                              Area and the business of Licensee conducted therein and thereon.

                                                  Section 4.1.2         Licensee shall have the right to have boats moored in the
                                              Licensed Area at the end of the Season and throughout the Winter Season, provided,
                                              however, Licensee shall not be obligated to maintain any staff at the Licensed Area during
                                              the Winter Season.




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                                           Section 4.2    Licensee Organization and Management.

                                                  Section 4.2.1          Licensee has delivered copies of the documents and instruments
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                                              creating the Licensee entity and the operating agreement and/or bylaws by which the
                                              Licensee entity operates (the "Licensee's Organizational Documents"). Licensee shall
                                              maintain the Licensee's Organizational Documents in full force and effect.

                                                 Section 4.2.2            It is understood that Licensee may employ a third party marina
                                              operator to manage of the Docking Facility (the "Docking Facility Manager"), which
                                              Docking Facility Manager shall be subject to Licensor's reasonable prior approval, which
                                              consent shall not be unreasonably withheld, conditioned or delayed. F3 Marina is deemed
                                              approved as Licensee's initial Docking Facility Manager.

                                           Section 4.3   Trade Name.

                                           Unless otherwise approved by Licensor, which consent shall not be unreasonably withheld,
                                           conditioned or delayed, Licensee shall conduct business in the Docking Facilities only under the
                                           Docking Facilities Trade Name. Licensee agrees not to change the Docking Facilities Trade
                                           Name without Licensor's prior written consent, which consent shall not be unreasonably
                                           withheld, conditioned or delayed.

                                           Section 4.4   Operating Hours.

                                           The "Operating Hours" for the Docking Facilities shall be twenty-four (24) hours per day,
                                           seven (7) days per week during the Boating Season, not less than sixty (60) hours per week
                                           during that portion of the Season outside the Boating Season, and such other hours as the Parties
                                           may set during the Winter Season. Licensor shall provide access to and egress from the
                                           Licensed Area, at all times and, subject to the foregoing access rights, to the remainder of the
                                           Common Areas during Navy Pier operating hours. Except for the Winter Season, Licensee shall
                                           staff the Docking Facilities during such Operating Hours unless othe1wise approved by Licensor
                                           in its reasonable discretion.

                                           Section 4.5   Compliance with Laws.

                                                  Section 4.5.1            Subject to the terms of this License, and as may be applicable to
                                              the Docking Facilities, Licensee, its officers, agents and employees shall comply with all
                                              laws, ordinances, rules, regulations, covenants, conditions, and restrictions enacted by any
                                              governmental authority, quasi-governmental authority, or association body which has the
                                              authority to regulate the Licensed Area, including Title III of the Americans with Disabilities
                                              Act (the "ADA") and the provision of such auxiliary aids or alternate services as may be
                                              required by the ADA, and the Navy Pier Planned Development (collectively "Laws").

                                                  Section 4.5.2            Licensor, its officers, agents and employees shall comply with all
                                              Laws as defined in Section 4.5.1 enacted by any governmental authority, quasi-governmental
                                              authority, or association body which has the authority to regulate Navy Pier.




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                                                               ARTICLE 5-TERM COMMENCEMENT AND FEES

                                            Section 5.1   Term Commencement Date.
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                                                   Section 5.1.1              The Term shall commence (the "Term Commencement Date")
                                               on the date that is the first to occur of (1) the date on which the Docking Facilities are Open
                                               for Business (as hereinafter defined) or (2) the date that is eighteen (18) months following the
                                               date on which Licensee receives all required permits and approvals for the construction and
                                               operation of the Docking Facilities for the Permitted Use.

                                                   Section 5.1.2             Licensee shall promptly apply for and diligently pursue all
                                               permits and governmental approvals required to construct and operate the Docking Facility
                                               for the Permitted Use (the "Governmental Approvals"), including but not limited to
                                               retaining an expeditor to assist with processing such Governmental Approvals, to effect
                                               receipt of such permits and approvals not later than eighteen (18) months after the Effective
                                               Date (the "Permit Approval Deadline"). Upon request, Licensor shall reasonably cooperate
                                               with Licensee during the Governmental Approval process. In addition, Licensor shall
                                               request, use its best efforts and take all steps reasonably necessary to have the Prime Lessor
                                               cooperate with Licensee during the Governmental Approval process to provide whatever
                                               approvals, certifications and other acknowledgements as are needed as owner of Navy Pier.
                                               Provided however, in the event Licensee, despite its good faith diligent efforts, is unable to
                                               secure the Governmental Approvals within such eighteen-month period, Licensee shall have
                                               the right to extend the Permit Approval Deadline up to an additional six (6) months (24
                                               months in total) provided Licensee continues to diligently pursue the Governmental
                                               Approvals. Either Party shall have the right to terminate this License upon written notice to
                                               the other party in the event the Governmental Approvals have not been obtained within
                                               twenty four (24) month after the Effective Date.

                                                  Section 5.1.3            The Docking Facilities shall be considered "Open for Business"
                                               on the date the Docking Facilities are first open to the public for the Permitted Use, even
                                               though all Docking Facilities may not be open.

                                           Section 5.2    Fees Payable.

                                           Commencing on the Base Fee Commencement Date, Licensee shall pay Licensor for the
                                           Licensed Area, the following:

                                                                        i.Base Fee specified in Section 5.3.

                                                                       ii.Percentage Fee specified in Section 5.4.

                                                                      iii.In addition, Licensee shall pay any and all additional sums, charges
                                                                          or amounts of whatever nature to be paid by Licensee to Licensor
                                                                          in accordance with the provisions of this License, whether or not
                                                                          the sums, charges or amounts are referred to as additional fees
                                                                          (collectively referred to as "Additional Fees").



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                                           The Base Fee, Percentage Fee and the Additional Fees are collectively the "Fees".

                                           Section 5.3   Base Fee.
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                                                  Section 5.3.1           Commencing on the Base Fee Commencement Date (as defined
                                              below), a base fee (the "Base Fee") shall be Fifty Thousand and 00/100 Dollars ($50,000.00)
                                              annually, payable in seven (7) equal monthly installments during each Season following the
                                              Base Fee Commencement Date. The Base Fee Commencement Date shall be the first day of
                                              the Season occurring in the calendar year following the Te1m Commencement Date.
                                              Provided, in the event the Term Commencement Date occurs after June 1st, the Base Fee
                                              Commencement Date shall be the first day of the Season occurring in the second calendar
                                              year following the Term Commencement Date.

                                                  Section 5.3.2             Commencing on the first day of the eleventh (11th) License Year
                                              and on each five (5) year anniversary thereof, including the Extension Tenn, (each such date,
                                              a "Base Fee Adjustment Date"), the annual Base Fee shall increase (but shall not decrease)
                                              to the greater of i) Fifty Thousand and Noll 00 Dollars ($50,000.00) as such amount may be
                                              increased by 10% every 5-years or ii) eighty percent (80%) of the average of the total Fee
                                              payable in the lower three years of the five-License Year period just ended. Promptly
                                              following calculation of the total Fee payable for the lower three years of the five-License
                                              Year period just ended, Licensor shall calculate the adjusted Base Fee payable in accordance
                                              with the foregoing and shall so notify Licensee in writing together with its supporting
                                              calculation (a "Base Fee Adjustment Notice"). From and after Licensee's receipt of the
                                              Base Fee Adjustment Notice and until Licensee receives a subsequent Base Fee Adjustment
                                              Notice in accordance with the foregoing, Licensee shall pay Base Fee in the amount set forth
                                              in the Base Fee Adjustment Notice. In the event Licensee objects to the Base Fee adjustment
                                              calculation, the parties shall work together to resolve the issues, and any adjustments shall be
                                              retroactive to the Base Fee Adjustment Date.

                                           Section 5.4   Percentage Fee.

                                                  Section 5.4.1           From and after the Base Fee Commencement Date, Licensee
                                              shall pay Licensor as percentage fee ("Percentage Fee") an amount equal to five percent
                                              (5%) of Gross Operating Revenue over One Million and NollOO Dollars ($1,000,000.00) (the
                                              "First Breakpoint") and ten percent (1 0%) of Gross Operating Revenue in excess of One
                                              Million Seven Hundred Fifty Thousand and No/100 Dollars ($1,750,000.00) (the "Second
                                              Breakpoint"). (For purpose of clarity, Percentage Fee shall be five percent (5%) from the
                                              First Breakpoint to and including the Second Breakpoint, and ten percent (10%) over the
                                              Second Breakpoint, and no Percentage Fee is payable on the first One Million and Noll 00
                                              Dollars ($1,000,000.00) of Gross Operating Revenue.) Percentage Fee, if any, shall be paid
                                              at the time Licensee submits its monthly rep01i as set forth in Section 5.5.1. Provided
                                              however, Percentage Fee shall be adjusted, and credits or additional payments made, upon
                                              submittal of the annual report as set forth in Section 5.5.2.

                                                 Section 5.4.2         From and after any Base Fee Adjustment Date, the First
                                              Breakpoint and the Second Breakpoint shall be adjusted as follows: i) if the adjusted Base



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                                              Fee is less than Eight Seven Thousand Five Hundred and No/100 ($87,500.00), then the First
                                              Breakpoint shall be increased by the same percentage as the increase in the Base Fee and the
                                              Second Breakpoint shall remain unchanged, or ii) if the adjusted Base Fee is greater than
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                                              Eighty Seven Thousand Five Hundred and No/100 Dollars ($87,500.00), then the First
                                              Breakpoint shall no longer be applicable and the Second Breakpoint shall be changed to the
                                              amount that equals One Million Seven Hundred Fifty Thousand and Noll 00 Dollars
                                              ($1,750,000.00) +[(Adjusted Base Fee- $87,500) + 10%].

                                                  Section 5.4.3           Computation of the amount of Percentage Fee specified herein
                                              shall be made separately with regard to each License Year. Licensee's obligation to pay
                                              Percentage Fee for the final License Year shall survive the expiration or earlier termination
                                              ofthis License.

                                                  Section 5.4.4            Licensee shall maintain electronically full and accurate books of
                                              account, records and other pertinent data (including all suppmiing records) of the Gross
                                              Operating Revenues and shall at Licensor's request provide Licensor with electronic copies
                                              of reports of such Gross Operating Revenues. Licensee shall, upon Licensor's request,
                                              furnish a copy, certified by the Licensee, as true, of the sales tax reports of Licensee, insofar
                                              as such reports petiain to the Docking Facilities, filed by Licensee with the govemmental
                                              authority charged with the collection of sales or other tax covering any period of time for
                                              which Licensee is required to fumish a statement of Gross Operating Revenues to Licensor.
                                              Such books and records shall provide records of each day's sales so that a report of day-by-
                                              day sales can be produced, and shall be retained for a period of five (5) years after the close
                                              of each License Year. The acceptance by Licensor of any statement or any payment of
                                              Percentage Fee for any period shall not bind Licensor as to the correctness of the statement or
                                              the payment until a period of three (3) years after the end of each License Year. Licensee
                                              shall require its sublicensees, operators, licensees and concessionaires (if any and to the
                                              extent approved by Licensor) operating in the Licensed Area to keep such books of account,
                                              records and other pertinent data, to provide such sales tax reports, to retain such books and
                                              records for a period of three (3) years after the end of each License Year, all in the manner
                                              such obligations are imposed on Licensee pursuant to the provisions of this Section.
                                              Licensor shall, at its own cost, have the right to inspect and audit such books of account,
                                              records and other pertinent data at Licensee's office or the Docking Facility Manager's office
                                              and at such times as Licensor may reasonably request in order to verify the accuracy thereof.

                                           Section 5.5   Statement of Gross Operating Revenues; Audit.

                                                  Section 5.5.1            Licensee shall, at its cost and expense, be obligated to prepare
                                              and submit to the Licensor, within twenty (20) days after the close of each month that the
                                              Docking Facilities are operating, a monthly report summarizing the Gross Operating
                                              Revenues derived from operations of the Docking Facilities at Navy Pier for the preceding
                                              month of the Term. "Gross Operating Revenues" shall mean any and all receipts revenues,
                                              income and proceeds of any kind derived from Licensee's use of the Licensed Area,
                                              including, but not limited to, any and all revenues (without deduction for expenses, fees or
                                              taxes, except as otherwise might be provided for herein) in connection with the operation of
                                              the Docking Facilities during the month; slip rentals (less refunds, if any); amounts received


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                                              in connection with any sales conducted within the Licensed Area such as food and sundries;
                                              fees and other revenues from services provided [such as sewage, telecommunications and
                                              electrical services]. Gross Operating Revenues shall not include (i) the sale of trade fixtures,
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                                              machinery or equipment after use in Licensee's business; (ii) insurance proceeds; (iii)
                                              amounts collected and paid to govemment authorities for fees or taxes; (iv) sale of gift cards
                                              until redeemed; and (v) any boat slip deposits until eamed and applied.

                                                  Section 5.5.2              Licensee shall prepare and submit an annual report summarizing
                                              the Gross Operating Revenues derived from operations from the Docking Facilities. The
                                              annual report shall show the Gross Operating Revenues and other relevant data pe1taining to
                                              the Docking Facilities separately from that of any other of Licensee's operations. The annual
                                              report shall consist of one of the following, prepared and submitted at Licensee's own
                                              expense: an audited financial statement from a certified public accountant licensed to practice
                                              in the State of Illinois; or, a review report (as defined by the American Institute of Certified
                                              Public Accountants ("AICPA") from a certified public accountant licensed to practice in the
                                              State of Illinois, or, such statement certified as true and correct by an officer of Licensee.
                                              Whichever of these Licensee elects to submit, the audit or review reports shall be performed
                                              in accordance with generally accepted accounting principles.

                                                   Section 5.5.3            The annual report on Gross Operating Revenues accompanied by
                                              the certification shall be submitted to Licensor no later than April 1 of each year. However,
                                              if this License is tenninated for any reason, the annual report on Gross Operating Revenues
                                              accompanied by the accountant's certification shall be submitted to the Licensor within sixty
                                              (60) calendar days of the date oftem1ination.

                                                  Section 5.5.4            The monthly and annual repmts must show the Gross Operating
                                              Revenues derived from the operations from the Docking Facilities during the Term
                                              (including upon termination of the License) and other relevant data pertaining to the Docking
                                              Facilities, including the source of all revenues and any allowable deductions, if any, during
                                              the period reported, itemizing each charge and other revenue activity.

                                                  Section 5.5.5            All statements and reports required under this Section shall be
                                              signed and certified as to authenticity and accuracy by a duly authorized officer of Licensee.

                                                  Section 5.5.6           In addition, Licensee shall keep and maintain for a period of
                                              three (3) years following the expiration or termination of this License, all books and records
                                              reasonably necessary to support such reports, including, but not limited to, original invoices,
                                              tax reports, canceled checks, joumals, ledgers, registers, register tapes and so forth. Licensee
                                              hereby grants Licensor, or its authorized representatives, the right to inspect, abstract, copy
                                              and audit such books and records upon fifteen (15) days' written notice of its intent to do so,
                                              such audit to be conducted at a reasonable time and place in the corporate office of the
                                              Licensee or Dock Facility Manager in Milwaukee, Wisconsin or such other location as may
                                              be agreed upon by the Parties. If an audit is conducted, and if the audit indicates that the
                                              Licensee's audited Gross Operating Revenues varies by four percent (4%) or more above the
                                              amount of Gross Operating Revenues reported to the Licensor, Licensee shall bear the costs
                                              of the audit and shall promptly remit such costs, not to exceed Two Thousand and No/100



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                                               Dollars ($2,000.00) in any instance, together with any Fees due to the Licensor as a result of
                                               the audit, upon request therefore by the Licensor. In the event that the audit reveals a refund
                                               is due to Licensee from the Licensor, the Licensor shall promptly remit any balance due to
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                                               Licensee.

                                            Section 5.6   Payment of Fee.

                                                   Section 5.6.1               Licensee shall pay all Fees when due and payable, without any
                                               set off or deduction or prior demand for it whatsoever, except as othe1wise expressly set forth
                                               herein. All Fees must be paid in United States currency or by wire transfer or ACH. Any
                                               Additional Fees that become due are payable, unless otherwise provided in this License,
                                               within thirty (30) days after receipt by Licensee of an invoice therefor together with
                                               reasonably detailed back-up documentation supporting said invoice. Licensee shall not pay
                                               any Fee earlier than one (1) month in advance. Any Fee that is not paid within ten (10) days
                                               after it is due shall bear interest at the Default Rate from the first day due until paid.

                                                   Section 5.6.2           Any payment by Licensee or acceptance by Licensor of a lesser
                                               amount than is due from Licensee to Licensor or of a check for a lesser amount with an
                                               endorsement or statement thereon, or upon any letter accompanying the check, that the lesser
                                               amount is payment in full, is not intended, and must not be construed, to constitute an accord
                                               and satisfaction of any dispute between Licensor and Licensee regarding sums due and
                                               payable by Licensee under this License, unless Licensor specifically deems it as such in
                                               writing. Licensor may accept any check without prejudice to any other rights or remedies
                                               that Licensor may have against Licensee.

                                                                                ARTICLE 6 -TAXES

                                            Section 6.1    Real Property Taxes. In the event the Licensed Area becomes subject to
                                            property taxes or a leasehold tax with respect to the Docking Facilities, Licensee shall be
                                            obligated to timely pay prior to delinquency all such real property taxes due ("Real Estate
                                            Taxes") directly to the Cook County Treasurer's Office in accordance with the tax bills provided
                                            to Licensee by the Cook County Tax Assessor ("Assessor"). Licensee agrees to indemnify and
                                            hold Licensor, its board members, officers, agents, and employees harmless from and against the
                                            payment of all such taxes due and owing. Licensee will furnish to Licensor, upon request,
                                            receipts of the appropriate taxing authority or other proof reasonably satisfactory to Licensor
                                            evidencing the payment of such Real Estate Taxes. Because taxes are collected in the year
                                            following actual assessment, beginning January 1 of the final License Year of the Term, Licensor
                                            shall have the right to require Licensee to monthly pay an amount equal to one hundred three
                                            percent (103%) of the actual taxes as most recently assessed on the Licensed Area by the
                                            Assessor, prorated over twelve (12) months. Nothing contained herein is intended to create or
                                            obligate the Assessor to assess any Real Estate Taxes against the Licensed Area, which shall be
                                            assessed and payable only if applicable law permits the Assessor to tax a license agreement of
                                            this nature.

                                            Section 6.2   Other Taxes.




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                                                   Section 6.2.1           Except as otherwise set forth below, Licensee shall pay all taxes
                                               and assessments of every kind that arise as a result of or in connection with this License and
                                               the rights granted under it to use the Licensed Area. Licensee shall pay the appropriate
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                                               agency, or Licensor if Licensor is charged with the responsibility of collecting the taxes,
                                               before the time they become delinquent or payable under penalty, all taxes, if any, imposed
                                               on or related to Licensee's operations, inventory, furniture, trade fixtures, apparatus,
                                               equipment, or Licensee Improvements installed by Licensee, and any other property of
                                               Licensee maintained at or upon the Licensed Area.

                                                   Section 6.2.2             Licensee shall collect and promptly disburse all taxes required of
                                               it by federal, state and local authorities, including, but not limited to any sales, amusement or
                                               excise tax and shall pay any applicable taxes imposed upon Licensee or Licensee's personal
                                               property, or by virtue of its operations or, by virtue of this License, upon the Licensed Area.
                                               Without limitation of the foregoing and Licensee's obligation to pay all such applicable
                                               taxes, it is acknowledged that, as of the date hereof, such taxes currently include, but are not
                                               necessarily limited to the following: (i) boat mooring tax on dockage fee; (ii) Illinois sales
                                               tax on taxable items sold by Licensee; (iii) state/city/MPEA sales/food tax on sales of food
                                               and beverages; (iv) city head tax on payroll; and (v) state/city use tax on items purchased not
                                               for resale if not charged by the vendor.

                                            Section 6.3   Evidence of Payment.

                                            Licensee shall deliver to Licensor such evidence of payment of the taxes and assessments
                                            refened to in this Article 6 as Licensor may from time to time reasonably request.

                                            Section 6.4   Right to Contest.

                                           Licensee shall have the right to contest the validity or amount of any taxes imposed or assessed
                                           upon Licensee and, as to Real Estate Taxes, may do so in its own name with Licensor's full
                                           cooperation but at no out of pocket third party cost or expense to Licensor. In conjunction with
                                           any such contest, Licensor shall make available to Licensee all information in Licensor's
                                           possession or otherwise reasonably obtainable by Licensor as Licensee may reasonably request
                                           related to a tax contest, including information required by the Assessor or other taxing authority.
                                           Licensor shall provide Licensee with government notices of assessment (or reassessment) within
                                           ten (10) days after Licensor's receipt of such notices. Licensee, at Licensee's sole cost and
                                           expense, shall have the right to contest, with the appropriate taxing body, any taxes which
                                           Licensee is obligated to pay pursuant to the terms of this License; provided however, Licensee
                                           shall (i) give Licensor written notice of any such intention to contest at least thirty (30) days
                                           before any delinquency could occur; (ii) indemnify and hold Licensor harmless from all liability
                                           on account of such contest; (iii) take such action as is necessary to remove the effect of any lien
                                           which attached to Navy Pier, or the Licensed Area thereon due to such contest, or in lieu thereof,
                                           at Licensor's election, furnish Licensor with adequate security for the amount of the taxes due
                                           plus interest and penalties provided that such security shall not exceed 25% over the amount of
                                           the taxes being the subject matter of the contest; and (iv) in the event of a final determination
                                           adverse to Licensee, prior to enforcement, foreclosure or sale, pay the amount involved together
                                           with all penalties, fines, interest, costs, and expenses which may have accrued.



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                                                                           ARTICLE 7 -IMPROVEMENTS

                                           Section 7.1    Condition of the Docking Facilities.
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                                           The acceptance of the delivery of the Licensed Area from Licensor to Licensee will be in its “AS
                                           IS” condition as of the date of each such delivery. All design and construction of the Licensee
                                           Improvements shall be performed in accordance with the terms, provisions and requirements of
                                           this License and the Development Agreement. Licensee shall construct the Docking Facilities,
                                           in accordance with the terms and conditions set forth in the Development Agreement. Licensee,
                                           at its sole cost and expense, shall also be responsible for relocating any and all building systems,
                                           utilities and improvements currently serving other portions of Navy Pier so that at all times
                                           throughout the Term (including during any period of construction) the operations of Navy Pier
                                           (outside of the Docking Facilities) as currently conducted are not interrupted or adversely
                                           impacted, and Licensor will not unreasonably withhold its approval of any changes to the
                                           construction plans and specifications as may be necessary in connection with any such relocation
                                           (including changes due to concealed conditions or omissions by Licensee’s architect). It is
                                           understood that Licensee may connect its utilities (“Licensee’s Utility Connection Points”)
                                           either to Licensor maintained utility connections, where available, or directly to a public utility at
                                           Licensee’s discretion. At all times during the Term of the License, Licensor shall make available
                                           and maintain in good condition and repair the following: (i) where Licensee’s Utility Connection
                                           Point is to a Licensor maintained utility connection, all utilities from the Licensor’s connection
                                           point to a public utility (“Licensor’s Utility Connection Points”) up to Licensee’s Utility
                                           Connection Point; (ii) the sea-wall adjacent to the Docking Facilities and Licensed Area; and (iii)
                                           access to the Common Areas.

                                           Section 7.2    Licensee Improvements Timelines.

                                                  Section 7.2.1          Licensee shall be solely responsible for the construction of the
                                              Docking Facility (the "Licensee Improvements") within the Licensed Area as well as utility
                                              connections from the Licensed Area, to Licensee’s Utility Connection Points or utility
                                              company connection point and all such construction shall be performed in accordance with
                                              the Development Agreement.

                                                   Section 7.2.2          Licensee Improvements shall generally conform to Licensee
                                              Concept Plans attached hereto as Exhibit B. All Licensee Improvement plans (“Licensee
                                              Improvement Plans”) are subject to prior review and approval by Licensor, which consent
                                              shall not be unreasonably withheld, conditioned or delayed, and shall be in conformance with
                                              the Licensee Concept Plans, except as modified as approved by Licensor. Licensee shall not
                                              initiate any Licensee Improvements or other work or alterations in the Licensed Area without
                                              Licensor’s prior written consent, which consent shall not be unreasonably withheld,
                                              conditioned or delayed.

                                                  Section 7.2.3         Simultaneously with the execution and delivery of this License,
                                              Licensor and Licensee shall enter into that certain development agreement (the
                                              “Development Agreement”) in the form attached hereto as Exhibit D. Licensee shall, at its
                                              sole cost and expense, complete all Licensee Improvements and other work to be performed



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                                               by it pursuant to the Development Agreement including, but not limited to, the procurement
                                               and installation of any furnishing, fixtures and equipment and approved work outside the
                                               Licensed Area necessary for the operation of the Docking Facilities.
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                                                   Section 7.2.4            Not later than ninety (90) days after the Effective Date, Licensee
                                               shall submit an initial Licensee Improvement Plan for review and approval by the Licensor.

                                                   Section 7.2.5            As a condition to the granting of this License to Licensee,
                                               Licensee understands and agrees that all rights granted hereunder shall be subject, at all
                                               times, to all applicable zoning requirements and to all rules and regulations of Navy Pier, as
                                               in effect from time to time, and as established by the Licensor and provided in an electronic
                                               format to Licensee. Licensee agrees to comply with such rules, and shall require its guests,
                                               employees, vendors, patrons, invitees and passengers to be made aware of, and to the extent
                                               possible comply with, such rules, and shall post such rules in conspicuous locations on the
                                               Docking Facilities so as to provide notice that such rules and regulations exist. In addition,
                                               Licensee agrees to comply with all applicable laws, ordinances, rules and regulations of the
                                               United States, the State of Illinois, City of Chicago, and all of their respective agencies,
                                               including, but not limited to, the United States Coast Guard (the "Coast Guard") and U.S.
                                               Army Corp of Engineers, with respect to the Docking Facilities or the Permitted Use within
                                               the Licensed Area.

                                                  Section 7.2.6              It is understood that Licensor has tentatively agreed to permit the
                                              location of a memorial facility (the "Chicago Navy Memorial") at the western extreme of
                                              the Licensed Area as shown on Exhibit A (the "Chicago Navy Memorial Area"). The
                                              Chicago Navy Memorial is generally depicted on Exhibit A and is expected to include an
                                              interactive memorial open to the general public with displays honoring the men and women
                                              that serviced in the maritime service, periodic lectures and other educational programs, the
                                              use of the facilities for private events at time approved by Licensor, and the ancillary sale of
                                              merchandise thematically related to the exhibits. Licensor's Agreement for the Chicago
                                              Navy Memorial shall require that it shall not interfere in any manner with the use of the
                                              Docking Facilities or its operations and shall not include a fountain with spraying water if
                                              such spray encroaches onto the Licensed Area for any reason. In addition, Licensee shall
                                              have no obligation to maintain the Chicago Navy Memorial. It is further understood that
                                              financing and actual installation of the Chicago Navy Memorial is uncertain. Licensee may,
                                              but shall not be obligated to, utilize the Chicago Navy Memorial Area for portions of the
                                              Docking Facilities, which areas shall be included within the Licensed Area when and to the
                                              extent so utilized. Provided, Licensee shall design and construct the Docking Facilities in a
                                              manner which will permit removal of such portions of the Docking Facilities upon 90 days'
                                              written notice that the Chicago Navy Memorial will be installed within the Chicago Navy
                                              Memorial Area. Upon written notice from the Licensor that the Chicago Navy Memorial
                                              Area is not to be used for the Chicago Navy Memorial, Licensee shall have the exclusive
                                              right for sixty (60) days to elect to use the Chicago Navy Memorial Area for the Permitted
                                              Purpose by giving written notice to Licensor. In the event Licensee fails to give such notice
                                              of acceptance, or fails to so utilize the Chicago Navy Memorial Area for the Permitted
                                              Purpose within 12 months of Licensor's receipt of said notice, Licensor may utilize the



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                                              Chicago Navy Memorial Area for any alternate purpose not otherwise in conflict with the
                                              provisions of this Agreement.
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                                                  Section 7.2.7          No later than 30 days after the date of Substantial Completion
                                              Licensee shall provide to Licensor a complete copy of the Docking Facilities construction
                                              closeout documentation. This shall be provided in electronic format (PDF or similar format
                                              acceptable to Licensor). The Docking Facilities construction closeout documentation shall
                                              include:

                                                                        i. Copy ofPermit(s)

                                                                       ii. General Contractor I Construction Manager As-Constructed
                                                                          Drawings

                                                                      iii. Sub-Contractor As-Built Drawings

                                                                      iv. Project Contact Directory

                                                  Section 7.2.8             It is understood that construction will take place at times when
                                              Licensor's facility is otherwise open and operating. Licensor and Licensee shall use good
                                              faith efforts to coordinate the construction of the Docking Facilities with any other users and
                                              activities occurring at Navy Pier. Prior to and during the construction process, the Parties will
                                              cooperate to minimize interference with Licensee's construction of the Docking Facilities and
                                              Licensor's operations. Licensor will coordinate with Licensee to provide reasonable access to
                                              Licensee, including its employees, architects, contractors, subcontractors, materialmen and
                                              others engaged in the construction of the Docking Facilities, for the planning, design,
                                              construction, maintenance, repair, restoration and reconstruction work performed pursuant to
                                              this License. Subject to Licensor's reasonable approval and conditions, Licensee will be
                                              permitted to use (i) the access roads for ingress and egress by construction vehicles and (ii)
                                              Common Areas, all in a manner which does not adversely and unreasonably interfere with
                                              operations of Licensor or other pennitted users, and as reasonably approved by Licensor, for
                                              the performance of construction, maintenance, repair, restoration and reconstruction work.

                                           Section 7.3   Licensee's Financing.

                                                  Section 7.3.1           Licensee's initial budget for the development, design,
                                              construction, fixturing and opening of the Docking Facilities is attached hereto as Exhibit E
                                              ("Licensee's Development Budget") and its financing plan is attached as Exhibit E-1
                                              ("Licensee's Financing Plan"). Licensee's Development Budget may change, from time-to-
                                              time, and Licensee shall provide Licensor with a copy of any change which results in a net
                                              increase of five percent (5%) or more.

                                                   Section 7.3.2          Pursuant to Licensee's Financing Plan, Licensee estimates that
                                              fifty percent (50%) of the Docking Facilities construction costs will be funded with Licensee
                                              equity and fifty percent (50%) will be funded by a construction loan or other debt. Provided
                                              however, Licensee can finance any portion of the Docking Facilities that it deems desirable
                                              and is commercially reasonable, provided such financing cannot exceed seventy percent


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                                              (70%) of the Docking Facilities' construction costs. A portion of the Docking Facilities
                                              construction costs may be funded by one or more grants which, if secured shall be credited
                                              against Licensee's equity requirement. Licensee's loan documents shall expressly provide
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                                              that Licensor shall be provided with any notice of default at the same time such notice is
                                              issued to Licensee. An uncured default by Licensee of such construction loan or debt after
                                              applicable notice and cure periods shall constitute an Event of Default under this
                                              Agreement. Prior to commencement of construction, Licensee shall provide Licensor with
                                              proof it has secured financing, including details regarding Licensee construction loan and
                                              evidence that Licensee has secured an amount equal to one hundred ten percent (110%) of
                                              Licensee's Development Budget, which can be satisfied by any combination of a Completion
                                              Security, equity or financing. Licensor shall execute such documents that are reasonably
                                              required by the construction lender, including a recognition agreement, provided such
                                              documents shall be consistent with and shall not alter or modify any material term of this
                                              Agreement, including the terms and provisions of Article 15, except that Licensee's lender
                                              shall be permitted to succeed to the interests of Licensee in the event of a foreclosure of its
                                              lien against the leasehold estate and its improvements. Any subsequent transfer of this
                                              License shall be subject to the terms of Article 15.

                                                  Section 7.3.3            Upon completion of the Docking Facilities, Licensee shall be
                                              permitted to secure permanent financing of the Docking Facilities not to exceed eighty five
                                              percent (85%) of its fair market value. Licensor shall execute a recognition agreement and
                                              such other financing documents reasonably requested by Licensee's lender, provided, such
                                              documents shall be consistent with and shall not alter or modify any material term of this
                                              Agreement, including the terms and provisions of Article 15, except that Licensee's lender
                                              shall be permitted to succeed to the interests of Licensee in the event of a foreclosure of its
                                              lien against the leasehold estate and its improvements. Any subsequent transfer of this
                                              License shall be subject to the terms of Article 15.

                                                 Section 7.3.4           Prior to the commencement of any demolition or construction on
                                              Navy Pier or construction of any Licensee Improvements thereon, Licensee shall deliver to
                                              Licensor the following:

                                                                 7.3.4.1 Subject to the terms of Section 7.6.4 below, a secondary
                                                         assignment of all construction contracts, documents, permits, and licenses
                                                         required to complete the Licensee Improvements, as to the Docking Facilities,
                                                         pursuant to which Licensor or its nominee shall have the right, but not the
                                                         obligation, upon the occurrence of an Event of Default after all applicable notice
                                                         and cure periods to cause the completion of the Licensee Improvements and to
                                                         operate the Docking Facilities.

                                                                 7.3.4.2 A a completion bond or other security (the "Completion
                                                         Security") in the amount (not to exceed 110% of the Docking Facilities project
                                                         cost), form and substance as may be acceptable to Licensor from a surety
                                                         reasonably acceptable to Licensor which would enable Licensor to cause the
                                                         completion and opening of the Docking Facilities in the event of an uncured
                                                         Event ofDefault.


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                                            Section 7.4    Mechanic's Liens.

                                            No work performed by Licensee pursuant to this License, whether in the nature of erection,
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                                            construction, alteration, or repair, shall be deemed to be for the immediate use and benefit of
                                            Licensor, and no mechanic's or other lien shall be allowed against the estate of Licensor, or
                                            against the Licensed Area or any portion of Navy Pier under any circumstances whatsoever.
                                            Licensee shall assure that provisions in all contracts and subcontracts for Licensee Improvements
                                            shall be inserted stating that no mechanic's liens will be asserted against Licensor's interest in
                                            the Licensed Area, the property of which the Licensed Area is a part, or any portion of Navy
                                            Pier. Licensee shall pay, on time, all persons furnishing labor or materials with respect to any
                                            work performed by Licensee or its contractors on or about the Licensed Area. If any mechanic's
                                            or other liens shall, at any time, be filed against the Licensed Area or the property of which the
                                            Licensed Area is a part, and/or any portion of Navy Pier by reason of, or related in any way to,
                                            work, labor, services, or materials performed or furnished, or alleged to have been performed or
                                            furnished, to Licensee, the Licensed Area, and/or to anyone utilizing the Licensed Area by,
                                            through, or under Licensee, then Licensee shall cause the same to be discharged of record or
                                            bonded over to the satisfaction of Licensor. If Licensee shall fail to cause such lien to be so
                                            discharged within thitiy (30) days after the recording or filing of such lien, then same shall
                                            constitute an Event of Default, provided, however, Licensee may contest same if Licensee bonds
                                            over the lien or establishes a title indemnify over it. In such event, and in addition to any other
                                            right or remedy of Licensor, Licensor may (but shall not be obligated to) discharge the same by
                                            paying the amount claimed to be due, and the amount so paid by Licensor, including attorneys'
                                            fees incurred by Licensor either in defending against such lien or in procuring the discharge of
                                            such lien, together with interest thereon at the Default Rate, and an additional administration fee
                                            of five percent (5%), shall all be due and payable by Licensee to Licensor as Additional Fees.
                                            Licensor may draw upon and utilize the Letter of Credit required herein to pay such expenses.

                                            Section 7.5    Licensee's Improvements and Trade Fixtures.

                                                   Section 7.5.1           Subject any rights available to Licensor by law and provided
                                               Licensee is not then in default, within thirty (30) days of the last day of the Term, Licensee
                                               shall have the right to remove Licensee Improvements (including the Docking Facilities) and
                                               trade fixtures, whether temporary or pennanent in character, made in or upon the Licensed
                                               Area. Any Licensee Improvements or property that remains after such date shall become
                                               Licensor's property and shall remain upon the Licensed Area without compensation to
                                               Licensee. Provided, however, that Licensor shall have the right to require Licensee, by
                                               written notice to Licensee given no later than 60 days prior to the last day of the Term, to
                                               remove any Licensee Improvements at Licensee's sole cost and expense within thirty (30)
                                               days following the earlier of the expiration or early termination of this License. Licensee
                                               shall repair any damage to the Licensed Area caused by the removal of any Licensee
                                               Improvements. If Licensee fails to remove Licensee Improvements within 30 days following
                                               the expiration or early termination of this License, Licensor shall have the right, but not the
                                               obligation, to cause such removal and Licensee shall pay Licensor an amount equal to one
                                               hundred and five percent (1 05%) of the costs of such removal.




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                                           Section 7.6    Security Interest.

                                                   Section 7.6.1            To protect Licensor in the event Licensee defaults hereunder, and
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                                               subject to the terms and provisions of Section 7.6.4 below, Licensee hereby grants to
                                               Licensor a security interest in Licensee Improvements, certain goods, inventory, equipment,
                                               fixtures and personal property belonging to Licensee or in which Licensee has an interest
                                               which are or may be affixed or attached to or otherwise placed upon the Licensed Area
                                               during the Term and, if any, all proceeds of the foregoing and all of the other rights and
                                               property (the "Collateral").

                                                  Section 7.6.2             Except as set forth in Section 7.6.4 below, Licensee shall keep
                                              the Collateral free and clear of all liens, claims, security interests, encumbrances and rights of
                                              others at all times during the Term and shall not acquire any goods, inventory, equipment,
                                              fixtures or personal property for the Licensed Area pursuant to security agreements,
                                              conditional sales contracts, leases or other aiTangements whereby a security interest or title is
                                              retained or the right is reserved to remove or repossess such goods, inventory, equipment,
                                              fixtures or personal property.

                                                  Section 7.6.3            Subject to the superior right of Licensee's lenders, as described
                                              in Section 7.6.4 below, the security interest granted hereby shall secure all amounts to be
                                              paid by Licensee to Licensor hereunder, and any other indebtedness of Licensee to Licensor,
                                              and is in addition to the Security Deposit.

                                                  Section 7.6.4             Notwithstanding anything contained herein to the contrary, the
                                              grant of a security interest herein shall be subject and subordinated to a first and prior
                                              security interest to be created by Licensee in the rights and property refeiTed to in the
                                              preceding paragraph to (a) secure a construction loan or other loans to be made by one or
                                              more banks, financial institutions, or other commercial or private lenders providing loans to
                                              Licensee, (b) parties selling or leasing any goods, inventory, equipment or other personal
                                              property to Licensee pursuant to conditional sales contracts or leases ("Party" or "Parties")
                                              to finance a pmiion of the costs of constructing, furnishing and equipping the Licensed Area
                                              and of other costs of opening the Licensed Area for business. The foregoing banks, financial
                                              institutions, commercial lenders and Parties are referred to herein collectively as the "First
                                              Lienholder" or "First Lienholders." Each First Lienholder shall be a reputable bank,
                                              financial institution, commercial lender or Party and shall enter into any transaction with
                                              Licensee in the ordinary and usual course of its business. Licensor agrees, upon the
                                              reasonable request of Licensee and at Licensee's sole expense to enter into any reasonable
                                              agreements or instruments evidencing the subordination of Licensor's security interest as
                                              outlined herein. Notwithstanding anything herein to the contrary, Licensor does not agree to
                                              subordinate its security interest granted herein to any lien in favor of Licensee's shareholders,
                                              future partners or any other investor.

                                           Section 7. 7   Security Deposit.

                                                 Section 7.7.1         Prior to commencement of construction, Licensee shall deliver to
                                              Licensor a security deposit ("Security Deposit"), in the form of an irrevocable and



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                                              unconditional letter of credit ("Letter of Credit"), in the amount of Fifty Thousand and
                                              noll 00 Dollars ($50,000.00). Provided, the Letter of Credit may be reduced to Twenty Five
                                              Thousand and No/100 Dollars ($25,000.00) from and after the 5th anniversary of the Term
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                                              Commencement Date. The Letter of Credit shall be issued by a national banking institution
                                              acceptable to Licensor, and having offices, for drawing purposes, in Chicago, Illinois.
                                              Licensor, in its sole and absolute discretion, may permit Licensee to provide the Security
                                              Deposit in the form of cash deposit instead of a Letter of Credit. In such event, and to the
                                              fullest extent permitted by applicable law, Licensor shall not be obligated to place such cash
                                              Security Deposit in an interest-bearing account, nor to segregate such funds from Licensor's
                                              other accounts. The use, application, or retention of the Security Deposit, or any portion
                                              thereof, by Licensor shall not prevent Licensor from exercising any other right or remedy
                                              provided by this License or by law, it being intended that Licensor shall not first be required
                                              to proceed against the Security Deposit, and same shall not operate as a limitation on any
                                              recovery to which Licensor may otherwise be entitled. The Letter of Credit shall be
                                              substantially in the form attached hereto as Exhibit G, or another form reasonably
                                              satisfactory to Licensor.

                                                  Section 7.7.2             Licensee shall cause the Letter of Credit to remain in full force
                                              and effect during the entire Tenn. Therefore, Licensee shall ensure that the first Letter of
                                              Credit shall expire no earlier than twelve (12) months after its issuance, and the Letter of
                                              Credit shall state, on its face, that it shall be automatically renewable for additional twelve
                                              (12) month periods upon each expily date, so that an unexpired Letter of Credit shall be in
                                              the possession of Licensor throughout the Term of this License and for a period of not less
                                              than sixty (60) days thereafter. The Letter of Credit shall expressly state that it shall not be
                                              subject to non-renewal absent Licensor's receipt of at least thirty (30) days' prior written
                                              notice, in which event, absent Licensee providing Licensor with a replacement Letter of
                                              Credit meeting the requirements of this License not less than fifteen (15) days prior to the
                                              expiration of the Letter of Credit, such failure shall, in Licensor's reasonable discretion, be
                                              deemed an Event of Default, and Licensor shall be entitled to draw on the entire Letter of
                                              Credit.

                                                  Section 7.7.3            The Security Deposit shall be held by Licensor as security for the
                                              payment by Licensee of the Fee or other amounts agreed to be paid pursuant to this License,
                                              as well as for the full and faithful performance by Licensee of all other covenants and other
                                              provisions contained in this License for which Licensee is responsible.

                                                  Section 7.7.4           If, at any time, Licensee is in default after written notice and the
                                              expiration of the applicable cure period (which shall include Licensee's failure to cause the
                                              Letter of Credit to be renewed as required herein), Licensor shall be entitled at its reasonable
                                              discretion, to draw on, use, apply and/or retain all or any part of the Security Deposit in
                                              payment of: (a) any Fee then due; (b) any reasonable expense incurred by Licensor in curing
                                              any such default; and/or (c) any damages, costs, and/or reasonable expenses (including
                                              reasonable attorneys' fees) incurred by Licensor due to Licensee's default and/or in causing
                                              Licensee to deliver, restore, and refund the portion of the Deposit so drawn on, used, or
                                              applied by Licensor. Subject to Licensee's obligation to replenish the Security Deposit,




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                                               Licensee shall not be in default under this License if any draw is made by Licensor, and it
                                               compensates Licensor in full for any outstanding monetary obligations of Licensee.
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                                                   Section 7.7.5            If Licensor draws on, uses, or applies the Security Deposit, or
                                               any portion thereof, then Licensee shall be obligated to restore the Security Deposit to its
                                               original amount within five (5) business days after Licensor's application of a cash Security
                                               Deposit or draw on the Letter of Credit. The Security Deposit shall be for the benefit of
                                               Licensor and its successors and assigns, shall be expressly assignable, and in the event of a
                                               Letter of Credit, same shall entitle Licensor or its successors or assigns to draw from time-to-
                                               time under the Letter of Credit in Chicago, Illinois, in whole or in part upon presentation of a
                                               sight draft. Licensee agrees that in the event of any assignment of the Letter of Credit,
                                               Licensor shall have the right, at its sole cost, to transfer or assign the Letter of Credit, as well
                                               as any unused proceeds related to any prior draws, to such assignee. Furthermore, in the
                                               event Licensor transfers the Security Deposit to its successors or assigns, Licensee shall look
                                               solely to such transferee for return of the Security Deposit. Licensee shall, within five (5)
                                               business days of request by Licensor, execute such further instmments or assurances as
                                               Licensor may deem reasonably necessary to evidence or confinn Licensor's transfer or
                                               assignment of the Security Deposit to such transferee, as well as the release of Licensor's
                                               obligations with respect thereto.

                                                  Section 7.7.6           Among other things, it is expressly understood that any proceeds
                                              received by Licensor as a result of a draw on the Letter of Credit ("Draw Proceeds"), or any
                                              application of a cash Security Deposit, will not be considered an advance payment of any
                                              Fee, nor a measure or limit of Licensor's damages resulting from any Licensee default
                                              hereunder (whether past, present, or future). Any delays in Licensor's draw on the Letter of
                                              Credit or in Licensor's use of the Draw Proceeds or cash Security Deposit will not constitute
                                              a waiver by Licensor of any of its rights hereunder with respect to the Letter of Credit, the
                                              Draw Proceeds, or a cash Security Deposit. Following any such application of any Security
                                              Deposit, Licensee will either pay to Licensor on demand the cash amount so applied in order
                                              to restore the cash Security Deposit to the full amount thereof immediately prior to such
                                              application, or cause the Letter of Credit to be replenished and redrafted to its full amount
                                              thereunder, as Licensor may require. To the fullest extent pern1itted by law, Licensor will
                                              not be liable for any indirect, consequential, special, or punitive damages incurred by
                                              Licensee arising from a claim that Licensor violated the Bankruptcy Code's automatic stay in
                                              connection with any draw by Licensor of any Draw Proceeds, Licensor's liability (if any)
                                              under such circumstances being limited to the reimbursement of direct costs as and to the
                                              extent expressly provided in this Section 7.7.6. Nothing in this License or in the Letter of
                                              Credit will confer upon Licensee any property rights or interests in any Draw Proceeds.

                                                  Section 7.7.7           So long as Licensee is not then in default under this License after
                                              written notice and the expiration of the applicable cure period, then Licensor shall return any
                                              Security Deposit which Licensor is holding at the expiration of the Term to Licensee (or at
                                              Licensor's option, to the last assignee of Licensee's interest hereunder), within the later to
                                              occur of: (i) sixty (60) days after the expiration of the Term, as same may be extended; (ii)
                                              Licensee's vacates and returns full and unencumbered possession of the Premises in



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                                               accordance with the terms of this License; and (iii) Licensee's satisfaction of all of its
                                               obligations under this License.
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                                                                             ARTICLE 8 -OPERATIONS

                                            Section 8.1   Character of Business.

                                                    In conducting its business, Licensee shall meet the standards of quality, service,
                                            cleanliness, and decor of a first-class business operated for the Petmitted Use within the
                                            downtown Chicago area.

                                           Section 8.2    Design .

                                                   At all times during the Term, with respect to any renovations of Licensee Improvements
                                           undertaken by Licensee, the design of the Licensed Area shall be subject to Licensor's written
                                           approval, which approval shall not be umeasonably withheld, conditioned or delayed. With
                                           respect to any construction work done by Licensee hereunder, Licensee agrees it shall, if
                                           required by local law or ordinance, employ a qualified engineer or architect approved by
                                           Licensor in writing, which approval shall not be umeasonably withheld, conditioned or delayed,
                                           who is experienced in design of similar businesses and who will be required by Licensee under
                                           the terms of its employment to coordinate its design efforts closely with the Licensor.

                                           Section 8.3    Additional Provisions Regarding Operations.

                                                    Section 8.3.1            At all times during the Tenn and/or Licensee's use or occupancy
                                               of the Licensed Area, Licensee shall, at its sole cost and expense: (i) maintain the Licensed
                                               Area in a clean, orderly, and sanitary condition, free of insects, rodents, varmint, and other
                                               pests, and, in connection with pest control, use the same pest control provider that Licensor
                                               has in place from time-to-time (it being understood that the present contractor may change
                                               over the course of the Term); (ii) keep any garbage, trash, rubbish, or other refuse in rodent-
                                               proof containers within the Licensed Area until removed; (iii) have such garbage, trash,
                                               rubbish, and refuse removed on at least a daily basis; (iv) keep all mechanical apparatus
                                               (except for the routine noise of operating boats) free of vibration and noise which may be
                                               transmitted beyond the Licensed Area; (v) comply with all laws, ordinances, rules, and
                                               regulations of governmental agencies and authorities (including liquor licensing laws and
                                               ordinances) and recommendations of Licensor's casualty insurer and other applicable
                                               insurance rating organizations now or hereafter in effect; (ix) provide lighting of the
                                               Licensed Area and exterior signs (and/or tum the same off to the extent reasonably required
                                               by Licensor); (x) comply with and observe all Navy Pier Licensee Guidelines established by
                                               Licensor from time-to-time (xii) establish and maintain a suitable reservations system, and
                                               have sufficient number of personnel to maximize the profitability of the business in the
                                               Licensed Area; (xiii) provide its own janitorial or cleaning services for the Licensed Area, at
                                               its sole cost and expense, as set forth in Sections 8.6 and 8.8 hereof; and (xiv) comply as to
                                               its trash and refuse, at Licensee's sole cost and expense, with any requirements of Licensor at



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                                              Navy Pier for recycling of recyclable refuse. Licensor reserves the right to change the Navy
                                              Pier Licensee Guidelines at any time, and shall notify Licensee of changes to the Navy Pier
                                              Licensee Guidelines.
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                                                  Section 8.3.2              At all times during the Term and/or Licensee's use or occupancy
                                              of the Licensed Area, Licensee shall not: (i) place or maintain any merchandise, trash,
                                              refuse, or other articles in any public walkways outside of the Licensed Area; (ii) use or
                                              permit the use of any advertising medium which is in any manner audible or visible outside
                                              of the Licensed Area, such as loudspeakers, audio players, public address systems, sound
                                              amplifiers, or playing of radio or television broadcasts within Navy Pier; (iii) permit
                                              excessive accumulations of, or bum, garbage; (iv) cause or permit any odors to emanate or to
                                              be dispelled from the Licensed Area, excluding any odors which are intrinsic to the operation
                                              of the vessels utilizing the Docking Facilities; (v) solicit business in any Common Area; (vi)
                                              distribute handbills or other advertising matter in any Common Area; (vii) petmit the parking
                                              of vehicles within the Common Areas except in designated areas, or permit Licensee's
                                              employees to park in the Common Areas or anywhere on Navy Pier excluding the parking
                                              garages; (viii) receive or ship articles of any kind outside the designated loading areas and/or
                                              outside the designated loading times from time to time agreed to by the Parties for the
                                              Licensed Area; (ix) use Navy Pier corridors, or any other Common Area adjacent to the
                                              Licensed Area, for the sale or display of any merchandise or for any other business,
                                              occupation or undertaking; (x) conduct or permit to be conducted any auction, fire sale, going
                                              out of business sale, bankruptcy sale, unless directed by a court order, or other similar type
                                              discounting, sale, or promotion in or connected with the Licensed Area (but this provision
                                              shall not restrict the absolute freedom of Licensee in determining its own selling prices, nor
                                              shall it preclude the conduct of periodic seasonal, or occasional promotional or clearance
                                              sales); (xi) use or permit the use of any portion of the Licensed Area for any unlawful
                                              purpose, or for any activity of a type which is not generally considered appropriate for
                                              regional first-class boat mooring facilities, and/or nationally renowned public attractions
                                              conducted in accordance with good and generally accepted standards of operation; (xii) place
                                              a load upon any portion of Navy Pier which exceeds the load which such area was designed
                                              to accommodate; (xiii) display any vendor signage or display or use any articles, equipment
                                              or fixtures, on which any vendor name or logo is visible unless it is part of the Licensor
                                              approved store design and does not conflict with the provisions of Articles XII and/or XIII
                                              hereof; (xiv) sell, distribute, display or offer for sale any roach clip, water pipe, bong, coke
                                              spoon, cigarette papers, hypodermic syringe or other paraphernalia commonly used in the use
                                              or ingestion of illicit drugs, or any pornographic, lewd, suggestive, or "adult" newspaper,
                                              book, magazine, film, picture, representation or merchandise of any kind; or (xv) allow to
                                              continue activities or behavior of its employees, agents or patrons to create or cause an
                                              unreasonable disturbance or adversely interfere with other users of Navy Pier or the peace
                                              and quiet of adjacent neighborhoods, (it being understood that Licensee shall use
                                              commercially reasonable efforts to attempt to curtail such activities that it becomes aware
                                              of). Moreover, Licensee shall comply with the provisions of Articles XII and XIII hereof
                                              regarding Licensor's reservation of certain rights. Nothing set forth herein shall restrict the
                                              docking of boats at any time during the Term on a 24 hour basis, seven (7) days per week.




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                                                 Section 8.3.3            Licensee shall have the right, subject to the necessary regulatory
                                              approvals, to designate a no wake zone within the entire north slip area, and subject to
                                              Licensor's reasonable consent and the necessary regulatory approvals, to designate a no wake
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                                              zone within the lake adjacent to the north slip.

                                                  Section 8.3.4            Licensee shall have the right to designate a no fishing area on the
                                              North Dock immediately south of the Docking Facilities. Fishing shall be permitted on the
                                              North Dock east and west of the Docking Facilities at all times. Licensee shall have the right
                                              in its sole discretion to designate a no fishing area within the Licensed Area but will give
                                              consideration to allowing fishing from the Docking Facility Walkway (including access for
                                              such activity) at times when such activity does not present a danger to the safe operation of
                                              the Docking Facilities or interfere with its operation.

                                           Section 8.4    Signs and Advertising.

                                                   Licensee shall not place or suffer to be placed or maintained on the exterior of the
                                           Licensed Area (or any part of the interior visible from the exterior thereof) any sign, banner,
                                           advertising matter, or any other thing of any kind, unless it has been placed and maintained in
                                           accordance with the prior written approval of Licensor, and unless it otherwise complies with the
                                           provisions of this License. A signage plan shall be subject to Licensor's reasonable approval in
                                           conjunction with approval of construction documents. Such incidental visibility shall not be a
                                           violation of this Section 8.4. Licensee shall, at its sole cost and expense, purchase the signage,
                                           and maintain such sign, decoration, lettering, advertising matter, or other thing as may be
                                           permitted hereunder in good condition and repair at all times.

                                           Section 8.5    Modifications and General Appearance.

                                                   Licensee shall not change or modify any part of the Licensed Area except in accordance
                                           with Section 2.2.1 above and Section 9.4 below. The general appearance of the Licensed Area
                                           shall be in keeping with the character and standards of the improvements within Navy Pier, as
                                           reasonably determined by Licensor from time-to-time.

                                           Section 8.6    Exterminator Service.

                                                  Without limiting, but rather in addition to, Licensee's other obligations under this Article
                                           VIII, Licensee shall cause extermination services (including treatment for insects, spiders, rats,
                                           mice, moles, and other rodents) to be provided to the Licensed Area on a monthly basis during
                                           the Season and as needed during the Winter Season throughout the Term, and agrees to use the
                                           same pest control provider that Licensor has in place from time-to-time. Provided, such service
                                           shall be provided at supplier's competitive market rate with no mark up or surcharge from
                                           Licensor. Licensee acknowledges and agrees that the present contractor may change over the
                                           course of the Term, and Licensor shall have no liability to Licensee in connection therewith.

                                           Section 8.7    Trash and Garbage Removal.

                                                  Section 8.7.1            Intentionally Omitted.



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                                                   Section 8.7.2           Licensee shall contract with, at Licensee's own cost and expense,
                                               the same trash removal collector that Licensor has in place from time-to-time (Licensee
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                                               acknowledging and agreeing that the present contractor may change over the course of the
                                               Term, and Licensor shall have no liability to Licensee in connection therewith) for the
                                               removal from a site to be determined by Licensor of all of its rubbish, trash, garbage, and/or
                                               other refuse on a daily basis or as required by Licensor. Provided, such service shall be
                                               provided at supplier's competitive market rate with no mark up or surcharge from Licensor

                                                   Section 8.7.3           Licensee has been made aware that Navy Pier management has
                                               implemented a recycling program and encourages all Licensees to participate in such
                                               program. Licensee shall use its best efforts to comply with such program as to its personal
                                               trash and refuse throughout the Term.

                                            Section 8.8   Service Contracts.

                                                   Section 8.8.1          Within ten (10) days after Licensor's request at any time during
                                               the Term, Licensee shall furnish Licensor copies of all maintenance, trash removal, and
                                               extermination contracts in effect with respect to the Licensed Area, including evidence to
                                               Licensor, of payment for services performed under such contracts. With respect to
                                               Licensee's pest control contract, Licensee shall be obligated to provide Licensor with a
                                               monthly report during the Boating Season outlining in detail the services performed during
                                               the previous month, which report can be provided by the service provider to Licensor
                                               directly.

                                                   Section 8.8.2            Except where Licensee is required to use the services of
                                               Licensor's pest control provider or trash collector, all other services required to be made to
                                               the Licensed Area by Licensee shall be provided by a contractor or contractors reasonably
                                               satisfactory to Licensor, having good labor relations, and capable of working in harmony
                                               with other contractors retained by Licensor and by other tenants and licensees of Navy Pier.

                                            Section 8.9   Environmental Requirements.

                                                   Section 8.9.1             During the Term: (i) Licensee shall, at its own cost, comply with
                                               all environmental laws, and any environmental rules, regulations, orders, and codes
                                               (collectively, "Environmental Laws"), pertaining to the Licensed Area and the conduct of
                                               Licensee's business and Licensee's use of Navy Pier and the Licensed Area; (ii) Licensee
                                               shall not use any portion or all of Navy Pier or the Licensed Area for the generation,
                                               treatment, storage, accumulation, release, or threat of release, or disposal of, "hazardous
                                               materials;" "hazardous waste;" "hazardous substances;" "pollutants;" "toxic materials;" or
                                               "oil" (individually and collectively, "Hazardous Materials") as such terms are used in or
                                               defined under the Comprehensive Environmental Response, Compensation and Liability Act
                                               of 1980, 42 U.S.C. Section 9601 et seq., as amended, the Resource Conservation and
                                               Recovery Act of 1976, 42 U.S.C. 6901 et seq., as amended, the Toxic Substance Control Act,
                                               and any and all other present or future environmental statutes which regulate the use of
                                               hazardous and/or dangerous substances, and the regulations promulgated thereunder and any
                                               and all present or future state and local laws, mles, and regulations, without the express prior



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                                              written consent of Licensor, and then only to extent that the presence or discharge of the
                                              Hazardous Materials is: (1) properly licensed and approved by all appropriate governmental
                                              officials and in accordance with all applicable laws and regulations; and (2) in compliance
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                                              with any terms and conditions stated in the prior written approval by the Licensor. Licensee
                                              shall not dispose of Hazardous Materials in dumpsters provided by the Licensor for
                                              Licensee's disposal of ordinary refuse. Licensee shall not discharge Hazardous Materials
                                              into drains or sewers or Lake Michigan. Licensee shall not cause or allow a Release (defined
                                              hereafter) on, to, or from the Licensed Area. Licensee shall, at its own cost, arrange for the
                                              lawful transportation and off-site disposal at a properly permitted facility of all Hazardous
                                              Materials that it generates or releases. Licensee shall keep such records and obtain such
                                              permits as may be required for Licensee's activities under any and all applicable
                                              Environmental Laws. For purposes of this Section, the term "Release" shall mean release,
                                              leaking, spilling, disposal, exacerbation or deposit of any Hazardous Materials on, in, or from
                                              the Licensed Area.

                                                  Section 8.9.2           Licensee may employ normal and reasonable amounts of
                                              cleaning and pest control supplies reasonably necessary for maintenance of the Licensed
                                              Area, including Hazardous Matelials used for boats and/or sold to boaters, so long as such
                                              Hazardous Materials are properly, safely, and lawfully stored and used by Licensee, and the
                                              quantity of such Hazardous Materials does not equal or exceed a "recordable quantity" as
                                              defined under 40 C.F.R. 302, as amended; provided that such storage and use is in
                                              accordance with all applicable statutes, laws, rules, and regulations and any manufacturer's
                                              instructions. Notwithstanding the foregoing, Licensee shall not Release any Hazardous
                                              Materials except as previously approved by Licensor in writing, and as provided by
                                              applicable statutes, laws, rules, and regulations and specifically may not discharge any
                                              Hazardous Materials into any public sewer, drain, drainpipe or Lake Michigan.

                                                  Section 8.9.3            Licensee shall promptly notify Licensor upon learning that any
                                              provision of this Section has been violated, that there has been a Release of any Hazardous
                                              Materials on any part of the Licensed Area or Navy Pier, that radon gas or urea fonnaldehyde
                                              has been detected on or in the Licensed Area, or that the Licensed Area is subject to any third
                                              party claim or action, or threat thereof, because of any environmental condition in, or
                                              originating on, in, from, or about the Licensed Area or Navy Pier. Licensee shall promptly
                                              provide Licensor with copies of all correspondence to and/or from third parties regarding
                                              such claims or actions or regarding environmental conditions in or originating from
                                              Licensee's operations in the Licensed Area or Navy Pier.

                                                  Section 8.9.4           In the event of a Release of any Hazardous Materials by Licensee
                                              or anyone acting by, through, or under Licensee, and/or any of Licensee's licensees,
                                              assignees, employees, contractors, agents, representatives, invitees, and the like (each such
                                              party, including Licensee, is a "Licensee Party," collectively, "Licensee Parties"),
                                              including the Release of any Hazardous Materials on, in, or from the Licensed Area by any
                                              Licensee Party, Licensee shall immediately cause complete remediation of the Release and
                                              restore the Licensed Area to the condition that existed before the Term Commencement Date
                                              or the date Licensee took possession of the Licensed Area for construction of Licensee
                                              Improvements, whichever is earlier. In addition, Licensee shall use reasonable efforts to


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                                              cause any boaters to remediate any spills caused by such boaters, provided, however,
                                              Licensee shall not be liable or responsible for any spills caused by the transient boatslip
                                              users. Licensor shall have the right, but not the obligation, to enter the Licensed Area and/or
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                                              any portion of Navy Pier or adjoining property, and remediate any environmental condition
                                              on the Licensed Area to cause same to comply with all laws, regulations, and ordinances
                                              during which time Licensee shall not be entitled to any abatement of Fee. Furthermore, to
                                              the extent such environmental condition is caused or exacerbated by any Licensee Party,
                                              Licensor may complete such remediation at Licensee's sole cost and expense, plus an
                                              administrative charge of five percent (5%) of such actual out-of-pocket costs.

                                                  Section 8.9.5             In addition to any other indemnity required of Licensee under
                                              this License, Licensee hereby indemnifies and agrees to defend and hold Licensor, its
                                              officers, directors, officials, trustees, employees, partners, servants, and agents (each an
                                              "Environmental Indemnified Party," collectively, "Environmental Indemnified
                                              Parties"), harmless from and against and reimburse them upon demand for payments made
                                              in accordance with this Section, and for any and all damages incuned due to Licensee's
                                              breach of its obligations under this Section, Licensee's use or Release of any Hazardous
                                              Materials, or any other Claim relating to or arising under any Environmental Law which may
                                              arise under Licensee's and/or any Licensee Party's occupancy or use of the Licensed Area or
                                              Navy Pier. Licensee's obligations under this Section shall survive the termination or
                                              expiration of this License, and shall not be affected in any way by the amount of, or absence
                                              in, any case of insurance coverage, or by the failure or refusal of any insurance canier to
                                              perform any obligation on its part under insurance policies affecting the Licensed Area, or
                                              any part thereof.

                                                  Section 8.9.6          Nothing in this License shall limit or impair any rights or
                                              remedies of the Licensor against Licensee or any other person under any other agreement,
                                              any Environmental Law, or otherwise at law or in equity, including any rights of contribution
                                              or indemnification. Rights granted to the Licensor under this Section shall be exercisable by
                                              any Environmental Indemnity Party.

                                                  Section 8.9.7           Without limiting other provisions of this Section or any other
                                              provisions of this License, Licensee shall be responsible for the proper disposal of all
                                              materials, construction, and demolition debris, soil and other waste generated by Licensee's
                                              business operations, including the construction of any Licensee Improvements to the
                                              Licensed Area, all in accordance with all Environmental Laws. Licensee shall identify to
                                              Licensor any disposal site or transfer station for materials, debris, soil, or other waste of
                                              which Licensee is disposing, prior to its disposal, and shall complete and execute any fonn
                                              required by the Licensor identifying such site or station. Licensee shall not use or allow to be
                                              used for disposal or transfer any site or station not properly licensed or to which Licensor
                                              objects. Any substitution, for whatever reason, shall be at Licensee's cost. Licensee shall
                                              pay the cost to remove waste to a properly licensed site or station.

                                                  Section 8.9.8          To the extent required by law, Licensee must show evidence to
                                              the Licensor of, and keep cunent throughout the Term of this License: all permits of any
                                              kind (including waste hauling, special waste hauling, and disposal permits), and insurance


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                                              certificates required by federal, state, municipal, and/or other local governmental body or
                                              agency pursuant to any Environmental Law; copies of all load tickets, manifests, bills of
                                              lading, scale tickets, and other pertinent documents, including copies of all permits and
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                                              licenses for the proposed transfer station or landfill; safety and accident reports; and records,
                                              reports, and petmits required by the Illinois Environmental Protection Agency and/or the
                                              United States Occupational Safety and Health Administration, their successors, and/or other
                                              similarly empowered governmental and quasi-governmental entities. All such records and
                                              accounts shall be subject to review by the Licensor and shall be made available to the
                                              Licensor within two (2) business days following written request by Licensor, or immediately
                                              upon Licensor's oral request in the event of an emergency or apparent emergency.
                                              Licensor's review of any such records and accounts shall not limit Licensee's obligations or
                                              liability under the terms and conditions of this License or any Environmental Law.

                                                 Section 8.9.9             Licensor shall have no liability to Licensee (except as expressly
                                              provided in this License) or any pennitted sublicensee, assignee, or occupant of the Licensed
                                              Area, or any portion thereof, or any of their respective members, employees, agents, partners,
                                              shareholders, officers, directors, contractors, licensees, or invitees, or other persons to whom
                                              Licensee has permitted entry or with whom Licensee has entered into a contract or
                                              understanding (oral or written) to use or occupy the Licensed Area, as a result of Hazardous
                                              Materials located on the Licensed Area.

                                                  Section 8.9.10           Licensor reserves the right to conduct an environmental audit and
                                              inspection of the Licensed Area at any time during the Tetm, but not more frequent than once
                                              a calendar year to determine whether Licensee is complying, or has complied, with the terms
                                              of this Article VIII, and whether any Hazardous Materials exist in the Licensed Area in
                                              violation of the tenus of this License. Such audit shall be done at Licensor's expense, and
                                              Licensor shall not interfere with Licensee's business.

                                                 Section 8.9.11          Licensor represents, warrants and covenants that, to the best of
                                             its knowledge, (1) as of the date Licensor delivers possession of the Licensed Area, there
                                             shall be no Hazardous Materials in, on, under or from the Licensed Area or Navy Pier, except
                                             Hazardous Materials which are customarily used in the ordinary course of operating a first-
                                             class recreational, cultural, commercial or residential development and in material
                                             compliance with all Environmental Laws; (2) after the date Licensor delivers possession of
                                             the Licensed Area, Licensor shall not cause Hazardous Materials to be present in, on, under
                                             or from the Licensed Area as well as Navy Pier (except to the extent introduced by Licensee
                                             or which are customarily used in the ordinary course of operating a first-class recreational,
                                             cultural, commercial or residential development, and in full compliance with all
                                             Environmental Laws) or release, discharge or dispose of any Hazardous Materials in, on,
                                             under or from the Licensed Area or Navy Pier; (3) Licensor shall comply with all
                                             Environmental Laws relating to Navy Pier and shall use commercially reasonable efforts to
                                             not permit others to engage in any activity at Navy Pier in violation of any Environmental
                                             Laws; (4) there is no action, proceeding, claim, litigation, investigation or information
                                             request pending or, to Licensor's knowledge, threatened regarding the Licensed Area or Navy
                                             Pier relating to Hazardous Materials or Environmental Laws (collectively, "Environmental
                                             Claims"); and (5) Upon request, Licensor shall provide Licensee with copies of any


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                                              environmental reports in its possession so that Licensee, its agents and representatives may
                                              conduct, at Licensee's cost and expense, investigations of the environmental condition of
                                              Navy Pier (all such investigation activities are collectively called "Environmental
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                                              Investigations").    Upon request, Licensor will promptly provide Licensee with an
                                              opportunity to review asbestos surveys for the Licensed Area and information on the location
                                              of other Hazardous Materials in the Licensed Area which are in the possession of or
                                              otherwise accessible to Licensor. Licensor agrees to remove any asbestos containing
                                              materials in the Licensed Area during construction of the Docking Facilities. With respect to
                                              any asbestos containing materials which are not so removed, Licensor agrees to be
                                              responsible for maintaining the condition of any asbestos containing materials present in the
                                              Licensed Area at the time of delivery in compliance with Environmental Laws, OSHA and
                                              state law requirements.

                                              Licensor represents and warrants to Licensee that, to the best of its knowledge, as of the date
                                              Licensor delivers possession of the Licensed Area to Licensee, the Common Areas that affect
                                              Licensee's access to and use of the Licensed Area materially comply with (and no notices of
                                              violation have been received in connection therewith that have not been corrected)
                                              environmental, air quality, zoning, building, health, fire, safety and other govemmental or
                                              regulatory rules, regulations, laws, ordinances, statutes, codes and requirements applicable to
                                              the Land or the Building (collectively, the "Building Laws"), including, without limitation,
                                              the ADA and any similar state and local rules, regulations, ordinances, statutes, codes and
                                              requirements. Licensor shall cause Navy Pier and all of the Common Areas to be
                                              continuously in material compliance with all Building Laws (as the same may be amended
                                              from time to time) that are enforced from time to time by the applicable government
                                              authorities.  Notwithstanding anything contained herein to the contrary, Licensee
                                              acknowledges that any ADA compliance with respect to the restrooms located in the
                                              Licensed Area are Licensee's responsibility. Licensor's obligations hereunder are a material
                                              inducement to Licensee's entering into this License.

                                              The foregoing notwithstanding, it is expressly understood that portions of Navy Pier and Polk
                                              Bros Park are within the Lindsey Light Superfund Site designated by the United States
                                              Environmental Protection Agency (https://www.epa.gov/lindsay-light) and may contain
                                              hazardous materials including but not limited to thorium and asbestos.

                                                                  ARTICLE 9- REPAIRS AND ALTERATIONS

                                           Section 9.1   Repairs to be Made by Licensor.

                                                  Section 9.1.1              Licensor, at its expense, will make, or cause to be made, within a
                                              reasonable period of time: .

                                                                9.1.1.1 structural repairs to the existing Navy Pier infrastructure, including
                                                         the seawall located adjacent to the Licensed Area (unless such repairs are caused
                                                         or necessitated by the acts or omissions of any Licensee Patty, in which case
                                                         Licensor will make the repairs, or cause them to be made, at Licensee's sole cost
                                                         and expense plus an administrative charge of five percent (5%) of such costs); and



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                                                                  9.1.1.2 repairs to base building systems outside the Licensed Area which
                                                          serve the Licensed Area (unless such repairs are necessitated by the acts or
                                                          omissions of any Licensee Party, in which case Licensor will make the repairs, or
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                                                          cause them to be made, at Licensee's sole cost and expense plus an administrative
                                                          charge of five percent (5%) of such costs).

                                                   Section 9.1.2           Licensee shall monitor the condition of the Licensed Area and
                                               shall give Licensor notice of the necessity of any repairs to be made by Licensor under this
                                               Section 9.1 of which Licensee becomes aware. If any repairs are necessary because of the
                                               acts or omissions of Licensee, its agents, employees, invitees, licensees, or contractors, all
                                               such repairs shall be made at Licensee's sole cost and expense.

                                            Section 9.2   Repairs to be Made by Licensee.

                                                   Section 9.2.1            Licensee shall make all repairs to the Licensed Area or any
                                               installations, equipment, or facilities therein at its expense, other than those repairs required
                                               to be made by Licensor pursuant to Section 9.1 or Section 14.1.

                                                   Section 9.2.2           Without limiting the generality of the foregoing, Licensee will
                                               keep the Licensed Area, together with all electrical, plumbing, and other mechanical
                                               installations in good working order and repair, and Licensee will make all replacements from
                                               time-to-time required thereto in Licensee's reasonable discretion and at its sole cost and
                                               expense.

                                                  Section 9.2.3             Licensee shall not overload the electrical wmng servmg the
                                               Licensed Area or within the Licensed Area, and will install at its expense, subject to the
                                               provisions of Section 9.4, any additional electrical wiring which may be required in
                                               connection with Licensee's apparatus. Subject to insurance coverage and not intending to
                                               void any such coverage, any damage or injury sustained by any person because of
                                               mechanical, electrical, plumbing, or any other equipment or installations, whose maintenance
                                               and repair shall be the responsibility of Licensee, shall be paid for by Licensee.

                                                  Section 9.2.4

                                                                  9.2.4.1 If an Emergency Situation (as hereinafter defined) exists as a result
                                                          of Licensor's failure to perform its obligations under this License, and corrective
                                                          action is necessary to relieve an Emergency Situation ("Emergency Action"),
                                                          then the following provisions will apply:

                                                                        i.           Licensor shall, promptly and in any event with 48 hours of
                                                                             learning of the need for Emergency Action (whether from written
                                                                             or oral notice from Licensee or otherwise) have qualified personnel
                                                                             evaluate the situations and commence the Emergency Action and
                                                                             pursue the same to completion with diligence;

                                                                       ii.           Licensor will provide to Licensee a preliminary schedule
                                                                             outlining the basic steps Licensor proposes to be taken to effect the


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                                                                               Emergency Action, and the times when such work is proposed to
                                                                               be done;
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                                                                        111.          Licensor shall do whatever is commercially reasonably
                                                                               necessary and feasible in order to accomplish the Emergency
                                                                               Action in the shortest reasonably feasible time; and

                                                                        iv.            An "Emergency Situation" means a situation which
                                                                              imminently threatens damage to property or substantial injury or
                                                                              peril to persons in the Licensed Area or in those areas of Navy Pier
                                                                              used by Licensee.



                                           Section 9.3     Damage to Licensed Area.

                                           Licensee shall repair, at its expense, any damage to the Licensed Area within a reasonable period
                                           of time after notice of such matter. Upon demand, Licensee shall reimburse Licensor (as
                                           Additional Fees) for the cost of the repair of any damage elsewhere in Navy Pier, caused by or
                                           arising from the installation or removal of property in or from the Licensed Area. Unless
                                           prohibited by weather or Force Majeure, as defined in Section 17.28 hereof, if Licensee shall fail
                                           to commence such repairs within five (5) days after notice to do so, Licensor may, after 5 days
                                           prior written notice, make or cause such repairs to be made and Licensee agrees to pay such costs
                                           including interest thereon at the Default Rate until paid, as well as an administrative charge equal
                                           to five percent (5%) of such costs.

                                           Section 9.4    Alterations by Licensee.

                                           Licensee shall not make any structural or publicly visible alterations, renovations, improvements,
                                           or other installations in, or to any part of the Licensed Area (including any alterations whatsoever
                                           of the storefront, signs, structural alterations, or any cutting or drilling of any kind into any part
                                           of the Licensed Area or any securing of any fixtures, apparatus, or equipment of any kind to any
                                           part of the Licensed Area) without Licensor's prior written consent, which approval shall not be
                                           unreasonably withheld, conditioned or delayed. However, with respect to any nonstructural
                                           alterations or cosmetic alterations to the Licensed Area costing Fifty Thousand and No/100
                                           Dollars ($50,000.00) or less in the aggregate in any consecutive twelve (12) month period which
                                           are consistent with the design and materials previously approved, Licensee will give Licensor
                                           prior written notice but need not obtain Licensor's consent. For the purposes of this Section 9.4,
                                           "cosmetic alterations" shall mean cosmetic alterations of a decorative nature (i.e., those
                                           alterations which consist solely of painting, carpeting, repairs and maintenance of the piers and
                                           other similar minor improvements which do not affect the structure of Navy Pier, the utility
                                           systems or other lines or systems in Navy Pier and do not require the issuance of a permit or
                                           Licensor to incur any costs for architectural and engineering review or construction
                                           management).




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                                            Section 9.5    Changes and Additions to Navy Pier.

                                            Licensor reserves the right at any time, and from time-to-time to: (a) make or permit changes or
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                                            revisions in the plan for Navy Pier (including additions to, subtractions from, rearrangements of,
                                            alterations, modifications, or supplements to, the building areas, walkways, driveways, parking
                                            areas, or other Common Areas); (b) construct other buildings or improvements in Navy Pier
                                            (including any portion of the Common Areas), and make alterations thereof or additions thereto
                                            (including any portion of the Common Areas) and construct additional facilities and uses on or in
                                            any such building(s) (or Common Areas) and build adjoining same; and (c) make or permit
                                            changes or revisions in Navy Pier, including additions thereto and alterations thereof, provided,
                                            however, Licensor shall not adversely change the ingress or egress to the Licensed Area or the
                                            visibility of the Licensed Area. No exercise by Licensor of any rights herein reserved shall
                                            entitle Licensee to any compensation, damages, abatement of Fee, or the like, for any injury,
                                            inconvenience, or loss of business thereby. In addition, Licensor shall provide access to the
                                            south side ofNavy Pier during Navy Pier operating hours.

                                                                          ARTICLE 10- COMMON AREAS

                                            Section 10.1 Use of Common Areas.

                                            Licensor grants to Licensee and its agents, employees, and customers, a non-exclusive license to
                                            use the Common Areas in common with others during the Term, subject to the exclusive control
                                            and management thereof at all times by Licensor or others, and subject, further, to the rights of
                                            Licensor set forth elsewhere in this License.

                                            Section 10.2 Management and Operation of Common Areas.

                                            Licensor will operate and maintain, or will cause to be operated and maintained, the Common
                                            Areas in a manner deemed by Licensor to be reasonable and appropriate in a first class manner
                                            and consistent with other national attractions and in the best interests of Navy Pier. Licensor will
                                            have the right: (a) to establish, modify, and enforce reasonable rules and regulations with respect
                                            to the Common Areas, including the Navy Pier Licensee Guidelines attached to this License, as
                                            same may be amended, supplemented, or replaced; (b) to enter into, modify, and terminate
                                            easements, licenses, and other agreements pertaining to the use and maintenance of the Common
                                            Areas; (c) to close all or any portion of the Common Areas to such extent as may, in the opinion
                                            of Licensor, be necessary to prevent a dedication thereof or the accrual of any rights to any
                                            person or to the public therein; (d) to close temporarily or permanently, from time-to-time, any
                                            or all portions of the Common Areas; (e) to operate for its own account various income-
                                            producing facilities, kiosks, stands, vending machines, and the like in the Common Areas; and (f)
                                            to do and perform such other acts in and to these areas and improvements as Licensor shall
                                            determine in the exercise of its business judgment. No exercise by Licensor of any rights herein
                                            reserved shall entitle Licensee to any compensation, damages, abatement of Fee, or the like from
                                            Licensor for any injury, inconvenience, or loss of business thereby. Provided, Licensor shall
                                            apply and exercise its rights under this Section in a manner which does not discriminate against
                                            Licensee as compared to like situated occupants of navy Pier. It is understood that immediately
                                            adjoining the Licensed Area to the south is an access roadway used for deliveries as well as



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                                            access to other parts of Navy Pier. Licensor shall, at all times when the Docking Facilities are
                                            Open for Business, provide ingress to or egress from the Licensed Area for users of the Docking
                                            Facilities.
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                                                           ARTICLE 11 --LICENSOR'S INTELLECTUAL PROPERTY/
                                                                          SPONSORSHIP RIGHTS

                                            Section 11.1 Ownership Rights.

                                            Licensor licenses all right, title and interest to the trademarks and service marks, Navy Pier®,
                                            among others ("Navy Pier Marks"). Licensee must not use, or allow others to use, the Navy
                                            Pier Marks for any purpose without the Licensor's express written consent, subject to such terms
                                            and conditions as Licensor may, in its sole discretion, prescribe. Licensee may, however, use the
                                            words "Navy Pier," solely to denote the geographic location of the Licensed Area and Licensee's
                                            pe1mitted business therein or as part of the Docking Facilities Trade Name as provided in this
                                            License.

                                            Section 11.2 Exclusive Sponsorship Agreements.

                                            Licensor reserves the right to enter into agreements to grant exclusive sales or advertising rights
                                            (each a "Sponsorship Agreement") to certain products, brands, and/or services (each an
                                            "Official Brand," collectively, "Official Brands") on Navy Pier. Accordingly, to the extent
                                            permitted by law, Licensee shall not sell, serve, advertise, promote, or display at Navy Pier any
                                            competing products, brands, or services within, from or outside of its Licensed Area or in any
                                            outdoor areas (whether or not considered part of the Licensed Area), including through displays
                                            or signs visible through or on any windows facing onto any part of Navy Pier, nor in
                                            advertisements, promotional material, or displays referring to Navy Pier or utilizing (if Licensor
                                            has not given its express prior written consent thereto) Licensor's logos or service marks.
                                            Licensee shall not interfere with Licensor's sponsors' events. If and when, from time-to-time,
                                            Licensor enters into any Sponsorship Agreement, then, to the extent permitted by law, Licensee
                                            shall, and hereby agrees to, sell, advertise, feature, promote, and display the Official Brand or
                                            Official Brands covered thereunder and no others within the same sponsorship category. These
                                            provisions do not preclude Licensee from negotiating and entering into a Sponsorship Agreement
                                            with Licensor, but Licensor shall have no obligation to do so.

                                                                              ARTICLE 12 -UTILITIES

                                            Section 12.1 Water, Electricity, Telephone and Sanitary Sewer.

                                                   Section 12.1.1           Licensor will allow Licensee the use of existing utility facilities
                                               to points of connection at the Licensed Area to enable Licensee to obtain for the Licensed
                                               Area water, electricity, telephone, and sanitary sewer service. Licensee shall arrange for
                                               such utility services and shall pay all charges for water, electricity, telephone, and sanitary
                                               sewer services used in the Licensed Area and supplied by a public utility company or public
                                               authority or any other person, firm or corporation, including Licensor, supplying the same in
                                               the area in which Navy Pier is located. Licensor shall at all times during the Term provide



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                                                utility facilities to the Licensed Area without any Licensor imposed hookup fees, mark-up or
                                                administrative charge. Licensee shall be responsible for any utility imposed hookup fees,
                                                mark-up or administrative charge.
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                                                     Section 12.1.2         Licensor, in its sole discretion but in a manner that does not
                                                materially and adversely interfere with Licensee's business, shall have the right, from time-
                                                to-time, to change the method and source of supply of water, electricity, telephone, and/or
                                                sanitary sewer to the Licensed Area, and Licensee agrees to execute and deliver to Licensor
                                                such reasonable documentation as may be required to effect such change.

                                            Section 12.2 Heating, Ventilating and Air Conditioning; Natural Gas; No Propane.

                                                   Section 12.2.1             To the extent called for in the Licensee Improvement Plans,
                                                Licensee shall install the facilities for heating, ventilating, and air-conditioning structures
                                                within the Licensed Area and shall operate, repair, maintain, and replace same during the
                                                Term, all at its sole cost and expense.

                                                   Section 12.2.2            If Licensee requires natural gas for the normal operation of
                                               Licensee's business, it shall obtain and maintain natural gas utility service from the local gas
                                               provider, who shall provide the gas through the mains located in locations selected by
                                               Licensor. All costs and expenses relating to the provision of gas to the Licensed Area from
                                               such mains, including any installation and/or repair of lines and equipment necessary or
                                               desirable for Licensee's use, shall be at Licensee's expense. Licensee shall be responsible
                                               for the repair of any damage to the Common Areas and other parts of Navy Pier caused by
                                               installing and maintaining its natural gas utility service, from and after the connection point
                                               to the Licensed Area. The location of the equipment and lines utilized in connection with
                                               natural gas utility service are subject to Licensor's approval. All such lines and equipment
                                               shall be maintained, repaired, and/or replaced by Licensee at its sole cost and expense.

                                                   Section 12.2.3          Licensee shall not bring propane gas onto, nor use propane gas
                                               within the Licensed Area for its primary heating source. However, Licensee and boats use
                                               propane as a fuel source for galley, space heating, outboard motors, and other ancillary uses,
                                               which uses shall be permitted under this Section.

                                            Section 12.3 Miscellaneous Utilities.

                                            Licensee shall be solely responsible for, and shall promptly pay all charges for the maintenance,
                                            repair, and replacement of, all systems and distributions channels relating to and contained
                                            within the Licensed Area (or to the point of connection, if further), miscellaneous utilities such
                                            as, but not limited to, telephone, internet, cable, electronic alarm services, guard or security
                                            services, janitors, and/or any other utility services used or consumed in the Licensed Area.

                                            Section 12.4 Fire Protection System.

                                            To the extent required by law, Licensee shall provide, install, repair, and maintain, or cause to be
                                            provided, installed, repaired, and maintained, a fire protection system in the Licensed Area.



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                                            Section 12.5 Discontinuances and Interruptions of Utility Services.

                                            To the fullest extent permitted by law, Licensor reserves the right to cut-off and discontinue,
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                                            upon thirty (30) days' written notice to Licensee, the furnishing of any utility services furnished
                                            by Licensor at any time when Licensee has failed to pay when due any amount (whether as Fee
                                            or otherwise) due under this License. Except as set forth below regarding an abatement of Fees,
                                            Licensee acknowledges and agrees that Licensor and its agents shall not be liable for damages,
                                            for failure to furnish or delay in furnishing any service required to be furnished by Licensor, if
                                            any. No such failures or delays in any service required to be furnished by Licensor, if any, nor
                                            any inability of Licensee to obtain utility service, nor any failure or delay of any utility service
                                            provider to provide utility service shall be deemed to constitute an eviction or disturbance of
                                            Licensee's use and possession of the Licensed Area, nor relieve Licensee from paying Fees or
                                            performing any of its obligations under this License. Notwithstanding anything herein to the
                                            contrmy, and without in any manner abating or affecting any insurance Licensee may maintain,
                                            in the event of an interruption in services for any reason caused by Licensor, then, the Fees shall
                                            abate commencing on the fifth (5 1h) day of such intenuption until the service is restored.

                                                                   ARTICLE 13 -INDEMNITY AND INSURANCE

                                            Section 13.1   Indemnity by Licensee.

                                                   Section 13.1.1           To the fullest extent permitted by law, Licensee shall and does
                                               hereby indemnify and agree to hold Licensor, its officers, agents, and employees, harmless,
                                               and, at Licensor's option, defend some or all of the foregoing, from and against any and all
                                               claims, actions, damages, liabilities, and expenses, including reasonable attorneys', court
                                               costs, and other professional fees and costs, in connection with loss of life, personal injury, or
                                               damage to or loss of property arising from or out of the occupancy or use by Licensee of the
                                               Licensed Area or any part thereof or any part of Navy Pier, or arising out of, or in any way
                                               relating to: (i) any act or omission of Licensee, or any Licensee Party; (ii) or any breach of
                                               Licensee's obligations and/or representations and warranties under this License.

                                                   Section 13.1.2          Licensee's indemnity obligation is not limited in any way by the
                                               amounts required under insurance requirements contained in this License, and shall survive
                                               the termination or early expiration of this License.

                                                   Section 13.1.3           To the fullest extent permitted by law, Licensor shall and does
                                               hereby indemnify and agree to hold Licensee, its officers, agents, and employees, harmless,
                                               and, at Licensee's option, defend some or all of the foregoing, from and against any and all
                                               claims, actions, damages, liabilities, and expenses, including reasonable attorneys', court
                                               costs, and other professional fees and costs, in connection with loss of life, personal injury, or
                                               damage to or loss of property arising from: (i) any act or omission of Licensor, or any
                                               Licensor Party; or (ii) any breach of Licensor's obligations and/or representations and
                                               warranties under this License.

                                            Section 13.2 Parties Not Responsible for Acts of Others.




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                                                  Section 13.2.1            Except as otherwise set forth herein or if prohibited by law, and
                                              to the fullest extent permitted by law, Licensor shall not be responsible or liable to Licensee,
                                              or to those claiming by, through or under Licensee, for any loss or damage which may be
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                                              occasioned by or through the acts or omissions of persons occupying space adjoining the
                                              Licensed Area, or any part of the premises adjacent to or connecting with the Licensed Area,
                                              or any other pmi of Navy Pier, or otherwise, or for any loss or damage resulting to Licensee,
                                              or those claiming by, through or under Licensee, or its or their property, from the breaking,
                                              bursting, stoppage, or leaking of electrical cable and wires, or water, gas, sewer, or steam
                                              pipes. To the maximum extent permitted by law, Licensee agrees to use and occupy the
                                              Licensed Area, and to use such other pmiions of Navy Pier as Licensee is herein given the
                                              right to use, at Licensee's own risk.

                                                  Section 13.2.2           Except as otherwise prohibited by law, and to the fullest extent
                                              permitted by law, Licensee shall not be responsible or liable to Licensor, or to those claiming
                                              by, through or under Licensor, for any loss or damage which may be occasioned by or
                                              through the acts or omissions of persons occupying space adjoining the Licensed Area, or
                                              any part of the premises adjacent to or connecting with the Licensed Area, or any other part
                                              of Navy Pier, or otherwise, or for any loss or damage resulting to Licensor, or those claiming
                                              by, through or under Licensor, or its or their property, from the breaking, bursting, stoppage,
                                              or leaking of electrical cable and wires, or water, gas, sewer, or steam pipes in areas other
                                              than the Licensed Area.

                                           Section 13.3 Insurance.

                                           During the Term, Licensee and Licensor shall maintain insurance m accordance with the
                                           attached Exhibit H.

                                                                ARTICLE 14 --DAMAGE AND DESTRUCTION

                                           Section 14.1 Licensee's Obligation to Repair.

                                                  Section 14.1.1         If the Licensed Area shall be damaged by fire, the elements,
                                              accident, or other casualty (any of such causes being referred to in this License as a
                                              "Casualty"), then, subject to the provisions of Section 14.2, Licensee shall cause such
                                              damage to be repaired and there shall be no abatement of Fee.

                                                  Section 14.1.2           Excluding any interruptions caused by the gross negligence or
                                              willful misconduct of Licensor or its employees, contractors or agents, Licensor shall not be
                                              liable for interruption to Licensee's business or for damage to, or replacement or repair of,
                                              Licensee's personal property (including inventory, trade fixtures, floor coverings, furniture,
                                              and other propetiy removable by Licensee under the provisions of this License) or to any
                                              Licensee Improvements, installed in the Licensed Area. Except as set forth above, such
                                              repair, replacement, and restoration of same shall solely be Licensee's responsibility.




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                                                  Section 14.1.3           Licensee will commence and proceed with reasonable diligence
                                              to repair, replace, and restore Licensee Improvements, in accordance with the terms of this
                                              License applicable to work performed by Licensee.
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                                           Section 14.2 Option to Terminate License.

                                                 Notwithstanding anything contained in Section 14.1, if as a result of a Casualty and/or
                                              other similar occurrence in or to Navy Pier:

                                                                        i. the Licensed Area is: (i) rendered wholly or partially untenantable
                                                                          as reasonably detennined by Licensee; (ii) damaged as a result of
                                                                          any cause which is not covered by Licensee's insurance or for
                                                                          which Licensee does not receive reimbursement; or (iii) damaged
                                                                          or destroyed in whole or in part during the last twenty-four (24)
                                                                          months of the Term;

                                                                       ii. a material portion of Navy Pier shall be so substantially damaged
                                                                          that it is reasonably necessary or desirable, in Licensor's sole
                                                                          judgment, to demolish all, or a material portion, of Navy Pier for
                                                                          the purpose of reconstruction;

                                                                      iii. any ground lease or other superior lease, including the Prime
                                                                          Lease (defined hereafter), is terminated;

                                                                      iv. repayment of the loan secured by a mortgage or other financing
                                                                         vehicle affecting all or any portion of Navy Pier is accelerated.

                                                  Then, with respect to (i) above, Licensee may elect to tenninate this License by giving to
                                                  Licensor notice of such election within one hundred twenty (120) days after the
                                                  occurrence of such Casualty, and with respect to (ii), (iii) and (iv) above, Licensor may
                                                  elect to tenninate this License by giving to Licensee notice of such election within one
                                                  hundred twenty (120) days after the occurrence of such Casualty. If such notice is given,
                                                  the rights and obligations of the parties shall cease as of the date of such notice, except
                                                  for obligations of Licensee accruing prior to such termination. In such case, Fee,
                                                  including any Percentage Fee and Additional Fee due Licensor by reason of Licensee's
                                                  failure to perfonn any of its obligations hereunder shall be adjusted as of the date of such
                                                  termination.

                                           Section 14.3 Insurance Proceeds.

                                           If, after a Casualty or other similar occurrence in or to Navy Pier, this License is not terminated
                                           pursuant to Section 14.2, Licensee shall use the proceeds of its insurance required to be carried
                                           under this License for repair and restoration of Licensee Improvements, and personal property in
                                           the Licensed Area. In case of termination of this License, all insurance proceeds payable with
                                           respect to Licensee Improvements and fixtures, plus any deductible shall be paid to Licensor by
                                           Licensee to the extent necessary to remove any remaining Docking Facilities and restore the
                                           Licensed Area.


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                                                       ARTICLE 15 -ASSIGNMENTS, TRANSFERS AND SUBLETTING

                                           Section 15.1 Licensor's Consent Required.
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                                                  Section 15.1.1           Except as expressly provided in this Section, Licensee shall not
                                              assign or otherwise transfer any right, title, or interest in this License, in whole or in part, nor
                                              sublet (including to franchisees or franchisors) all or any part of the Licensed Area, nor sub-
                                              license any part thereof, nor pledge or encumber by mortgage or other instruments its interest
                                              in this License, nor permit others to use or occupy the Licensed Area, without first obtaining
                                              the written consent of Licensor, which consent shall not be unreasonably withheld,
                                              conditioned or delayed. If Licensee shall request Licensor's consent to any such assignment
                                              or sub-licensing, Licensee shall pay to Licensor: (i) the sum of Two Thousand Dollars
                                              ($2,000.00) to cover Licensor's administrative costs and overhead in connection with such
                                              assignment or sub-licensing; and (ii) any additional costs and expenses, including reasonable
                                              attorneys' fees, incurred by Licensor in connection with Licensor's review of such
                                              assignment or sub-licensing not to exceed Two Thousand Five Hundred and No/100 Dollars
                                              ($2,500.00). The aforementioned sums shall be payable to Licensor regardless of whether or
                                              not Licensor consents to such assignment or sublicense.

                                                  Section 15.1.2           Notwithstanding anything to the contrary contained in this
                                              License, (i) in no event shall an assignment of this License be permitted to any Person if it is
                                              a Prohibited Successor, and any assignment of this License to any such Prohibited Successor
                                              shall cause a tern1ination of this License unless cured within thirty (30) days after the
                                              effective date of the assignment of this License to a Prohibited Successor and (ii) if the
                                              Licensee under the License shall at any time become a Prohibited Successor, then this
                                              License shall thereupon automatically and immediately terminate; provided, fmiher, that to
                                              the extent the dismissal or removal of any Person would cause the Licensee to no longer be a
                                              Prohibited Successor, this License shall terminate only if the Licensee fails to dismiss or
                                              remove such Person within thirty (30) days of becoming a Prohibited Successor. Following a
                                              permitted assignment of this License, the successor licensee shall be responsible for
                                              Licensee's obligations under this License, whether accruing prior to or after the date of such
                                              assignment. For purposes of this License, a "Prohibited Successor" means any Person who
                                              is, or whose agents, employees or officers are, subject to Debannent, and "Debarment"
                                              means the present debarment, prohibition, suspension, declaration of ineligibility, or
                                              voluntary exclusion as memorialized in a publicly-available document from transacting
                                              business by a party or entity or its agents, employees or officers with the federal govemment
                                              of the United States, the State of Illinois, Cook County, the City of Chicago, the Authority or
                                              any department or agency thereof.

                                                  Section 15.1.3          In the event of any sublicense of all or any pmiion of the
                                              Licensed Area, or assignment of this License, where the Fees reserved in the sublet exceeds
                                              the Fees or pro rata portion of the Fees, as the case may be, for such space reserved in this
                                              License, or where consideration is received for an assignment of this License, Licensee shall
                                              pay to Licensor: (i) monthly, as Additional Fees, at the same time as the monthly
                                              installments of the Base Fee hereunder, fifty percent (50%) of the excess of the Fee reserved
                                              in the sublicense or assignment over the Fee reserved in this License applicable to the



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                                               sublicensed space, in case of a sublicense; and (ii) when any consideration received in case of
                                               an assignment. Under no circumstances shall Licensee be obligated to pay to Licensor any
                                               consideration received by Licensee in consideration of the sale of its business or assets.
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                                                  Section 15.1.4            Licensee shall submit to Licensor a request for permission to
                                              assign, transfer, or sublet this License, or any portion thereof or any portion of the Licensed
                                              Area, setting forth a proposed effective date of the assignment, transfer, or sublicense, which
                                              date shall be not less than thirty (30) days after such request has been made to Licensor.
                                              Licensee shall include with the notice a copy of the proposed sublicense, transfer, or
                                              assignment, copies of all agreements collateral thereto, and details regarding ownership
                                              interests, with respect to the proposed sublessee, transferee, or assignee and other
                                              information concerning the proposed sublicensee, transferee, or assignee, or its business that
                                              Licensor may reasonably request. In addition to Licensor's right to approve or disapprove
                                              the proposed sublicense, transfer, or assignment, as set forth above, Licensor shall have the
                                              right, to be exercised by giving notice to Licensee within thirty (30) days after receipt of
                                              Licensee's notice, to terminate this License as to all the Licensed Area, and/or portion
                                              thereof, described in the proposed sublicense, transfer, or assignment. If notice of
                                              termination is given as to the entire Licensed Area, then this License shall terminate on the
                                              proposed effective date of the sublicense, transfer, or assignment as if it were the expiration
                                              of the Term. If the notice of termination covers only part of the Licensed Area, then this
                                              License shall terminate as to that portion of the Licensed Area as if it were the expiration of
                                              the Tetm as to that p01iion of the Licensed Area. In such case, the Fees, First Breakpoint and
                                              Second Breakpoint shall be adjusted on the basis of the proportion of the gross square
                                              footage retained by Licensee to Licensee's Licensed Area originally identified, this License
                                              as so amended shall continue thereafter in full force and effect. In such event, Licensee, at its
                                              sole cost and expense, shall separate the portion of the Licensed Area so removed from this
                                              License from the portion of the Licensed Area retained by Licensee. No tennination of this
                                              License with respect to all or part of the Licensed Area shall become effective without the
                                              prior written consent, where necessary, of each mortgagee, ground lessor, and Prime Lessor.
                                              Notwithstanding if Licensor gives notice of its termination under this paragraph, Licensee
                                              shall have the right, to be exercised by giving notice to Licensor within ten (1 0) days after
                                              receipt of Licensor's notice of termination, to withdraw its request for permission to assign,
                                              transfer or sublet (but Licensee's payment of the sums required by Section 15.1.1 shall
                                              remain due) and, in such event, Licensor's notice oftermination shall be of no force or effect.
                                              The failure of Licensor to exercise its right of termination shall not be construed in any
                                              manner to be an approval of Licensee's request to assign, transfer, or sublet, such approval to
                                              be effective only if given in writing by Licensor to Licensee.

                                                  Section 15.1.5           Notwithstanding anything contained in this Section 15 to the
                                              contrary, Licensee shall have the right, upon prior written notice to Licensor but without
                                              Licensor's consent, to assign this License to a Permitted Assignee (as hereafter defined) or
                                              sublet all or any portion of the Licensed Area to a Permitted Sublicensee (as hereinafter
                                              defined), provided that such assignment or subletting shall not relieve Licensee of its primary
                                              responsibility for the performance of all obligations of Licensee hereunder, and in the event
                                              of an assignment to a Permitted Assignee, such Permitted Assignee assumes, pursuant to an
                                              agreement in form and substance reasonably satisfactory to Licensor, the obligations of


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                                              Licensee hereunder and in the event of a sublet, such sublet is govemed by a form of
                                              sublicense reasonably approved in advance by Licensor. Without limiting the generality of
                                              the effect of the foregoing, any Petmitted Assignee or Permitted Sublicensee shall be subject
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                                              to all the terms and conditions of this License, including the restrictions on the Permitted Use
                                              set forth in Section 2.2 above. In addition to not requiring Licensor's consent, an assignment
                                              or sublease to a Permitted Assignee or Petmitted Sublicensee shall not be subject to Section
                                               15 .1.4 above regarding Licensor's right to terminate this License or Section 15 .1.3 above
                                              regarding Licensor's sharing in sublease profits. As used herein, a "Permitted Assignee" and
                                              "Permitted Sublicensee" shall mean (i) any entity owned or controlled by Licensee, (ii) any
                                              entity of which Licensee is a subsidiary (on any level), (iii) any entity which is under
                                              common ownership or control with Licensee, or (iv) an entity that acquires all or
                                              substantially all of the assets or membership interests of Licensee, provided that (x) the use
                                              of the Licensed Area remains unchanged and the reputation, business, and financial
                                              responsibility of the proposed assignee are consistent with the first-class nature of Navy Pier,
                                              (y) the assignee has a net worth at least equal to the net worth of Licensee immediately
                                              before such assignment, and (z) the principals of the proposed assignee are experienced in
                                              the operation of a Docking Facility and shall have previously owned, and/or operated and/or
                                              managed a business similar to the Permitted Use prior to such transfer. To the extent
                                              permitted by law, at least thirty (30) days prior to the effective date of such assignment or
                                              sublease, Licensee agrees to deliver to Licensor documentation evidencing that Licensor does
                                              not have the right to consent to such transaction pursuant to this Section 15 .1.5. Further, to
                                              the extent permitted by law, Licensee agrees to deliver to Licensor, within ten (10) days prior
                                              to the effective date of such assignment or sublease, fully executed copies of the documents
                                              effectuating such assignment or sublease. In addition, any transfers of membership interests
                                              in Licensee for estate planning purposes shall be permitted hereunder.

                                           Section 15.2 Acceptance of Fee from Transferee.

                                                  Section 15.2.1           The acceptance by Licensor of the payment of Fees following
                                              any assignment or other transfer prohibited by this Article shall not be deemed to be a
                                              consent by Licensor to any such assignment or other transfer, nor shall the same be deemed
                                              to be a waiver of any right or remedy of Licensor hereunder.

                                                  Section 15.2.2            If Licensee shall assign this License, to the extent petmitted
                                              herein, the assignee shall expressly assume all of the obligations of Licensee hereunder in a
                                              written instrument satisfactory to Licensor, which instrument shall be fumished to Licensor
                                              not later than thirty (30) days prior to the effective date of the assignment. If Licensee shall
                                              sublease the Licensed Area as permitted herein, Licensee shall obtain and fumish to
                                              Licensor, not later than thirty (30) days prior to the effective date of such sublease and in
                                              form satisfactory to Licensor, the final, fully executed sublease agreement. Any such
                                              sublicense shall be consistent with the terms of this License, and shall contain the
                                              sublicensee's written agreement to the effect that the sublicensee will attom to Licensor, at
                                              Licensor's option and written request, in the event this License terminates before the
                                              expiration of the sublicense, as well as other terms and conditions required by Licensor.
                                              Each sublicense shall require the sublicensee to carry insurance required under this License




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                                               for the benefit of Licensor and the Prime Licensor, and shall also include indemnity and
                                               waiver provisions as contained in this License for the benefit of Licensor.
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                                                                    ARTICLE 16 -DEFAULTS AND REMEDIES

                                            Section 16.1   "Event of Default" Defined.

                                            Any one or more of the following events shall constitute an "Event of Default" for which
                                            Licensor shall have the remedies provided for it in Section 16.3 and elsewhere in this License:

                                                                   16.1.1.1       Failure of Licensee to pay any Fee or other sum of money
                                                           on or prior to the date after five (5) days written notice. Provided, late fees shall
                                                           not be considered an Event of Default if such late fees occur not more than 2
                                                           times in any License Year and such fees are paid on or before the 101h day of the
                                                           month.

                                                                  16.1.1.2        Failure by Licensee to perform or observe any material
                                                           covenant or material agreement of this License (other than default in payment of
                                                           Fee and other than the other defaults enumerated below), which failure is not
                                                           cured within thirty (30) days after the giving of written notice thereof by Licensor,
                                                           provided, however, there shall be no default if Licensee has commenced to cure
                                                           same during said 30-day period and is diligently proceeding to cure same.

                                                                  16.1.1.3       Licensee abandons the Licensed Area, or fails to take
                                                           possession of the Licensed Area when available for occupancy, whether or not
                                                           Licensee thereafter continues to pay the Fee due under this license.

                                                                  16.1.1.4        A failure by Licensee to commence or continually conduct
                                                           and operate its business in accordance with the provisions of this License.

                                                                   16.1.1.5       If Licensee or an agent of Licensee shall knowingly falsify
                                                           or misrepresent any report or disclosure document or provide any other materially
                                                           incorrect information required to be furnished to Licensor pursuant to the terms of
                                                           this License.

                                                                   16.1.1.6      Licensee's failure to obtain and maintain the Letter of
                                                           Credit required under Section 7.7.

                                                                   16.1.1. 7       The making by Licensee of an assignment for the benefit of
                                                           its creditors, or if in any other manner Licensee's interest in this License shall
                                                           pass to another by any means prohibited herein, including by operation of law.

                                                                  16.1.1.8        The sale of Licensee's interest in the Licensed Area under
                                                           attachment, execution, or similar legal process, or, if Licensee is adjudicated a
                                                           bankrupt or insolvent.




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                                                                 16.1.1.9       The filing of a voluntary or involuntary petition proposing
                                                         the adjudicating of Licensee or any guarantor of Licensee's obligations hereunder
                                                         as a bankrupt or insolvent, or the reorganization of Licensee or any guarantor of
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                                                         this License, or an arrangement by Licensee or any such guarantor with its
                                                         creditors, whether pursuant to the United States Bankruptcy Code, 11 U.S.C.
                                                         §101, et. §%!., as amended or superseded from time-to-time ("Bankruptcy
                                                         Code") or any similar federal or state proceedings, unless such petition is filed by
                                                         a party other than Licensee or any guarantor of this License, and same IS
                                                         withdrawn or dismissed within thirty (30) days after the date of filing.

                                                                16.1.1.10      The appointment of a receiver or trustee for the business or
                                                         property of Licensee or any guarantor of this License.

                                                                 16.1.1.11     An event of default after applicable notice and cure periods
                                                         shall occur under Licensee's construction loan.

                                                                 16.1.1.12     The occurrence of any other event described as constituting
                                                         an "Event of Default" or a default elsewhere in this License, after applicable
                                                         notice and cure periods.

                                                                 16.1.1.13      An event of default after applicable notice and cure periods
                                                         shall occur under the Development Agreement.

                                                  Section 16.1.2            Except as otherwise provided hereinabove, Licensee shall be in
                                              default under the terms of this License for an Event of Default thirty (30) days after the
                                              receipt by Licensee of written notice by Licensor of such breach which notice shall
                                              specifically set out the breach. Licensee shall not be considered in default so long as Licensee
                                              commences to cure the breach in a diligent and prudent manner and is allowed such
                                              additional time as reasonably necessary to correct the breach.

                                                  Section 16.1.3            Licensor shall be in default under the terms of this License in the
                                              event Licensor shall violate, neglect, or fail to observe, keep or perform any covenant or
                                              agreement which is not observed, kept, or performed by Licensor within ten (1 0) days after
                                              the receipt by Licensor of written notice by Licensee of such breach which notice shall
                                              specifically set out the breach. Licensor shall not be considered in default so long as Licensor
                                              commences to cure the breach in a diligent and prudent manner and is allowed such
                                              additional time as reasonably necessary to correct the breach.

                                                  Section 16.1.4           To the fullest extent permitted by law, in no event shall either
                                              Party be liable for any consequential, punitive, special, or speculative damages whatsoever.

                                           Section 16.2 Bankruptcy.

                                                 Section 16.2.1       Upon the filing of a petition by or against Licensee under the
                                              Bankruptcy Code and upon such filing of the petition, Licensee, as debtor or as debtor in
                                              possession, agrees:



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                                                               16.2.1.1       To perform promptly and fully each and every obligation of
                                                       Licensee under this License, including the obligations set forth in Section 5.1 of
                                                       this License, until such time as this License is either rejected or assumed by order
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                                                       of a United States Bankruptcy Court or other United States Court of competent
                                                       jurisdiction; or deemed rejected by operation of law, pursuant to 11 U.S.C.
                                                       §365(c)(4).

                                                              16.2.1.2       Notwithstanding anything in this License to the contrary,
                                                       all amounts payable by Licensee to or on behalf of Licensor hereunder, whether
                                                       or not expressly denominated as Fee, shall constitute "rent" for the purposes of
                                                       Section 502(b)(7) of the Bankruptcy Code, including reasonable attorneys' fees
                                                       incurred by Licensor by reason of Licensee's bankruptcy.

                                                               16.2.1.3      That included within and in addition to any other
                                                       conditions or obligations imposed upon Licensee in the event of assumption
                                                       and/or assignment are the following:

                                                                    i.In the event of assignment, the execution and delivery to Licensor
                                                                      of an instrument by which the assignee assumes all of the
                                                                      obligations arising under this License from and after the date of
                                                                      assignment pursuant to the provisions of the Bankruptcy Code.

                                                                    ii.The cure of any defaults and the compensation of pecuniary loss
                                                                       resulting from any such default, within thirty (30) days after
                                                                       assumption.

                                                                   iii. The Permitted Use of the Licensed Area, and the maintenance of
                                                                        the quality, quantity, or lines of merchandise of any goods or
                                                                        service required to be offered for sale be offered from the Licensed
                                                                        Area as required under this License; it being understood and
                                                                        agreed that the provisions in this License relating to the Permitted
                                                                        Use, are essential to preserve the tenant mix in Navy Pier.

                                                                   iv.In the event of assignment, any options granted Licensee herein,
                                                                      such as expansion, extension, renewal, right of first refusal, right of
                                                                      first offer, termination, and the like, shall be deemed null and void
                                                                      to the fullest extent permitted by law.

                                                                    v .Adequate assurance of future performance under this License, for
                                                                       the purpose of assumption or assignment, shall include adequate
                                                                       assurance:

                                                                      (1)    of the source of Fee and other consideration due under this
                                                                             License, and in the event of assignment, that the financial
                                                                             condition and operating performance of the proposed
                                                                             assignee and its guarantors, if any, shall be at least equal to



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                                                                                the financial condition and operating performance of the
                                                                                Licensee and its guarantors, if any, as of either: the time
                                                                                the Licensee became the lessee under this License; or the
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                                                                                date immediately prior to such transfer, whichever is
                                                                                greater; ·

                                                                         (2)    that any Percentage Fee due under this License will not
                                                                                decline;

                                                                         (3)    that any assumption or assignment of this License is subject
                                                                                to all the provisions thereof, including (but not limited to)
                                                                                provisions such as radius, location, use, or exclusivity
                                                                                provisions, and will not breach any such provisions
                                                                                contained in any other license, financing agreement, or any
                                                                                other agreement relating to Navy Pier;

                                                                        (4)     that assumption or assignment of this License will not
                                                                                disrupt any tenant mix or balance in Navy Pier in
                                                                                Licensor's sole reasonable opinion.

                                                                      vi.The adequate assurance and demonstrations in writing by a debtor,
                                                                         debtor in possession, or assignee of such debtor in possession of
                                                                         such party's sufficient background, including, but not limited to,
                                                                         substantial retailing experience in shopping centers of comparable
                                                                         size and financial ability to operate out of the Licensed Area
                                                                         pursuant to the tem1s and conditions of this License, and to meet
                                                                         all other reasonable criteria of Licensor as did Licensee upon
                                                                         execution of this License.

                                                                     vii.The Licensed Area, at all times will remain unchanged, and no
                                                                         physical changes of any kind are made thereto unless in
                                                                         compliance with the applicable provisions of this License.

                                                  Section 16.2.2         Nothing contained in this Section shall be deemed in any manner
                                              to limit, waive, or otherwise negatively affect Licensor's rights and remedies under the
                                              Bankruptcy Code, as presently existing or as may hereafter be amended.

                                                   Section 16.2.3          No default of this License by Licensee, either before or after the
                                              filing of any such petition, shall be deemed to have been waived unless expressly done so in
                                              writing by Licensor.

                                           Section 16.3 Remedies.

                                                  Section 16.3.1          Upon the occurrence of an Event of Default, Licensor, without
                                              further notice to Licensee in any instance (except where expressly provided for below, or
                                              required by applicable law) shall have the option to pursue any one or more of the following




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                                              remedies without any notice or demand whatsoever, concurrently or consecutively and not
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                                                                 16.3.1.1        perform on behalf and at the expense of Licensee, any
                                                         obligation of Licensee under this License which Licensee has failed to perform.
                                                         Without limiting the generality of the foregoing, Licensor may, at Licensor's
                                                         option, enter into and upon the Licensed Area if Licensor determines in its sole
                                                         discretion that Licensee is not acting within a commercially reasonable time to
                                                         maintain, repair, or replace anything for which Licensee is responsible under this
                                                         License or to otherwise effect compliance with its obligations under this License
                                                         and correct the same, without being deemed in any manner guilty of trespass,
                                                         eviction, or forcible entry and detainer, and without incurring any liability for any
                                                         damage or intem1ption of Licensee's business resulting therefrom. In such event,
                                                         Licensee agrees to reimburse Licensor within five (5) days of Licensor's demand
                                                         as Additional Fees, for any expenses which Licensor may incur in thus effecting
                                                         compliance with Licensee's obligations under this License, plus as administrative
                                                         charge of five percent (5%) of such costs, all with interest at the Default Rate.

                                                                 16.3.1.2       terminate this License;

                                                                 16.3.1.3       tenninate the right of Licensee to possession of the
                                                         Licensed Area without terminating this License, whereupon the right of Licensee
                                                         to possession of the Licensed Area or any part thereof shall cease;

                                                                 16.3.1.4        enforce and protect the rights of Licensor hereunder by a
                                                         suit or suits in equity or at law for the specific performance of any covenant or
                                                         agreement contained herein;

                                                                16.3.1.5      enforce any security interest granted under this License as
                                                         permitted by law, including the sale at public or private sale of any Collateral;
                                                         and/or

                                                                 16.3.1.6       exercise any other legal or equitable right or remedy which
                                                         it may have.

                                                  Section 16.3.2          Upon any termination of this License, whether by lapse of time
                                              or otherwise, or upon any termination of Licensee's right to possession without termination
                                              of this License, and provided Licensee is not then in material default, Licensee shall have the
                                              right to remove Licensee Improvements. However, if Licensee does not intend to remove
                                              Licensee Improvements, Licensor may require removal by Licensee at Licensee's cost.
                                              Utilities will be disconnected and properly capped at their disconnection points. The
                                              foregoing notwithstanding, upon such tennination, Licensee shall surrender possession and
                                              promptly vacate the Licensed Area, and deliver possession thereof to Licensor, and Licensee
                                              hereby grants to Licensor full and free license to enter into and upon the Licensed Area in
                                              such event and to grant possession to Licensor of the Licensed Area and to expel or remove
                                              Licensee and any others who may be occupying or be within the Licensed Area and to



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                                              remove Licensee's signs and other evidence of tenancy and all other property of Licensee
                                              therefrom without being deemed in any manner guilty of trespass, eviction, or forcible entry
                                              or detainer, and without incurring any liability for any damage resulting therefrom, Licensee
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                                              waiving any right to claim damages for such re-entry and expulsion, and without
                                              relinquishing Licensor's right to the Fees or any other right given to Licensor under this
                                              License or by operation of law.

                                                  Section 16.3.3           Upon any termination of this License, whether by lapse of time
                                              or otherwise, Licensor shall further be entitled to recover as damages, all Fees, including any
                                              amounts treated as Additional Fees under this License, and other sums due and payable by
                                              Licensee on the date of termination, plus as partial damages and not as a penalty, an amount
                                              equal to the sum of: (i) an amount equal to the then present value of the Fee (including
                                              Annual Base Fee at the annual rate or respective annual rates for the remainder of the Term
                                              specified in this License, Percentage Fee (as calculated pursuant to Section 16.7 below),
                                              including any amounts treated as Additional Fees under this License and all other sums
                                              provided in this License to be paid by Licensee, discounted at a rate of five percent (5%); (ii)
                                              the estimated expenses described in Subsection 16.3.2 relating to recovery of the Licensed
                                              Area; (iii) the cost of perfmming any other covenants which would have otherwise been
                                              performed by Licensee; (iv) any sums to which Licensee has agreed to indemnify Licensor
                                              under any of the provisions of this License; and (v) all other costs and expenses incurred by
                                              Licensor as a result of such Event of Default for reasonable attorneys' fees and costs.

                                                 Section 16.3.4            Upon any termination of Licensee's right to possession only
                                              without termination of this License:

                                                                 16.3.4.1       Neither such termination of Licensee's right to possession
                                                         nor Licensor's taking and holding possession thereof as provided in Subsection
                                                         16.3.2 shall terminate this License or release Licensee, in whole or in part, from
                                                         any obligation, including Licensee's obligation to pay the Fee, including any
                                                         amounts treated as Additional Fees, under this License for the full Term, and if
                                                         Licensor so elects, Licensee shall continue to pay to Licensor the entire amount of
                                                         the Fee as and when it becomes due, including any amounts treated as Percentage
                                                         Fee (as calculated pursuant to Section 16.7 below) and any amounts treated as
                                                         Additional Fees under this License, for the remainder of the Term plus any other
                                                         sums provided in this License to be paid by Licensee for the remainder of the
                                                         Term.

                                                                 16.3.4.2      Unless and until such time as Licensor shall elect to
                                                         terminate this License, and shall thereupon be entitled to recover the amounts
                                                         specified in this License, Licensee shall pay to Licensor upon demand the full
                                                         amount of all Fees, including any amounts treated as Additional Fees under this
                                                         License and other sums reserved in this License for the remaining Term,
                                                         including Percentage Fee, together with the costs of repairs, alterations, additions,
                                                         redecorating, and Licensor's expenses ofre-licensing and the collection of the fee
                                                         accruing therefrom (including reasonable attorney's fees and broker's
                                                         commissions), as the same shall then be due or become due from time-to-time,



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                                                          less only such net consideration as Licensor may have received from any re-
                                                          licensing of the Licensed Area. Licensee agrees that Licensor may file suits from
                                                          time-to-time to recover any sums falling due under this Article as they become
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                                                          due. Any net proceeds of re-licensing received by Licensor in excess of the
                                                          amount then owed by Licensee to Licensor from time-to-time shall be credited
                                                          against Licensee's future obligations under this License, but shall not othetwise
                                                          be refunded to Licensee or inure to Licensee's benefit.

                                           Section 16.4 Remedies Cumulative.

                                           No remedy herein or otherwise conferred upon or reserved to Licensor shall be considered to
                                           exclude or suspend any other remedy, but the same shall be cumulative and shall be in addition
                                           to every other remedy given hereunder now or hereafter existing at law or in equity or by statute,
                                           and/or every power and remedy given by this License to Licensor may be exercised from time-
                                           to-time, and as often as occasion may rise or as may be deemed expedient. No delay or omission
                                           of Licensor to exercise any right or power arising from any default or Event of Default, shall
                                           impair any such right or power or shall be constmed to be a waiver of any such default or any
                                           acquiescence therein. Neither the rights herein given to receive, collect, sue for, or distrain for
                                           any Fee or moneys, or payments, or to enforce the terms, provisions, and conditions of this
                                           License, or to prevent the breach or non-observance thereof, or the exercise of any such right or
                                           of any other right or remedy hereunder or otherwise granted or arising, shall in any way affect or
                                           impair or toll the right or power of Licensor to declare the Term hereby granted ended, and to
                                           terminate this License as provided for in this License, or to repossess without terminating this
                                           License, because of any Event of Default in, or breach or default of, the covenants, provisions,
                                           and/or conditions of this License.

                                           Section 16.5 No Waiver.

                                           No waiver of any breach of any of the covenants of this License shall be constmed, taken, or
                                           held to be a waiver of any other breach or waiver, acquiescence in, or consent to, any further or
                                           succeeding breach of the same covenant. Forbearance by Licensor to enforce one or more of the
                                           remedies herein provided upon an Event of Default shall not be deemed or constmed to
                                           constitute a waiver of such default, or create, by "course of dealing" or otherwise, an express or
                                           implied amendment to this License. Licensor is entitled to accept, receive, and cash or deposit
                                           any payment made by Licensee for any reason or purpose or in any amount whatsoever, and
                                           apply the same at Licensor's option to any obligation of Licensee and the same shall not
                                           constitute payment of any amount owed except that to which Licensor has applied the same. No
                                           endorsement or statement on any check or letter of Licensee shall be deemed an accord and
                                           satisfaction or otherwise recognized for any purpose whatsoever. The acceptance of any such
                                           check or payment shall be without prejudice to Licensor's right to recover any and all amounts
                                           owed by Licensee hereunder and Licensor's right to pursue any other available remedy.

                                           Section 16.6 Right to Re-Enter.

                                           If Licensor tenninates this License or terminates Licensee's right of possession as provided
                                           above, Licensee shall remove all of its personal propetty and improvements and vacate the



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                                           Licensed Area and deliver possession thereof to Licensor within thirty (30) days' written notice
                                           from Licensor. Licensor may re-enter and take complete and peaceful possession of the
                                           Licensed Area, with or without resorting to legal process, full and complete license to do so upon
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                                           thirty (30) days' written notice being hereby granted to Licensor, and Licensor may remove all
                                           occupants and property therefrom, without being deemed in any manner guilty of trespass,
                                           eviction, or forcible entry and detainer, and without relinquishing Licensor's right to Fee or any
                                           other right given to Licensor hereunder or by operation of law.

                                           Section 16.7 Calculation of Percentage Fee Following Event of Default.

                                           If termination of this License or termination of Licensee's possession under this License on
                                           account of an Event of Default shall take place after the expiration of three (3) or more License
                                           Years then, for purposes of computing damages, the Percentage Fee payable with respect to each
                                           License Year following termination (including the License Year in which such termination shall
                                           take place) shall be conclusively presumed to be equal to the average Percentage Fee payable
                                           with respect to the three (3) complete License Year most recently preceding termination. If such
                                           tennination of this License or termination of Licensee's possession shall take place before the
                                           expiration of three (3) License Years then, for purposes of computing damages, the Percentage
                                           Fee payable with respect to each License Year following termination (including the License Year
                                           in which such termination shall take place) shall be conclusively presumed to be equal to twelve
                                           (12) times the average monthly payment of Percentage Fee due before such termination

                                           Section 16.8 Removal of Propertv.

                                           All property of Licensee removed from the Licensed Area by Licensor pursuant to any
                                           provisions of this License or of law may be handled, removed, or stored by Licensor at the cost
                                           and expense of Licensee, and Licensor in no event shall be responsible for the value,
                                           preservation or safekeeping thereof. Licensee shall pay Licensor for all actual expenses incurred
                                           by Licensor for such handling, removal, and storage plus an administrative charge of five percent
                                           (5%) of such costs. All such property not removed by Licensee from the Licensed Area or
                                           removed from storage by Licensee within sixty ( 60) days of the later of te1mination or removal
                                           by Licensor, shall, at Licensor's option, be conclusively deemed to have been conveyed by
                                           Licensee to Licensor as if by a bill of sale, without further payment or credit by Licensor to
                                           Licensee.

                                           Section 16.9 Attorneys' Fees.

                                           A defaulting party shall pay all of the other party's costs, charges, and expenses, including court
                                           costs and attorneys' fees, incurred by the non-defaulting party: (a) in enforcing the defaulting
                                           party's obligations under this License; (b) in any action brought by a pmiy in which such party is
                                           the prevailing party; and/or (c) in any litigation, negotiation, or transaction in which one party
                                           causes the other party, without such party's material fault, to become involved or concerned.




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                                                                        ARTICLE 17 -MISCELLANEOUS

                                           Section 17.1 Parking.
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                                                  Section 17.1.1           There are two (2) parking garages on Navy Pier; namely, the
                                              East Parking Garage and the West Parking Garage (each a "Parking Garage," collectively,
                                              "Parking Garages") available for use by tenants, customers, employees, and guests of
                                              Licensor and tenants, including Licensee. Parking is made available on a first-come, first-
                                              served basis, and Licensee shall not be deemed entitled, nor be deemed given, the exclusive
                                              rights, to any space or spaces whatsoever.

                                                  Section 17.1.2            Generally, users of the Parking Garages shall pay for parking on
                                              an hourly or daily basis at rates in effect by the operator of the Parking Garages.

                                                  Section 17.1.3           Licensor shall not be in default under this License for failure to
                                              provide parking at Navy Pier, including in the Garages, at any time, and Licensor reserves
                                              the right to discontinue parking at any time.

                                                  Section 17.1.4          Licensor may, at its reasonable discretion, provide, or cause to be
                                              provided, valet parking services for customers of certain tenants at Navy Pier during hours
                                              established by Licensor or its operator from time-to-time. Users of valet parking must pay
                                              for valet parking on any basis determined by Licensor or its operator. Licensor or its
                                              operator may impose a requirement that a user of valet parking obtain validation of a parking
                                              ticket to qualify for valet parking or any discount. Licensee shall validate valet parking
                                              tickets of Licensee's customers only, and may not charge a fee for parking. Licensor shall be
                                              entitled to all revenue from valet parking. Licensor may discontinue any valet parking
                                              service at any time.

                                                  Section 17.1.5           Parking will be provided for Licensee's personnel on the same
                                              terms and conditions as included in the then-current discount parking program available to
                                              contractors and other tenants at Navy Pier. Currently, such program provides for a discount
                                              to contractors or personnel parking at Navy Pier except on those days when Licensor
                                              anticipates heavy attendance, during which days the discount is not available. Licensor
                                              reserves the right to change or eliminate the discount parking program in its sole discretion.

                                           Section 17.2 Marketing Program.

                                                  Section 17.2.1          Licensee agrees, at no cost to Licensee, to participate to the
                                              fullest extent in Licensor's program from time-to-time for the general promotion of Navy
                                              Pier and Navy Pier events, which program may include: special events; shows; displays;
                                              signs; marquees; maps and brochures; decor; seasonal events; print; television; radio; and
                                              other media advertisements and market research. Licensor may employ a marketing director,
                                              and/or marketing agency, to facilitate programming.

                                                  Section 17 .2.2          In advertising Licensee's business in the Licensed Area, Licensor
                                              shall have the right to the use of Licensee's logo and the use of the name of the Licensee's
                                              business at Navy Pier. In addition, within five (5) business days after Licensor's request,


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                                               Licensee shall provide Licensor with copies of Licensee's most recent advertising material in
                                               electronic fonnat for use by Licensor in advertising Licensee's store and/or business in the
                                               Licensed Area. Licensor shall include Licensee's business on advertising programs, general
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                                               kiosks and key maps, and other advertising medium deployed by Licensor in its reasonable
                                               discretion.

                                            Section 17.3 Notices.

                                                   Section 17 .3.1          Any notice, request, demand, approval, or consent given or
                                               required to be given under this License (except as expressly set forth herein) shall be in
                                               writing and shall be given by United States registered or certified mail, return receipt
                                               requested, by commercial delivery service, or by nationally recognized overnight courier,
                                               with all delivery and postage charges prepaid, and same shall be deemed to have been given
                                               on the day actually received or refused, or if unclaimed, on the third (3rd) day following the
                                               day on which the same shall have been sent by commercial delivery or overnight courier
                                               service or deposited with the United States Postal Service. Any such communication to
                                               Licensor shall be addressed:

                                           To Licensor at:
                                                                                Navy Pier, Inc.
                                                                                Attn: President I CEO
                                                                                Navy Pier
                                                                                600 East Grand A venue
                                                                                Chicago, Illinois 60611

                                                                                With copy to

                                                                                Navy Pier, Inc.
                                                                                Attn: Chief Operating Officer
                                                                                Navy Pier
                                                                                600 East Grand Avenue
                                                                                Chicago, Illinois 60611

                                           To Licensee at:                      NPM Venture LLC
                                                                                Attn: Randy D. Podolsky, Manager
                                                                                1700 West Higgins Road, Suite 280
                                                                                Des Plaines, Illinois 60018

                                                                                With a copy to:

                                                                                Much Shelist
                                                                                191 North Wacker Drive, Suite 1800
                                                                                Chicago, Illinois 60606
                                                                                Attn: Glenn Taxman




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                                           except that payment of Fees and reports of Gross Sales shall be delivered to Licensor's
                                           management office in Navy Pier during normal business hours, or at such other place as Licensor
                                           may from time-to-time designate in a notice to Licensee.
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                                                 Section 17.3.2          Either party may, at any time, change its address for the above
                                              purposes by sending a notice to the other party stating the change and setting forth the new
                                              address.

                                           Section 17.4 Estoppel Certificates.

                                           Provided the other Party is not then in material breach and representations are correct, at any
                                           time, and from time-to-time, within ten (1 0) business days after request made by either patty to
                                           the other, the receiving party shall sign, acknowledge and deliver to the requesting party or other
                                           patty as may be designated by the requesting party, an estoppel certificate in a form reasonably
                                           requested by the requesting party including, without limitation, a statement ce1tifying that this
                                           License is unmodified (except as identified in the estoppel certificate) and in full force and
                                           effect, describing the dates to which the Fees and other charges have been paid, representing that,
                                           to the actual knowledge of the responding party, there is no default (or stating the nature of the
                                           alleged default) and any other matters relating to this License or to the status of performance of
                                           the obligations of the parties under this License as may be reasonably requested by the
                                           requesting party. The matters as set forth in the certificate may be relied upon by the requesting
                                           party and any other patty for whose benefit the certificate is requested if referred to in the
                                           request.

                                           Section 17.5 Inspections and Access by Licensor.

                                           Licensee will permit Licensor, its agents, employees, and contractors to enter all parts of the
                                           Licensed Area at any reasonable time within business hours, except in the case of an emergency,
                                           with notice, which may be oral, to show the Licensed Area to prospective purchasers or lenders
                                           of Navy Pier, to inspect same, and to enforce or carry out any provision of this License,
                                           including any access necessary for the making of any improvements or repairs which are
                                           Licensor's right or obligation hereunder. For the period of nine (9) months before the expiration
                                           of the Term, as may be extended, Licensor shall have the right to show the Licensed Area and all
                                           parts thereof to prospective tenants, upon not less than 24 hours prior notice, and at any time, if
                                           the Licensed Area is vacated, to make improvements to or otherwise prepare the Licensed Area
                                           for subsequent license, all without relieving Licensee of any liability herein or constituting an
                                           eviction hereof. Licensee shall have the right to have a representative at any such inspection or
                                           showing. If Licensee shall not be personally present to open and permit an entry into the
                                           Licensed Area, Licensor or Licensor's agents may enter the same by a master key, or may
                                           forcibly enter the same, without rendering Licensor or such agents liable therefor, and without in
                                           any manner affecting the obligations and covenants of this License. Nothing in this Section 17.5
                                           shall be deemed to pennit Licensee to abandon the Licensed Area under any circumstances
                                           whatsoever.

                                           Section 17.6 Successors and Assigns.




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                                           This License and the covenants and conditions herein contained shall inure to the benefit of and
                                           be binding upon Licensor and its successors and assigns, and shall be binding upon Licensee, its
                                           successors and assigns, and shall inure to the benefit of Licensee and only such assigns and
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                                           sublicensees of Licensee to whom the assignment or sublicensing of this License by Licensee has
                                           been consented to in writing by Licensor, if so required pursuant to the terms of this License.
                                           Upon any sale or other transfer by Licensor of its interest in the Licensed Area and in this
                                           License, Licensor shall deliver written notice thereof to Licensee, and Licensor shall be relieved
                                           of all obligations under this License accruing from and after the effective date of such
                                           assignment.

                                           Section 17.7 Compliance with Laws and Regulations.

                                           Each party, at its sole cost and expense, shall comply with applicable laws and regulations.
                                           Without limitation to the foregoing, Licensee, at its sole cost and expense, shall cause the
                                           Licensed Area and all work performed by Licensee, its agents, and contractors, to comply with:
                                           (a) all federal, state, county, municipal, and other governmental statutes, laws, rules, codes,
                                           orders, regulations, and ordinances affecting any part of the Licensed Area, or the use thereof,
                                           including, but not limited to, those which require the making of any unforeseen and/or
                                           extraordinary changes, whether or not any such statutes, laws, rules, orders, regulations, or
                                           ordinances which may be hereafter enacted involve a change of policy on the part of the
                                           governmental body enacting the same; and (b) all rules, orders and regulations of the National
                                           Board of Fire Underwriters, Licensor's casualty insurers, and other applicable insurance rating
                                           organizations or other bodies exercising similar functions in connection with the prevention of
                                           fire or the correction of hazardous conditions which apply to the Licensed Area.

                                           Section 17.8 Americans with Disabilities Act.

                                           The Americans With Disabilities Act of 1990 (42 U.S.C. §12101 et seq.), and regulations and
                                           guidelines promulgated thereunder, as all of the same may be amended and supplemented from
                                           time-to-time (collectively referred to herein as the "ADA") establish requirements under Title III
                                           of the ADA ("Title III") pertaining to business operations, accessibility and barrier removal,
                                           which may apply to the Licensed Area and to all or limited portions of Navy Pier. The parties
                                           hereby allocate compliance with Title III of the ADA as follows, notwithstanding that either or
                                           both may be liable for compliance with Title III ADA requirements: (a) Licensee shall be
                                           responsible for all ADA Title III compliance and costs in connection with the Licensed Area,
                                           including structural work, if any, and including any Licensee Improvements or other work to be
                                           performed in the Licensed Area; (b) Licensor shall be responsible for all ADA Title III
                                           compliance and costs in connection with Navy Pier and the Common Areas; (c) Licensor shall
                                           perform, and Licensee shall be responsible for the cost of, any ADA Title III "path of travel"
                                           requirements triggered by any construction activities or alterations in the Licensed Area or use of
                                           the Licensed Area; and (d) any additional current or future requirements to the Licensed Area
                                           shall be the sole responsibility of Licensee.



                                           Section 17.9 Captions and Headings.



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                                           The Table of Contents and the Article and Section captions and headings are for convenience of
                                           reference only, and in no way shall be used to construe or modify the provisions set forth in this
                                           License.
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                                           Section 17.10 Additional or Successor Docking Facilities.

                                                  Section 17.10.1                Subject to the provisions of this Section 17.10, it is
                                              understood and agreed by the Parties that the Licensor does not currently have plans to
                                              develop, operate, or allow others to develop or operate recreational boat docking facilities at
                                              Navy Pier and/or that portion of Ogden Slip under Licensor's control. All requests for the
                                              installation and operation of recreational boat docking facilities made by Licensor's other
                                              tenants and licensees as an addition to their permitted use will be referred to Licensee.
                                              Licensee shall endeavor to provide slips to other tenants and licensees of Navy Pier as a
                                              priority, under terms to be agreed upon between Licensee and such other tenant or licensee.

                                                  Section 17.10.2           In the event that Licensor elects to license the development
                                              and/or operation of an additional permanent or transient recreational docking facility at Navy
                                              Pier or in that portion of Ogden Slip under Licensor's control, Licensor shall first offer to
                                              negotiate such license with Licensee in good faith and on an exclusive basis (the "ROFO").
                                              In the event that i) Licensee does not elect to pursue such opportunity or ii) Licensor and
                                              Licensee fail to enter into a binding agreement within one hundred twenty (120) days of the
                                              offer by Licensor, this exclusive offer shall expire, and Licensor shall be free to solicit,
                                              negotiate, and enter into a license agreement with other entities. In the event an agreement is
                                              not entered into between Licensor and a third party within eighteen (18) months after the
                                              expiration of the exclusive negotiating period, then, the ROFO shall be reinstated in favor of
                                              Licensee, and Licensor shall be obligated to comply with the terms hereof.

                                                  Section 17.10.3         In the event that Licensor elects to license, lease or otherwise
                                              provide for the operation of the Docking Facilities after the Term expires (as may be
                                              extended), then, Licensee shall be given an equal opportunity to bid on the new license.

                                           Section 17.11 Employment; Customers.

                                           During the Term, Licensee agrees as follows:

                                                                 17.11.1.1    It will comply with the Illinois Human Rights Act and the
                                                         Rules and Regulations of the Illinois Department of Human Rights
                                                         ("Department"), and all other applicable equal opportunity laws, rules, and
                                                         regulations.

                                                                 17.11.1.2      It will not discriminate against any employee or applicant
                                                         for employment because of race, color, religion, sex, marital status, national
                                                         origin or ancestry, age, physical or mental handicap unrelated to ability,
                                                         unfavorable discharge from military service, or other class of individual or group
                                                         protected against discrimination by applicable law; and further it will examine all
                                                         job classifications to determine if minority persons or women are underutilized



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                                                       and will take appropriate affim1ative action and makes good faith efforts to
                                                       eliminate such underutilization.
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                                                                17.11.1.3      In all solicitations or advertisements for employees placed
                                                       by it or on its behalf, it will state that all applicants will be afforded equal
                                                       opportunity without discrimination because of race, color, religion, sex, marital
                                                       status, national origin or ancestry, age, physical or mental handicap unrelated to
                                                       ability, unfavorable discharge from military service, or other class of individual or
                                                       group protected against discrimination by applicable law.

                                                              17.11.1.4         It will send to each labor organization or representative of
                                                       workers with which it has or is bound by a collective bargaining or other
                                                       agreement or understanding, a notice advising such labor organization or
                                                       representative of Licensee's obligations under the Illinois Human Rights Act and
                                                       the Department's Rules and Regulations. If any such labor organization or
                                                       representative fails or requests to cooperate with Licensee in its efforts to comply
                                                       with such Act and Rules and Regulations, Licensee will promptly so notify the
                                                       Department and Licensor and will recruit employees from other sources when
                                                       necessary to fulfill its obligations thereunder.

                                                              17.11.1.5       It will pem1it access to all relevant books, records,
                                                       accounts, and work sites by authorized personnel of the Department for purposes
                                                       of investigation to ascertain compliance with the Illinois Human Rights Act and
                                                       the Department's Rules and Regulations.

                                                                17.11.1.6      This License involves the use of public property and
                                                       activities which service the public. Licensee covenants and agrees that in all
                                                       matters pertaining to the performance of this License, it shall, at all times, conduct
                                                       its business in a manner which assures fair, equal, and nondiscriminatory
                                                       treatment of all persons in accordance with the law. It is the Licensor's policy
                                                       that all customers, employees, licensees, and invitees of all tenants and licensees
                                                       shall have the opportunity to obtain all the goods, services, accommodations,
                                                       advantages, facilities, and privileges of Navy Pier without discrimination because
                                                       of race, creed, color, sex, age, national origin, disability, ancestry, or other class
                                                       of individual or group now or hereafter protected against discrimination by
                                                       applicable law. To that end, Licensee shall not discriminate in the conduct and
                                                       operation of its business at Navy Pier, against any person or group of persons
                                                       because of the race, creed, color, sex, age, national origin, disability, (provided
                                                       that, with respect to employment, the disability is unrelated to ability to perform
                                                       the work required) ancestry of such person or group of persons, or other class of
                                                       individual or group now or hereafter protected against discrimination by
                                                       applicable law.

                                                               17.11.1.7   Licensee understands that Licensor has established goals of
                                                       twenty-five percent (25%) and five percent (5%) respectively, for the
                                                       participation of minority owned businesses ("MBE") and women owned



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                                                         businesses ("WBE "), as well as goals for the employment of minorities and
                                                         women in all contracts let for work at Navy Pier. In connection with the
                                                         contractors for construction of any Improvements and/or operation of the
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                                                         Premises, Licensee shall use good faith efforts for MBE and WBE participation
                                                         and the employment of minorities and women consistent with this goal, provided,
                                                         Licensee's failure to actually meet such goals, after the exercise of such
                                                         reasonable, good faith efforts, shall not be deemed a default or Event of Default of
                                                         Licensee under this License.

                                           Section 17.12 Project Labor Agreements.

                                           Licensor has entered into, and may hereafter enter into, agreements with certain trade unions for
                                           Navy Pier related to construction of improvements (the "Project Labor Agreement" attached as
                                           Exhibit I). In performing any work at Navy Pier, including Licensee Improvements, if any,
                                           Licensee and all of its contractors (including subcontractors of any tier), shall strictly comply
                                           with the Project Labor Agreements to the extent applicable to Navy Pier.

                                           Section 17.13 Security.

                                                  Section 17.13.1         Although Licensor does not guaranty the safety of any persons
                                              using Navy Pier, Licensor may furnish, or cause to be furnished, periodic patrols or other
                                              security personnel or systems to monitor Pier activity. The frequency and type of such
                                              monitoring shall be at Licensor's sole discretion.           In addition, Licensee shall use
                                              commercially reasonable efforts to secure the Licensed Area and Docking Facilities, and
                                              Licensee shall have the right to finnish periodic patrols and other security personnel or
                                              systems to monitor activity at the Licensed Area at its sole cost.

                                                  Section 17.13.2          Upon request, Licensor may from time to time review the
                                              security measures implemented by Licensee. The Parties understand that Licensor is required
                                              to and does maintain a plan of security related to Navy Pier (the "Navy Pier Facility
                                              Security Plan"). Licensee shall comply with any security measures set forth in the Navy
                                              Pier Facility Security Plan as such may be modified from time to time and approved by the
                                              U.S. Coast Guard or other applicable governmental entity having jurisdiction over same.
                                              Provided, in the event provisions within the Navy Pier Facility Security Plan prohibit or
                                              materially and substantially restrict the Permitted Use for more than one year, Licensee may
                                              elect to terminate the License, and Licensor shall be liable to Licensee for actual damages, if
                                              any, Licensee incurs by reason of such termination, subject to the limitations set forth in
                                              Section 16.1.4, and further provided, that if the prohibition or restriction is mandated by law
                                              or a governmental authority, then Licensor shall not be responsible for damages and the
                                              provision of Section 2.1.1 shall control. Upon request, Licensor shall make available to
                                              Licensee and its mortgagee excerpts from the Navy Pier Facility Security Plan that are
                                              applicable to Licensee and the Licensed Area if any. Licensee, the mortgagee and their
                                              representatives shall execute a nondisclosure agreement if required by Licensor. Provided, in
                                              the event the Navy Pier Facility Security Plan or parts thereof are confidential and the
                                              government agency does not allow such plan or provisions to be released to Licensee despite
                                              having a signed confidentiality agreement, Licensor shall provide a summary, certified by



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                                              Licensor to be true and accurate in all respects, of the relevant provisions applicable to the
                                              Docking Facilities and Licensed Area.
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                                           Section 17.14 No Joint Venture.

                                           Any intention to create a joint venture or partnership relation between the parties hereto is hereby
                                           expressly disclaimed. The provisions of this License in regard to the payment by Licensee and
                                           the acceptance by Licensor of a percentage of Gross Sales of Licensee and others is a reservation
                                           for Fee for the use of the Licensed Area.

                                           Section 17.15 No Modification.

                                           This writing is intended by the parties as a final expression of their agreement and as a complete
                                           and exclusive statement of the tem1s thereof, all negotiations, considerations, and representations
                                           between the parties having been incorporated in this License. No course of prior dealings
                                           between the parties or their officers, employees, agents, or affiliates shall be relevant or
                                           admissible to supplement, explain, or vary any of the terms of this License. Acceptance of, or
                                           acquiescence in, a course of performance rendered under this or any prior agreement between the
                                           parties or their affiliates shall not be relevant or admissible to dete1mine the meaning of any of
                                           the terms of this License other than those specifically set forth in this License. This License can
                                           be modified only by a writing signed by the party against whom the modification is enforceable.

                                           Section 17.16 Construction.

                                           This License shall not be construed more strictly against Licensor merely by virtue of the fact
                                           that it has been prepared by Licensor or its managing agent or counsel, it being recognized both
                                           of the parties hereto have contributed substantially and materially to the preparation and
                                           negotiation of this License. Whenever used in this License, the word "including" (and variations
                                           thereof) shall mean "including but not limited to."

                                           Section 17.17 Severability.

                                           If any portion of any term or provision of this License, or the application thereof to any person or
                                           circumstances shall, to any extent, be invalid or unenforceable, the remainder of this License, or
                                           the application of such term or provision to persons or circumstances other than those as to
                                           which it is held invalid or unenforceable, shall not be affected thereby, and each te1m and
                                           provision of this License shall be valid and be enforced to the fullest extent permitted by law.

                                           Section 17.18 Third Party Beneficiary.

                                           Nothing contained in this License shall be construed so as to confer upon any other party the
                                           rights of a third party beneficiary, other than for the benefit of a mortgagee, ground lessor, and
                                           Prime Licensor.

                                           Section 17.19 No Recording.




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                                           Neither this License nor a short form of memorandum thereof shall be recorded in the public
                                           records.
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                                           Section 17.20 Corporate Licensees; Fictitious Names.

                                                   Section 17.20.1         If Licensee is a corporation, the persons executing this License
                                              on behalf of Licensee hereby represent and wan-ant that: Licensee is a duly constituted
                                              corporation organized within and qualified to conduct business in the State of Illinois; the
                                              Licensee is in good standing and authorized and qualified to conduct business in the State of
                                              Illinois; all of Licensee's franchise and corporate taxes have been paid to date; all future
                                              forms, reports, fees, and other documents and payments necessary for Licensee to comply
                                              with applicable laws will be filed and paid by Licensee when due; and such persons are duly
                                              authorized by the board of directors of such corporation to execute and deliver this License
                                              on behalf of the corporation.

                                                   Section 17.20.2         If Licensee is a limited partnership or limited liability company,
                                              the persons executing this License on behalf of Licensee hereby represent and wan-ant that
                                              Licensee is duly created and existing under the laws of the State of Illinois, and that Licensee
                                              is in good standing, and authorized and qualified to conduct business in the State of Illinois.

                                           Section 17.21 Applicable Law.

                                           This License and the rights and obligations of the parties hereunder shall be construed in
                                           accordance with the laws of the State of Illinois. Licensee hereby submits itself inevocably to
                                           the jurisdiction of the courts located in Cook County, Illinois, and, to the fullest extent permitted
                                           by law, covenants and agrees that if it should bring any action against Licensor, it shall do so in
                                           those and only those courts.

                                           Section 17.22 Waiver of Jury Trial.

                                           Licensee waives any and all rights which it may have to request a jury trial in any proceeding at
                                           law or in equity in any court of competent jurisdiction involving a claim for possession of the
                                           Licensed Area by Licensor.

                                           Section 17.23 Limitation of Right of Recovery Against Licensor.

                                           The liability of Licensor (which for purposes of this Section shall include all: board members;
                                           partners, both general and limited, of any partnership; members and managers of any limited
                                           liability company; and the officers, directors, and shareholders of any corporation, and includes
                                           any officials of any governmental entity which is Prime Lessor and/or which owns and/or
                                           operates Navy Pier) under this License shall be limited to Licensor's interest in Navy Pier. No
                                           personal judgment shall lie against Licensor upon extinguishment of its rights in Navy Pier
                                           and/or the Licensed Area, and any judgment so rendered shall not give rise to any right of
                                           execution or levy against Licensor's assets. The provisions hereof shall inure to Licensor's
                                           successors and assigns including any mortgagee, ground lessor, and Prime Lessor. The
                                           foregoing provisions are not intended to relieve Licensor from the performance of any of



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                                           Licensor's obligations under this License, but only to limit the personal liability of Licensor in
                                           case of recovery of a judgment against Licensor.
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                                           Section 17.24 Licensee's Intellectual Property.

                                           Licensee represents and warrants that it has, and will have throughout the entire Tenn, full and
                                           sufficient right to use or grant the rights to use the logos, service marks, trademarks, and any and
                                           all intellectual and/or protected property that Licensee will use or authorize to be used, from
                                           time-to-time, in operation and promotion of its business, and the proposed uses of the intellectual
                                           property do not and will not infringe any patents, copyrights, trademarks, or other intellectual
                                           property rights (including trade secrets), privacy or similar rights of any person or entity, nor has
                                           any claim (whether or not embodied in any action, past or present) of such infringement been
                                           threatened or asserted, nor is such a claim pending against the Licensee (or, insofar as Licensee
                                           is aware), against any entity from which the Licensee has obtained any rights.

                                           Section 17.25 Time of Essence.

                                           Time is of the essence in each and every instance hereunder with respect to the covenants,
                                           undertakings, and conditions to be performed hereunder by Licensee.

                                           Section 17.26 License Subject to Prime Lease.

                                           Licensee acknowledges and agrees that this "License" is, in fact, a sublicense, and that Licensor
                                           leases all of Navy Pier pursuant to the Prime Lease by and between Prime Lessor and Licensor
                                           as "tenant," as same has been and may be amended from time-to-time. As a result, the terms of
                                           this License, and all of Licensee's rights hereunder are subject and subordinate in all respects to
                                           the terms of the Prime Lease, and Licensee shall be required to comply with the terms of the
                                           Prime Lease as well as the terms of this License. A true, correct and complete copy of the Prime
                                           Lease has been delivered to Licensee, and Licensor represents and warrants to Licensee that (i)
                                           the Prime Lease is in full force and effect and there are no defaults thereunder and (ii) Licensor is
                                           pennitted under the Prime Lease to enter into this License. In the event of a conflict between the
                                           terms of this License and the Prime Lease, the Prime Lease shall prevail, unless Licensee is
                                           released from such compliance by Prime Lessor in writing. Furthermore, except as otherwise
                                           hereinafter provided, the rights and interests of Licensee under this License shall be subject and
                                           subordinate to any other current or future ground license, as well as any mortgage or trust deed
                                           that may be placed upon the Licensed Area, and to any and all advances to be made thereunder,
                                           and to the interest thereon, and all renewals, replacements, and extensions thereof. Any ground
                                           lessor, mortgagee, or trustee may elect to give the rights and interest of Licensee under this
                                           License priority over the lien of its ground license, mortgage, or deed of trust. In the event of
                                           such election and upon notification by such ground lessor, mortgagee, or trustee to Licensee to
                                           that effect, the rights and interest of Licensee under this License shall be deemed to have priority
                                           over the lien of said ground license, mmtgage, or trust deed, whether this License is dated prior
                                           to or subsequent to the date of said ground license, mortgage, or trust deed. Licensee shall, upon
                                           the request of Licensor, or any such ground lessor, mortgagee, or trustee, execute and deliver
                                           whatever instructions may be reasonably required for such purposes, within ten (1 0) days after
                                           receiving a written request.



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                                           Section 17.27 Employees Appearance.

                                           Licensee's employees shall, at all times, be required to present a clean and well-groomed
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                                           appearance. Licensee's employees shall be required to wear uniforms in good taste.

                                           Section 17.28 Force Majeure.

                                           If either party hereto shall be delayed or hindered in or prevented from the performance of any
                                           act required hereunder by reason of strikes, lockouts, labor troubles, inability to procure material,
                                           failure of power, riots, insurrection, war or other reason of a like nature not the fault of the party
                                           delayed in perfom1ing work, or doing acts required under this Lease (collectively, "Force
                                           Majeure"), the period provided or required hereunder for the performance of any such act shall
                                           be extended for a period equivalent to the period of such delay.

                                           Section 17.29 Brokers.

                                           Licensee and Licensor warrant each to the other that it has had no dealings with any broker or
                                           agent in connection with this Lease, and each party covenants to pay, hold harmless and
                                           indemnify the other from and against any and all costs expense or liability for any compensation,
                                           commissions and charges claimed by any broker, or agent with respect to this License or the
                                           negotiation thereof by virtue of the acts or commitments of such indemnifying party.

                                           Section 17.30 Quiet Enjoyment.

                                           If Licensee pays the Fees and other amounts herein provided, and observes and performs all the
                                           covenants, tenus and conditions hereof, Licensee shall peaceably and quietly hold and enjoy the
                                           Licensed Area for the Tenn without interruption by Licensor or any person or persons claiming
                                           by, through or under Licensor, subject, nevertheless, to the terms and conditions of this License.




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                                                    IN WITNESS WHEREOF, the parties have executed this License Agreement as of the
                                            Effective Date.
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                                                                                   LICENSOR:

                                                                                   NAVY PIER, INC. , an       Illinois   not-for-profit
                                                                                   corporation




                                                                                   LICENSEE:

                                                                                   NPM VENTURE LLC, a Delaware limited liability
                                                                                   company




                                                                                   By- ~~
                                                                                   Na~~.~
                                                                                   Its :   ~I




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                                                                         Exhibit A        Site Plan
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                                                                             EXHIBIT A
                                                                             SITE PLAN
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                                                                  Exhibit B    Licensee Concept Plans
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                                                                                             EXHIBIT 8
                                                                                      LICENSEE CONCEPT PLANS
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                                           Conceptual Plan




                                           Conceptual Plan with Extended Breakwater
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                                                                                           CONCEPT DESCRIPTION

                                           Developer will create a world class destination marina that complements the Centennial Vision currently underway at
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                                           Navy Pier. Developer will work with NPI and its design team to refine its initial concept vision to best coordinate the
                                           improvements, materials, signage, and circulation patterns to make the most of every opportunity to integrate the
                                           transient marina with the improvements now underway on Navy Pier.

                                           The design of the marina itself will incorporate the highest quality floating dock systems, most likely utilizing a very
                                           durable floating modular concrete system designed specifically for this environment or possibly a floating aluminum
                                           frame system with concrete floats which is an upgraded dock system over that used in the Chicago Park District system.
                                           The marina basin itself will be protected from wave attack either by a concrete floating wave attenuator, or possibly a
                                           fixed breakwater system if warranted by the final wave studies.

                                           Utilities within the marina will meet the highest standards for the industry, and will be sized appropriately for increasing
                                           future electrical demands. In particular, Developer will implement individual monitoring and ground fault interruption by
                                           slip to provide the highest protection against the risk of electrical shock drowning to provide the safest and most reliable
                                           marina in Chicago. Potable water will be provided, as well as sanitary pump-out at each slip, providing the utmost in
                                           convenience and achieving the highest clean marina standards.

                                           The public facilities should achieve universal accessibility, and the marina will exceed the standards required by the
                                           Americans with Disabilities Act. The Project will go beyond making the docks accessible, and provide adjustable
                                           platforms that allow an individual user to access any boat with dignity regardless of their abilities or the relationship of
                                           the vessel to the docks. The facilities will be arranged to take best advantage of the pedestrian and vehicular circulation
                                           patterns of Navy Pier.

                                           Developer will implement a range of strategies to ensure it achieves Illinois Clean Marina designation and creates the
                                           most efficient marina with the lowest environmental impact possible. This will include individual monitoring of utilities
                                           to encourage boaters to conserve resources, as well as implementation of energy and water efficient lighting and utility
                                           systems.

                                           The Project will serve all elements of the transient boater market, ranging from the internationally based superyacht
                                           looking for a premier Great Lakes destination for a month long stay in the City to local Chicago boaters looking for first-
                                           class marina access to visit Navy Pier for dinner, a show or any one of its myriad attractions. The Project will attract
                                           boaters from all across the Great Lakes, and help expand the reach of Navy Pier as the first point of arrival to the City
                                           of Chicago. Developer will construct the marina to provide maximum flexibility so that it always has space to
                                           accommodate its visitors, as well as special events such as sailing regattas, tall ship festivals, in-water boat shows,
                                           and similar events.




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                                            Management and Operations Plan
                                            Developer's plan for the management of the Project is built upon the premise that the marina is part of the Navy Pier
                                            community, forming a connection that provides an amenity to boaters and an economic driver to Navy Pier.
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                                            The Transient Slip Marina at Navy Pier will be a premier docking location in the City of Chicago with state-of-the-art
                                            facilities, exceptional service to boaters, and located for convenient access to Navy Pier and downtown Chicago. To
                                            maximize the boater experience, Developer will provide a number of advantages:

                                            1. Marketing to Potential Boaters/Shoppers
                                                  Transient boaters wishing to visit Navy Pier will originate from other marinas on Lake Michigan. Boaters
                                                  located in a Chicago marina will become aware of the new slips at Navy Pier very quickly. Boaters based in
                                                  the Chicago market will be an important part of the customer base for daytime hourly visits and guaranteed
                                                  to utilize the amenities and businesses at Navy Pier. Additionally, the primary targeted boaters for overnight
                                                  dockage at Navy Pier will be those boaters from outside the City of Chicago. Boaters planning to stay overnight
                                                  will spend much more time at Navy Pier and spend more on services offered by the vendors at Navy Pier,
                                                  making them the unique visitor that NPI is seeking with this development. That said, boaters seasonally
                                                  moored outside of the City are far more difficult to reach for marketing purposes and Developer will reach
                                                  them quickly, and repeatedly, due to its already in place Lake Michigan presence and marketing programs.
                                                  One of the entities that comprises Developer, SG Marina, is the largest marina manager outside the Chicago
                                                  market on Lake Michigan with nearly 2,000 boat slips. This enables Developer direct access to these boaters
                                                  to promote the Transient Slip Marina at Navy Pier to these important, but hard to reach, boaters, visitors and
                                                  shoppers.

                                            2. Hospitality/Service
                                                  Properly staffing the marina starts with hiring people that have hospitality embedded in their personality. All
                                                  of Developer's staff will take the Cultural Index survey online that identifies personality traits to match the
                                                  position to ensure the right people are in place. Employees will be trained to create a "positive memorable
                                                  experience" for boaters at every opportunity. Some of Developer's services include:
                                                  a. Guaranteed reservations will be able to be made in advance online. This is critical to the success of this
                                                         transient marina's.
                                                  b. Boaters will be greeted at the slip by courteous and knowledgeable staff to complete their check-in and
                                                         electronically accept payment with smartphones.
                                                  c. A professionally prepared welcome packet will be provided to boaters along with appropriate marketing
                                                         information about the amenities at Navy Pier. Boaters will also be directed to Developer's Navy Pier
                                                         Boater Visitor Center at the Marina Office on the transient pier. The Navy Pier Boater Visitor Center will
                                                         provide boaters with discounts, brochures, maps and other information related to shops and
                                                        entertainment inside Navy Pier.

                                           3. Retail Experience/Merchant Relations
                                                  Developer will foster a close relationship with NPI, its merchants, tenants, and other users. Developer will act
                                                  as an ambassador for the Navy Pier community to maximize the benefit of the marina. Boaters also find this
                                                  as an additional amenity to the marina as they view this as a concierge service. Staff will regularly meet with
                                                  Navy Pier merchants to work together on promotions and programs that can be targeted to boaters to
                                                  encourage visits and spending at Navy Pier.




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                                            4. America's Great Loop Cruisers' Association
                                                  The AGLCA membership includes thousands of boaters that are planning to make the Great Loop that runs
                                                  down the Mississippi, around Florida, up the Intracoastal Waterway, and through the Great Lakes. The
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                                                  Transient Boat Slip Facility at Navy Pier will be the only marina as a member of the AGLCA in the Chicago
                                                  market, reaching the many cruisers that make their way through the Chicago River to the Mississippi.

                                            5.   Social Media
                                                     The Project will have a custom Website with links to an automatic reservation system along with extensive
                                                     Navy Pier visitor information. A Facebook page will have regular postings. Staff will obtain boater email
                                                     addresses to create a database of boaters that will receive marketing material to promote the marina and
                                                     Navy Pier.

                                            6.   Ships Store
                                                     A small convenience store will provide boating supplies that are commonly needed as an amenity to boaters.
                                                     This would include life safety equipment and other boating supplies and equipment, ice, small snacks and
                                                     other sundries, subject to the approval of NPI.




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                                                                        Exhibit C        Reserved
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                                                                 Exhibit D    Development Agreement
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                                                                                     EXHIBIT D
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                                                                        DEVELOPMENT AGREEMENT

                                                   This Development Agreement (“Agreement”) is attached to and forms a part of the
                                           License Agreement (the “License”) dated as of August 7, 2017 by and between NAVY PIER,
                                           INC., an Illinois not-for-profit corporation, as “Licensor,” and NPM VENTURE LLC, a
                                           Delaware limited liability company, as “Licensee,” covering a certain Licensed Area described
                                           in the License, and (together with the License) sets forth the agreement between Licensor and
                                           Licensee with respect to Licensee’s construction of the Licensee Work (as hereinafter defined)
                                           and the Project. The “Project” shall mean all improvements to the Licensed Area as may be
                                           required for the installation and operation of the Docking Facilities, including any required
                                           infrastructure connections outside the Licensed Area. All terms not defined herein that are
                                           defined in the License shall have the same meaning as set forth in the License.

                                                  1.     Construction Documents.

                                                  a.     Generally.

                                                          i.      Subject to the terms and conditions set forth herein and in the License,
                                                  Licensee shall, at its sole cost and expense except as expressly provided herein, cause to
                                                  be constructed, a Docking Facility within the Licensed Area, including infrastructure
                                                  connections outside the Licensed Area as necessary (the “Project”) substantially in
                                                  accordance with the Construction Documents (as hereinafter defined), as such plans may
                                                  be modified from time to time in accordance with the terms of this Agreement (the work
                                                  described and depicted in such Construction Documents, which shall include, without
                                                  limitation, all work necessary to complete the Project is referred to herein as the
                                                  “Licensee Work”).

                                                          ii.    All drawings and specifications included in the Schematic Design
                                                  Documents, the Design Development Documents and the Construction Documents (and
                                                  modifications thereto), including but not limited to any mechanical, structural, and
                                                  electrical drawings and specifications, shall be prepared at Licensee’s sole cost and
                                                  expense by Edgewater Resources (“Licensee’s Architect”) or a licensed engineer
                                                  designated by Licensee and approved by Licensor as provided herein.

                                                         iii.   All drawing sets shall be posted at an accessible website from which they
                                                  can be electronically transferred by means of Licensor downloading them from the
                                                  website.

                                                  b.      Schematic Design Documents. Licensee shall prepare and deliver to Licensor for
                                           Licensor reasonable review and approval as provided in Section 1(e) (“Licensor’s Approval”) a
                                           set of preliminary plans and Project description (collectively, the “Schematic Design
                                           Documents”) to be prepared by Licensee’s Architect which will set forth the conceptual design
                                           of the Project illustrating the scale and relationship of the Project components. The Schematic
                                           Design Documents will include preliminary plans and renderings necessary to convey the


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                                            character of the Project. Preliminary selections of construction materials shall be noted on the
                                            drawings or described in writing.
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                                                    c.       Design Development Documents. Promptly after Licensor approval of the
                                             Schematic Design Documents, Licensee shall cause to be prepared and made available for
                                             electronic transfer to and review and approval by Licensor as provided in Section 1(e), detailed,
                                            comprehensive Design Development Documents, drawings and specifications of the Project (as
                                            the same may be modified from time to time in accordance with the terms of this Agreement)
                                            (the "Design Development Documents"), which shall illustrate and describe the refinement of
                                            the design of the Project, establishing the scope, relationship, forms, size and appearance of the
                                            Project by means of plans, sections and elevations, typical construction details, and equipment
                                            layouts. The Design Development Documents shall include drawings for all major structural and
                                            mechanical, docking and anchoring, and wave attenuation systems; specifications that identify
                                            major materials and systems and establish in general their quality levels; and a preliminary
                                            description of the physical aspects and logistics of how Licensee intends to build the Project, by
                                            phase, including without limitation, identifying vehicle access, staging, location of trailers and
                                            job site support, barge locations, fencing, and deliveries (the "Preliminary Construction
                                            Phasing Plan").

                                                   d.       Construction Documents. Promptly after Licensor has approved the Design
                                           Development Documents, Licensee shall cause to be prepared and made available to Licensor for
                                           electronic transfer to and review by Licensor, detailed drawings, schedules, plans and
                                           specifications (collectively, the "Construction Documents") which shall set forth in detail the
                                           requirements for construction of the Project and shall include drawings and specifications that
                                           establish in detail the quality levels of materials and systems required and a construction phasing
                                           plan ("Construction Phasing Plan") for Licensor's Approval. The Construction Phasing Plan
                                           shall set forth the physical aspects and logistics of how Licensee intends to build the Project, by
                                           phase, including without limitation, identifying vehicle access, staging, location of trailers and
                                           job site support, barge locations, fencing, and deliveries. For purposes hereof, the term
                                           "Construction Documents" shall mean the Construction Documents, as revised, which have
                                           been finalized by Licensee, which have been so reasonably approved by Licensor in accordance
                                           with the procedures in section 1(e), and which are suitable for permit, procurement and
                                           construction.

                                                   e.     Licensor Review and Approval Process.

                                                            i.    Within fifteen (15) Business Days after the date on which Licensor is
                                                   notified by Licensee that the Schematic Design Documents, the Design Development
                                                   Documents or the Construction Documents are available to Licensor for electronic
                                                   transfer to and review and approval by Licensor, Licensor shall notify Licensee, in
                                                   writing, that Licensor has approved the applicable documents or provide a specific
                                                   statement of its reasons for any disapproval of the applicable documents or potions
                                                   thereof.

                                                          ii.     If Licensor disapproves or requests changes to the Schematic Design
                                                   Documents, the Design Development Documents or Construction Document (or any
                                                   portion thereof), Licensee shall, after taking into consideration, reasonably and in good


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                                                  faith, Licensor's advice as to the changes which may be required for Licensor's Approval
                                                  thereof, revise (at Licensee's sole cost and expense) such Schematic Design Documents,
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                                                  the Design Development Documents or Construction Document. Licensor shall review
                                                  the revised plans and, within ten (10) Business Days after Licensor is notified by
                                                  Licensee that such revised plans are available for electronic transfer to and review by
                                                  Licensor, advise Licensee of further changes, if any, to obtain Licensor's Approval
                                                  thereof. This process shall continue until Licensee has obtained Licensor's Approval of
                                                  such Schematic Design Documents, the Design Development Documents or the
                                                  Construction Document (which approval shall be in Licensor's reasonable discretion).

                                                   f.     Compliance of Plans. All Construction Documents shall comply with all Laws
                                           (including, without limitation, all applicable codes, zoning, rules, regulations of the Americans
                                           With Disabilities Act of 1990, as amended, and with any applicable portions of the Illinois
                                           Accessibility Code (lAC) 1997, as amended, to the extent governing the Project) and with all
                                           applicable requirements of Licensor's fire insurance underwriters. Neither review or approval by
                                           Licensor of the Schematic Design Documents, Design Development Documents or Construction
                                           Documents, or any changes thereto, shall constitute a representation or warranty by Licensor that
                                           such plans either (i) are complete or suitable for their intended purpose, or (ii) comply with any
                                           Laws or other requirements, including zoning considerations, it being expressly agreed by
                                           Licensee that Licensor assumes no responsibility or liability whatsoever to Licensee or to any
                                           other person or entity for such completeness, suitability or compliance. Licensee shall not make
                                           any material changes to the Construction Documents that constitute a change to the Project,
                                           without Licensor's prior written approval, except as specifically permitted by this Agreement,
                                           which consent shall not be unreasonably withheld, conditioned or delayed.

                                                   2.     Construction of Licensee Work. Licensee shall cause all Licensee Work to be
                                           fully completed substantially in accordance with the Construction Documents, and in accordance
                                           with the time frames and other requirements set forth in this Agreement and in the License. The
                                           general contractor which will perform the Licensee Work ("Licensee's General Contractor;"
                                           and, together with all other contractors, subcontractors and material suppliers performing or
                                           providing materials for the Licensee Work, the "Licensee's Contractors") shall be a reputable
                                           contractor selected by Licensee and approved by Licensor, which approval shall not be
                                           unreasonably withheld or delayed. Upon not less than ten (10) days prior written notice to
                                           Licensee (except in the event of an emergency in which case, no prior notice shall be required),
                                           Licensor shall have the right, but not the obligation, to perform, on behalf of and for the account
                                           of Licensee, subject to reimbursement of the cost thereof by Licensee, any and all of the
                                           Licensee Work which Licensor determines, in its reasonable discretion, should be performed
                                           immediately for the protection of the Licensed Area or other portions of Navy Pier and the
                                           operations thereon, including, without limitation, work which pertains to safety, sprinkler and
                                           fire alarm work, utilities, leaks, structural components, removal of unduly accumulated
                                           construction material and debris and other conditions which violate the terms and provisions of
                                           this Development Agreement.

                                                  3.      Details of Construction of Licensee Work.

                                                   a.      Substantial Completion. Subject to delays caused by Force Majeure, as defined
                                           in the License, Licensee shall use commercially reasonable efforts to cause the Licensee Work to

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                                            be performed on the Licensed Area pursuant to the Constmction Documents to be substantially
                                            completed (as hereinafter defined) on or prior to the Term Commencement Date.
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                                                  b.      Construction Warranties; No Release.

                                                           i.      Licensee hereby warrants to Licensor: (1) all Licensee Work shall be
                                                  perfmmed in a good and workmanlike manner, (2) all materials, supplies and equipment
                                                  furnished in connection with the Licensee Work shall be new and of good quality, (3) the
                                                  Licensee Work shall be of good and workmanlike quality and free from defects, and
                                                  (4) the Licensee Work shall be performed in compliance (where applicable) with (A) the
                                                  Constmction Documents, this Agreement and the License, in all substantial respects, (B)
                                                  current first class standards and practices in metropolitan Chicago of the applicable
                                                  profession, industry or trade for work of a similar value and purpose; and (C) all
                                                  applicable Laws (including, without limitation, the Americans With Disabilities Act of
                                                  1990 (as amended), and any applicable portions of the Illinois Accessibility Code (lAC)
                                                  1997 (as amended), to the extent governing the Licensee Work, and all applicable
                                                  building, zoning, fire and safety codes) and the requirements of Licensee's fire insurance
                                                  underwriters. If Licensor shall discover any failure or breach of the Licensee's
                                                  warranties set forth in this Section 3(b)i, within one (1) year after the Commencement
                                                  Date, then Licensee shall, upon written notice from Licensor and at Licensee's sole cost
                                                  and expense, promptly cause Licensee's General Contractor or other contractor to
                                                  commence and diligently perform the correction of such failure or breach (which
                                                  corrective action may include, without limitation, any necessary removal, disassembly,
                                                  reinstallation, repair, replacement, re-assembly, reconstmction, re-testing and/or re-
                                                  inspection of any portion of the Licensee Work and any other property damaged or
                                                  affected by such failure, breach or corrective action), all in a manner that minimizes any
                                                  dismption of or interference to any other portion of Navy Pier, including Licensor's
                                                  facilities that are impacted by the Project (and the other areas of Navy Pier that Licensee
                                                  has the right to use under the License), and in compliance with the terms of the License.
                                                  Licensor agrees to provide Licensee with notice of any claim to be made by Licensor
                                                  under this Section 3(b)i promptly after Licensor discovers any failure or breach of the
                                                  Licensee's warranties set forth in this Section 3(b)i, but no failure by Licensor to provide
                                                  such prompt written notice shall affect the validity thereof, except to the extent that such
                                                  failure prejudices Licensee to any material extent (e.g., prompt notice would have
                                                  allowed Licensee to pursue claims under contractors' warranties which are no longer then
                                                  available).

                                                          ii.     Licensee shall obtain constmction warranties against defects in labor,
                                                  materials and equipment of at least one (1) year (or such longer period as is customary
                                                  with respect to various components of the Licensee Work) from Licensee's Contractors
                                                  with respect to all components of the Licensee Work.

                                                          m.     Nothing contained in this Agreement shall relieve Licensee from any of
                                                  Licensee's duties and responsibilities under the License with respect to the performance
                                                  of the Licensee Work, and/or the maintenance, repair and operation of the Licensed Area
                                                  (including the Project).



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                                                  c.      Protection of Navv Pier. Licensee shall take all reasonable and customary
                                           precautionary steps to protect its facilities and the facilities of others affected by the Licensee
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                                           Work and to properly police same. Licensee shall keep all Common Areas free from
                                           accumulations of waste materials or rubbish and shall cause all areas in which the Licensee
                                           Work is occurring to be properly barricaded from adjacent portions of the Common Areas that
                                           are open to the Licensees of Navy Pier. Licensor shall have the right to review and approve any
                                           and all signage placed on any such barricades which approval shall not be unreasonably
                                           withheld, conditioned or delayed.

                                                   d.       Navv Pier Business. Licensee acknowledges Licensor conducts business at Navy
                                           Pier and Navy Pier's operations will be open during construction of the Project. Licensee's
                                           construction of the Project and the Construction Phasing Plan shall account for the business
                                           operations of Licensor, Navy Pier and other licensees and tenants at Navy Pier, all ofwhich shall
                                           be subject to Licensor's reasonable approval throughout construction of the Project. Licensee
                                           and Licensor shall cooperate fully with each other and other licensees and tenants at Navy Pier
                                           during construction of the Project to allow for full operation of their respective businesses with
                                           limited, if any, impact to business during Navy Pier business hours.

                                                  e.     Accidents. Licensee's construction contracts with Licensee's Contractors shall
                                           require Licensee's Contractors to take all reasonable safety precautions with respect to the
                                           Licensee Work, and to comply with all applicable Laws for the safety of persons and propetiy,
                                           and Licensee shall use commercially reasonable efforts to enforce all such tenns of such
                                           contracts.

                                                   f.     Delivery of As-Built Plans and Other Materials. As promptly as reasonably
                                           possible following the substantial completion of the Project, Licensee, at its cost and expense,
                                           shall provide Licensor with "as-built" drawings for the Project.

                                                  g.      Licensor's Prior Approval of Contractors. Whenever Licensor's approval of
                                           any contractor, subcontractor, architect, engineer or other consultant is required hereunder,
                                           Licensee may at any time hereafter (but prior to the time such approval is required) provide
                                           Licensor with a list of such contractors, subcontractors, architects, engineers or other consultants
                                           for pre-approval by Licensor together with a general description of the work for which such
                                           contractor or other service provider is sought to be approved, and Licensor shall either approve
                                           or disapprove such contractor or other service provider for the work generally described (which
                                           approval shall not be unreasonably withheld, conditioned or delayed, and with the reasons for
                                           such disapproval specified) by giving notice of same to Licensee in writing from time to time
                                           within seven (7) Business Days after Licensor's receipt of such list.

                                                   4.     Standards of Design and Construction and Conditions of Licensor's and
                                           Licensee's Performance. All work done on the Project by Licensee pursuant to this Agreement
                                           shall be done according to the standards set forth in this Section 4.

                                                  a.     Compliance with Laws. Licensee shall cause Licensee Work to comply with all
                                           applicable Laws.




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                                                   b.     Permits. Licensee shall, at its own cost and expense, obtain all required
                                           Construction Approvals, including but not necessarily limited to, building permits and approvals
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                                           as, by reason of the nature of the Licensee Work, may be required from any governmental
                                           authority having jurisdiction, including without limitation any zoning approvals as provided in
                                           the License.

                                                   c.     Compliance with Cooperation Standards.              Licensee's Contractors shall
                                           comply with the Project Labor Agreement set forth on Exhibit K of the License Agreement and
                                           made a part hereof (the "PLA"), and Licensee shall cause the PLA to be a part of the contract
                                           with Licensee's General Contractor (subject to immaterial variations required by such
                                           contractors or variations mutually and reasonably agreed to between Licensor and Licensee) and
                                           require such contractors to include them in contracts entered into with their respective
                                           subcontractors. Licensee's General Contractor shall be required to hire subcontractors
                                           possessing good labor relations, capable of performing quality workmanship and working in
                                           harmony with each other's contractors and subcontractors and with other contractors and
                                           subcontractors on the Project. Licensee shall conduct its respective labor relations and relations
                                           with their respective contractors, subcontractors and employees in an effort to avoid strikes,
                                           picketing, and boycotts of, on or about the Licensed Area or Navy Pier.

                                                   d.      Rules and Regulations. Notwithstanding anything to the contrary contained in
                                           this Agreement, Licensee and Licensee's Contractors shall make reasonable efforts and take
                                           reasonable steps appropriate to assure that all construction activities undertaken do not
                                           unreasonably interfere with the operation of Navy Pier or with other licensees and tenants and
                                           occupants of the Navy Pier, including without limitation compliance with the Construction
                                           Phasing Plan Licensee and Licensee's Contractors shall take reasonable, precautionary steps to
                                           minimize dust, noise (excluding ordinary construction noise) and construction traffic, and to
                                           protect their facilities and the facilities of others affected by the Licensee Work and to properly
                                           police the same. Licensee's and Licensee's Contractors' construction equipment and materials
                                           are to be kept within the Licensed Area (except that if it is impracticable to keep such any
                                           equipment or materials within the Licensed Area, then Licensor shall not unreasonably withhold
                                           its consent to their temporary location outside the Licensed Area, at Licensee's sole risk).
                                           Licensee's delivery and loading of equipment and materials shall be done at such reasonable
                                           locations and at such times as Licensor and Licensee shall reasonably schedule so as not to
                                           burden the construction or operation of Navy Pier.

                                                   e.    MBE/WBE Participation. Licensor has established minority business enterprise
                                           and women business enterprise participation goals and policies for the Licensee Work as set
                                           forth in the License Agreement. Licensee shall comply with the MBE/WBE Goals during
                                           performance of the Licensee Work.

                                                  f.      Utilities and Debris.

                                                          i.      If provided by or through Licensor all costs or charges for any services
                                                  including utilities, to the Licensed Area shall be the responsibility of Licensee. All
                                                  amounts payable above shall be paid within thirty (30) days after an invoice therefor is
                                                  delivered by Licensor to Licensee as may be apportioned.



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                                                          ii.     Licensee shall arrange and pay for removal of its constmction debris and
                                                  shall not place or store debris in the Navy Pier's waste containers.
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                                                  g.      Inspection. During the constmction of, and upon completion of, the Licensee
                                           Work and subject to Licensee's reasonable scheduling requirements, Licensor and Licensor's
                                           representatives shall have the right to inspect the Licensed Area to monitor the progress of
                                           construction ofthe Licensee's Work; provided, however, Licensor shall conduct such inspection
                                           in a manner which minimizes any interference with the work and Licensee shall have the right to
                                           accompany Licensor and Licensor's representatives during any such inspections.

                                                  h.      Progress Advisories; Coordination Meetings. Licensee shall keep Licensor
                                           advised with respect to the progress of the Licensee Work and the estimated date of substantial
                                           completion of the Licensee Work, and shall permit Licensor's representatives to attend any
                                           relevant project meetings.      Licensee shall be available to meet with the Licensor's
                                           representatives to review specific items, including constmction progress and coordination with
                                           Navy Pier. Licensee shall arrange regular coordination meetings with Licensor as reasonably
                                           required during constmction of the Project.

                                                  i.      Agreement Enforcement. Licensee shall use commercially reasonable efforts to
                                           impose on and enforce all applicable terms of this Agreement against its respective architects,
                                           contractors and subcontractors.

                                                   j.     Damage to Navy Pier. Notwithstanding anything to the contrary contained
                                           herein, to the extent any portions of Navy Pier are damaged by any of Licensee's Contractors,
                                           during the course of any improvements, Licensee shall be responsible for the repair of such
                                           damage to the condition of the area so damaged prior to any such damage. Licensee, at its sole
                                           cost and expense, shall also be responsible for relocating any and all building systems, utilities
                                           and improvements currently serving other portions of Navy Pier so that at all times throughout
                                           the Term (including during any period of constmction) the operations of Navy Pier (outside of
                                           the Licensed Area) as currently conducted are not interrupted or adversely impacted.

                                                   k.     Construction Rules and Regulations. Licensor shall have the right to deliver
                                           (or to cause Licensee to deliver) Licensor's constmction rules and regulations, together with
                                           reasonable modifications or supplements to such construction rules and regulations that are
                                           consistent with the terms and provisions of this Agreement to Licensee's Contractors performing
                                           the Licensee Work, in which event Licensee shall cause such rules and regulations, including any
                                           such reasonable modifications or supplements thereto (subject to immaterial variations required
                                           by such contractors and/or variations mutually and reasonably agreed to between Licensor and
                                           Licensee), to be incorporated into the contracts of Licensee's Contractors performing the
                                           Licensee Work, and shall thereafter use reasonable efforts to enforce such mles and regulations,
                                           including any such reasonable modifications or supplements thereto, in connection with the
                                           performance of the Licensee Work (it being agreed, however, that in the event of any conflict or
                                           inconsistency between the te1ms and provisions of any such constmction mles and regulations
                                           delivered by Licensor and the terms and provisions of the License or this Agreement, the terms
                                           and provisions of the License or this Agreement shall govern).




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                                                  5.      Insurance, Indemnification and Bonds.
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                                                  a.       Licensee's Insurance. The Licensee must procure and maintain, or cause its
                                           general contractor, architect or engineer to procure and maintain, at its/their own expense and for
                                           as long as the contract is in effect, the insurance coverages in amounts specified in Exhibit D-1
                                           attached hereto and made a part hereof, in amounts specified therein and must provide Licensor
                                           with certificates evidencing such coverage prior to performing Licensee Work.

                                                   b.     Indemnification. To the fullest extent permitted by law, Licensee shall
                                           indemnify, defend, protect, and hold harmless Licensor Protected Parties from and against any
                                           and all claims, suits, fines, costs (including reasonable attomeys' fees) brought by, or liabilities
                                           to or judgments in favor of, any person, firm or organization for bodily injury or death to any
                                           person (including without limitation, the employees of company and contractor group), and
                                           damage to, or loss or destruction of any property (including without limitation, the work covered
                                           hereunder and the property of contractor and company) (all of the above collectively called
                                           "claims"), to the extent arising, directly or indirectly, from the activities of Licensee, its
                                           employees, agents, contractors, subcontractors or any other person or entity performing any
                                           Licensee Work, in connection with this Agreement, whether caused by the negligence or other
                                           legal fault, including strict liability, of Licensee, Licensee's Contractors or any third party
                                           providing services or labor to the Licensed Area, excluding, however, the gross negligence or
                                           willful misconduct of Licensor or any of the Licensor Protected Parties.

                                                          i.       Provided further that, if this section contains an indemnity obligation that
                                                  is unenforceable under applicable law, then, but only in such event, this section shall be
                                                  modified, read, construed and enforced to the fullest extent permitted by law, and any
                                                  obligation that is enforceable shall remain in full force and effect and be binding on the
                                                  parties to this contract and upon any party with an indemnity obligation by reason of this
                                                  contract.

                                                          ii.    In claims against any person or entity indemnified under this Section 6.b
                                                  by an employee of a contractor, subcontractor, anyone directly or indirectly employed by
                                                  them or anyone for whose acts they may be liable, the indemnification obligation shall
                                                  not be limited by a limitation on amount or type of damages, compensation or benefits
                                                  payable by or for a contractor or subcontractor under workers' compensation acts,
                                                  disability benefit acts or other employee benefit acts.

                                                   c.      Payment and Performance Bonds. Except as agreed by the Licensor in writing,
                                           Licensee shall require Licensee's General Contractor or contractors to provide a payment and
                                           performance bond in an amount equal to one hundred percent (100%) of the cost of the Licensee
                                           Work or such other security reasonably acceptable to Licensor as security for completion of the
                                           Work. All performance and payment bonds shall name Licensor as a dual obligee. The surety
                                           for the payment and perfonnance bond must be rated at least A X or better (or such surety is
                                           otherwise approved by Licensor) by the most recent edition of Best's Key Rating Guide and be
                                           reasonably acceptable to Lender. All performance and payment bonds shall be on AlA
                                           Document A312 "Performance and Payment Bond" or other bond form acceptable to Owner in
                                           form and terms. Licensee's failure to obtain and deliver the bonds described in this Section 6.c
                                           shall constitute a material breach of this Agreement.


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                                                   6.      Meetings.
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                                                    a.     Appointment of Representatives. Each of Licensor and Licensee shall appoint
                                            in writing one or more individual representatives who are authorized to act on behalf of Licensor
                                            or Licensee, as the case may be, with respect to any approvals, consents or authorizations of
                                            Licensor or Licensee hereunder. Licensee's initial representative is Randy Podolsky.

                                                   b.      Meetings. Except as otherwise agreed by Licensor and Licensee, Licensor and
                                           Licensee shall meet regularly to review the status of the performance of the Licensee Work at the
                                           principal offices of Licensor. At the request of either party, Licensor and Licensee shall meet
                                           more or less frequently at the request of a pmiy who detennines in good faith that such meeting
                                           is necessary or desirable to advance the completion of the Licensee Work.

                                                   7.     Disputes; Remedies.

                                                   a.      Generally. Any dispute which shall arise under this Agreement (except to the
                                           extent specifically provided herein), or any dispute which shall arise under the License and is
                                           specifically to be subject to the Agreement Dispute Procedures, shall be resolved pursuant to the
                                           procedures provided for in this Section 7 (the "Agreement Dispute Procedures"). Except as
                                           otherwise expressly provided herein or in the License, sums in dispute shall not be payable or
                                           credited until such dispute is resolved as herein provided.

                                                   b.      Failure to Resolve; Arbitration. Unless otherwise mutually agreed, if any
                                           dispute which is to be governed by the Agreement Dispute Procedures has not been resolved to
                                           the mutual satisfaction of both parties within ten ( 10) Business Days after written notice of the
                                           same shall have been provided by one party to the other, then such dispute shall be resolved by
                                           arbitration as provided in this Section 7 .b below:

                                                          i.       Within seven (7) days after the expiration of the ten (1 0) Business Day
                                                   period described in Section 7.b above, Licensor and Licensee shall select a mutually
                                                   acceptable arbitrator (the "Agreement Qualified Arbitrator"), who shall be an architect,
                                                   engineer or general contractor (depending on the nature of the dispute) having at least ten
                                                   (10) years' continuous experience in representing (or contracting with) licensors or
                                                   licensees, or both, in the performance or design of improvements comparable to the
                                                   Licensee Work. If the parties fail to agree on the selection of an Agreement Qualified
                                                   Arbitrator within such seven (7) day period, then, within a second period of seven
                                                   (7) days, each party shall select an Agreement Qualified Arbitrator, and within a third
                                                   period of seven (7) days thereafter, the two appointed Agreement Qualified Arbitrators
                                                   shall select a third Agreement Qualified Arbitrator and the third Agreement Qualified
                                                   Arbitrator shall be the arbitrator and shall resolve the subject dispute. If one party shall
                                                   fail to make such selection within said third seven (7) day period, then the Agreement
                                                   Qualified Arbitrator chosen by the other party shall be the sole arbitrator. If the two
                                                   appointed Agreement Qualified Arbitrators shall fail to select a third Agreement
                                                   Qualified Arbitrator, then the third Agreement Qualified Arbitrator shall be selected by
                                                   the Director of the Chicago Chapter of the American Arbitration Association (or
                                                   comparable organization, if the Chicago Chapter of the American Arbitration Association
                                                   does not then exist).


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                                                          ii.     Once the Agreement Qualified Arbitrator has been selected as provided in
                                                  Section 7.b.i above, each of Licensor and Licensee, if it so elects, shall present evidence
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                                                  and materials to such Agreement Qualified Arbitrator, and, as soon thereafter as
                                                  practicable, but in any case within ten (10) Business Days after such selection, the
                                                  Agreement Qualified Arbitrator shall deliver its resolution of the dispute in question.
                                                  Any such decision shall include, if applicable, an express determination of the prevailing
                                                  party in such dispute, and any costs, if any, resulting from the matter(s) that are the
                                                  subject of such dispute. Such decision of the Agreement Qualified Arbitrator shall be
                                                  submitted in writing to, and be final and binding on, each of Licensor and Licensee. If
                                                  the Agreement Qualified Arbitrator believes that expert advice would materially assist
                                                  him or her, (s)he may retain one or more qualified persons, including, but not limited to,
                                                  legal counsel, contractors, architects or engineers, to provide such expert advice. All
                                                  costs and expenses pertaining to any such arbitration shall be borne by the party so
                                                  required to bear the cost of the Agreement Dispute Procedures provided elsewhere in this
                                                  Agreement. If, however, no such party is so provided, then: (1) the non-prevailing party
                                                  in the arbitration (as determined by the Agreement Qualified Arbitrator) shall pay the
                                                  costs of the Agreement Qualified Arbitrator and of any expe1ts retained by the
                                                  Agreement Qualified Arbitrator, (2) any fees of any counsel or expert engaged directly by
                                                  the Licensor or Licensee and the fees of any appointed Agreement Qualified Arbitrator
                                                  engaged to select a third Agreement Qualified Arbitrator, however, shall be borne by the
                                                  party obtaining such counsel, expert or arbitrator, and (3) if a compromise of any such
                                                  dispute is reached between the parties, the cost of the arbitration shall be equally divided
                                                  between the parties.

                                                         m.      Any determination by an Agreement Qualified Arbitrator pursuant to this
                                                  Section 7 shall be deemed an arbitration award, and judgment on the award may be
                                                  entered in any court having jurisdiction thereof.

                                                  8.     Miscellaneous.

                                                   a.    Except as expressly set forth herein or in the License, Licensor has no oral or
                                           written agreement with Licensee to do any work with respect to the Project or Licensed Area.

                                                  b.     Time is of the essence under this Agreement.

                                                  c.     All notices, requests, consents, approvals, demands and other communications
                                           (including any required drawings, plans and specifications) under this Agreement shall be in
                                           writing and shall be given (and deemed received) in the same manner as notices under the
                                           License.

                                                   d.     This Agreement, together with the License, sets forth the entire agreement of
                                           Licensee and Licensor regarding Licensee Work. This Agreement may only be amended if in
                                           writing and duly executed by both Licensor and Licensee.

                                                   e.     Wherever under the terms and provisions of this Agreement the time for payment
                                           or perforn1ance falls upon a Saturday, Sunday or Holiday, such time for payment or performance
                                           shall be extended to the next Business Day.


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                                                   f.     In the event of any express inconsistencies between the License and this
                                           Agreement, the terms of the Agreement shall govern and control. Any default by a party
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                                           hereunder shall constitute a default under the License and, except to the extent otherwise
                                           expressly provided herein, shall be subject to the notice and cure periods and the remedies and
                                           other provisions applicable thereto under the License.


                                                                     [Remainder of Page Intentionally Blank]




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                                              SIGNED:

                                                    LICENSOR:
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                                                    NAVY PIER INC., an Illinois not-for-profit corporation


                                                    By:~~~<.__
                                                   Name: fY) &c'i    \130/' r::-.-~rtfo(\ -er
                                                   Title:   p,ff..S\d-tn+ d. r:. .eD

                                                   Approved as to~?:'~
                                                   B~fl~~
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                                                                                                             (

                                                   LICENSEE:




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                                                                   Exhibit D-1 INSURANCE REQUIREMENTS
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                                           1.       The Licensee must procure and maintain, or cause its general contractor, architect or
                                           engineer to procure and maintain, at its/their own expense and for as long as the contract is in
                                           effect, the insurance coverages in amounts specified therein and must provide Licensor with
                                           certificates evidencing such coverage prior to performing Licensee Work:

                                                  a.      Commercial General Liability

                                                  Coverage

                                                  General Aggregate     $2,000,000
                                                  Products Liability/Completed
                                                  Oper. Aggregate       $1,000,000
                                                  Each Occunence        $1,000,000
                                                  Personal & Advertising Injury          $1,000,000

                                                  Endorsement specifically covering the liability assumed by the Licensee/Contractor
                                           under this Contract or evidence of blanket contractual liability that specifically addresses the
                                           exposures of this Contract, Products & Completed Operations Liability including claims brought
                                           by divers and their tenders, sudden & accidental seepage & pollution coverage, watercraft
                                           exclusion deleted, and "in rem" endorsement with minimum limits of $1,000,000 per occurrence.

                                                  If Commercial General Liability or other form with a general aggregate limit is used, the
                                           general aggregate limit shall be twice the required occunence limit. The general liability
                                           coverage must also include additional insured wording equivalent to CG 2010(11/85).

                                                  b.      Workers' Compensation and Employer's Liability

                                                  Coverage

                                                  Workers' Compensation       Statutory
                                                  Employer's Liability
                                                                Each Accident $1,000,000
                                                                Per Employee - Disease     $1,000,000
                                                                Annual Aggregate - Disease $1,000,000

                                           Including occupational disease and coverage under the United States Longshoremen's and
                                           Harbor Worker's Compensation Act, Employer's Liability Insurance extended to include
                                           coverage for Maritime Employer's Liability (i.e., Jones Act, Death on the High Seas Act and
                                           transpotiation, wages, maintenance and cure)

                                                   Workers Compensation/ Employer's Liability policies shall be endorsed to waive
                                           the insurer's right of subrogation against Licensor and MPEA.

                                                  c.     Hull & Machinery, Protection & Indemnity (P&I) and Pollution


                                                                                         D-13
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                                                  Coverage
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                                                  Hull and Machinery
                                                   Occurrence Vessel Value
                                                  P&I
                                                    Occurrence $1,000,000
                                                  Pollution                                                                      $5,000,000

                                           Hull & Machinery per American Institute Hull Clauses (amended for the vessel operations at the
                                           shipyard) or equivalent to the fair market value of the vessel. Any references to "other than
                                           Company" or other Company limitations will be deleted by endorsement to the policy as respects
                                           the naming of Navy Pier as an additional assured;
                                           P&I per P&I form SP 23 or equivalent (amended for the vessel operations at the shipyard) with a
                                           minimum limit of $1,000,000 per occurrence. Any references to "other than Company" or other
                                           Company limitations will be deleted by endorsement to the policy as respects the naming of
                                           Navy Pier as an additional assured;
                                           Pollution per Water Quality Insurance Syndicate (WQIS) or equivalent with a minimum limit of
                                           $5,000,000.


                                                  d.     Automobile Liability

                                                  Coverage

                                                  Bodily Injury and Property Damage
                                                   Combined - Combined Single Limits            $1,000,000
                                                  Uninsured!Underinsured Motorist -
                                                   Occurrence $1,000,000

                                                  This Policy must provide coverage for all owned, non-owned, and hired autos.

                                                  e.     Bumbershoot Marine Umbrella Coverage

                                                  Coverage                                                                          Limit
                                                  Per Occurrence                                                               $20,000,000
                                                  General Aggregate                                                       $20,000,000

                                           Coverage must be in excess of Commercial General Liability including Marine
                                           coverages, Auto Liability and Employers Liability. It must be no more restrictive
                                                  than the primary coverage.

                                           f.     Engineers Errors and Omissions or Professional Liability Coverage

                                           Coverage



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                                                 Per Wrongful Act                                                                   $5,000,000
                                           Annual Policy Aggregate                                                           $5,000,000
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                                           Definition of Professional Services must encompass all professional services associated with this
                                           agreement and the policy definition of professional service should require Navy Pier Inc. written
                                           approval and authorization.

                                           g.     Builders Risk Insurance

                                           Builder's Risk Insurance naming Navy Pier as a named insured and loss payee as interests may
                                           appear, covering the equipment, all materials and the work for the full insurable value against all
                                           risks, including but not limited to fire, while under conversion, repair and/or fitting out including
                                           materials in buildings, workshops, yards and docks ofNavy Pier, or on quays, pontoons, craft,
                                           etc., and against all risks of loss or damage through collapse of supports or ways from any cause
                                           whatever, and all liability risks of contractor and Navy Pier with respect to completion of the
                                           project. Such insurance will be in the amount of the full insurable value of the equipment,
                                           materials and work.

                                           2.     All insurance companies must be rated A-VIII or better by the A. M. Best Company.

                                           3.       Licensee I Contractor's assumption of liability is independent from, and not limited in
                                           any manner by, the Contractor's insurance coverage obtained pursuant to this contract, or
                                           otherwise. All amounts owed by Licensee I Contractor to Licensor and MPEA as a result of the
                                           liability provisions of the Licensee I Contractor shall be paid on demand.

                                           4.     None of the requirements contained herein as to types and limits or Licensor and MPEA
                                           approval of insurance, coverage to be maintained by the Licensee I Contractor are intended to
                                           and shall not in any manner limit, qualify or quantify the liabilities and obligations assumed by
                                           Licensee I Contractor under the Agreement, for the term of this Agreement and any other
                                           agreement with Licensor and MPEA or otherwise provided by law.

                                           5.     Licensee I Contractor expressly understands and agrees that any insurance or self-
                                           insurance programs maintained by Licensor and MPEA shall apply in excess of and not
                                           contribute with insurance provided by them under the Agreement.

                                           6.       All policies should be written on an occurrence basis with the exception of professional
                                           liability coverage.

                                           7.      All policies must amend the other insurance clause to be Primary and Non Contributory
                                           for any liability arising directly or indirectly from the Services.

                                           8.      Licensor and MPEA, their facilities, agents, officers, board members and employees must
                                           be named as additional insureds on the general liability, auto liability and umbrella liability
                                           policies.




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                                           9.      Licensee I Contractor agrees to require its subcontractors to comply with the insurance
                                           provisions required of Contractor pursuant to this Agreement unless Contractor, Licensor and
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                                           MPEA mutually agree to modify these requirements for subcontractors whose work is of
                                           relatively small scope. Contractor agrees that it will contractually obligate its subcontractors to
                                           promptly advise Contractor of any changes or lapses of the requisite insurance coverage and
                                           Contractor agrees to promptly advise Licensor and MPEA of any such notices Contractor
                                           receives from its subcontractors. Contractor agrees that it will contractually obligate its
                                           subcontractors to indemnify and hold harmless Licensor and MPEA to the same extent that
                                           Contractor is required to do so as provided in this Agreement. Contractor assumes all
                                           responsibility for monitoring subcontractor's contracts and insurance certificates for compliance
                                           with the insurance and other provisions of this Agreement until final completion of services.

                                            10.   All coverage must contain a Waiver of Subrogation in favor of Licensor and MPEA.

                                           11.   If policies are canceled for any reason, thi1iy (30) day notice is required to be given to the
                                           Risk Management Department.

                                           12.     Failure to obtain and maintain required insurance shall constitute a breach of the
                                           Agreement and the Licensee will be liable for any and all costs, liabilities, damages and penalties
                                           resulting to Licensor and MPEA from such breach, unless a written waiver of the specific
                                           insurance requirement is provided to the Licensee by Licensor and MPEA.




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                                                               Exhibit E   Licensee's Development Budget
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                                                                                            EXHIBIT E
                                                                                LICENSEE'S DEVELOPMENT BUDGET
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                                              Prelim~narv   Oev·e lopment Budget

                                                                                                                      ¢.
                                                   1       6_,0tnl0 Sf fDoatf ng breakwat·er @' $1.50/:s.f            ~·      900,000
                                                   2       35,4001sf floating Docks including M ain Pier @ $90/sf     S·   3,1.8:6,000
                                                   3        Doell:: ulbi~iiftiies on site·, 132 ea @' $5,000          S·     660,000
                                                   4      :SIInp·l Jiti:ul itf.es off site                            S·     250,000
                                                   5       tGalfl(g ljl.!\a-)1"§· with Security Gates, 3 @ $50,00 0   $      1'5{),000
                                                   6      IRe~Deptfon & Bathroom fadlity                              $      400,000
                                                   7      IDe:!iijgl!ll & EngJin:eering fees
                                                          a.. IRIFIP Oonments                                         S·      35,000
                                                          lb. IPermiiffing/Entitlements                               $      150,000
                                                          c. All\o•••••ance·fio;r Spedall Erwar onmenftal :Studlies   s       25,000
                                                          d. IFtirmal Erngiin:eering Desugn, IBM ;arndl CO's r@ 6%    S·     33;0,000
                                                          e. •Consibrll.lctfon Adm inistrabion of GC@ 3%              $      165,000
                                                   8      Cornstlrllllctfon Contingency @ 7.3%                        $·     404,000
                                                   9'     IDe~·eUop:nn.ent   & Financing Fees
                                                          a.. Oe•~telopment Fees.to ·GP M embers                      S·    35{)·, 000
                                                          lb. ~lllik Fees, Due Drl igence & Appraisal AJIIowance      S·    100,000
                                                          •t:. tCc•mltin.gency for filnancing Costs                   $·    21.5,000
                                                  1.0     ILe.eal lFees                                               $·     60,000

                                              Total Estllnru•ted Bwde;et                                              $    7, 380,000
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                                                                 Exhibit E-1   Licensee's Financing Plan
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                                                                                                EXHIBIT E-1

                                                                                      LICENSEE'S FINANCING PLAN
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                                           Navy Pier Marina will be financed by the Developer as follows:

                                           PRE-CONSTRUCTION FINANCING:
                                                 100% of the pre-development budget will be funded by the Developer partners.

                                           PRE-CONSTRUCTION COMPLETION FINANCING*:
                                                 50% of the Project costs will be funded in equity by the three Developer partners.
                                                 50% of the Project costs will be funded by a construction to operation loan.
                                                 A USFWS BIG Grant in the amount of $1,500,000 will be applied for.

                                           POST-CONSTRUCTION COMPLETION FINANCING:
                                                 Post completion and in operating mode, additional financing or re-financing will be sought in an amount NTE
                                                 85% of its fair market value.


                                           * Development of marina is not contingent upon receipt of the grant and if it is not received, then the loan amount and
                                           equity would be increased equally to fund the development. The provisions of Section 7.3 of the Lease shall govern.
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                                                                                                 EXHIBIT E-1
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                                                                                       LICENSEE'S FINANCING PLAN




                                            Navy Pier Marina will be financed by the Developer as follows:

                                            PRE-CONSTRUCTION FINANCING:
                                                  100% of the pre-development budget will be funded by the Developer partners.

                                            PRE-CONSTRUCTION COMPLETION FINANCING*:
                                                  50% of the Project costs will be funded in equity by the three Developer partners.
                                                  50% of the Project costs will be funded by a construction to operation loan.
                                                  A USFWS BIG Grant in the amount of $1,500,000 will be applied for.

                                            POST-CONSTRUCTION COMPLETION FINANCING:
                                                  Post completion and in operating mode, additional financing or re-financing will be sought in an amount NTE
                                                  85% of its fair market value.



                                            * Development of marina is not contingent upon receipt of the grant and if it is not received, then the loan amount and
                                            equity would be increased equally to fund the development. The provisions of Section 7.3 of the Lease shall govern.
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                                                                                                EXHIBIT E·1
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                                                                                     LICENSEE'S FINANCING PLAN




                                           Navy Pier Marina will be financed by the Developer as follows:

                                           PRE-CONSTRUCTION FINANCING:
                                                 100% of the pre-development budget will be funded by the Developer partners.

                                           PRE-CONSTRUCTION COMPLETION FINANCING*:
                                                 50% of the Project costs will be funded in equity by the three Developer partners.
                                                 50% of the Project costs will be funded by a construction to operation loan.
                                                 A USFWS BIG Grant in the amount of $1,500,000 will be applied for.

                                           POST-CONSTRUCTION COMPLETION FINANCING:
                                                 Post completion and in operating mode, additional financing or re-financing will be sought in an amount NTE
                                                 85% of its fair market value.


                                           * Development of marina is not contingent upon receipt of the grant and if it is not received, then the loan amount and
                                           equity would be increased equally to fund the development. The provisions of Section 7.3 of the Lease shall govern.
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                                                                         Exhibit F        Reserved
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                                                                        Exhibit G- Form of Letter of Credit
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                                                  Beneficiary:
                                                  Navy Pier, Inc.
                                                  600 E. Grand Ave.
                                                  Chicago, IL 60616

                                                  Irrevocable Letter of Credit
                                                  No. [Insert Number]


                                                   By order of our client,                           (the "Applicant"), we hereby establish
                                           this Inevocable Letter of Credit No.                       in favor of the Navy Pier, Inc. (the
                                           "Beneficiary") for an amount up to but not exceeding the aggregate sum of
                                           _ _ _ _ _ _ _ _ Dollars ($                            effective immediately, and expiring at our
                                           offices one year from the date hereof unless renewed as hereinafter provided.

                                                  Funds under this Letter of Credit are available to you against presentation by you of your
                                           sight draft(s), signed by one of your officers, drawn on us bearing the clause "Drawn under
                                           Credit No.           ." The sight draft shall be accompanied by the following:

                                                           A statement signed as follows: "The drawer hereunder is entitled to draw upon
                                           this letter of credit pursuant to that certain License Agreement dated         , 2017, by and
                                           between Navy Pier, Inc., as Licensor, and NPM Venture LLC, as Licensee."

                                           Partial draws are permitted. If presentment is made on a Business Day on or prior to 10:00 A.M.
                                           (Central Standard Time), payment under this Letter of Credit will be made on the same Business
                                           Day of presentment. If presentment is made on a Business Day after 10:00 A.M. (Central
                                           Standard Time), payment under this Letter of Credit will be made by 12:00 noon (Central
                                           Standard Time) on the immediately succeeding Business Day. "Business Day" shall mean any
                                           day other than a Saturday or Sunday or day on which commercial banking institutions in
                                           Chicago, Illinois are authorized or required by law to close.

                                                   This Letter of Credit will be automatically renewed for a one-year period upon the
                                           expiration date set forth above and upon each anniversary of such date, unless at least thirty (30)
                                           days prior to such expiration date, or at least thirty (30) days prior to any anniversary of such
                                           date, we notify both you and the Applicant in writing by certified mail that we elect not to so
                                           renew the Letter of Credit. This Letter of Credit is freely transferable by the Beneficiary.

                                                 Upon receipt by you of our notice of election not to renew this Letter of Credit, you may
                                           draw hereunder at any time before the expiry date by presentation of your sight draft(s), signed
                                           by one of your officers, drawn on us bearing the clause "Drawn under Credit No.
                                           _______ .,


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                                                  This Letter of Credit sets forth in full the tem1s of our undertaking and such undertaking
                                           shall not in any way be modified, amended or amplified by reference to any document or
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                                           instrument referred to herein or in which this Letter of Credit is referred to or to which this Letter
                                           of Credit relates, and no such reference shall be deemed to incorporate herein by reference any
                                           document or instrument.

                                                  All bank charges and commissions incurred in this transaction are for the Applicant's
                                           account.

                                                  We hereby agree with the drawers, endorsers, and bona fide holders of drafts drawn
                                           under and in compliance with the terms of this Letter of Credit that such drafts will be duly
                                           honored upon presentation to the drawee.

                                                  Except as otherwise expressly stated herein, this Letter of Credit is subject to the Uniform
                                                  Customs and Practice for Documentary Credits (2007 Revision), l.C.C. Publication No.
                                           500.

                                                  Very truly yours, Authorized Signature




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                                                                      Exhibit H- INSURANCE REQUIREMENTS
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                                           1.    The Licensee must procure and maintain, at its own expense, for as long as the contract is
                                                 in effect, the insurance coverages set forth below, in amounts specified herein and must
                                                 provide Licensor with certificates evidencing such coverage prior to performing any of
                                                 the licensed services:

                                                 a.     Commercial General Liability

                                                 Coverage                                                                               Limit

                                                 General Aggregate                                                                $2,000,000
                                                 Products Liability/Completed
                                                 Oper. Aggregate                                                                  $1,000,000
                                                 Each Occurrence                                                                  $1,000,000
                                                 Personal & Advertising Injury                                                    $1,000,000

                                                 Endorsement specifically covering the liability assumed by the Licensee/Contractor
                                                 under this Contract or evidence of blanket contractual liability that specifically addresses
                                                 the exposures of this Contract, Products & Completed Operations Liability including
                                                 claims brought by divers and their tenders, sudden & accidental seepage & pollution
                                                 coverage, watercraft exclusion deleted, and "in rem" endorsement with minimum limits
                                                 of $1,000,000 per occurrence.

                                                 If Commercial General Liability or other form with a general aggregate limit is used, the
                                                 general aggregate limit shall be twice the required occurrence limit. The general liability
                                                 coverage must also include additional insured wording equivalent to CG 2010(11/85).

                                                 b.     Workers' Compensation and Employer's Liability

                                                 Coverage

                                                 Workers' Compensation                                                              Statutory
                                                 Employer's Liability
                                                               Each Accident                                                      $1,000,000
                                                               Per Employee - Disease                                             $1,000,000
                                                               Annual Aggregate - Disease                                         $1,000,000

                                                 Including occupational disease and coverage under the United States Longshoremen's
                                                 and Harbor Worker's Compensation Act, Employer's Liability Insurance extended to
                                                 include coverage for Maritime Employer's Liability (i.e., Jones Act, Death on the High
                                                 Seas Act and transportation, wages, maintenance and cure)

                                                 Workers Compensation/ Employer's Liability policies shall be endorsed to waive
                                                 the insurer's right of subrogation against Licensor and MPEA.


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                                                  c.    Hull & Machinery, Protection & Indemnity (P&I) and Pollution
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                                                  Coverage

                                                 Hull and Machinery
                                                  Occurrence                                                                 Vessel Value
                                                 P&I
                                                   Occurrence                                                                   $1,000,000
                                                 Pollution                                                                      $5,000,000

                                                 Hull & Machinery per American Institute Hull Clauses (amended for the vessel
                                                 operations at the shipyard) or equivalent to the fair market value of the vessel. Any
                                                 references to "other than Company" or other Company limitations will be deleted by
                                                 endorsement to the policy as respects the naming of Navy Pier as an additional assured;
                                                 P&I per P&I form SP 23 or equivalent (amended for the vessel operations at the
                                                 shipyard) with a minimum limit of $1,000,000 per occurrence. Any references to "other
                                                 than Company" or other Company limitations will be deleted by endorsement to the
                                                 policy as respects the naming of Navy Pier as an additional assured;
                                                 Pollution per Water Quality Insurance Syndicate (WQIS) or equivalent with a minimum
                                                 limit of $5,000,000.


                                                 d.     Automobile Liability

                                                 Coverage

                                                 Bodily Injury and Property Damage
                                                  Combined - Combined Single Limits                                             $1,000,000
                                                 Uninsured/Underinsured Motorist -
                                                  Occurrence                                                                    $1,000,000

                                                 This Policy must provide coverage for all owned, non-owned, and hired autos.

                                                 e.     Bumbershoot Marine Umbrella Coverage

                                                 Coverage                                                                          Limit
                                                 Per Occurrence                                                               $20,000,000
                                                 General Aggregate                                                            $20,000,000

                                                 Coverage must be in excess of Commercial General Liability including Marine
                                                 coverages, Auto Liability and Employers Liability. It must be no more restrictive
                                                 than the primary coverage.

                                           2.    All insurance companies must be rated A-VIII or better by the A. M. Best Company.



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                                           3.     Licensee I Contractor's assumption of liability is independent from, and not limited in
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                                                  any manner by, the Contractor's insurance coverage obtained pursuant to this contract, or
                                                  otherwise. All amounts owed by Licensee I Contractor to Licensor and MPEA as a result
                                                  of the liability provisions of the Licensee I Contractor shall be paid on demand.

                                           4.    None of the requirements contained herein as to types and limits or Licensor and MPEA
                                                 approval of insurance, coverage to be maintained by the Licensee I Contractor are
                                                 intended to and shall not in any manner limit, qualify or quantify the liabilities and
                                                 obligations assumed by Licensee I Contractor under the Agreement, for the term of this
                                                 Agreement and any other agreement with Licensor and MPEA or otherwise provided by
                                                 law.

                                           5.    Licensee I Contractor expressly understands and agrees that any insurance or self-
                                                 insurance programs maintained by Licensor and MPEA shall apply in excess of and not
                                                 contribute with insurance provided by them under the Agreement.

                                           6.    All policies should be written on an occurrence basis with the exception of professional
                                                 liability coverage.

                                           7.    All policies must amend the other insurance clause to be Primary and Non Contributory
                                                 for any liability arising directly or indirectly from the Services.

                                           8.    Licensor and MPEA, their facilities, agents, officers, board members and employees must
                                                 be named as additional insureds on the general liability, auto liability and umbrella
                                                 liability policies.

                                           9.    Licensee I Contractor agrees to require its subcontractors to comply with the insurance
                                                 provisions required of Contractor pursuant to this Agreement unless Contractor, Licensor
                                                 and MPEA mutually agree to modify these requirements for subcontractors whose work
                                                 is of relatively small scope. Contractor agrees that it will contractually obligate its
                                                 subcontractors to promptly advise Contractor of any changes or lapses of the requisite
                                                 insurance coverage and Contractor agrees to promptly advise Licensor and MPEA of any
                                                 such notices Contractor receives from its subcontractors. Contractor agrees that it will
                                                 contractually obligate its subcontractors to indemnify and hold harmless Licensor and
                                                 MPEA to the same extent that Contractor is required to do so as provided in this
                                                 Agreement. Contractor assumes all responsibility for monitoring subcontractor's
                                                 contracts and insurance certificates for compliance with the insurance and other
                                                 provisions of this Agreement until final completion of services.

                                           10.   All coverage must contain a Waiver of Subrogation in favor of Licensor and MPEA.

                                           11.   If policies are canceled for any reason, thiliy (30) day notice is required to be given to the
                                                 Risk Management Department.




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                                           12.   Failure to obtain and maintain required insurance shall constitute a breach of the
                                                 Agreement and the Licensee will be liable for any and all costs, liabilities, damages and
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                                                 penalties resulting to Licensor and MPEA from such breach, unless a written waiver of
                                                 the specific insurance requirement is provided to the Licensee by Licensor and MPEA.




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                                                                  Exhibit I   Project Labor Agreement
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                                                                        PROJECT LABOR AGREEMENT
                                                                                     for
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                                                                      NAVY PIER and McCORMICK PLACE

                                                     Tills Agreement is entered into by and between the Metropolitan Pier and Exposition

                                             Authority, an Dlinois governmental entity (hereinafter "Authority"), and each of the Unions

                                             signatory hereto.

                                                     Because of the scope, cost and duration of, and important public purpose ro be served

                                             by the expansion ofthe McCormick Place Complex facilities, the parties to this Agreement have

                                             determined that it is in the public interest to have this Project and rdared Projca:s ("Projects")

                                             completed in themosr timely, productive, economical and orderly manner p:>s.Sib.lc and without

                                            labor disputes or clisruptions of any .lcind that might interfere with or dday the Projects.

                                                    The parries have determined mat it is desirable to eliminate the potential for friction on

                                            and disruption of these Projects by using their best dfom and ensuring that aU work is

                                            performed. by the trade unions that are signatory hereto and which have traditionaUyperformod

                                            and have trade and geographic jurisdiction over such work. Experimce has provm the value

                                            of such cooperation and that such mutuaJ undc:rtalcings should be maintainod and, if possible,

                                            strengthened and that the ultimate bmeficiaries remain the taxpayers and visitors to OUcago.

                                                   To further these goals and to maintain a spirit of harmony, 1abor-managc:ment

                                           cooperation and stability, the parties hereto agree, as follo-w!:

                                                   1.     During the term of this Agreanent, the Authority shall not contract or

                                           subcontract, nor permit any other person, fmn, company or entity to contract or subcontract,

                                           any constrUction, a1teration, painting, repair, or other work to be done       at the site of the

                                           Projects to any person, flllJl, company or entity that does not have, or does not agrc:e to be
                                                                                                                                      18S906.2
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                                                                                              2

                                             bound by, and operate Wlder, a current collective bargaining .agreement with a Union affiliated
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                                            with the: AFL-CIO Building and Consnuction Trades Department, or, as appropriate, the

                                            Teamste.rs Joint Council No. 25 or its affiliates, or, as appropriate, the au~ and Northeast

                                            lllinois Diso-jcr O:>uncil of Carpenters and Joiners of America, which Union has jurisdiction

                                            over the: particular work in question. Copies of all such currc:nt agreanc:nm constitute

                                            Appendix A to this Agreement, attached hereto and as may be modified from time-to-time and

                                            made a part hereof. The provisions of this Agreement shall apply to the parties and their

                                            affiliates, as wcll as to all contractors and subcontractors, irrespective of tier .level, pc:rfonning

                                            work on, or for, Project:s of the Authority and any tenant of the Authority.

                                                   2.      With respect to a contractor or subcontractor who is the successful bidder, but

                                            is not signatory to the applicable collective bargaining agreement, the collective bargaining

                                            agreancot. executed by said bidder sh3ll be executed ·before work begins and shall be the rele-

                                            vant area agreement regulating the wages, hours and other tenDS and conditions ofemployment.

                                                   3.      Deliveries to the Project site or sites of construction materials shall be made by

                                           employees covered by collective bargaining agreemc:nts providing for the payment of the

                                           prevailing wage or subject ro the applicable state or federal Jaws providing for the payment of

                                           the prevailing wage.

                                                  4.      During the term of this Agreement, the Authority and its contractors or

                                           subcontractors shall engage in no lockout at the situs of the Projects.

                                                  5.      During the term of this Agreement, no Union or any of its members, officers,

                                           stewards, agents or representatives, nor any employee, shall instigate, authorize, support,
                                                                                                                                         ll$906.:l
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                                                  sanction, maintain, or participate in any strike, wal1cout, work stoppage, work slowdown, work
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                                                  curtailment, cessation or interruption of production, or in     any picketing of the Projects'

                                                  premises for any reason whatsoever, including, but not limited to, a dispute between the

                                                 Authority or any contractor or subcontractor and any Union or any anployc:c, or by and

                                                 between any Union, or ~ sympathy with any Union or employee or with any other individual

                                                 or group.

                                                           6.    Each Union agree; that it will use im best dfom to prevent any of the acu

                                                 forbidden in Section 5 and that in the event any such acts take place or are engaged in by any

                                                 employee or group of employees, each Union furtha- agrees that it will use its best efforts

                                                 (including its full disciplinary power under its applicable Constirution and By-Laws) to cause

                                                an immediate cessation thereof.

                                                        7.       The Authority shall have the right to deny aca:ss to the premises and any

                                                contractor or subcontractor shall have the right ro discharge or c.liscipline any employee (and

                                                such discipline need not be uniform) who violates the provisions of Section 5. Such discharge

                                                or discipline by a contractor or subconaa.ctor shall be subject to the grievana:-arbitrarion

                                                procedure of the applicable collective bargaining contraer only as to the fact of such employee's

                                               vioJation of this Agreement. Ifsuch fact is established, the penalty imposed shall not be subject

                                               to review and shall not be disturbed.

                                                      8.        The parties o:pressJy authorize a court of competent jurisdiction to order

                                               appropriate injunctive relief to restrain any violation of this Agreement and any fonn of self-

                                           \   hdp remedy is expressly forbidden.
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                                                     9.     In the event any contract dispute (excluding a dispute covered by Paragraph 10
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                                             of this Agreement) shall arise between any contractor or subcontractor of the project and any

                                             signatory labor organization rdating to a contract and/or project covr.red by the provisions of

                                             this Agreanent, and said dispute is resolved by the grievance arbitration procedure of the

                                             applicable collective bargaining agreement, any failure of a party to fully comply with such a

                                             fmal resolution shaD result in the removal of the non-complying party from the Project upon

                                             proper notice to the Union, contractor, or subcontraaor.

                                                    10.    In addition to the obligations set forth in this Agreemc:nt, in the event any

                                            jurisdictional dispute arises between any affiliated unions or between Olicago and Cook

                                            County Building and ConstrUction Trades Council, tbeAFL-CIO Building and ConstrUction

                                            Trades Department, Teamsters Joint Council No. 25, or Ol.icago and Northeast Dlinois

                                            Distria O?uncil of Carpenters and Joiners of America, the parties shall notify the individual

                                            designated in Paragraph ll of cbe existence of a problem and use their best efforts to reso.M:

                                            said jurisdictional dispute in an expeditious manner. In the cvc:nt no resolution   is achieved

                                           within forty-eight (48) hours, the parties shall select, by availability, one of the fJVC agreed-

                                           upon arbitrators set out in Appendix "B" to hear and deturnine the dispute within forty-eight

                                           (48) hours. The arbitrators decision shall be in \VTiting and shall be limited to the particular

                                           dispute presented. In reaching his decision, the arbitrator shall consider, where appropriate,

                                           the following factors: (1) certifications and collective bargaining agreements; (2) agreements

                                           between the unions; (3) company prd"aence and past practice; (4) area and industry' practice;

                                           ,5) rdarive skills and safety; (6) economy and efficiency of operations; and (7) prior
                                                                                                                                    1115906..)
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                                             jurisdictional dispute determinations. The-written decision shalllxflnal and binding upon all
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                                             parties to the dispute and may be a short form decision. The fees and costs of the arbitrator

                                             shall be divided evenly betwea1 the parties except that any party wishing.a full opinion and

                                             decision beyond the short form decision shall bear the reasonable fees and costs of such full

                                             opinion. During the pendency of the jurisdictional dispute resolution and thereafter, the

                                             provisions of Paragraphs 4 and S set forth above sAAl] be strictly enforced and the progress of

                                             the work will continue.

                                                    11.     The parties agree that in the implementation and adminirtration · of this

                                            Agreement, it is vitally necessary to maintain dl'cctive and immediate communication so as to

                                            minimizr the potential of disputes arising out of this Agreement. To that end, each party

                                            hereto agrea to desjgnate, in writing, a rq:>resentative to whom problems can be directed

                                            which mar. arise dwing the tam of this Agrec.malt. Within forty--eight (48) boun after notice

                                            of the existence of any problem, representatives of each party shall meet to discuss and, where

                                            possible., resolve such problems.

                                                   12.    This Agreement shall be incorporated into, and become a part of, the coJlective

                                           bargaining agreement between any contractor or subcontractor and each Union signatory. In

                                           the event of inconsistency between this Agreement and any such collective bargaining concraa,

                                           the terms of this Agreement shall supercede 3lld prc:vail.

                                                  13.     Th.is constitutes the entire agrCX"ment between the: parties hereto and may not be

                                           changed or modified except by the subsequent written agreement of the parties.



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                                                    14.    All parries represent that they have the: full legal authority   to enter   into this
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                                            Agreement.

                                                    15.    If any provision, section, subsection or other portion of this 4grc:anent shall be:

                                            determined by any court of competent jurisdiction to be: invalid, ilkgal or unmforceable in

                                            whole or in part, and such determination shaU become: fmal, such provision or portion shall be

                                            deemed to be: severed or limited, but only to the extent required to render the remaining

                                            provisions and portion of this AgTeancnt enforceable. This Agreement as thus amended shaD

                                            be enforced so as to give dfect to the in~tion of the parties insofar as that is possible. In

                                            addition, the parries hereby expressly anpo'WCl' a court ofcompetent jurisdiction to modify any

                                            term or provision of this Agreement to the extent necessary to comply with c:x:isting Jaw and

                                            to enforce this Agreonc:nt as modified

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                                                          'This Agreement shall become dfcct:ive on this 2 7t:b day of_J_'I.IDe

                                           2002, and shall remain in dfcct for the duration of the Projects. 'The Union signatories are

                                           listed on Appendix C.




                                           Signatory Labor Organizations

                                           By: ________________________
                                           Im: ___________________________



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                                                              14.          All parties represent that they haVI: the full legal authority to enter into tbif
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                                                              15.          Ifany provision, so::tiop, .robsca:ion or other portion of this .Agreancnt shall be

                                            determined by any court of competent jurisdiction to ~ io~ ill~ ot unenforceable in

                                            whole: or in part, ~d such derermin:ttion shall become final, rudl provision or porti_OJl &hall be

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                                           provisions Ol!ld portion of tbU .Agr~t enforceable. This Agret:rnmt as thus 2mCnckd shaJI

                                           be cnfa-ccd so as ro gM: dfect to the intention of the p;mie:c insofar as that _is possible. In

                                           addition, the parncs hereby expressly empowtr a court ofc.o.mpc:rc:nt jw"i$dktion to modify any

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                                                      15.     If any provisio~ scccion, subsection or other portion of this .AgrcaJJCllt shall be ·

                                            determined by any court of competent jurisdiction to be in-v.illd, ~ or unenforceable in

                                            whole or in p~ and such detttmination shall ba:.ome fmaJ, sudJ provi!ion or portion shall be

                                            dec:mc:d to be .seft:rcd or limited, but only to the extent required to .rc;odcr tbe remaining

                                            provisions and portion ofthis .Agrttmcnt enforceable.                   This Agreement as thus amended shall
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                                                   whole or in part, and m.ch detcnnin:aion shall become final, such provision or portio~ shall be

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                                                listed on Appendix C.

                                                                                                   Mc:ttopoliau Pier and Exposition .Authority


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                                            Signatory Labor Organizations




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                                                                                                                     Exhibit IS
                                             FRAN C Z E K               SULLIVAN P.c.
                                                                             A'ITORNEYS AT LAW                       300 SOUfH WACKER. DRIV1
                                                                                                                     SUITE3400
                                                                                                                     CHICAGO, JLJ.JNOlS 60606
FILED DATE: 9/8/2021 9:45 AM 2021CH04537




                                             JAMES C. FRANCZEK, JR.                                                  PHONE 312·986-0300
                                                    312-786-6110                                                     FAX 312-986-9192
                                                  jcf@franc:z.ck.com                                                 http://www.franc:z.dt.com




                                                                                     June 25, 2002



                                             Mr. Marvin Gittler
                                             &her, Gitcler, Greenfield & D'Alba, Ltd.
                                             200 West Jackson BouJevard - Suite 1900
                                             Chicago, n.. 60606

                                                   Re: MPBA Project Labor Agreement

                                            DcarMarv:

                                                   This letter will confirm that cach of thc following arbitrators havc agrecd to act as
                                            required in Paragraph 10 of the Projcct Labor Agrecmcnt, if and as called upon. For your
                                            convcnicncc, I havc added thdr rurrent address and tc:lcphone numbers:

                                                                  Steven M. Bicrig
                                                                  Arbitrator
                                                                  P.O. Box438
                                                                  Highland Park, IL 60035
                                                                  847-236-1003

                                                                 Roben W. Mc.A.llisrer
                                                                 Arbitrator
                                                                 No. 13, The: Lmdmar.k
                                                                 Northfield, 1L 60093
                                                                 847-441-7727

                                                                 Roben Perkovich, Esq.
                                                                Arbitrator
                                                                P.O. Box 146759
                                                                Chicago, D.. 60614-6759
                                                                312-733-1678




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                                            FRANCZEK                  SULLIVAN P.C.                                                   Mr. M:arvin Girder
                                                                            AITORNEYS AT LAW                                              June 25, 2002
                                                                                                                                                  Pe1gc 2
FILED DATE: 9/8/2021 9:45 AM 2021CH04537




                                                                 Thomas F. Gibbons
                                                                 cfo DePe1ul Center for Dispute Resolution
                                                                 25 East Jackson Boulevard - Suite 1600
                                                                 Chicago, 1L 60604
                                                                 312-362-6316

                                                                 Byron Ya:ffe
                                                                 Arbitrator
                                                                 5000 North Marine Drive- No. 14A
                                                                 Chice1go, n.. 60640
                                                                 773-561-4470

                                                  This letter will further confJilll that, by muruaJ written agreement, the parties may
                                           remove any designated arbimnor and substitute other arbitrators who may agree to asswne
                                           the responsibility defined in Paragraph 10.

                                                   Please indicate your acknowledgement in the spaced provided below .

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                                           AGREED:



                                           MalVin Gittler

                                           Date:




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                                                                                                                             Exhibit     c


                                                   Chicago & Cook County Building & Construction Trades Council
FILED DATE: 9/8/2021 9:45 AM 2021CH04537




                                                                1SO North Wacker Drfve ·Suite 1850
                                                                     Chicago, Illinois 60606
                                                                                    312/372·2049
                                            Bricklayers local 21
                                            1950 West 43rd Street, Chicago 60609 ••••..•..•...•........•........•..• 773/650·1841

                                            Boilermakers locaJ 1
                                            2941 Archer Avenue, Chicago 60608 •••. - •............................... 773/247-5225

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                                            739 25th Avenue, Bellwood 601 04 •••••.•••••••..•••••••.•••••••••• - ....... 708/544-91 00

                                            Ceramic Tile Layers Local 67
                                            6425 South Central, Chicago 60638 ......................................... 773/884--6500

                                            Electrical Workers Local 134
                                            600 West Washington. Chicago 60661 .....••..........•........••....... 312/454-1340




                                            Glaziers local 27
                                            9223 West Ogden Avenue, Brookfield 60513 •.•....••.••....•.••••. 708/485-3014
                                           Hear & Frost Insulators Local 17
                                           3850 South Racfne, ChJcago 60609 ........................................ 773/247·8184
                                           Iron Workers District Council
                                           1108 first Street, LaSalle 61301 ............. -··-··-•••m•••• .. ••n•••• .. Sl S/224-1 099
                                           Iron Workers Local 1 (Structural)
                                           7720 West Industrial Drive, forest P4rk 60130 ..................... 708/36G-669S ·




                                           Iron Workers Local 136 (Machinl!ry Movers)
                                           8114 West Grand Avenue, River Grove 60171 •....•......••.••..•. 708/453-9300 ..
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                                            6425 South Central. Chicago 60638 .......................•.........••. 773/73 5·2450
                                            Marble Finishers & Polishers local 87
                                            6425 South Central, Chicago 60638 •••........•••.......•...•.....•.•• 773/884-0087


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                                            6200 Jo)Jet Road, Countryside 60525 ••..•..•••••..••..•••..•.....••.. 708/482-8800
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                                            1456 West Adams, Chicago 60607 ••••••••..•.•••..•••........•...•...•. 312/421·0046

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                                            45 Nonh Ogden Avenue, Chicago 60607 -·························312/829-4191
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                                            f~40 West Washington,                          Chicago 60607 .............................312/421·1 010
                                           Pointers, Cleaners & Caulkers local 52                                        .
                                           1111 So~..!th Western, Chicago 60612 ....................- •.•..••••.•31 2/243·3340
                                           Roofers Local 11
                                           9838 West Roosevelt Road, Wes1chester 601 53 ............. 708/34S-o970
                                           Sheet Metal Workers Local 73
                                           205 West Wacker, Chicago 60606•.•- ..................- •••••••••••-312/726 .. 3673
                                           Sprinklerfltters Local 281
                                           11900 South Laramie, Alsip 60658 ................- •••.•.•••••••••••• 708/597-1800




                                           Chicago & NE ll District Council of Carpenters
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                                                                                    AMENDMENT 1 TO LICENSE AGREEMENT

                                                                                                  NAVY PIER MARINA

                                                           THIS AMENDMENT NO. 1 (the "Amendment No. 1") is made effective February 1, 2019, between Navy
FILED DATE: 9/8/2021 9:45 AM 2021CH04537




                                                  Pier Inc., an Illinois Not for Profit corporation (“Licensor”) and NPM VENTURE LLC, a Delaware limited liability
                                                  company (“Licensee”). Licensor and Licensee may be referred to herein as a “Party” or the “Parties” as the context
                                                  may indicate.

                                                                                                        RECITALS

                                                          Whereas, the Parties have previously entered into a License Agreement dated August 7, 2015 related to the
                                                  construction and operation of a marina at Navy Pier, Chicago (the “2015 License Agreement”); and

                                                            Whereas, the parties have agreed to amend the 2015 License Agreement as provided herein.

                                                          NOW, THEREFORE, in consideration of the mutual promises and covenants set forth in this Amendment
                                                  No. 1 and Assignment, and for other good and valuable consideration, the receipt and sufficiency of which are
                                                  hereby acknowledged by the undersigned, the parties hereto hereby agree as follows:

                                                            Section 1.1     The provisions in the preamble are incorporated into and made a part of this Amendment
                                                  No. 1.

                                                            Section 1.2     Section 5.1.2 of the 2015 License Agreement is amended to read, in full, as follows:

                                                            Section 5.1.2. Licensee shall promptly apply for and diligently pursue all permits and governmental
                                                            approvals required to construct and operate the Docking Facility for the Permitted Use (the “Governmental
                                                            Approvals”), including but not limited to retaining an expeditor to assist with processing such
                                                            Governmental Approvals, to effect receipt of such permits and approvals not later than eighteen (18) months
                                                            after the Effective Date (the “Permit Approval Deadline”). Upon request, Licensor shall reasonably
                                                            cooperate with Licensee during the Governmental Approval process. In addition, Licensor shall upon
                                                            request, use its best efforts and take all steps reasonably necessary to have the Prime Lessor cooperate with
                                                            Licensee during the Governmental Approval process to provide whatever approvals, certifications and other
                                                            acknowledgements as are needed as owner of Navy Pier. Provided however, in the event Licensee, despite
                                                            its good faith diligent efforts, is unable to secure the Governmental Approvals within such eighteen-month
                                                            period, Licensee shall have the right to extend the Permit Approval Deadline up to an additional twelve (12)
                                                            (30 months in total) provided Licensee continues to diligently pursue the Governmental Approvals. Either
                                                            Party shall have the right to terminate this License upon written notice to the other party in the event the
                                                            Governmental Approvals have not been obtained within thirty (30) month after the Effective Date.

                                                            Section 1.3   Licensee hereby exercises its option to extend the Permit Approval Deadline an additional
                                                  twelve (12) months as provided in Section 5.1.2, as amended; and Licensor accepts such extension.

                                                        IN WITNESS WHEREOF, the parties hereto, intending to be legally bound hereby, have executed this
                                                   Amendment No. 1 effective as of February 1, 2019.



                                                  Navy Pier Inc.:                                           NPM VENTURE LLC, Inc.

                                                  By:_________________________________                      By:_________________________________
                                                  Marilynn Gardner, President/CEO                           Print Name:__________________________
                                                                                                            Print Title:___________________________

                                                                                                             1
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                                                                            AMENDMENT 2 TO LICENSE AGREEMENT

                                                                                         NAVY PIER MARINA
FILED DATE: 9/8/2021 9:45 AM 2021CH04537




                                                    THIS AMENDMENT NO.2 (the "Amendment No.2") is made effective February 1, 2020, between Navy
                                           Pier Inc., an Illinois Not for Profit corporation ("Licensor") and NPM VENTURE LLC, a Delaware limited liability
                                           company ("Licensee"). Licensor and Licensee may be referred to herein as a "Party" or the "Parties" as the context
                                           may indicate.

                                                                                               RECITALS

                                                   Whereas, the Parties have previously entered into a License Agreement dated August 7, 20 17, and amended
                                           effective February 1, 2019, related to the construction and operation of a marina at Navy Pier, Chicago (the "2017
                                           License Agreement"); and

                                                   Whereas, the parties have agreed to further amend the 2017 License Agreement as provided herein.

                                                   NOW, THEREFORE, in consideration of the mutual promises and covenants set forth in this Amendment
                                           No. 1 and Assignment, and for other good and valuable consideration, the receipt and sufficiency of which are
                                           hereby acknowledged by the undersigned, the parties hereto hereby agree as follows:

                                                   Section 1.1     The provisions in the preamble are incorporated into and made a part of this Amendment
                                           No.1.

                                                   Section 1.2    The erroneous dates of 2015 noted in Amendment No. 1 pertaining to the date of the
                                           License Agreement are hereby corrected to 20 17.

                                                   Section 1.3     Section 5.1.2 of the 2017 License Agreement is amended to read, in full, as follows:

                                                   Section 5.1.2. Licensee shall promptly apply for and diligently pursue all permits and governmental
                                                   approvals required to construct and operate the Docking Facility for the Permitted Use (the "Governmental
                                                   Approvals"), including but not limited to retaining an expeditor to assist with processing such
                                                   Governmental Approvals, to effect receipt of such permits and approvals not later than December 1, 2020
                                                   (the "Permit Approval Deadline"). Upon request, Licensor shall reasonably cooperate with Licensee
                                                   during the Governmental Approval process. In addition, upon request, Licensor shall request, use its best
                                                   efforts and take all steps reasonably necessary to have the Prime Lessor cooperate with Licensee during the
                                                   Governmental Approval process to provide whatever approvals, certifications and other acknowledgements
                                                   as are needed as owner of Navy Pier. Either Party shall have the right to terminate this License upon written
                                                   notice to the other party in the event the Governmental Approvals have not been obtained by the Permit
                                                   Approval Deadline.

                                                   Section 1.4     Except as set forth herein, the terms of the 20 17 License Agreement remain unchanged.

                                                IN WITNESS WHEREOF, the parties hereto, intending to be legally bound hereby, have executed this
                                           Amendment No. 1 effective as of February 1, 2020.




                                                                                                   By:~----~----------------­
                                                                                                   p    t Name: Randy D. Podolsky, Manager
                                           DocuSign Envelope ID: 078089B0-CBFB-42EF-9609-7BF3F2097D2F
                                                           Case: 1:21-cv-05353 Document #: 1-1 Filed: 10/08/21 Page 341 of 383 PageID #:345


                                                                                    AMENDMENT 3 TO LICENSE AGREEMENT

                                                                                                  NAVY PIER MARINA

                                                           THIS AMENDMENT NO. 3 (the "Amendment No. 3") is made effective October 13, 2020, between Navy
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                                                  Pier Inc., an Illinois Not for Profit corporation (“Licensor”) and NPM VENTURE LLC, a Delaware limited liability
                                                  company (“Licensee”). Licensor and Licensee may be referred to herein as a “Party” or the “Parties” as the context
                                                  may indicate.

                                                                                                        RECITALS

                                                          Whereas, the Parties have previously entered into a License Agreement dated August 7, 2017, amended
                                                  effective February 1, 2019, and further amended February 1, 2020, related to the construction and operation of a
                                                  marina at Navy Pier, Chicago (the “2017 License Agreement”); and

                                                            Whereas, the parties have agreed to further amend the 2017 License Agreement as provided herein.

                                                          NOW, THEREFORE, in consideration of the mutual promises and covenants set forth in this Amendment
                                                  No. 1 and Assignment, and for other good and valuable consideration, the receipt and sufficiency of which are
                                                  hereby acknowledged by the undersigned, the parties hereto hereby agree as follows:

                                                            Section 1.1     The provisions in the preamble are incorporated into and made a part of this Amendment
                                                  No. 1.

                                                            Section 1.2     Section 5.1.2 of the 2017 License Agreement is amended to read, in full, as follows:

                                                            Section 5.1.2. Licensee shall promptly apply for and diligently pursue all permits and governmental
                                                            approvals required to construct and operate the Docking Facility for the Permitted Use (the “Governmental
                                                            Approvals”), including but not limited to retaining an expeditor to assist with processing such
                                                            Governmental Approvals, to effect receipt of such permits and approvals not later than December 1, 2021
                                                            (the “Permit Approval Deadline”). Upon request, Licensor shall reasonably cooperate with Licensee
                                                            during the Governmental Approval process. In addition, upon request, Licensor shall request, use its best
                                                            efforts and take all steps reasonably necessary to have the Prime Lessor cooperate with Licensee during the
                                                            Governmental Approval process to provide whatever approvals, certifications and other acknowledgements
                                                            as are needed as owner of Navy Pier. Either Party shall have the right to terminate this License upon written
                                                            notice to the other party in the event the Governmental Approvals have not been obtained by the Permit
                                                            Approval Deadline.

                                                            Section 1.3     Except as set forth herein, the terms of the 2017 License Agreement remain unchanged.

                                                        IN WITNESS WHEREOF, the parties hereto, intending to be legally bound hereby, have executed this
                                                   Amendment No. 3 effective as of October 13, 2020.



                                                  Navy Pier Inc.:                                           NPM VENTURE LLC:

                                                  By:_________________________________                      By:_________________________________
                                                  Marilynn Gardner, President/CEO                           Print Name: Randy D. Podolsky, Manager
                                                   10/16/2020




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                                                                              AMENDMENT NO. 4 TO LICENSE AGREEMENT
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                                                               This Amendment No. 4 to the Navy Pier License Agreement Between Navy Pier, Inc.
                                                       (“Licensor”) and NPM Venture LLC (“Licensee”) as amended (“License Agreement”) is made
                                                       this 08th day of March, 2021.

                                                               WHEREAS, Licensor and the Metropolitan Pier and Exposition Authority (“MPEA”) are
                                                       parties to a Lease Agreement pursuant to which MPEA transferred to Licensor the responsibility
                                                       for the management, operation and maintenance of Navy Pier and implementation of a
                                                       Framework Plan for future development of Navy Pier;

                                                               WHEREAS, MPEA granted Licensor under the Lease Agreement, among other things,
                                                       full and unimpaired access to and use of Navy Pier and all improvements to Navy Pier and the
                                                       right to enter into contracts of any term in connection with the operation, repair and maintenance
                                                       of Navy Pier and implementation of all improvements in connection with the Framework Plan;

                                                              WHEREAS, the Lease Agreement provided that Navy Pier may be used for any lawful
                                                       purpose in compliance with the City of Chicago Institutional Planned Development No. 527, as
                                                       amended and as may be amended from time to time (“PD 527”);

                                                               WHEREAS, on application of MPEA, the City of Chicago amended PD 527 on
                                                       September 25, 2016, to provide, among other things, for construction and operation of a marina
                                                       on the north side of Navy Pier across the North Slip from the Jardine Water Treatment Plant
                                                       (“the proposed north side marina”);

                                                               WHEREAS, the Framework Plan, announced as the Centennial Vision, provides, among
                                                       other things, for construction and operation of the proposed north side marina;

                                                              WHEREAS, in 2016, Licensor solicited proposals to develop, construct and operate the
                                                       proposed north side marina through a two-part Request for Qualifications and Request for
                                                       Proposals process;

                                                               WHEREAS, Licensor selected Licensee to develop, construct and operate the proposed
                                                       north side marina and the parties executed the License Agreement as of August 7, 2017;

                                                              WHEREAS, the License Agreement granted Licensee a license to design, construct,
                                                       finance, maintain and operate the proposed north side marina and promised that Licensee shall
                                                       peaceably and quietly hold and enjoy the proposed north side marina for the term of the License;

                                                               WHEREAS, Licensor intended in the License Agreement that Licensee be authorized to
                                                       take all lawful steps and actions necessary to the purpose of Licensee designing, constructing,
                                                       financing, maintaining and operating the proposed north side marina;

                                                              WHEREAS, paragraph 5.1.2 of the License Agreement required Licensee to promptly
                                                       apply for and diligently pursue all permits and governmental approvals required to construct and
                                                       operate the proposed north side marina and required Licensor to “reasonably cooperate” with


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                                                       Licensee during the governmental approval process and to use its “best efforts and take all steps
                                                       reasonably necessary to have the Prime Lessor (Metropolitan Pier and Exhibition Authority--
                                                       MPEA) cooperate with” Licensee during the governmental approval process.
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                                                              WHEREAS, Licensee expended substantial monetary and other resources preparing to
                                                       begin development and construction of the proposed north side marina, including pursuing
                                                       necessary construction permits, and stands ready to complete construction of the marina;

                                                               WHEREAS, at Licensee’s behest and expense, and pursuant to the License Agreement,
                                                       and as required by the various government permitting authorities, MPEA as owner of Navy Pier
                                                       signed a Joint Application for construction permits that Licensee initially submitted on August
                                                       24, 2017 and amended by submission dated April 8, 2020;

                                                              WHEREAS, the Army Corps of Engineers and the Illinois Department of Natural
                                                       Resources initially issued the requested permits, but Chicago Department of Transportation
                                                       (“CDOT”) denied the requested Harbor Permit because it determined that the location of the
                                                       proposed north side marina “presents unacceptable security risks due to its proximity to the
                                                       Jardine Water Treatment Plant.”

                                                              WHEREAS, Licensee believes that CDOT’s denial of a Harbor Permit is contrary to
                                                       applicable law for a variety of reasons and has caused substantial damage to Licensee;

                                                               WHEREAS, Licensee delivered a letter to CDOT on November 6, 2020, which Licensor
                                                       reviewed and approved in advance, outlining some, but not all, potential legal claims against
                                                       CDOT and the City of Chicago, and requesting CDOT to reconsider denial of a Harbor Permit
                                                       for the proposed north side marina, but CDOT has not reconsidered its denial of a Harbor Permit
                                                       for the marina;

                                                              WHEREAS, Licensor and Licensee have begun discussing the possibility of Licensee
                                                       exclusively designing, constructing and operating a marina on the south side of Navy Pier (“the
                                                       proposed south side marina”) in lieu of constructing and operating the proposed north side
                                                       marina as currently designed;

                                                               WHEREAS, Licensee has authority under the License Agreement to pursue claims
                                                       against CDOT and the City of Chicago over CDOT’s denial of a Harbor Permit, but Licensor
                                                       and Licensee are interested in negotiating for a limited period of time to determine if they can
                                                       reach agreement on a proposed south side marina, in order possibly to avoid Licensee pursuing
                                                       such claims;

                                                              WHEREAS, Licensor and Licensee do not want to waive any rights and claims under the
                                                       License Agreement or under applicable law or claims arising from denial of a Harbor Permit for
                                                       the proposed north side marina pending negotiations regarding a proposed south side marina;

                                                             NOW THEREFORE, for good and valuable consideration, receipt of which is
                                                       acknowledged by the Parties, Licensor and Licensee further agree as follows:

                                                               1.      The above recitals are agreed by the Parties, incorporated herein and are an
                                                       integral part of this Amendment No. 4 to License Agreement.

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                                                               2.      This Amendment No. 4 to License Agreement supplements, but does not replace,
                                                       the Parties’ rights and obligations under the License Agreement and is without prejudice to or
                                                       waiver of any claim that either party currently has or may in the future have for breach of the
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                                                       License Agreement or any claim that either party has or may in the future have arising from
                                                       denial of a Harbor Permit for the proposed north side marina.

                                                                3.     Licensor will cooperate with Licensee and its counsel in connection with any
                                                       actual or proposed legal action between Licensee and CDOT and/or the City of Chicago, and
                                                       anyone acting in concert or participation with them. Without limiting the foregoing, Licensor
                                                       will, if requested, timely provide copies of all non-privileged documents in its possession,
                                                       custody or control that are relevant to any claim or defense in such legal action. Licensor will
                                                       also make its agents and employees reasonably available to provide non-privileged, truthful and
                                                       accurate information and affidavits to Licensee and its counsel relating to any claim or defense in
                                                       such legal action and to provide non-privileged, truthful and accurate testimony, as necessary.
                                                       Licensor and Licensee will execute the Common Interest Agreement in the form attached as
                                                       Exhibit 1.

                                                              4.      Nothing in this Amendment No. 4 to License Agreement or otherwise requires
                                                       Licensor to join as a plaintiff in any legal proceeding against CDOT, the City of Chicago, and/or
                                                       anyone acting in concert or participation with them, or otherwise to assert any claim, right or
                                                       cause of action or to bring any legal action against any of them arising from CDOT’s denial of a
                                                       Harbor Permit for the north side marina.

                                                               5.      Nothing in this Amendment No. 4 to License Agreement or otherwise requires
                                                       NPM to assert any claim, right or cause of action or to bring any legal action against CDOT
                                                       and/or the City of Chicago, and anyone acting in concert or participation with them, arising from
                                                       CDOT’s denial of a Harbor Permit for the proposed north side marina and nothing in this
                                                       Amendment No. 4 to License Agreement or otherwise precludes NPM from asserting any such
                                                       claim, right, cause of action or legal action. NPM will control, in its sole judgment and
                                                       discretion, the prosecution and settlement of any legal action that it brings.

                                                              6.    The Permit Approval Deadline in Section 5.1.2 of the License Agreement is
                                                       hereby amended and changed from December 1, 2021, as specified in Amendment No. 3 of the
                                                       License Agreement, to December 31, 2024.

                                                               7.     For 45 days from the date of this Amendment No. 4 to License Agreement, or for
                                                       such longer period as Licensee may in its sole discretion agree, Licensor and Licensee will
                                                       negotiate to determine if they can reach an agreement for Licensee exclusively to design,
                                                       construct and operate the proposed south side marina (including mooring facilities for cruise
                                                       ships) on mutually agreeable terms. Licensor will use its best efforts to obtain within the 45-day
                                                       negotiation period the commitment of MPEA and the City of Chicago and all relevant City
                                                       Departments, including, without limitation, CDOT, the Department of Water Management,
                                                       Chicago Park District (if required), the Fire, Police and Building Departments, and the Office of
                                                       Emergency Management, to Licensee’s design, construction and operation of the proposed south
                                                       side marina.




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                                                       IN WITNESS WHEREOF, the Parties hereto, intending to be legally bound hereby, have
                                                       executed this Amendment No. 4 to License Agreement, effective March 8th, 2021.
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                                                         Navy Pier, Inc./Licensor                           NPM Venture LLC


                                                         By:                                                By:
                                                                 Marilynn Gardner, President/CEO                  Randy Podolsky, Manager




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                      Courtroom Number: 2502
                      Location: District 1 Court
                              Cook County, IL                                                                      FILED
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                                              EXHIBIT 6
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                      Courtroom Number: 2502
                      Location: District 1 Court
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                                              EXHIBIT 7
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                                           June 15, 2020

                                           Larita Clark, CEO
                                           Metropolitan Pier and Exposition Authority
                                           301 East Cermak Road
                                           Chicago, Illinois 60616


                                           Subject:          Navy Pier Marina - Modification
                                                             600 E. Grand Avenue
                                                             Chicago, IL 60611

                                           Dear Ms. Clark:

                                           The Chicago Department Transportation reviewed the revised plans prepared by Edgewater Resources
                                           for a Navy Pier Marina at 600 East Grand Avenue, Chicago, Illinois 60611. The revised plans for the
                                           marina show that the orientation of the docks has changed and that you are proposing to construct more
                                           fixed docks. The overall marina area was reduced from 69,000 square feet to 61,100 square feet. The
                                           Harbor Permit for this installation is denied. This construction would still result in a marina on the north
                                           side of Navy Pier for the transient mooring of vessels. The revised marina development along the lines
                                           you have proposed and at the location you have applied for presents unacceptable security risks due to
                                           its proximity to the Jardine Water Treatment Plant.

                                           If you have any questions regarding this matter, please contact me, or Luis D. Benitez, P.E., S.E. at
                                           (312) 744-5807.


                                           Sincerely,


                                           Gia Biagi
                                           Commissioner


                                           Originated by:



                                           Luis D. Benitez, S.E, P.E.
                                           Chief Bridge Engineer

                                           cc:     O. Chaves




                                                                 30 NORTH LASALLE STREET, SUITE 1100, CHICAGO ILLINOIS 60602
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                      Location: District 1 Court
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                                              EXHIBIT 8
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                                                                           InaPARTMENT. OF THE ARMY
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                                                        NOTB.....It is to be understood that this instrument does not give
                                                  any property rights either in real estate or material, or any exclu-
                                                  sive privileges; and that it does not authorize any injury to private
                                                  property or invasion of private rights, or any. infringement of Federal.
                                                  State, or local laws or regulations, nor does it obviate the necessity
                                                  of obtaining State assent to the work authorized. It mereli empresses
                                                  Ihtt assent of the Vedor,41 Government so far as concerns the public
                                                  aghts of navieation,. (See Cummings v. Chicago, 188 U. S., 410.)

                                                                                   PiEMIT

                                                       WHEREAS by Section 10 of an act of Congress approved March 3, 1899,
                                                  entitled "An Act making appropriations for the construction, repair, and
                                                  preservation of certain public works on rivers and harbors, and for
                                                  other purposes," it is provided that it shall not be lawful to build or
                                                  commence the building of any wharf, pier, dolphin, boom, weir, break-
                                                  water, bulkhead, jetty, or other structures in any port, roadstead,
                                                  haven,harbor, canal, navigable river, or other water of the United
                                                  States, outside established harbor lines or where no harbor lines 'have
                                                  been established, except on plans recommended by the Chief of Engineers
                                                  and authorized by the Secretary of the Army, and it shall not be-lawftl
                                                  to excavate or fill, or in any manner to alter or'modify the course,
                                                  location, condition, or capacity of any port, roadstead, haven, harbor,
                                                  canal, lake, harbor of refuge, or enclosure within the limits of any
                                                  breakwater, or of the channel of any navigable water of the United
                                                  States, unless the work has been recommended by the Chief of Engineers
                                                  and authorized by the Secretary of the Army prior to beginning the
                                                  same (30 Stat. 1151; 13 U.S.C. 403);

                                                       AND WHEREAS application has been made to the Secretary of the
                                                  ArMy by the CITY OF CHICAGO, CHICAGO, ILLINOIS for authority to con-
                                                  struct a fill in Chicago Harbor north of Navy Pier according to plans
                                                  hereto attached;

                                                       NOW THEREFORE, This is to certify that the said plans and work are
                                                  recommended by the Chief of Engineers and are authorized by the. Secretary
                                                  of the Army under the provisions of the aforesaid statute, upon the
                                                  following conditions:

                                                       1.   That the work shall be subject to the supervision and approval
                                                  of the district engineer, in charge of the locality, who may temporarily
                                                  suspend the work at any time, if, in his judgment, the interests of
                                                  navigation so require.
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                                                         2.    That any material dredged in the prosecution of the work
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                                                    herein authorized shall be relieved evenly, and no large refuse piles,
                                                    ridges acros2. the bed of the waterway or deep holes that may have a
                                                    tendency to cause injury to navigable channels or to the banks of the
                                                    waterway shall be left. If any pipe, wire, or cable hereby authorized
                                                    is laid in, a trench, the formation of permanent ridges across the bed
                                                    of the waterway shall be avoided and the back filling shall be so done
                                                    as not to increase the cost of future dredging for navigation. Any
                                                    material to be deposited or dumped under this authorization, either in
                                                    the waterway or on shore above high-water mark shall be deposited or
                                                    dumped at the locality shown on the drawing hereto attached, and, if so
                                                    prescribed thereon, within or behind a good and subStantial bulkhead
                                                    or bulkheads, such as will prevent escape of the material into the
                                                    waterway.    •

                                                         3.   That there shall be no unreasonable interference with navi-
                                                    gation by the work herein authorized.

                                                         4.   That if inspections or any other operations by the United
                                                    States are necessary in the interests of navigation, all expenses
                                                    connected therewith shall be borne by the permittee.

                                                         5.   That no attempt shall be made by the permittee or the owner
                                                    to forbid the full and free use by the public of all navigable waters
                                                    at or adjacent to the work or structure.

                                                         6.   That if future operationsby the United States require an
                                                    alteration in the position of the structure or work herein authorized,
                                                    or if, in the opinion of the Secretary of the Army, it shall cause
                                                    unreasonable obstruction to the free navigation of said water, the
                                                    owner will be required, upon due notice from the Secretary of the Army,
                                                    to remove or alter the structural work or obstructions caused thereby
                                                    without expense to the United States, so as to render navigation
                                                    reasonably free, easy, and unobstructed; and if, upon the expiration
                                                    or revocation of this permit, the structure, fill, excavation, or
                                                    other modification of the watercourse hereby authorized shall not be
                                                    completed, the owner shall, without expense to the United States, and
                                                    to such extent and in such time and manner as the Secretary of the
                                                    Army may require, remove all or any portion of the uncompleted struc-
                                                    ture or fill and restore to its former condition the navigable
                                                    capacity of the watercourse. No claim shall be made ogrinst the
                                                    United States on account of any such rsmoval or alteration.

                                                         7.   That the United States shall in no case be liable for any
                                                    damage or injury to the structure or work herein authorized which may
                                                    be caused by or result from future operations undertaken by the
                                                    Government for the conservation or improvement of navigation, or for
                                                    other purposes, and no claim or right to compensation shall accrue
                                                    from any such damage.
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                                                     8.   That if the display of lights and signals on any work here-
                                                by authorized is not otherwise provided for by law, such lights and
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                                                signals as may be prescribed by the U. S. Coast Guard, shall be
                                                installed and maintained by and at the expense of the owner.

                                                     9.   That the permittee shall notify the said district engineer
                                                at what time the work will be commenced, and as far in advance of the
                                                time of commencement as the said district engineer may specify, and
                                                shall also notify him promptly, in writing, of the commencement of
                                                work, suspension of work, if for a period of more than one week,
                                                resumption of work, and its completion.

                                                     10. That if the structure or work herein authorized is not com-
                                                pleted on or before the 31st day of December 1955, this permit, if not
                                                previously revoked or spedifically extended, shall cease and be null
                                                and void.

                                                     11. The City of Chicago shall provide free docking space and
                                                mooring facilities for two large commercial vessels reouiring approxi—
                                                mately 1,400 lineal feet along the south side of the filtration plant
                                                in the slip between said plant and Navy Pier.

                                                     12. When required by commercial navigation and at the request
                                                of the district engineer, the City of Chicago will dredge the approach
                                                channel and slip indicated on the permit drawings to a depth of 21
                                                feet below Low Water Datum.

                                                     13. The City of Chicago, if and when requested to do so by the
                                                district engineer, will reimburse the Corps of Engineers in the amount
                                                of 25 per cent of the expense involved in dredging shoals caused by
                                                accretions in the entrance channel between the gap in the outer break-
                                                water and the lock at the mouth of the Chicago River.

                                                                  WITNESS my hand this—3.1th—     day of-September-1950




                                                                                          J.
                                                                                          Brigad    General, U. S. A.
                                                                                          Acting Chief of Engineers

                                                                 IN WITNESS      OF I have hereunto set my hand
                                                            by direction of the Under Secretary of the Army
                                                                      —day of          1951.




                                                                                          H.4RY C.  amgaK
                                                                                          Colonel, JAGC
                                                                                          Chief, Civil and Degas, Branch
                                                                                          OUSA
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                                               DEPARTMENT OF PUBLIC WORKS
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                      Location: District 1 Court
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                                              EXHIBIT 9
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                                                                                                           7. That the United States shall in no case be
                                                                                                        liable for any damage or injury to the structure or
                                                WHEREAS, the City of Chicago on December 13,            work herein authorized which may be caused by or
                                             1949, filed with the District Engineer of the Chi-         result from future operations undertaken by the
                                             cago District, Corps of Engineers, U. S. Army, an          Government for the conservation or improvement
                                             application for a permit to construct the Central.         of navigation, or for other purposes, and no claim
                                             District Filteration Plant at the location desig-          or right to compensation shall accrue from any
                                             nated by the City Council November 29, 1949                such damage.
                                             (Council Proceedings, pages 5105 and 5106), and
                                                WHEREAS, a permit pursuant to the above men-               8. That if the display of lights and signals on
                                             tioned application has been recommended by the             any work hereby authorized is not otherwise pro-
                                             Chief of Engineers and authorized by the Secretary         vided for by law, such lights and signals as may
                                             of the Army upon the following conditions:                 be prescribed by the U. S. Coast Guard, shall be
                                                                                                        installed and maintained by and at the expense of
                                                1. That the work shall be subject to the super-         the owner.
                                             vision and approval of the district engineer, in
                                             charge of the locality, who may temporarily sus-              9. That the permittee shall notify the said dis-
                                             pend the work at any time, if, in his judgment, the        trict engineer at what time the work will be com-
                                             interests of navigation so require.                        menced, and as far in advance of the time of com-
                                                2. That any material dredged in the prosecu-            mencement as the said district engineer may
                                                                                                        specify, and shall also notify him promptly, in
                                             tion of the work herein authorized shall be removed
                                             evenly, and no large refuse piles, ridges across the       writing, of the commencement of work, suspen-
                                             bed of the waterway or deep holes that may have            sion of work, if for a period of more than one week,
                                             a tendency to cause injury to navigable channels           resumption of work, and its completion.
                                             or to the banks of the waterway shall be left. If             10. That of the structure or work herein au-
                                             any pipe, wire, or cable hereby authorized is laid         thorized is not completed on or before the 31st day
                                             in a trench, the formation of permanent ridges             of December, 1955, this permit, if not previously
                                             across the bed of the waterway shall be avoided            revoked or specfically extended, shall cease and
                                             and the back filling shall be so done as not to in-        be null and void.
                                             crease the cost of future dredging for navigation.            11. The City of Chicago shall provide free dock-
                                             Any material to be deposited or dumped under this          ing space and mooring facilities for two large com-
                                             authorization, either in the waterway or on shore          mercial vessels requiring approximately 1,400 lineal
                                             above high-water mark shall be deposited or                feet along the south side of the filtration plant in
                                              dumped at the locality shown on the drawing hereto        the slip between said plant and Navy Pier.
                                             attached, and, if so prescribed thereon, within or
                                             behind a good and substantial bulkhead or bulk-               12. When required by commercial navigation
                                              heads, such as will prevent escape of the material        and at the request of the district engineer, the City
                                              into the waterway.                                        of Chicago will dredge the approach channel and
                                                                                                        slip indicated on the permit drawings to a depth
                                                3. That there shall be no unreasonable inter-           of 21 feet below Low Water Datum.
                                             ference with navigation by the work herein author-
                                              ized.                                                        13. The City of Chicago, if and when requested
                                                                                                        to do so by the district engineer, will reimburse
                                                4. That if inspections or any other operations          the Corps of Engineers in the amount of 25 per cent
                                              by the United States are necessary in the interests       of the expense involved in dredging shoals caused
                                              of navigation, all expenses connected therewith           by accretions in the entrance channel between the
                                             shall be borne by the permittee.                           gap in the outer breakwater and the lock at the
                                                5. That no attempt shall be made by the per-            mouth of the Chicago River.
                                              mittee or the owner to forbid the full and free use          WHEREAS, said conditions impose no new feature
                                              by the public of all navigable waters at or adjacent      in design of said proposed work and add nothing
                                              to the work or structure.                                 to what the City is already committed to do and
                                                6. That if future operations by the United              are, in the opinion of the City Engineers, reason-
                                              States require an alteration in the position of the       able and are by them recommended to be accepted;
                                             structure or work herein authorized, or if, in the         now therefore,
                                              opinion of the Secretary of the Army, it shall cause
                                             unreasonable obstruction to the free navigation            Be It Ordained by the City Council of the City of
                                              of said water, the owner will be required, upon due          Chicago:
                                              notice from the Secretary of the Army, to remove             SECTION 1. That the Commissioner of Public
                                              or alter the structural work or obstructions caused       Works is authorized to accept on behalf of the City
                                              thereby without expense to the United States, so          of Chicago the permit issued by the Secretary of
                                              as to render navigation reasonably free, easy, and        the Army under date of January 19, 1951, pursuant
                                              unobstructed; and if, upon the expiration or revo-        to the application of the City of Chicago made De-
                                              cation of this permit, the structure, fill, excavation,   cember 13, 1949, providing for the construction of
                                              or other modification of the watercourse hereby           the Central District Filtration Plant at the location
                                              authorized shall not be completed, the owner shall,       described in the resolution passed by the City Coun-
                                             without expense to the United States, and to such          cil on November 29, 1949 and appearing in the Jour-
                                              extent and in such time and manner as the Sec-            nal of Council Proceedings for that date at pages
                                              retary of the Army may require, remove all or any         5105 and 5106, which said permit contains certain
                                             portion of the uncompleted structure or fill and           conditions as above set forth.
                                             restore to its former condition the navigable ca-             SECTION 2. This ordinance shall be effective
                                             pacity of the watercourse. No claim shall be made          upon its passage.
                                             against the United States on account of any such
                                             removal or alteration.
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                                           STATE OF ILLINOIS,1
                                             County of Cook. 5 Ss'



                                               I,         LUDWIG.D....S.CHREBER                     , City Clerk of the City of Chicago in the County of

                                           Cook and State of Illinois, DO HEREBY CERTIFY that the annexed and foregoing is a true and

                                           correct copy of that certain ordinance now on file in my office,....authorizing.the..Commis.sioner

                                           .of.Public Works to accept a Federal permit for construction of the centa.), District Filtration

                                           .Plant,




                                               I DO FURTHER CERTIFY that the said ordinance was passed by the City Council of the said

                                           City of Chicago on the              second                    (   2nd ) day of       March          , A. D 1951

                                           and deposited in my office on the              second                    (....2nd   ) day of.. ..Mrgh.

                                           A. D.

                                               I DO FURTHER CERTIFY that the vote on the question of the passage of the said ordinance

                                           by the said City Council was taken by yeas and nays and recorded in the Journal of the Proceed-

                                           ings of the said City Council, and that the result of said vote so taken was as follows, to wit:

                                           Yeas      43    , Nays       1.

                                               I DO FURTHER CERTIFY that the said ordinance was delivered to the Mayor of the said

                                           City of Chicago after the passage thereof by the said City Council, without delay, by the City

                                           Clerk of the said City of Chicago, and that the said Mayor failed to return the said ordinance to

                                           the said City Council with his written objections thereto at the next regular meeting of the said

                                           City Council occurring not less than five days after the passage of the said ordinance.




                                               I DO FURTHER CERTIFY that the original, of which the foregoing is a true copy, is

                                           entrusted to my care for safe keeping, and that I am the lawful keeper of the same.

                                                                             IN WITNESS WHEREOF, I have hereunto set my hand and affixed the

                                                                                 corporate seal of the City of Chicago aforesaid, at the said City, in the

                                                      [L. S.]                    County and State aforesaid, this        twenty.-litst              (

                                                                                 day of            May                                , A. D. 19 53.


                                                                                                                                             City Clerk.
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                      Location: District 1 Court
                              Cook County, IL                                                                      FILED
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                                                                                                                   COOK COUNTY, IL
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                                           EXHIBIT 10
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                      Location: District 1 Court
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                                           EXHIBIT 11
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                                                                                                                               Seyfarth Shaw LLP
                                                                                                                           233 South Wacker Drive
                                                                                                                                        Suite 8000
                                                                                                                       Chicago, Illinois 60606-6448
                                                                                                                                  T (312) 460-5000
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                                                                                                                                  F (312) 460-7000

                                                                                                                          mlevinson@seyfarth.com
                                                                                                                                  T (312) 460-5868

                                                                                                                                 www.seyfarth.com

                                                                                        November 6, 2020

                                           VIA FEDERAL EXPRESS

                                           Commissioner Gia Biagi
                                           Chicago Department of Transportation
                                           2 N. LaSalle Street
                                           Suite 1100
                                           Chicago, IL 60602


                                           Re:       Navy Pier Marina Harbor Permit

                                           Dear Commissioner Biagi:

                                                   We are counsel for NPM Venture, LLC (“NPM”), which was licensed by Navy Pier, Inc.
                                           (“NPI”) in an August 17, 2017 Navy Pier License Agreement, as amended, to develop, construct
                                           and operate a marina at Navy Pier (“the marina”). NPI, in turn, is responsible for operating and
                                           developing Navy Pier pursuant to an April 26, 2011 Lease Agreement, as amended, from the
                                           Metropolitan Pier and Exposition Authority (“MPEA”). We are writing this letter to request that
                                           the Department of Transportation (“CDOT”) reconsider its June 15, 2020 denial of MPEA’s
                                           application for a Harbor Permit for the marina.

                                                   As discussed below, CDOT exceeded its legal authority in denying the Permit, its denial
                                           violates both the 1954 Illinois Supreme Court decision, Bowes v. City of Chicago, 3 Ill. 2d 175
                                           (1954) and MPEA’s riparian rights, including such rights licensed to NPM, and CDOT’s
                                           conclusion that the location of the marina “presents unacceptable security risks due to its
                                           proximity to the Jardine Water Treatment Plant” is arbitrary and without any rational basis. The
                                           presence of the marina will not make the Plant any less secure, but will, in fact, enhance
                                           security in the North Slip, where the marina will be located.

                                                   The Secretary of the Army, the State of Illinois and the City of Chicago have all approved
                                           locating the marina on the north side of Navy Pier as proposed in MPEA’s Harbor Permit
                                           application and construction and operation of the marina will provide jobs and revenues and will
                                           enhance Chicago’s standing as a great international city. CDOT should promptly reconsider and
                                           reverse its denial of the Permit.

                                           I.        BACKGROUND

                                                     A.    MPEA Announces Navy Pier Centennial Vision and Marina

                                                 In June 2011, MPEA announced the Navy Pier Centennial Vision, the first phase of a
                                           comprehensive development plan for Navy Pier. The Centennial Vison set forth a framework for


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                                           future development and ultimately included a proposed transient boat slip or marina located on
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                                           the north-east side of Navy Pier, part of an area called the “North Slip,” between Navy Pier and
                                           the Jardine Water Plant. The Chicago Park District had urged MPEA to develop a marina there
                                           to complement its existing harbor system. The North Slip is located inside the Chicago Harbor
                                           breakwater in a larger area known as the “Playpen.” During boating season, hundreds if not
                                           thousands, of recreational boats transit the Playpen. Large scale events such as Boat-A-
                                           Palooza also draw a large number of boats to the area. Recreational boats are free to transit the
                                           north and east sides of the Jardine Water Plant without restriction or monitoring of any kind.
                                           Though the City has placed two “keep out” buoys at the east end of the North Slip, boats are
                                           nonetheless legally free to transit that area too without restriction. Boats have even docked in
                                           that area from time to time, such as during the America’s Cup race.

                                                   B.     City of Chicago Approves the Marina

                                                   MPEA, pursuant to the rights granted to NPM under its License Agreement, applied for
                                           approval to build and operate the marina in the North Slip and the City Council unanimously
                                           approved and authorized the marina as part of the City’s Planned Development (“PD”) process.
                                           In the City’s words, the PD process is “required for certain projects to ensure adequate public
                                           review, encourage unified planning and development, promote economically beneficial
                                           development patterns that are compatible with the character of the existing neighborhoods,
                                           allow design flexibility, and encourage protection and construction of the city’s natural
                                           resources.”

                                                   The PD process involved a detailed review of the proposed marina, including hearings
                                           by the Plan Commission, the Department of Planning & Development Review, the Zoning
                                           Administrator, the City Council Committee on Zoning, Landmarks and Building Standards and,
                                           ultimately, the City Council. The Municipal Code requires that the review specifically determine
                                           “whether the proposed development is compatible with the character of the surrounding area in
                                           terms of uses . . .” (Chap. 17-13-0609-B).

                                                  On September 25, 2016, the City Council approved the marina in the North Slip. The
                                           City Council was satisfied that there were no unacceptable security risks because of the
                                           marina’s proximity to the Jardine Water Plant. The Council passed an Ordinance amending PD
                                           527, the Navy Pier Planned Development, to provide for a marina as follows:

                                                   The perimeter of the north and south dock area of Navy Pier and Headlands
                                                   Subareas may be used to dock boats and ships, and passengers May embark
                                                   and disembark from such boats and ships along the docks of Navy Pier . . .
                                                   (31829)

                                           The Amended PD 527 Ordinance depicts the marina and its location at the north edge of Navy
                                           Pier directly across the North Slip from the Jardine Water Plant:




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                                                                                    Jardine Plant

                                                                                          ↓




                                                                                          ↑
                                                                                      Navy Pier

                                           The Amended PD 527 Ordinance requires that “[a]ll work in the public way” be done “in
                                           accordance with Department of Transportation Construction Standards,” but states that
                                           “no further approvals shall be required under this Planned Development or the Zoning
                                           Ordinance for the improvements undertaken in accordance with the plans . . .”

                                                   C.    NPI Issues RFQ/RFP to Develop, Build and Operate the Marina

                                                   On May 25, 2016, NPI issued a “Request for Qualifications and Proposals Part 1
                                           Transient Boat Slip and Operation” to develop and operate a marina in the North Slip, in the
                                           exact location set forth in MPEA’s PD application and later approved by the City Council in the
                                           Amended PD 527 Ordinance. The RFQ/RFP specified that that location “will be the only area for
                                           the project” and “[w]hile the project does not require the full use of the designated area, the
                                           project itself is limited to that area.”

                                                  NPM, among other Firms, responded to Part 1 of the RFQ/RFP. On September 22, 2016
                                           MPEA issued Part 2 of the RFQ/RFP, requesting detailed proposals from the Firms, including
                                           NPM, short-listed as a result of Part 1 of the process. Once again, Part 2 made clear that the
                                           marina was to be built and operated “on the north side of Navy Pier,” in accordance with
                                           MPEA’s application and the subsequently Amended PD 527 Ordinance.

                                                    As a result of this process, NPI selected NPM to develop and build the marina. NPI and
                                           NPM signed a Memorandum of Understanding on February 28, 2017 and the Navy Pier License
                                           Agreement on August 17, 2017. The License Agreement granted NPM a license to design,
                                           construct, finance and operate “a transient watercraft docking facility, boat slips and ancillary
                                           facilities” on the north side of Navy Pier, again at the exact location approved by the City
                                           Council in Amended PD 527. The License Agreement specifically authorizes NPM on NPI and



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                                           MPEA’s behalf to “promptly apply for and diligently pursue all permits and governmental
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                                           approvals required to construct and operate” the marina.

                                                  Mayor Emanuel personally announced and celebrated the marina at Navy Pier’s 2017
                                           fundraiser dinner and NPI further noted the marina as part of the Centennial Vision in its
                                           October 16, 2019 Press Release for its 2019 fundraiser.

                                                    D.      The Army Corps of Engineers and the State of Illinois Approve the Marina

                                                  On August 24, 2017, MPEA submitted a Joint Application prepared by NPM to the
                                           United States Army Corps of Engineers (“USACE”) and the Illinois Department of Natural
                                           Resources (“IDNR”) for construction of the marina in the North Slip. USACE has the authority
                                           under 33 C.F.R. 325.8(b) to evaluate and issue permits for construction projects in connection
                                           with navigable waters. The Rivers, Lakes and Streams Act, 615 ILCS 5/18(c) (“RLS Act”),
                                           authorizes the Illinois Department of Natural Resources (“IDNR”) to issue a permit to “any
                                           person, firm or corporation” to construct “harbor or mooring facilities for watercraft” in the North
                                           Slip.

                                                  NPM provided substantial and detailed information and drawings to USACE and IDNR
                                           and IDNR issued a Public Notice of MPEA’s application and took public comments on the
                                           proposed marina. Both USACE and IDNR issued permits preliminarily approving construction of
                                           the marina in the North Slip, subject to MPEA obtaining any other necessary permits.1

                                                    E.      The Coast Guard Is Responsible For Safety and Security on Lake Michigan

                                                  The Coast Guard is responsible for security and safety in all navigable waters within the
                                           United States, including the waters surrounding the Jardine Water Plant. 14 U.S.C. § 1 et. seq.
                                           There is no Coast Guard Safety Zone covering the North Slip and the Coast Guard does not
                                           preclude construction or operation of a marina there. The Coast Guard does not require any
                                           permits for the marina.

                                                    F.      The Jardine Water Plant

                                                    The City built the Jardine Water Plant under permit from the Secretary of the Army. That
                                           permit specifically stipulated that construction and operation of the Plant would not cause any
                                           “unreasonable obstruction to the free navigation” of the waters surrounding the Plant. Bowes v.
                                           City Chicago, 3 Ill. 2d 175 (1954). Indeed, the Secretary of the Army is authorized to require the
                                           City to remediate any obstruction to navigation created by the Plant “so as to render navigation
                                           reasonably free, easy, and unobstructed.” Id. In upholding the City’s right to build the Plant in
                                           1954 in a lawsuit brought by several groups of plaintiffs, the Illinois Supreme Court relied on the
                                           finding that “construction of the filtration plant will not . . . materially interfere with navigation .
                                           . .” Id.




                                           1
                                            Separately, NPM applied for a permit from the Illinois Environmental Protection Agency, which was issued on
                                           April 12, 2018, and from the United States Coast Guard for a PATON (“Private Aid to Navigation”) permit for a
                                           data collection buoy in the North Slip, which was issued on August 15, 2017.


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                                                   As discussed above, boats are legally free to transit the North Slip, as well as the north
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                                           and east side of the Jardine Water Plant. Other than the two “keep out” buoys, there is nothing
                                           preventing boat access to the North Slip or to the Plant. The Jardine Plant has no barrier or
                                           fence preventing access to the outside of the Plant from any of its borders with Lake Michigan,
                                           including from the North Slip.

                                                   G.     CDOT Denies Harbor Permit Application

                                                   Section 10-40-330 of the Municipal Code governs “construction and repairs of structures
                                            in harbor.” It requires a special permit from CDOT to “build, construct or repair” any dock,
                                            bridge or other structure in or within 40 feet of the harbor, which includes the North Slip. The
                                            Commissioner is required to “solicit input from relevant alderman and City Departments and
                                            may also consult with IDNR, USACE, and the Coast Guard, among others. This Section of the
                                            Code further provides:

                                                   The Commissioner shall issue the permit desired, upon payment of the permit
                                                   fees hereinafter provided, unless it shall appear that the work to be done will
                                                   result in unduly obstructing the harbor or endangering the users or the
                                                   navigability of the harbor or in endangering the safety of any dock, pier, bridge
                                                   breakwater or other structure located upon and along the harbor or pollute the
                                                   harbor or is inconsistent with the Chicago River Design guidelines.

                                           Significantly, Section 10-40-330 does not vest the Commissioner with any authority to deny a
                                           Harbor Permit unless the “work to be done” creates one of the enumerated hazards. In other
                                           words, the Commissioner may not deny a Permit based on any belief that the contemplated use
                                           of the completed structure itself poses the hazard.

                                                   CDOT published a chart entitled “Harbor Permits-Agency Jurisdictions and
                                           Responsibilities” (“CDOT Jurisdiction Chart”), which outlines approvals and agency roles
                                           regarding waterway construction. That chart indicates that CDOT has no operational,
                                           administrative or regulatory role in any of the following: navigable channel designation,
                                           navigable channel and harbor maintenance, removal of navigation hazards, protection of life
                                           and safety, monitoring of commercial traffic, and monitoring of hazardous shipments. The CDOT
                                           Jurisdiction Chart indicates that CDOT’s role in connection with Harbor Permits is, consistent
                                           with Section 10-40-330, focused on permitting or approving the “work to be done” in connection
                                           with construction.

                                                   In accordance with CDOT’s Regulations, NPM submitted extensive project construction
                                           drawings to CDOT for the marina. CDOT did not raise any issue or objection to any aspect of
                                           the proposed construction. But notwithstanding that the Illinois Legislature approved locating a
                                           marina in the North Slip in the RLS Act and the Chicago City Council specifically approved the
                                           location of the marina in the Amended PD 527 Ordinance, CDOT denied the application for a
                                           Harbor Permit by letter dated June 15, 2020. The sole basis for CDOT’s denial was that the
                                           “marina development along the lines you have proposed and at the location you have applied
                                           for presents unacceptable security risks due to its proximity to the Jardine Water Treatment
                                           Plant.” CDOT did not determine that the work to be done in constructing the marina created any
                                           of the hazards enumerated in Section 10-40-330.




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                                           II.     CDOT SHOULD RECONSIDER AND PROMPTLY ISSUE THE HARBOR PERMIT
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                                                   A.     CDOT Exceeded Its Authority In Denying the Harbor Permit

                                                   CDOT exceeded its authority when it denied the Harbor Permit solely based on the
                                           location of the marina in the North Slip. “An administrative agency has no general or common
                                           law powers. * * * The agency is limited to those powers granted to it by the legislature in its
                                           enabling statute..” Julie Q v. Department of Children and Family Services, 995 N.E. 2d 977, 982
                                           (2013). “Agency action is arbitrary and capricious if the agency . . . relies on factors the
                                           legislature did not intend for the agency to consider.” Greer v. Housing Development Authority,
                                           524 N.E. 2d 561, 589 (1988).

                                                   Section 10-40-330 is clear on its face that CDOT’s discretion to deny a Harbor Permit is
                                           limited to situations where the “work to be done,” meaning the construction itself, creates one of
                                           the enumerated hazards. Section 10-40-330 does not authorize CDOT to deny a Harbor Permit
                                           when CDOT believes that the location of the completed structure presents “security risks.” As
                                           CDOT’s own CDOT Jurisdiction Chart recognizes, CDOT’s authority is to assure that
                                           construction in and on public ways is done competently and safely, not to second-guess
                                           whether any particular development project is or is not a good idea in the first place. “Because
                                           an administrative agency can only act pursuant to its statutory authority, any action beyond that
                                           authority is void.” Walsh v. Champaign County Sheriff’s Merit Comm’n, 404 Ill. App. 3d 933, 938
                                           (4th Dist. 2010); McCardle v. Rodriguez, 277 Ill. App. 3d 365, 373 (1st Dist. 1995).

                                                   CDOT’s lack of authority in this regard is confirmed by the facts that the State of Illinois
                                           approved locating a marina in the North Slip in the RLS Act and the City Council approved the
                                           specific location of the marina in the Amended PD 527 Ordinance. Those bodies, not CDOT,
                                           have the authority to determine whether a marina in the proposed location is compatible with the
                                           surrounding area. Both determined that it was. CDOT’s authority is simply to assure that the
                                           construction work itself does not create one of the hazards enumerated in Section 10-40-330.
                                           That is exactly as provided in the Amended PD 527 Ordinance, which requires that all “work in
                                           the public way . . . be . . . in accordance with” CDOT standards, but specifies that “no
                                           further approvals shall be required . . ..”

                                                   By denying the Harbor Permit based on the location previously approved by the State
                                           and the City, CDOT has usurped legislative authority and exceeded its own jurisdiction. Julie Q,
                                           995 N.E. 2d at 982 (“When the agency renders a decision that it is without authority to make, it
                                           is without jurisdiction and the decision is void”); Delgado v. Board of Election Commissioners of
                                           Chicago, 865 N.E. 2d 183, 186 (2007) (“Any action or decision taken by an administrative
                                           agency in excess of or contrary to its authority is void”); see also, Gen. Serv. Employees Union
                                           Local 73 SEIU AFL-CIO v. Illinois Educational Labor Relations Board, 673 N.E. 2d 1084, 1090
                                           (1st Dist. 1996) (Agency action is arbitrary and capricious if it contravenes the legislature’s
                                           intent . . .”). Simply put, CDOT may not overrule the Illinois Legislature or the City Council.

                                                   Illinois courts have not hesitated to order government agencies and officials to issue
                                           permits or licenses which, like the Harbor Permit for the marina, were improperly denied. See
                                           e.g., Drury Displays v. Brown, 306 Ill. App. 3d 1160, 1165 (1999) (compelling IDOT to issue
                                           billboard permit); People ex. Rel Shell Oil v. City of Chicago, 9 Ill. App. 3d 242, 245 (1st Dist.
                                           1972) (compelling City to issue driveway permits); see also Outcom Inc v. Department of




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                                           Transportation et. al., 882 N.E. 2d 696, 703 (“We find no discretion vested in the Department to
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                                           deny a fully compliant permit application”).

                                                  Because CDOT did not deny the Harbor Permit based on any hazard presented by
                                           construction of the marina, but rather based on locating a marina in the North Slip in the first
                                           place, CDOT exceeded its authority and jurisdiction and contravened both the Illinois
                                           Legislature and the Chicago City Council.

                                                   B.     CDOT’S Denial of the Harbor Permit Violates Bowes and MPEA/NPM’s
                                                          Riparian Rights

                                                  The Illinois Supreme Court was clear in Bowes that construction and operation of the
                                           Jardine Water Plant would not cause any “unreasonable obstruction to the free navigation" of
                                           the waters around the Plant. Yet, by denying the Harbor Permit, CDOT is doing just that. It is
                                           obstructing navigation in, to and from the North slip. Denying Navy Pier the ability to build and
                                           operate the marina because of its proximity to the Plant forecloses the very navigation which the
                                           Supreme Court insisted in Bowes be left open.

                                                     Bowes also recognized that “riparian rights of a shore owner have been defined as the
                                           right of accretion and the right of access to the water from the land.” Bowes, 3 Ill. 2d at 197.
                                           CDOT’s denial of the Harbor Permit for reasons that have nothing to do with any hazard of
                                           construction, improperly interferes with MPEA’s riparian rights to access the north boundary of
                                           Navy Pier and NPM’s derivative riparian rights, through the License Agreement, to build and
                                           operate the marina. See Gibbons v. Clarkson Grain Co., 281 Ill. App. 3d 529, 533 (4th Dist.
                                           1996) (barge-loading facility violated adjacent riparian owner’s rights by preventing owner from
                                           “utiliz[ing] the property as a marina.” Indeed, the City recognized these riparian rights in the
                                           amended PD 527 Ordinance.

                                                  CDOT’s denial of the Harbor Permit thus contravenes Bowes and interferes with MPEA’s
                                           and NPM’s riparian rights and those are additional reasons why the denial is void. See Delgado,
                                           865 N.E. 2d at 186 (Supreme Court exercises supervisory powers to vacate Board of Elections
                                           decision as “void and therefore a nullity”).

                                                   C.     CDOT’S Denial of the Harbor Permit Was Arbitrary and Without Any
                                                          Rational Basis

                                                   Not only does CDOT have no authority to deny the Harbor Permit, but CDOT’s reason
                                            for the denial was, in and of itself, arbitrary, irrational and demonstrably wrong.

                                                   CDOT did not articulate any specific security reason for denying the Harbor Permit, just
                                           the general statement that the marina’s “proximity” to the Jardine Water Plant “presents
                                           unacceptable security risks.” There is no explanation of why proximity creates risk. There is no
                                           indication that CDOT identified any particular risks. There is no evidence that addition of a
                                           marina would make the Jardine Water Plant any less secure than it is currently. CDOT did not
                                           provide any opportunity for NPM, NPI or MPEA to address the asserted security risks. CDOT is
                                           required by law to consider all crucial aspects of the issue and act rationally in its decision-
                                           making. Greer, 524 N.E. 2d at 589; Gen. Serv. Employees Union, 673 N.E. 2d at 1090. CDOT’s
                                           denial of the Harbor Permit fails this requirement.




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                                                     It does not follow, as CDOT apparently simply assumes, that adding a marina where
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                                           none currently exists, would threaten security. The Jardine Water Plant has sat unprotected in
                                           the North Slip for nearly 70 years. Nothing prevents access to the North Slip or to the Plant from
                                           the North Slip, yet the only “security” the Department of Water Management (“DWM”) has seen
                                           fit to install are two “keep out” buoys. An actively managed marina at Navy Pier will provide
                                           greater security in the North Slip. The boats docking at the marina will be identified and
                                           supervised, unlike the boats which currently transit the waters around the Jardine Water Plant
                                           without limit, supervision or identification.

                                                 Notwithstanding that the marina would actually enhance security in the North Slip, NPM
                                           has nonetheless previously committed to DWM to take extra security precautions for the Jardine
                                           Water Plant specifically, including:

                                                         establishing and clearly identifying a restricted area along the entire south edge
                                                          of the Jardine property

                                                         placing buoys every 300 feet in the areas east and west of the central part of the
                                                          property and every 100 feet in the central area

                                                         providing signage along the south edge of the property warning that no mooring
                                                          is allowed

                                                         providing DWM with two NPI security cameras with intrusion detection
                                                          capabilities that tie into Jardine’s existing security to monitor the restricted area

                                                         contributing a reasonable amount of money towards fencing along the south
                                                          edge of the property

                                                         employing an armed guard from 11 PM to 7 AM, employing such additional
                                                          security as is consistent with what Navy Pier ordinarily provides and coordinating
                                                          its security efforts with Jardine personnel

                                                         requiring all boaters mooring at the marina to provide boat registration or Coast
                                                          Guard documentation numbers, credit card details and a photo ID, among other
                                                          things

                                                         requiring boaters who have not pre-registered to radio or telephone marina
                                                          security in advance and wait in a separate “check-in” area until all registration
                                                          materials are processed

                                                         inviting the Chicago Marine Police, the IDNR Police, the Chicago Fire
                                                          Department and/or the Coast Guard to moor vessels for first responders in the
                                                          most accessible slips at the east entry of the marina




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                                           The marina will also fully comply with Navy Pier’s Security Plan. In addition, NPM has
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                                           promulgated detailed Rules for the marina which focus on security issues, among others, and it
                                           is required under its license to provide insurance to NPI/MPEA.2

                                                   The Coast Guard and USACE, the federal authorities responsible for navigation and
                                           safety, have no issue with the proposed marina. As a result, and particularly in light of the
                                           security enhancements identified above, it is, quite simply, irrational for CDOT to conclude that
                                           the proximity of the marina to the Jardine Water Plant presents unacceptable security risks.

                                                                                             *        *        *

                                                   NPM respectfully requests that CDOT reconsider its prior denial and promptly grant a
                                           Harbor Permit for construction of the marina, which will be funded with private dollars for the
                                           benefit of NPI and MPEA. No one disputes that the marina will create revenues and jobs, attract
                                           travelers to Chicago and be a tremendous boon to the City. It has been endorsed by the
                                           Chicago Park District, among many others, and both NPI and MPEA strongly support the
                                           marina as an important part of Navy Pier’s ongoing redevelopment and long-term viability. If
                                           CDOT truly seeks to “ensure that Chicago continues to be a vibrant international city
                                           successfully competing in the global market place,” as set forth on its website, it will reconsider
                                           and allow the marina to be built.

                                                  We would like the opportunity to meet with you either in person in a protected
                                           environment or via Zoom to discuss the above matters in more detail and to answer any
                                           questions you might have. To that end, we will contact you to schedule a meeting.

                                                  Finally, NPM requests that you provide us with copies of all documents relating to the
                                           proposed marina and CDOT’s decision to deny the Harbor Permit. We are prepared to seek
                                           these documents through a Freedom of Information Act request, if you prefer.

                                                 Please understand that this letter is not a comprehensive statement of our legal position
                                           and we reserve all rights, claims and causes of action.

                                                      Please do not hesitate to contact me if you have any questions or if you require anything
                                           further.

                                                      Thank you for your consideration.




                                           2
                                               Attached is a rendering of the marina which depicts some of the planned security measures.


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                                                                                     Very truly yours,
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                                                                                     SEYFARTH SHAW LLP




                                                                                     Michael R. Levinson
                                                                                     Counsel for NPM Venture, LLC



                                           MRL:jw

                                           Cc:     Larita Clark, CEO MPEA
                                                   Matthew Simmons, General Counsel, MPEA
                                                   Marilyn Gardner, President & CEO NPI
                                                   Brian S. Murphy, COO NPI
                                                   Daniel Blondin, Executive VP & General Counsel NPI
                                                   Randy D. Podolsky, Manager, NPM Venture
                                                   Mark A. Flessner, Corporation Counsel




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                                                                                                                                                  B.   Re s t r i c t e d A re a C h e ck- I n S i g n a g e
                                                                                                                                                  C.   S e cu r i t y / C h e ck I n
                                                                                                                                                  D.   F i r s t Re s p o n d e r S l i p
                                                                                                                                                  E.   Navy Pier Marina Challenge Boat
                                                                                                                                                  F.   Te m p o r a r y C h e ck I n M o o r i n g A re a

                                                                                                                                                  A dd i t i o n a l S e c u r i t y M e a s u r e s

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                                           Navy Pier Marina                                                                                       Security Enhancements
                                           Chicago, Illinois                                                                                                         November 12, 2019
